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                               EXHIBIT 5
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                                                    Exhibit 5
                                           Long Island Computations


  Week                                                           State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
 Ending                      Name                              Minimum  Regular Half-Time Overtime Back
                                                  Rate Week
  Date                                                          Wage   Rate Due     Due       Wages Due

 6/18/2017 Adolfo Mojica                         $10.00   48.02   $   10.00               $ 40.08    $    40.08
 6/25/2017 Adolfo Mojica                         $10.00   49.33   $   10.00               $ 46.67    $    46.67
  7/2/2017 Adolfo Mojica                         $10.00   59.55   $   10.00               $ 97.75    $    97.75
  7/9/2017 Adolfo Mojica                         $10.00   48.62   $   10.00               $ 43.08    $    43.08
 7/16/2017 Adolfo Mojica                         $10.00   59.55   $   10.00               $ 97.75    $    97.75
 7/23/2017 Adolfo Mojica                         $10.00   57.50   $   10.00               $ 87.50    $    87.50
 7/30/2017 Adolfo Mojica                         $10.00   57.95   $   10.00               $ 89.75    $    89.75
  8/6/2017 Adolfo Mojica                         $10.00   48.52   $   10.00               $ 42.58    $    42.58
 8/13/2017 Adolfo Mojica                         $10.00   57.72   $   10.00               $ 88.58    $    88.58
 8/20/2017 Adolfo Mojica                         $10.00   59.42   $   10.00               $ 97.08    $    97.08
 8/27/2017 Adolfo Mojica                         $10.00   60.32   $   10.00               $ 101.58   $   101.58
  9/3/2017 Adolfo Mojica                         $10.00   55.00   $   10.00               $ 75.00    $    75.00
 9/10/2017 Adolfo Mojica                         $10.00   49.42   $   10.00               $ 47.08    $    47.08
 5/27/2018 Aldo Rivas- Detail Department         $11.00   61.62   $   11.00               $ 118.89   $   118.89
  6/3/2018 Aldo Rivas- Detail Department         $11.00   51.40   $   11.00               $ 62.70    $    62.70
 6/10/2018 Aldo Rivas- Detail Department         $11.00   62.12   $   11.00               $ 121.64   $   121.64
 6/17/2018 Aldo Rivas- Detail Department         $11.00   61.93   $   11.00               $ 120.63   $   120.63
 6/24/2018 Aldo Rivas- Detail Department         $11.00   61.72   $   11.00               $ 119.44   $   119.44
  7/1/2018 Aldo Rivas- Detail Department         $11.00   61.70   $   11.00               $ 119.35   $   119.35
  7/8/2018 Aldo Rivas- Detail Department         $11.00   50.82   $   11.00               $ 59.49    $    59.49
 7/15/2018 Aldo Rivas- Detail Department         $11.00   61.40   $   11.00               $ 117.70   $   117.70
 7/22/2018 Aldo Rivas- Detail Department         $11.00   62.10   $   11.00               $ 121.55   $   121.55
 7/29/2018 Aldo Rivas- Detail Department         $11.00   61.87   $   11.00               $ 120.27   $   120.27
  8/5/2018 Aldo Rivas- Detail Department         $11.00   61.53   $   11.00               $ 118.43   $   118.43
 8/12/2018 Aldo Rivas- Detail Department         $11.00   61.37   $   11.00               $ 117.52   $   117.52
 8/19/2018 Aldo Rivas- Detail Department         $11.00   60.85   $   11.00               $ 114.68   $   114.68
 8/26/2018 Aldo Rivas- Detail Department         $11.00   64.60   $   11.00               $ 135.30   $   135.30
  9/2/2018 Aldo Rivas- Detail Department         $11.00   61.10   $   11.00               $ 116.05   $   116.05
  9/9/2018 Aldo Rivas- Detail Department         $11.00   51.00   $   11.00               $ 60.50    $    60.50
 9/16/2018 Aldo Rivas- Detail Department         $11.00   60.75   $   11.00               $ 114.13   $   114.13
 9/23/2018 Aldo Rivas- Detail Department         $11.00   61.38   $   11.00               $ 117.61   $   117.61
 9/30/2018 Aldo Rivas- Detail Department         $11.00   60.68   $   11.00               $ 113.76   $   113.76
 10/7/2018 Aldo Rivas- Detail Department         $11.00   60.48   $   11.00               $ 112.66   $   112.66
10/14/2018 Aldo Rivas- Detail Department         $11.00   60.68   $   11.00               $ 113.76   $   113.76
10/21/2018 Aldo Rivas- Detail Department         $11.00   59.03   $   11.00               $ 104.68   $   104.68
10/28/2018 Aldo Rivas- Detail Department         $11.00   57.97   $   11.00               $ 98.82    $    98.82
 11/4/2018 Aldo Rivas- Detail Department         $11.00   59.10   $   11.00               $ 105.05   $   105.05
11/11/2018 Aldo Rivas- Detail Department         $11.00   46.70   $   11.00               $ 36.85    $    36.85
11/18/2018 Aldo Rivas- Detail Department         $11.00   48.33   $   11.00               $ 45.83    $    45.83
11/25/2018 Aldo Rivas- Detail Department         $11.00   43.93   $   11.00               $ 21.63    $    21.63
 12/2/2018 Aldo Rivas- Detail Department         $11.00   58.87   $   11.00               $ 103.77   $   103.77
 12/9/2018 Aldo Rivas- Detail Department         $11.00   57.00   $   11.00               $ 93.50    $    93.50
12/16/2018 Aldo Rivas- Detail Department         $11.00   45.77   $   11.00               $ 31.72    $    31.72
12/23/2018 Aldo Rivas- Detail Department         $11.00   56.03   $   11.00               $ 88.18    $    88.18
  1/6/2019 Aldo Rivas- Detail Department         $11.00   45.82   $   12.00   $   45.82   $ 34.90    $    80.72
 1/13/2019 Aldo Rivas- Detail Department         $11.00   56.37   $   12.00   $   56.37   $ 98.20    $   154.57
 1/20/2019 Aldo Rivas- Detail Department         $11.00   46.53   $   12.00   $   46.53   $ 39.20    $    85.73
 1/27/2019 Aldo Rivas- Detail Department         $11.00   46.65   $   12.00   $   46.65   $ 39.90    $    86.55
  2/3/2019 Aldo Rivas- Detail Department         $11.00   56.97   $   12.00   $   56.97   $ 101.80   $   158.77
 2/10/2019 Aldo Rivas- Detail Department         $11.00   47.68   $   12.00   $   47.68   $ 46.10    $    93.78
 2/17/2019 Aldo Rivas- Detail Department         $11.00   56.58   $   12.00   $   56.58   $ 99.50    $   156.08
 2/24/2019 Aldo Rivas- Detail Department         $11.00   56.97   $   12.00   $   56.97   $ 101.80   $   158.77


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                                                    Exhibit 5
                                           Long Island Computations


  Week                                                           State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
 Ending                      Name                              Minimum  Regular Half-Time Overtime Back
                                                  Rate Week
  Date                                                          Wage   Rate Due     Due       Wages Due

  3/3/2019 Aldo Rivas- Detail Department         $11.00   57.35   $   12.00   $   57.35   $ 104.10   $   161.45
 3/10/2019 Aldo Rivas- Detail Department         $11.00   55.47   $   12.00   $   55.47   $ 92.80    $   148.27
 3/17/2019 Aldo Rivas- Detail Department         $11.00   56.30   $   12.00   $   56.30   $ 97.80    $   154.10
 3/24/2019 Aldo Rivas- Detail Department         $11.00   58.57   $   12.00   $   58.57   $ 111.40   $   169.97
 3/31/2019 Aldo Rivas- Detail Department         $11.00   56.17   $   12.00   $   56.17   $ 97.00    $   153.17
  4/7/2019 Aldo Rivas- Detail Department         $11.00   53.43   $   12.00   $   53.43   $ 80.60    $   134.03
 4/14/2019 Aldo Rivas- Detail Department         $11.00   57.33   $   12.00   $   57.33   $ 104.00   $   161.33
 4/21/2019 Aldo Rivas- Detail Department         $11.00   58.28   $   12.00   $   58.28   $ 109.70   $   167.98
 4/28/2019 Aldo Rivas- Detail Department         $11.00   48.23   $   12.00   $   48.23   $ 49.40    $    97.63
  5/5/2019 Aldo Rivas- Detail Department         $11.00   59.72   $   12.00   $   59.72   $ 118.30   $   178.02
 5/12/2019 Aldo Rivas- Detail Department         $11.00   57.93   $   12.00   $   57.93   $ 107.60   $   165.53
 5/19/2019 Aldo Rivas- Detail Department         $11.00   57.35   $   12.00   $   57.35   $ 104.10   $   161.45
 5/26/2019 Aldo Rivas- Detail Department         $11.00   59.40   $   12.00   $   59.40   $ 116.40   $   175.80
  6/2/2019 Aldo Rivas- Detail Department         $11.00   50.02   $   12.00   $   50.02   $ 60.10    $   110.12
  6/9/2019 Aldo Rivas- Detail Department         $11.00   58.67   $   12.00   $   58.67   $ 112.00   $   170.67
 6/16/2019 Aldo Rivas- Detail Department         $11.00   59.77   $   12.00   $   59.77   $ 118.60   $   178.37
 6/23/2019 Aldo Rivas- Detail Department         $11.00   59.33   $   12.00   $   59.33   $ 116.00   $   175.33
 6/30/2019 Aldo Rivas- Detail Department         $11.00   58.57   $   12.00   $   58.57   $ 111.40   $   169.97
  7/7/2019 Aldo Rivas- Detail Department         $12.00   45.57   $   12.00               $ 33.40    $    33.40
 7/14/2019 Aldo Rivas- Detail Department         $12.00   56.82   $   12.00               $ 100.90   $   100.90
 7/21/2019 Aldo Rivas- Detail Department         $12.00   55.15   $   12.00               $ 90.90    $    90.90
 7/28/2019 Aldo Rivas- Detail Department         $12.00   51.78   $   12.00               $ 70.70    $    70.70
  8/4/2019 Aldo Rivas- Detail Department         $12.00   54.90   $   12.00               $ 89.40    $    89.40
 8/11/2019 Aldo Rivas- Detail Department         $12.00   54.77   $   12.00               $ 88.60    $    88.60
 8/18/2019 Aldo Rivas- Detail Department         $12.00   56.02   $   12.00               $ 96.10    $    96.10
 8/25/2019 Aldo Rivas- Detail Department         $12.00   54.42   $   12.00               $ 86.50    $    86.50
  9/1/2019 Aldo Rivas- Detail Department         $12.00   41.23   $   12.00               $   7.40   $     7.40
  9/8/2019 Aldo Rivas- Detail Department         $12.00   43.95   $   12.00               $ 23.70    $    23.70
10/28/2018 Alejandro Pineda                      $11.00   49.45   $   11.00               $ 51.98    $    51.98
 11/4/2018 Alejandro Pineda                      $11.00   49.55   $   11.00               $ 52.53    $    52.53
11/11/2018 Alejandro Pineda                      $11.00   49.18   $   11.00               $ 50.51    $    50.51
11/18/2018 Alejandro Pineda                      $11.00   49.63   $   11.00               $ 52.98    $    52.98
12/17/2017 Alejandro Saldivar                     $9.00   40.53   $   10.00   $   40.53   $   2.67   $    43.20
  3/4/2018 Alfonso Alvarado                      $10.00   45.42   $   11.00   $   45.42   $ 29.79    $    75.21
 3/25/2018 Alfonso Alvarado                      $10.00   46.92   $   11.00   $   46.92   $ 38.04    $    84.96
  4/1/2018 Alfonso Alvarado                      $10.00   60.15   $   11.00   $   60.15   $ 110.83   $   170.98
  4/8/2018 Alfonso Alvarado                      $10.00   59.45   $   11.00   $   59.45   $ 106.98   $   166.43
 4/15/2018 Alfonso Alvarado                      $10.00   61.42   $   11.00   $   61.42   $ 117.79   $   179.21
 4/22/2018 Alfonso Alvarado                      $10.00   63.03   $   11.00   $   63.03   $ 126.68   $   189.72
 4/29/2018 Alfonso Alvarado                      $10.00   60.13   $   11.00   $   60.13   $ 110.73   $   170.87
  5/6/2018 Alfonso Alvarado                      $10.00   60.20   $   11.00   $   60.20   $ 111.10   $   171.30
 5/13/2018 Alfonso Alvarado                      $10.00   61.77   $   11.00   $   61.77   $ 119.72   $   181.48
 5/20/2018 Alfonso Alvarado                      $10.00   60.53   $   11.00   $   60.53   $ 112.93   $   173.47
 5/27/2018 Alfonso Alvarado                      $10.00   60.07   $   11.00   $   60.07   $ 110.37   $   170.43
  6/3/2018 Alfonso Alvarado                      $10.00   49.77   $   11.00   $   49.77   $ 53.72    $   103.48
 6/10/2018 Alfonso Alvarado                      $10.00   62.37   $   11.00   $   62.37   $ 123.02   $   185.38
 6/17/2018 Alfonso Alvarado                      $10.00   52.68   $   11.00   $   52.68   $ 69.76    $   122.44
 6/24/2018 Alfonso Alvarado                      $10.00   61.63   $   11.00   $   61.63   $ 118.98   $   180.62
  7/1/2018 Alfonso Alvarado                      $10.00   60.18   $   11.00   $   60.18   $ 111.01   $   171.19
  7/8/2018 Alfonso Alvarado                      $10.00   51.20   $   11.00   $   51.20   $ 61.60    $   112.80
 7/15/2018 Alfonso Alvarado                      $10.00   60.23   $   11.00   $   60.23   $ 111.28   $   171.52
 7/22/2018 Alfonso Alvarado                      $10.00   60.13   $   11.00   $   60.13   $ 110.73   $   170.87


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                                              Exhibit 5
                                     Long Island Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                       Name                       Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 7/29/2018 Alfonso Alvarado                $10.00   61.93   $   11.00   $   61.93   $ 120.63   $   182.57
  8/5/2018 Alfonso Alvarado                $10.00   61.73   $   11.00   $   61.73   $ 119.53   $   181.27
 8/12/2018 Alfonso Alvarado                $10.00   52.48   $   11.00   $   52.48   $ 68.66    $   121.14
 8/19/2018 Alfonso Alvarado                $10.00   60.83   $   11.00   $   60.83   $ 114.58   $   175.42
  9/9/2018 Alfonso Alvarado                $10.00   48.73   $   11.00   $   48.73   $ 48.03    $    96.77
 9/16/2018 Alfonso Alvarado                $10.00   55.57   $   11.00   $   55.57   $ 85.62    $   141.18
 9/23/2018 Alfonso Alvarado                $10.00   49.08   $   11.00   $   49.08   $ 49.96    $    99.04
 9/30/2018 Alfonso Alvarado                $10.00   49.65   $   11.00   $   49.65   $ 53.08    $   102.73
 10/7/2018 Alfonso Alvarado                $10.00   61.87   $   11.00   $   61.87   $ 120.27   $   182.13
10/14/2018 Alfonso Alvarado                $10.00   60.83   $   11.00   $   60.83   $ 114.58   $   175.42
10/21/2018 Alfonso Alvarado                $10.00   60.78   $   11.00   $   60.78   $ 114.31   $   175.09
 7/30/2017 Andre Solano                    $10.00   56.47   $   10.00               $ 82.33    $    82.33
  8/6/2017 Andre Solano                    $10.00   46.98   $   10.00               $ 34.92    $    34.92
 8/13/2017 Andre Solano                    $10.00   56.17   $   10.00               $ 80.83    $    80.83
 8/20/2017 Andre Solano                    $10.00   57.47   $   10.00               $ 87.33    $    87.33
 8/27/2017 Andre Solano                    $10.00   52.68   $   10.00               $ 63.42    $    63.42
  9/3/2017 Andre Solano                    $10.00   55.98   $   10.00               $ 79.92    $    79.92
 9/10/2017 Andre Solano                    $10.00   45.90   $   10.00               $ 29.50    $    29.50
 9/17/2017 Andre Solano                    $10.00   44.57   $   10.00               $ 22.83    $    22.83
 9/24/2017 Andre Solano                    $10.00   55.75   $   10.00               $ 78.75    $    78.75
 10/1/2017 Andre Solano                    $10.00   48.27   $   10.00               $ 41.33    $    41.33
 10/8/2017 Andre Solano                    $10.00   56.40   $   10.00               $ 82.00    $    82.00
10/15/2017 Andre Solano                    $10.00   54.10   $   10.00               $ 70.50    $    70.50
10/22/2017 Andre Solano                    $10.00   47.30   $   10.00               $ 36.50    $    36.50
10/29/2017 Andre Solano                    $10.00   53.33   $   10.00               $ 66.67    $    66.67
 11/5/2017 Andre Solano                    $10.00   53.70   $   10.00               $ 68.50    $    68.50
11/12/2017 Andre Solano                    $10.00   55.37   $   10.00               $ 76.83    $    76.83
11/19/2017 Andre Solano                    $10.00   56.58   $   10.00               $ 82.92    $    82.92
11/26/2017 Andre Solano                    $10.00   45.83   $   10.00               $ 29.17    $    29.17
 12/3/2017 Andre Solano                    $10.00   57.25   $   10.00               $ 86.25    $    86.25
12/10/2017 Andre Solano                    $10.00   43.48   $   10.00               $ 17.42    $    17.42
12/17/2017 Andre Solano                    $10.00   45.65   $   10.00               $ 28.25    $    28.25
12/24/2017 Andre Solano                    $10.00   52.82   $   10.00               $ 64.08    $    64.08
12/31/2017 Andre Solano                    $10.00   46.13   $   11.00   $   46.13   $ 33.73    $    79.87
 1/14/2018 Andre Solano                    $10.00   40.90   $   11.00   $   40.90   $   4.95   $    45.85
 1/28/2018 Andre Solano                    $10.00   42.10   $   11.00   $   42.10   $ 11.55    $    53.65
  2/4/2018 Andre Solano                    $10.00   51.00   $   11.00   $   51.00   $ 60.50    $   111.50
 2/18/2018 Andre Solano                    $10.00   43.35   $   11.00   $   43.35   $ 18.43    $    61.78
  4/1/2018 Andre Solano                    $10.00   47.02   $   11.00   $   47.02   $ 38.59    $    85.61
  4/8/2018 Andre Solano                    $10.00   55.22   $   11.00   $   55.22   $ 83.69    $   138.91
 4/15/2018 Andre Solano                    $10.00   50.90   $   11.00   $   50.90   $ 59.95    $   110.85
 4/22/2018 Andre Solano                    $10.00   52.42   $   11.00   $   52.42   $ 68.29    $   120.71
 4/29/2018 Andre Solano                    $10.00   50.72   $   11.00   $   50.72   $ 58.94    $   109.66
  5/6/2018 Andre Solano                    $10.00   53.88   $   11.00   $   53.88   $ 76.36    $   130.24
 5/13/2018 Andre Solano                    $10.00   55.30   $   11.00   $   55.30   $ 84.15    $   139.45
 5/20/2018 Andre Solano                    $10.00   54.83   $   11.00   $   54.83   $ 81.58    $   136.42
 5/27/2018 Andre Solano                    $10.00   42.17   $   11.00   $   42.17   $ 11.92    $    54.08
  6/3/2018 Andre Solano                    $10.00   46.75   $   11.00   $   46.75   $ 37.13    $    83.88
 6/10/2018 Andre Solano                    $10.00   57.20   $   11.00   $   57.20   $ 94.60    $   151.80
 6/17/2018 Andre Solano                    $10.00   58.88   $   11.00   $   58.88   $ 103.86   $   162.74
 6/24/2018 Andre Solano                    $10.00   58.72   $   11.00   $   58.72   $ 102.94   $   161.66
  7/1/2018 Andre Solano                    $10.00   50.58   $   11.00   $   50.58   $ 58.21    $   108.79


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                                          Exhibit 5
                                 Long Island Computations


  Week                                                 State Section 7: Section 7: Total Section 7
                                       Hourly Hours/
 Ending                   Name                       Minimum  Regular Half-Time Overtime Back
                                        Rate Week
  Date                                                Wage   Rate Due     Due       Wages Due

  7/8/2018 Andre Solano                $10.00   48.28   $   11.00   $    48.28   $ 45.56    $    93.84
 7/15/2018 Andre Solano                $10.00   45.73   $   11.00   $    45.73   $ 31.53    $    77.27
 7/22/2018 Andre Solano                $10.00   55.83   $   11.00   $    55.83   $ 87.08    $   142.92
 7/29/2018 Andre Solano                $10.00   54.63   $   11.00   $    54.63   $ 80.48    $   135.12
  8/5/2018 Andre Solano                $10.00   50.37   $   11.00   $    50.37   $ 57.02    $   107.38
 8/12/2018 Andre Solano                $10.00   48.02   $   11.00   $    48.02   $ 44.09    $    92.11
 8/19/2018 Andre Solano                $10.00   56.15   $   11.00   $    56.15   $ 88.83    $   144.98
 8/26/2018 Andre Solano                $10.00   54.85   $   11.00   $    54.85   $ 81.68    $   136.53
  9/2/2018 Andre Solano                $10.00   52.67   $   11.00   $    52.67   $ 69.67    $   122.33
  9/9/2018 Andre Solano                $10.00   46.00   $   11.00   $    46.00   $ 33.00    $    79.00
 9/16/2018 Andre Solano                $10.00   50.73   $   11.00   $    50.73   $ 59.03    $   109.77
 9/23/2018 Andre Solano                $10.00   48.32   $   11.00   $    48.32   $ 45.74    $    94.06
 10/7/2018 Andre Solano                $10.00   49.60   $   11.00   $    49.60   $ 52.80    $   102.40
10/28/2018 Andre Solano                $10.00   44.70   $   11.00   $    44.70   $ 25.85    $    70.55
 11/4/2018 Andre Solano                $10.00   49.20   $   11.00   $    49.20   $ 50.60    $    99.80
11/11/2018 Andre Solano                $10.00   59.07   $   11.00   $    59.07   $ 104.87   $   163.93
11/18/2018 Andre Solano                $10.00   54.33   $   11.00   $    54.33   $ 78.83    $   133.17
 12/2/2018 Andre Solano                $10.00   57.45   $   11.00   $    57.45   $ 95.98    $   153.43
 12/9/2018 Andre Solano                $10.00   58.35   $   11.00   $    58.35   $ 100.93   $   159.28
12/16/2018 Andre Solano                $10.00   57.38   $   11.00   $    57.38   $ 95.61    $   152.99
12/23/2018 Andre Solano                $10.00   50.93   $   11.00   $    50.93   $ 60.13    $   111.07
12/30/2018 Andre Solano                $10.00   42.02   $   11.00   $    42.02   $ 11.09    $    53.11
  1/6/2019 Andre Solano                $10.00   44.75   $   12.00   $    89.50   $ 28.50    $   118.00
 1/20/2019 Andre Solano                $10.00   53.68   $   12.00   $   107.37   $ 82.10    $   189.47
 1/27/2019 Andre Solano                $10.00   55.08   $   12.00   $   110.17   $ 90.50    $   200.67
  2/3/2019 Andre Solano                $10.00   44.02   $   12.00   $    88.03   $ 24.10    $   112.13
 2/10/2019 Andre Solano                $10.00   57.12   $   12.00   $   114.23   $ 102.70   $   216.93
 2/17/2019 Andre Solano                $10.00   45.15   $   12.00   $    90.30   $ 30.90    $   121.20
 2/24/2019 Andre Solano                $10.00   57.35   $   12.00   $   114.70   $ 104.10   $   218.80
  3/3/2019 Andre Solano                $10.00   52.98   $   12.00   $   105.97   $ 77.90    $   183.87
 3/10/2019 Andre Solano                $10.00   47.60   $   12.00   $    95.20   $ 45.60    $   140.80
 3/17/2019 Andre Solano                $10.00   57.82   $   12.00   $   115.63   $ 106.90   $   222.53
 3/24/2019 Andre Solano                $10.00   58.30   $   12.00   $   116.60   $ 109.80   $   226.40
 3/31/2019 Andre Solano                $10.00   57.78   $   12.00   $   115.57   $ 106.70   $   222.27
  4/7/2019 Andre Solano                $10.00   57.33   $   12.00   $   114.67   $ 104.00   $   218.67
 4/14/2019 Andre Solano                $10.00   47.82   $   12.00   $    95.63   $ 46.90    $   142.53
 4/21/2019 Andre Solano                $10.00   57.13   $   12.00   $   114.27   $ 102.80   $   217.07
 4/28/2019 Andre Solano                $10.00   58.18   $   12.00   $   116.37   $ 109.10   $   225.47
  5/5/2019 Andre Solano                $10.00   56.72   $   12.00   $   113.43   $ 100.30   $   213.73
 5/12/2019 Andre Solano                $10.00   57.25   $   12.00   $   114.50   $ 103.50   $   218.00
 5/19/2019 Andre Solano                $10.00   48.47   $   12.00   $    96.93   $ 50.80    $   147.73
 5/26/2019 Andre Solano                $10.00   56.38   $   12.00   $   112.77   $ 98.30    $   211.07
  6/2/2019 Andre Solano                $10.00   47.43   $   12.00   $    94.87   $ 44.60    $   139.47
  6/9/2019 Andre Solano                $10.00   56.67   $   12.00   $   113.33   $ 100.00   $   213.33
 6/16/2019 Andre Solano                $10.00   44.80   $   12.00   $    89.60   $ 28.80    $   118.40
 6/23/2019 Andre Solano                $10.00   54.67   $   12.00   $   109.33   $ 88.00    $   197.33
 6/30/2019 Andre Solano                $10.00   57.58   $   12.00   $   115.17   $ 105.50   $   220.67
  7/7/2019 Andre Solano                $10.00   41.67   $   12.00   $    83.33   $ 10.00    $    93.33
 7/14/2019 Andre Solano                $10.00   42.93   $   12.00   $    85.87   $ 17.60    $   103.47
 7/21/2019 Andre Solano                $10.00   53.98   $   12.00   $   107.97   $ 83.90    $   191.87
 7/28/2019 Andre Solano                $10.00   44.27   $   12.00   $    88.53   $ 25.60    $   114.13
  8/4/2019 Andre Solano                $10.00   51.38   $   12.00   $   102.77   $ 68.30    $   171.07


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                                               Exhibit 5
                                      Long Island Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                        Name                       Minimum  Regular Half-Time Overtime Back
                                             Rate Week
  Date                                                     Wage   Rate Due     Due       Wages Due

 8/18/2019 Andre Solano                     $10.00   44.52   $   12.00   $   89.03   $ 27.10    $   116.13
 1/21/2018 Andrew Collado                   $16.50   45.37   $   11.00               $ 44.28    $    44.28
 4/23/2017 Brayan E. Vasquez                $12.00   61.60   $   10.00               $ 129.60   $   129.60
 4/30/2017 Brayan E. Vasquez                $12.00   61.70   $   10.00               $ 130.20   $   130.20
  5/7/2017 Brayan E. Vasquez                $12.00   61.93   $   10.00               $ 131.60   $   131.60
 5/14/2017 Brayan E. Vasquez                $12.00   62.17   $   10.00               $ 133.00   $   133.00
 5/21/2017 Brayan E. Vasquez                $12.00   57.50   $   10.00               $ 105.00   $   105.00
 5/28/2017 Brayan E. Vasquez                $12.00   58.67   $   10.00               $ 112.00   $   112.00
  6/4/2017 Brayan E. Vasquez                $12.00   51.52   $   10.00               $ 69.10    $    69.10
 6/11/2017 Brayan E. Vasquez                $12.00   61.53   $   10.00               $ 129.20   $   129.20
 6/18/2017 Brayan E. Vasquez                $12.00   62.42   $   10.00               $ 134.50   $   134.50
 6/25/2017 Brayan E. Vasquez                $12.00   62.03   $   10.00               $ 132.20   $   132.20
  7/2/2017 Brayan E. Vasquez                $12.00   62.72   $   10.00               $ 136.30   $   136.30
  7/9/2017 Brayan E. Vasquez                $12.00   50.70   $   10.00               $ 64.20    $    64.20
 7/16/2017 Brayan E. Vasquez                $12.00   61.83   $   10.00               $ 131.00   $   131.00
 7/23/2017 Brayan E. Vasquez                $12.00   60.25   $   10.00               $ 121.50   $   121.50
 7/30/2017 Brayan E. Vasquez                $12.00   52.52   $   10.00               $ 75.10    $    75.10
  8/6/2017 Brayan E. Vasquez                $12.00   62.03   $   10.00               $ 132.20   $   132.20
 8/13/2017 Brayan E. Vasquez                $12.00   59.25   $   10.00               $ 115.50   $   115.50
 8/20/2017 Brayan E. Vasquez                $12.00   61.85   $   10.00               $ 131.10   $   131.10
 8/27/2017 Brayan E. Vasquez                $12.00   61.00   $   10.00               $ 126.00   $   126.00
  9/3/2017 Brayan E. Vasquez                $12.00   60.82   $   10.00               $ 124.90   $   124.90
 9/10/2017 Brayan E. Vasquez                $12.00   50.63   $   10.00               $ 63.80    $    63.80
 9/17/2017 Brayan E. Vasquez                $12.00   60.72   $   10.00               $ 124.30   $   124.30
 9/24/2017 Brayan E. Vasquez                $12.00   60.17   $   10.00               $ 121.00   $   121.00
 10/1/2017 Brayan E. Vasquez                $12.00   51.33   $   10.00               $ 68.00    $    68.00
 10/8/2017 Brayan E. Vasquez                $12.00   59.63   $   10.00               $ 117.80   $   117.80
10/15/2017 Brayan E. Vasquez                $12.00   49.72   $   10.00               $ 58.30    $    58.30
10/22/2017 Brayan E. Vasquez                $12.00   49.98   $   10.00               $ 59.90    $    59.90
10/29/2017 Brayan E. Vasquez                $12.00   57.07   $   10.00               $ 102.40   $   102.40
 11/5/2017 Brayan E. Vasquez                $12.00   53.32   $   10.00               $ 79.90    $    79.90
11/12/2017 Brayan E. Vasquez                $12.00   64.48   $   10.00               $ 146.90   $   146.90
11/19/2017 Brayan E. Vasquez                $12.00   64.30   $   10.00               $ 145.80   $   145.80
11/26/2017 Brayan E. Vasquez                $12.00   53.30   $   10.00               $ 79.80    $    79.80
 12/3/2017 Brayan E. Vasquez                $12.00   64.28   $   10.00               $ 145.70   $   145.70
12/10/2017 Brayan E. Vasquez                $12.00   64.33   $   10.00               $ 146.00   $   146.00
12/17/2017 Brayan E. Vasquez                $12.00   64.30   $   10.00               $ 145.80   $   145.80
12/24/2017 Brayan E. Vasquez                $12.00   64.50   $   10.00               $ 147.00   $   147.00
12/31/2017 Brayan E. Vasquez                $12.00   53.13   $   11.00               $ 78.80    $    78.80
  1/7/2018 Brayan E. Vasquez                $12.00   45.17   $   11.00               $ 31.00    $    31.00
 1/14/2018 Brayan E. Vasquez                $12.00   66.00   $   11.00               $ 156.00   $   156.00
 1/21/2018 Brayan E. Vasquez                $12.00   66.58   $   11.00               $ 159.50   $   159.50
 1/28/2018 Brayan E. Vasquez                $12.00   65.97   $   11.00               $ 155.80   $   155.80
  2/4/2018 Brayan E. Vasquez                $12.00   65.13   $   11.00               $ 150.80   $   150.80
 2/11/2018 Brayan E. Vasquez                $12.00   64.98   $   11.00               $ 149.90   $   149.90
 2/18/2018 Brayan E. Vasquez                $12.00   66.57   $   11.00               $ 159.40   $   159.40
 2/25/2018 Brayan E. Vasquez                $12.00   72.87   $   11.00               $ 197.20   $   197.20
  3/4/2018 Brayan E. Vasquez                $12.00   72.60   $   11.00               $ 195.60   $   195.60
 3/25/2018 Brayan E. Vasquez                $12.00   69.90   $   11.00               $ 179.40   $   179.40
  4/1/2018 Brayan E. Vasquez                $12.00   64.25   $   11.00               $ 145.50   $   145.50
  4/8/2018 Brayan E. Vasquez                $12.00   71.20   $   11.00               $ 187.20   $   187.20
 4/15/2018 Brayan E. Vasquez                $12.00   72.57   $   11.00               $ 195.40   $   195.40


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                                               Exhibit 5
                                      Long Island Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                        Name                       Minimum  Regular Half-Time Overtime Back
                                             Rate Week
  Date                                                     Wage   Rate Due     Due       Wages Due

 4/22/2018 Brayan E. Vasquez                $12.00   64.57   $   11.00         $ 147.40   $     147.40
 4/29/2018 Brayan E. Vasquez                $12.00   68.25   $   11.00         $ 169.50   $     169.50
  5/6/2018 Brayan E. Vasquez                $12.00   70.48   $   11.00         $ 182.90   $     182.90
 5/13/2018 Brayan E. Vasquez                $12.00   65.27   $   11.00         $ 151.60   $     151.60
 5/20/2018 Brayan E. Vasquez                $12.00   72.12   $   11.00         $ 192.70   $     192.70
 5/27/2018 Brayan E. Vasquez                $12.00   66.42   $   11.00         $ 158.50   $     158.50
  6/3/2018 Brayan E. Vasquez                $12.00   65.72   $   11.00         $ 154.30   $     154.30
 6/10/2018 Brayan E. Vasquez                $12.00   77.47   $   11.00         $ 224.80   $     224.80
 6/17/2018 Brayan E. Vasquez                $12.00   69.72   $   11.00         $ 178.30   $     178.30
 6/24/2018 Brayan E. Vasquez                $12.00   70.83   $   11.00         $ 185.00   $     185.00
  7/1/2018 Brayan E. Vasquez                $12.00   75.63   $   11.00         $ 213.80   $     213.80
  7/8/2018 Brayan E. Vasquez                $12.00   46.82   $   11.00         $ 40.90    $      40.90
 7/15/2018 Brayan E. Vasquez                $12.00   77.72   $   11.00         $ 226.30   $     226.30
 7/22/2018 Brayan E. Vasquez                $12.00   67.73   $   11.00         $ 166.40   $     166.40
 7/29/2018 Brayan E. Vasquez                $12.00   69.82   $   11.00         $ 178.90   $     178.90
  8/5/2018 Brayan E. Vasquez                $12.00   67.40   $   11.00         $ 164.40   $     164.40
 8/12/2018 Brayan E. Vasquez                $12.00   74.48   $   11.00         $ 206.90   $     206.90
 8/19/2018 Brayan E. Vasquez                $12.00   64.85   $   11.00         $ 149.10   $     149.10
 8/26/2018 Brayan E. Vasquez                $12.00   76.18   $   11.00         $ 217.10   $     217.10
  9/2/2018 Brayan E. Vasquez                $12.00   67.68   $   11.00         $ 166.10   $     166.10
  9/9/2018 Brayan E. Vasquez                $12.00   46.47   $   11.00         $ 38.80    $      38.80
 9/16/2018 Brayan E. Vasquez                $12.00   75.77   $   11.00         $ 214.60   $     214.60
 9/23/2018 Brayan E. Vasquez                $12.00   69.20   $   11.00         $ 175.20   $     175.20
 9/30/2018 Brayan E. Vasquez                $12.00   73.18   $   11.00         $ 199.10   $     199.10
 10/7/2018 Brayan E. Vasquez                $12.00   74.70   $   11.00         $ 208.20   $     208.20
10/14/2018 Brayan E. Vasquez                $12.00   69.85   $   11.00         $ 179.10   $     179.10
10/21/2018 Brayan E. Vasquez                $12.00   50.55   $   11.00         $ 63.30    $      63.30
 11/4/2018 Brayan E. Vasquez                $12.00   53.65   $   11.00         $ 81.90    $      81.90
11/11/2018 Brayan E. Vasquez                $12.00   64.08   $   11.00         $ 144.50   $     144.50
11/18/2018 Brayan E. Vasquez                $12.00   64.48   $   11.00         $ 146.90   $     146.90
11/25/2018 Brayan E. Vasquez                $12.00   54.85   $   11.00         $ 89.10    $      89.10
 12/2/2018 Brayan E. Vasquez                $12.00   64.23   $   11.00         $ 145.40   $     145.40
 12/9/2018 Brayan E. Vasquez                $12.00   64.77   $   11.00         $ 148.60   $     148.60
12/16/2018 Brayan E. Vasquez                $12.00   64.70   $   11.00         $ 148.20   $     148.20
12/23/2018 Brayan E. Vasquez                $12.00   71.90   $   11.00         $ 191.40   $     191.40
12/30/2018 Brayan E. Vasquez                $12.00   50.70   $   11.00         $ 64.20    $      64.20
  1/6/2019 Brayan E. Vasquez                $12.00   64.70   $   12.00         $ 148.20   $     148.20
 1/13/2019 Brayan E. Vasquez                $12.00   66.32   $   12.00         $ 157.90   $     157.90
 1/20/2019 Brayan E. Vasquez                $12.00   64.78   $   12.00         $ 148.70   $     148.70
 1/27/2019 Brayan E. Vasquez                $12.00   61.98   $   12.00         $ 131.90   $     131.90
  2/3/2019 Brayan E. Vasquez                $12.00   61.13   $   12.00         $ 126.80   $     126.80
 2/10/2019 Brayan E. Vasquez                $12.00   64.58   $   12.00         $ 147.50   $     147.50
 2/17/2019 Brayan E. Vasquez                $12.00   64.82   $   12.00         $ 148.90   $     148.90
 2/24/2019 Brayan E. Vasquez                $12.00   63.72   $   12.00         $ 142.30   $     142.30
  3/3/2019 Brayan E. Vasquez                $12.00   54.62   $   12.00         $ 87.70    $      87.70
 3/10/2019 Brayan E. Vasquez                $12.00   64.37   $   12.00         $ 146.20   $     146.20
 3/17/2019 Brayan E. Vasquez                $12.00   71.05   $   12.00         $ 186.30   $     186.30
 3/24/2019 Brayan E. Vasquez                $12.00   70.55   $   12.00         $ 183.30   $     183.30
 3/31/2019 Brayan E. Vasquez                $12.00   64.92   $   12.00         $ 149.50   $     149.50
  4/7/2019 Brayan E. Vasquez                $12.00   64.70   $   12.00         $ 148.20   $     148.20
 4/14/2019 Brayan E. Vasquez                $12.00   53.10   $   12.00         $ 78.60    $      78.60
 4/21/2019 Brayan E. Vasquez                $12.00   63.82   $   12.00         $ 142.90   $     142.90


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                                               Exhibit 5
                                      Long Island Computations


  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                        Name                       Minimum  Regular Half-Time Overtime Back
                                             Rate Week
  Date                                                     Wage   Rate Due     Due       Wages Due

 4/28/2019 Brayan E. Vasquez                $12.00   57.05   $   12.00         $ 102.30   $     102.30
  5/5/2019 Brayan E. Vasquez                $12.00   69.25   $   12.00         $ 175.50   $     175.50
 5/12/2019 Brayan E. Vasquez                $12.00   69.27   $   12.00         $ 175.60   $     175.60
 5/19/2019 Brayan E. Vasquez                $12.00   66.97   $   12.00         $ 161.80   $     161.80
 5/26/2019 Brayan E. Vasquez                $12.00   69.30   $   12.00         $ 175.80   $     175.80
  6/2/2019 Brayan E. Vasquez                $12.00   56.73   $   12.00         $ 100.40   $     100.40
  6/9/2019 Brayan E. Vasquez                $12.00   69.58   $   12.00         $ 177.50   $     177.50
 6/16/2019 Brayan E. Vasquez                $12.00   68.95   $   12.00         $ 173.70   $     173.70
 6/23/2019 Brayan E. Vasquez                $12.00   53.72   $   12.00         $ 82.30    $      82.30
 6/30/2019 Brayan E. Vasquez                $12.00   64.65   $   12.00         $ 147.90   $     147.90
  7/7/2019 Brayan E. Vasquez                $13.00   57.87   $   12.00         $ 116.13   $     116.13
 7/14/2019 Brayan E. Vasquez                $13.00   69.97   $   12.00         $ 194.78   $     194.78
 7/21/2019 Brayan E. Vasquez                $13.00   56.28   $   12.00         $ 105.84   $     105.84
 7/28/2019 Brayan E. Vasquez                $13.00   55.57   $   12.00         $ 101.18   $     101.18
  8/4/2019 Brayan E. Vasquez                $13.00   54.67   $   12.00         $ 95.33    $      95.33
 8/11/2019 Brayan E. Vasquez                $13.00   62.87   $   12.00         $ 148.63   $     148.63
 8/18/2019 Brayan E. Vasquez                $13.00   61.40   $   12.00         $ 139.10   $     139.10
 8/25/2019 Brayan E. Vasquez                $13.00   64.50   $   12.00         $ 159.25   $     159.25
  9/1/2019 Brayan E. Vasquez                $13.00   60.88   $   12.00         $ 135.74   $     135.74
  9/8/2019 Brayan E. Vasquez                $13.00   54.38   $   12.00         $ 93.49    $      93.49
 9/15/2019 Brayan E. Vasquez                $13.00   68.85   $   12.00         $ 187.53   $     187.53
 9/22/2019 Brayan E. Vasquez                $13.00   70.87   $   12.00         $ 200.63   $     200.63
 9/29/2019 Brayan E. Vasquez                $13.00   55.48   $   12.00         $ 100.64   $     100.64
 10/6/2019 Brayan E. Vasquez                $13.00   58.82   $   12.00         $ 122.31   $     122.31
10/13/2019 Brayan E. Vasquez                $13.00   54.65   $   12.00         $ 95.22    $      95.22
10/20/2019 Brayan E. Vasquez                $13.00   67.28   $   12.00         $ 177.34   $     177.34
10/27/2019 Brayan E. Vasquez                $13.00   52.12   $   12.00         $ 78.76    $      78.76
 11/3/2019 Brayan E. Vasquez                $13.00   68.20   $   12.00         $ 183.30   $     183.30
11/10/2019 Brayan E. Vasquez                $13.00   60.57   $   12.00         $ 133.68   $     133.68
11/17/2019 Brayan E. Vasquez                $13.00   70.07   $   12.00         $ 195.43   $     195.43
11/24/2019 Brayan E. Vasquez                $13.00   55.60   $   12.00         $ 101.40   $     101.40
 12/1/2019 Brayan E. Vasquez                $13.00   57.78   $   12.00         $ 115.59   $     115.59
 12/8/2019 Brayan E. Vasquez                $13.00   69.18   $   12.00         $ 189.69   $     189.69
12/15/2019 Brayan E. Vasquez                $13.00   68.00   $   12.00         $ 182.00   $     182.00
12/22/2019 Brayan E. Vasquez                $13.00   57.25   $   12.00         $ 112.13   $     112.13
12/29/2019 Brayan E. Vasquez                $13.00   53.22   $   12.00         $ 85.91    $      85.91
  1/5/2020 Brayan E. Vasquez                $13.00   53.33   $   13.00         $ 86.67    $      86.67
 1/12/2020 Brayan E. Vasquez                $13.00   56.53   $   13.00         $ 107.47   $     107.47
 1/19/2020 Brayan E. Vasquez                $13.00   70.30   $   13.00         $ 196.95   $     196.95
 1/26/2020 Brayan E. Vasquez                $13.00   67.23   $   13.00         $ 177.02   $     177.02
  2/5/2017 Breydi Aguilar                   $10.50   51.37   $   10.00         $ 59.68    $      59.68
 2/19/2017 Breydi Aguilar                   $10.50   43.65   $   10.00         $ 19.16    $      19.16
  3/5/2017 Breydi Aguilar                   $10.50   52.93   $   10.00         $ 67.90    $      67.90
 3/26/2017 Breydi Aguilar                   $10.50   49.00   $   10.00         $ 47.25    $      47.25
  4/9/2017 Breydi Aguilar                   $10.50   48.93   $   10.00         $ 46.90    $      46.90
  5/7/2017 Breydi Aguilar                   $10.50   42.95   $   10.00         $ 15.49    $      15.49
 6/11/2017 Breydi Aguilar                   $10.50   48.22   $   10.00         $ 43.14    $      43.14
 6/25/2017 Breydi Aguilar                   $10.50   55.40   $   10.00         $ 80.85    $      80.85
  7/2/2017 Breydi Aguilar                   $10.50   49.68   $   10.00         $ 50.84    $      50.84
 7/23/2017 Breydi Aguilar                   $10.50   60.02   $   10.00         $ 105.09   $     105.09
 7/30/2017 Breydi Aguilar                   $10.50   49.60   $   10.00         $ 50.40    $      50.40
  8/6/2017 Breydi Aguilar                   $10.50   62.18   $   10.00         $ 116.46   $     116.46


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                                              Exhibit 5
                                     Long Island Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                       Name                       Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 8/13/2017 Breydi Aguilar                  $10.50   52.32   $   10.00               $ 64.66    $    64.66
 8/20/2017 Breydi Aguilar                  $10.50   51.10   $   10.00               $ 58.28    $    58.28
 8/27/2017 Breydi Aguilar                  $10.50   60.92   $   10.00               $ 109.81   $   109.81
  9/3/2017 Breydi Aguilar                  $10.50   58.72   $   10.00               $ 98.26    $    98.26
 9/10/2017 Breydi Aguilar                  $10.50   41.58   $   10.00               $   8.31   $     8.31
 9/17/2017 Breydi Aguilar                  $10.50   45.15   $   10.00               $ 27.04    $    27.04
 10/1/2017 Breydi Aguilar                  $10.50   41.13   $   10.00               $   5.95   $     5.95
 10/8/2017 Breydi Aguilar                  $10.50   48.77   $   10.00               $ 46.03    $    46.03
10/22/2017 Breydi Aguilar                  $10.50   60.00   $   10.00               $ 105.00   $   105.00
10/29/2017 Breydi Aguilar                  $10.50   50.45   $   10.00               $ 54.86    $    54.86
11/12/2017 Breydi Aguilar                  $10.50   55.73   $   10.00               $ 82.60    $    82.60
11/19/2017 Breydi Aguilar                  $10.50   60.72   $   10.00               $ 108.76   $   108.76
11/26/2017 Breydi Aguilar                  $10.50   47.27   $   10.00               $ 38.15    $    38.15
 12/3/2017 Breydi Aguilar                  $10.50   66.30   $   10.00               $ 138.08   $   138.08
12/10/2017 Breydi Aguilar                  $10.50   52.05   $   10.00               $ 63.26    $    63.26
12/17/2017 Breydi Aguilar                  $10.50   51.70   $   10.00               $ 61.43    $    61.43
12/31/2017 Breydi Aguilar                  $10.50   41.63   $   11.00   $   20.82   $   8.98   $    29.80
 2/11/2018 Breydi Aguilar                  $10.50   48.07   $   11.00   $   24.03   $ 44.37    $    68.40
  3/4/2018 Breydi Aguilar                  $10.50   48.17   $   11.00   $   24.08   $ 44.92    $    69.00
 3/25/2018 Breydi Aguilar                  $10.50   48.60   $   11.00   $   24.30   $ 47.30    $    71.60
  4/8/2018 Breydi Aguilar                  $10.50   49.55   $   11.00   $   24.78   $ 52.53    $    77.30
 4/15/2018 Breydi Aguilar                  $10.50   50.52   $   11.00   $   25.26   $ 57.84    $    83.10
 4/22/2018 Breydi Aguilar                  $10.50   49.35   $   11.00   $   24.68   $ 51.43    $    76.10
 4/29/2018 Breydi Aguilar                  $10.50   59.43   $   11.00   $   29.72   $ 106.88   $   136.60
  5/6/2018 Breydi Aguilar                  $10.50   47.45   $   11.00   $   23.73   $ 40.98    $    64.70
 5/13/2018 Breydi Aguilar                  $10.50   50.57   $   11.00   $   25.28   $ 58.12    $    83.40
 5/20/2018 Breydi Aguilar                  $10.50   47.53   $   11.00   $   23.77   $ 41.43    $    65.20
 6/17/2018 Breydi Aguilar                  $10.50   42.17   $   11.00   $   21.08   $ 11.92    $    33.00
 7/15/2018 Breydi Aguilar                  $10.50   40.73   $   11.00   $   20.37   $   4.03   $    24.40
 7/22/2018 Breydi Aguilar                  $10.50   48.35   $   11.00   $   24.18   $ 45.93    $    70.10
 7/29/2018 Breydi Aguilar                  $10.50   53.17   $   11.00   $   26.58   $ 72.42    $    99.00
 1/14/2018 Carlos A. Villanueva            $11.00   47.13   $   11.00               $ 39.23    $    39.23
 2/10/2019 Carlos De Jesus                 $12.00   48.22   $   12.00               $ 49.30    $    49.30
 2/24/2019 Carlos De Jesus                 $12.00   48.17   $   12.00               $ 49.00    $    49.00
  3/3/2019 Carlos De Jesus                 $12.00   47.75   $   12.00               $ 46.50    $    46.50
 3/10/2019 Carlos De Jesus                 $12.00   47.72   $   12.00               $ 46.30    $    46.30
 3/24/2019 Carlos De Jesus                 $12.00   47.60   $   12.00               $ 45.60    $    45.60
 3/31/2019 Carlos De Jesus                 $12.00   48.97   $   12.00               $ 53.80    $    53.80
  4/7/2019 Carlos De Jesus                 $12.00   50.30   $   12.00               $ 61.80    $    61.80
 4/21/2019 Carlos De Jesus                 $12.00   52.88   $   12.00               $ 77.30    $    77.30
 4/28/2019 Carlos De Jesus                 $12.00   50.17   $   12.00               $ 61.00    $    61.00
  5/5/2019 Carlos De Jesus                 $12.00   52.92   $   12.00               $ 77.50    $    77.50
 5/12/2019 Carlos De Jesus                 $12.00   60.47   $   12.00               $ 122.80   $   122.80
 5/19/2019 Carlos De Jesus                 $12.00   52.95   $   12.00               $ 77.70    $    77.70
 5/26/2019 Carlos De Jesus                 $12.00   52.70   $   12.00               $ 76.20    $    76.20
  6/2/2019 Carlos De Jesus                 $12.00   49.42   $   12.00               $ 56.50    $    56.50
  6/9/2019 Carlos De Jesus                 $12.00   50.28   $   12.00               $ 61.70    $    61.70
 6/16/2019 Carlos De Jesus                 $12.00   46.53   $   12.00               $ 39.20    $    39.20
 6/23/2019 Carlos De Jesus                 $12.00   50.60   $   12.00               $ 63.60    $    63.60
 6/30/2019 Carlos De Jesus                 $12.00   47.38   $   12.00               $ 44.30    $    44.30
 7/14/2019 Carlos De Jesus                 $13.00   42.85   $   12.00               $ 18.53    $    18.53
 7/21/2019 Carlos De Jesus                 $13.00   50.08   $   12.00               $ 65.54    $    65.54


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                                                Exhibit 5
                                       Long Island Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                      Name                          Minimum  Regular Half-Time Overtime Back
                                              Rate Week
  Date                                                      Wage   Rate Due     Due       Wages Due

 7/28/2019 Carlos De Jesus                   $13.00   45.38   $   12.00               $ 34.99    $    34.99
  8/4/2019 Carlos De Jesus                   $13.00   50.48   $   12.00               $ 68.14    $    68.14
 8/11/2019 Carlos De Jesus                   $13.00   50.85   $   12.00               $ 70.53    $    70.53
 8/18/2019 Carlos De Jesus                   $13.00   50.07   $   12.00               $ 65.43    $    65.43
 8/25/2019 Carlos De Jesus                   $13.00   50.52   $   12.00               $ 68.36    $    68.36
  9/1/2019 Carlos De Jesus                   $13.00   50.37   $   12.00               $ 67.38    $    67.38
  9/8/2019 Carlos De Jesus                   $13.00   40.60   $   12.00               $   3.90   $     3.90
 9/15/2019 Carlos De Jesus                   $13.00   49.83   $   12.00               $ 63.92    $    63.92
 9/22/2019 Carlos De Jesus                   $13.00   50.33   $   12.00               $ 67.17    $    67.17
 9/29/2019 Carlos De Jesus                   $13.00   58.20   $   12.00               $ 118.30   $   118.30
 10/6/2019 Carlos De Jesus                   $13.00   46.93   $   12.00               $ 45.07    $    45.07
10/13/2019 Carlos De Jesus                   $13.00   50.10   $   12.00               $ 65.65    $    65.65
10/20/2019 Carlos De Jesus                   $13.00   51.15   $   12.00               $ 72.48    $    72.48
10/27/2019 Carlos De Jesus                   $13.00   49.78   $   12.00               $ 63.59    $    63.59
 11/3/2019 Carlos De Jesus                   $13.00   50.93   $   12.00               $ 71.07    $    71.07
11/10/2019 Carlos De Jesus                   $13.00   50.07   $   12.00               $ 65.43    $    65.43
11/17/2019 Carlos De Jesus                   $13.00   51.15   $   12.00               $ 72.47    $    72.47
11/24/2019 Carlos De Jesus                   $13.00   50.80   $   12.00               $ 70.20    $    70.20
 12/1/2019 Carlos De Jesus                   $13.00   40.98   $   12.00               $   6.39   $     6.39
 12/8/2019 Carlos De Jesus                   $13.00   51.37   $   12.00               $ 73.88    $    73.88
12/15/2019 Carlos De Jesus                   $13.00   51.78   $   12.00               $ 76.59    $    76.59
  1/5/2020 Carlos De Jesus                   $12.00   40.20   $   13.00   $   40.20   $   1.30   $    41.50
 1/12/2020 Carlos De Jesus                   $12.00   40.28   $   13.00   $   40.28   $   1.84   $    42.13
 1/19/2020 Carlos De Jesus                   $12.00   48.40   $   13.00   $   48.40   $ 54.60    $   103.00
 1/26/2020 Carlos De Jesus                   $13.00   45.78   $   13.00               $ 37.59    $    37.59
  7/8/2018 Carlos Garcia                     $16.50   53.72   $   11.00               $ 113.16   $   113.16
 7/15/2018 Carlos Garcia                     $16.50   47.65   $   11.00               $ 63.11    $    63.11
 7/22/2018 Carlos Garcia                     $16.50   44.20   $   11.00               $ 34.65    $    34.65
  8/5/2018 Carlos Garcia                     $16.50   49.48   $   11.00               $ 78.24    $    78.24
 7/21/2019 Carlos Wilfredo Zarralega         $13.00   58.97   $   12.00               $ 123.28   $   123.28
 7/28/2019 Carlos Wilfredo Zarralega         $13.00   59.12   $   12.00               $ 124.26   $   124.26
  8/4/2019 Carlos Wilfredo Zarralega         $13.00   59.77   $   12.00               $ 128.48   $   128.48
 8/11/2019 Carlos Wilfredo Zarralega         $13.00   59.07   $   12.00               $ 123.93   $   123.93
 8/18/2019 Carlos Wilfredo Zarralega         $13.00   59.67   $   12.00               $ 127.83   $   127.83
 8/25/2019 Carlos Wilfredo Zarralega         $13.00   59.88   $   12.00               $ 129.24   $   129.24
  9/1/2019 Carlos Wilfredo Zarralega         $13.00   60.00   $   12.00               $ 130.00   $   130.00
  9/8/2019 Carlos Wilfredo Zarralega         $13.00   48.85   $   12.00               $ 57.53    $    57.53
 9/15/2019 Carlos Wilfredo Zarralega         $13.00   59.62   $   12.00               $ 127.51   $   127.51
 9/22/2019 Carlos Wilfredo Zarralega         $13.00   59.50   $   12.00               $ 126.75   $   126.75
 9/29/2019 Carlos Wilfredo Zarralega         $13.00   59.82   $   12.00               $ 128.81   $   128.81
 10/6/2019 Carlos Wilfredo Zarralega         $13.00   58.53   $   12.00               $ 120.47   $   120.47
10/13/2019 Carlos Wilfredo Zarralega         $13.00   59.75   $   12.00               $ 128.38   $   128.38
10/20/2019 Carlos Wilfredo Zarralega         $13.00   59.72   $   12.00               $ 128.16   $   128.16
10/27/2019 Carlos Wilfredo Zarralega         $13.00   59.27   $   12.00               $ 125.23   $   125.23
 11/3/2019 Carlos Wilfredo Zarralega         $13.00   59.70   $   12.00               $ 128.05   $   128.05
11/10/2019 Carlos Wilfredo Zarralega         $13.00   59.50   $   12.00               $ 126.75   $   126.75
11/17/2019 Carlos Wilfredo Zarralega         $13.00   59.40   $   12.00               $ 126.10   $   126.10
11/24/2019 Carlos Wilfredo Zarralega         $13.00   59.05   $   12.00               $ 123.83   $   123.83
 12/1/2019 Carlos Wilfredo Zarralega         $13.00   49.10   $   12.00               $ 59.15    $    59.15
 12/8/2019 Carlos Wilfredo Zarralega         $13.00   58.88   $   12.00               $ 122.74   $   122.74
12/15/2019 Carlos Wilfredo Zarralega         $13.00   58.90   $   12.00               $ 122.85   $   122.85
12/22/2019 Carlos Wilfredo Zarralega         $13.00   59.22   $   12.00               $ 124.91   $   124.91


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                                                Exhibit 5
                                       Long Island Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                      Name                          Minimum  Regular Half-Time Overtime Back
                                              Rate Week
  Date                                                      Wage   Rate Due     Due       Wages Due

12/29/2019 Carlos Wilfredo Zarralega         $13.00   46.33   $   12.00         $ 41.17    $      41.17
  1/5/2020 Carlos Wilfredo Zarralega         $13.00   47.82   $   13.00         $ 50.81    $      50.81
 1/12/2020 Carlos Wilfredo Zarralega         $13.00   58.97   $   13.00         $ 123.28   $     123.28
 1/19/2020 Carlos Wilfredo Zarralega         $13.00   58.93   $   13.00         $ 123.07   $     123.07
 1/26/2020 Carlos Wilfredo Zarralega         $13.00   59.25   $   13.00         $ 125.13   $     125.13
 6/11/2017 Chon Alvarado Ramirez             $11.00   47.22   $   10.00         $ 39.69    $      39.69
 6/18/2017 Chon Alvarado Ramirez             $11.00   60.00   $   10.00         $ 110.00   $     110.00
 6/25/2017 Chon Alvarado Ramirez             $11.00   59.75   $   10.00         $ 108.63   $     108.63
  7/2/2017 Chon Alvarado Ramirez             $11.00   60.33   $   10.00         $ 111.83   $     111.83
  7/9/2017 Chon Alvarado Ramirez             $11.00   48.00   $   10.00         $ 44.00    $      44.00
 7/16/2017 Chon Alvarado Ramirez             $11.00   59.67   $   10.00         $ 108.17   $     108.17
 7/23/2017 Chon Alvarado Ramirez             $11.00   59.78   $   10.00         $ 108.81   $     108.81
 7/30/2017 Chon Alvarado Ramirez             $11.00   59.43   $   10.00         $ 106.88   $     106.88
  8/6/2017 Chon Alvarado Ramirez             $11.00   59.30   $   10.00         $ 106.15   $     106.15
 8/13/2017 Chon Alvarado Ramirez             $11.00   59.35   $   10.00         $ 106.43   $     106.43
 8/20/2017 Chon Alvarado Ramirez             $11.00   59.67   $   10.00         $ 108.17   $     108.17
 8/27/2017 Chon Alvarado Ramirez             $11.00   60.05   $   10.00         $ 110.28   $     110.28
  9/3/2017 Chon Alvarado Ramirez             $11.00   62.00   $   10.00         $ 121.00   $     121.00
 9/10/2017 Chon Alvarado Ramirez             $11.00   49.03   $   10.00         $ 49.68    $      49.68
 9/17/2017 Chon Alvarado Ramirez             $11.00   59.48   $   10.00         $ 107.16   $     107.16
 9/24/2017 Chon Alvarado Ramirez             $11.00   59.57   $   10.00         $ 107.62   $     107.62
 10/1/2017 Chon Alvarado Ramirez             $11.00   59.52   $   10.00         $ 107.34   $     107.34
 10/8/2017 Chon Alvarado Ramirez             $11.00   59.75   $   10.00         $ 108.63   $     108.63
10/15/2017 Chon Alvarado Ramirez             $11.00   59.28   $   10.00         $ 106.06   $     106.06
10/22/2017 Chon Alvarado Ramirez             $11.00   59.57   $   10.00         $ 107.62   $     107.62
10/29/2017 Chon Alvarado Ramirez             $11.00   59.50   $   10.00         $ 107.25   $     107.25
 11/5/2017 Chon Alvarado Ramirez             $11.00   59.18   $   10.00         $ 105.51   $     105.51
11/12/2017 Chon Alvarado Ramirez             $11.00   59.90   $   10.00         $ 109.45   $     109.45
11/19/2017 Chon Alvarado Ramirez             $11.00   60.68   $   10.00         $ 113.76   $     113.76
11/26/2017 Chon Alvarado Ramirez             $11.00   46.73   $   10.00         $ 37.03    $      37.03
 12/3/2017 Chon Alvarado Ramirez             $11.00   60.82   $   10.00         $ 114.49   $     114.49
12/10/2017 Chon Alvarado Ramirez             $11.00   59.32   $   10.00         $ 106.24   $     106.24
12/17/2017 Chon Alvarado Ramirez             $11.00   56.00   $   10.00         $ 88.00    $      88.00
12/24/2017 Chon Alvarado Ramirez             $11.00   59.07   $   10.00         $ 104.87   $     104.87
12/31/2017 Chon Alvarado Ramirez             $11.00   49.65   $   11.00         $ 53.08    $      53.08
  1/7/2018 Chon Alvarado Ramirez             $11.00   41.78   $   11.00         $   9.81   $       9.81
 1/14/2018 Chon Alvarado Ramirez             $11.00   60.92   $   11.00         $ 115.04   $     115.04
 1/21/2018 Chon Alvarado Ramirez             $11.00   56.08   $   11.00         $ 88.46    $      88.46
 1/28/2018 Chon Alvarado Ramirez             $11.00   59.92   $   11.00         $ 109.54   $     109.54
  2/4/2018 Chon Alvarado Ramirez             $11.00   59.32   $   11.00         $ 106.24   $     106.24
 2/11/2018 Chon Alvarado Ramirez             $11.00   59.78   $   11.00         $ 108.81   $     108.81
 2/18/2018 Chon Alvarado Ramirez             $11.00   59.82   $   11.00         $ 108.99   $     108.99
 2/25/2018 Chon Alvarado Ramirez             $11.00   59.88   $   11.00         $ 109.36   $     109.36
  3/4/2018 Chon Alvarado Ramirez             $11.00   51.77   $   11.00         $ 64.72    $      64.72
 3/25/2018 Chon Alvarado Ramirez             $11.00   57.35   $   11.00         $ 95.43    $      95.43
  2/5/2017 Chris Eduardo Escobar             $10.00   43.43   $   10.00         $ 17.17    $      17.17
 2/19/2017 Chris Eduardo Escobar             $10.00   40.53   $   10.00         $   2.67   $       2.67
  3/5/2017 Chris Eduardo Escobar             $10.00   59.35   $   10.00         $ 96.75    $      96.75
 3/26/2017 Chris Eduardo Escobar             $10.00   43.47   $   10.00         $ 17.33    $      17.33
  4/2/2017 Chris Eduardo Escobar             $10.00   55.12   $   10.00         $ 75.58    $      75.58
  4/9/2017 Chris Eduardo Escobar             $10.00   51.70   $   10.00         $ 58.50    $      58.50
 4/16/2017 Chris Eduardo Escobar             $10.00   55.65   $   10.00         $ 78.25    $      78.25


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                                                     Exhibit 5
                                            Long Island Computations


  Week                                                            State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
 Ending                       Name                              Minimum  Regular Half-Time Overtime Back
                                                   Rate Week
  Date                                                           Wage   Rate Due     Due       Wages Due

 4/23/2017 Chris Eduardo Escobar                  $10.00   51.07   $   10.00               $ 55.33    $    55.33
 4/30/2017 Chris Eduardo Escobar                  $10.00   48.97   $   10.00               $ 44.83    $    44.83
  5/7/2017 Chris Eduardo Escobar                  $10.00   44.02   $   10.00               $ 20.08    $    20.08
 5/14/2017 Chris Eduardo Escobar                  $10.00   47.88   $   10.00               $ 39.42    $    39.42
 5/21/2017 Chris Eduardo Escobar                  $10.00   56.02   $   10.00               $ 80.08    $    80.08
 5/28/2017 Chris Eduardo Escobar                  $10.00   58.75   $   10.00               $ 93.75    $    93.75
  6/4/2017 Chris Eduardo Escobar                  $10.00   41.72   $   10.00               $   8.58   $     8.58
 6/18/2017 Chris Eduardo Escobar                  $10.00   50.37   $   10.00               $ 51.83    $    51.83
 7/16/2017 Chris Eduardo Escobar                  $10.00   48.53   $   10.00               $ 42.67    $    42.67
 8/20/2017 Chris Eduardo Escobar                  $10.00   40.42   $   10.00               $   2.08   $     2.08
 9/10/2017 Chris Eduardo Escobar                  $10.00   40.23   $   10.00               $   1.17   $     1.17
 9/17/2017 Chris Eduardo Escobar                  $10.00   53.32   $   10.00               $ 66.58    $    66.58
 10/1/2017 Chris Eduardo Escobar                  $10.00   40.55   $   10.00               $   2.75   $     2.75
 10/8/2017 Chris Eduardo Escobar                  $10.00   59.32   $   10.00               $ 96.58    $    96.58
10/15/2017 Chris Eduardo Escobar                  $10.00   48.20   $   10.00               $ 41.00    $    41.00
10/22/2017 Chris Eduardo Escobar                  $10.00   46.45   $   10.00               $ 32.25    $    32.25
10/29/2017 Chris Eduardo Escobar                  $10.00   41.38   $   10.00               $   6.92   $     6.92
 11/5/2017 Chris Eduardo Escobar                  $10.00   47.02   $   10.00               $ 35.08    $    35.08
11/12/2017 Chris Eduardo Escobar                  $10.00   53.72   $   10.00               $ 68.58    $    68.58
11/19/2017 Chris Eduardo Escobar                  $10.00   55.17   $   10.00               $ 75.83    $    75.83
 12/3/2017 Chris Eduardo Escobar                  $10.00   56.83   $   10.00               $ 84.17    $    84.17
12/10/2017 Chris Eduardo Escobar                  $10.00   45.08   $   10.00               $ 25.42    $    25.42
12/17/2017 Chris Eduardo Escobar                  $10.00   46.98   $   10.00               $ 34.92    $    34.92
12/24/2017 Chris Eduardo Escobar                  $10.00   44.33   $   10.00               $ 21.67    $    21.67
  3/4/2018 Chris Eduardo Escobar                  $10.00   44.65   $   11.00   $   44.65   $ 25.58    $    70.23
  4/1/2018 Chris Eduardo Escobar                  $10.00   42.30   $   11.00   $   42.30   $ 12.65    $    54.95
  4/8/2018 Chris Eduardo Escobar                  $10.00   43.17   $   11.00   $   43.17   $ 17.42    $    60.58
 4/22/2018 Chris Eduardo Escobar                  $10.00   41.63   $   11.00   $   41.63   $   8.98   $    50.62
 9/23/2018 Christian Ariel Banegas Castro         $11.00   62.20   $   11.00               $ 122.10   $   122.10
 9/30/2018 Christian Ariel Banegas Castro         $11.00   63.08   $   11.00               $ 126.96   $   126.96
 10/7/2018 Christian Ariel Banegas Castro         $11.00   59.43   $   11.00               $ 106.88   $   106.88
10/14/2018 Christian Ariel Banegas Castro         $11.00   62.30   $   11.00               $ 122.65   $   122.65
10/21/2018 Christian Ariel Banegas Castro         $11.00   62.13   $   11.00               $ 121.73   $   121.73
10/28/2018 Christian Ariel Banegas Castro         $11.00   50.37   $   11.00               $ 57.02    $    57.02
 11/4/2018 Christian Ariel Banegas Castro         $11.00   51.32   $   11.00               $ 62.24    $    62.24
11/11/2018 Christian Ariel Banegas Castro         $11.00   60.40   $   11.00               $ 112.20   $   112.20
11/18/2018 Christian Ariel Banegas Castro         $11.00   61.73   $   11.00               $ 119.53   $   119.53
11/25/2018 Christian Ariel Banegas Castro         $11.00   61.87   $   11.00               $ 120.27   $   120.27
 12/2/2018 Christian Ariel Banegas Castro         $11.00   69.35   $   11.00               $ 161.43   $   161.43
 12/9/2018 Christian Ariel Banegas Castro         $11.00   61.13   $   11.00               $ 116.23   $   116.23
12/16/2018 Christian Ariel Banegas Castro         $11.00   60.02   $   11.00               $ 110.09   $   110.09
12/23/2018 Christian Ariel Banegas Castro         $11.00   61.83   $   11.00               $ 120.08   $   120.08
  1/6/2019 Christian Ariel Banegas Castro         $11.00   49.05   $   12.00   $   49.05   $ 54.30    $   103.35
 1/13/2019 Christian Ariel Banegas Castro         $11.00   62.63   $   12.00   $   62.63   $ 135.80   $   198.43
 1/20/2019 Christian Ariel Banegas Castro         $11.00   60.88   $   12.00   $   60.88   $ 125.30   $   186.18
 1/27/2019 Christian Ariel Banegas Castro         $11.00   48.00   $   12.00   $   48.00   $ 48.00    $    96.00
 2/10/2019 Christian Ariel Banegas Castro         $11.00   60.35   $   12.00   $   60.35   $ 122.10   $   182.45
 2/17/2019 Christian Ariel Banegas Castro         $11.00   49.93   $   12.00   $   49.93   $ 59.60    $   109.53
 2/24/2019 Christian Ariel Banegas Castro         $11.00   55.90   $   12.00   $   55.90   $ 95.40    $   151.30
  3/3/2019 Christian Ariel Banegas Castro         $11.00   51.83   $   12.00   $   51.83   $ 71.00    $   122.83
 3/10/2019 Christian Ariel Banegas Castro         $11.00   58.93   $   12.00   $   58.93   $ 113.60   $   172.53
 3/17/2019 Christian Ariel Banegas Castro         $11.00   55.72   $   12.00   $   55.72   $ 94.30    $   150.02


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                                                         Exhibit 5
                                                Long Island Computations


  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                        Name                                 Minimum  Regular Half-Time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

 3/24/2019 Christian Ariel Banegas Castro             $11.00   65.02   $   12.00   $    65.02   $ 150.10   $   215.12
 3/31/2019 Christian Ariel Banegas Castro             $11.00   66.97   $   12.00   $    66.97   $ 161.80   $   228.77
  4/7/2019 Christian Ariel Banegas Castro             $11.00   67.30   $   12.00   $    67.30   $ 163.80   $   231.10
 4/14/2019 Christian Ariel Banegas Castro             $11.00   68.43   $   12.00   $    68.43   $ 170.60   $   239.03
 4/21/2019 Christian Ariel Banegas Castro             $11.00   67.98   $   12.00   $    67.98   $ 167.90   $   235.88
 4/28/2019 Christian Ariel Banegas Castro             $11.00   67.78   $   12.00   $    67.78   $ 166.70   $   234.48
  5/5/2019 Christian Ariel Banegas Castro             $11.00   69.10   $   12.00   $    69.10   $ 174.60   $   243.70
 5/12/2019 Christian Ariel Banegas Castro             $11.00   60.08   $   12.00   $    60.08   $ 120.50   $   180.58
 5/19/2019 Christian Ariel Banegas Castro             $11.00   68.58   $   12.00   $    68.58   $ 171.50   $   240.08
 5/26/2019 Christian Ariel Banegas Castro             $11.00   71.10   $   12.00   $    71.10   $ 186.60   $   257.70
  6/2/2019 Christian Ariel Banegas Castro             $11.00   59.92   $   12.00   $    59.92   $ 119.50   $   179.42
  6/9/2019 Christian Ariel Banegas Castro             $11.00   69.15   $   12.00   $    69.15   $ 174.90   $   244.05
 6/16/2019 Christian Ariel Banegas Castro             $11.00   68.92   $   12.00   $    68.92   $ 173.50   $   242.42
 6/23/2019 Christian Ariel Banegas Castro             $11.00   68.52   $   12.00   $    68.52   $ 171.10   $   239.62
 6/30/2019 Christian Ariel Banegas Castro             $11.00   69.00   $   12.00   $    69.00   $ 174.00   $   243.00
  7/7/2019 Christian Ariel Banegas Castro             $11.00   52.22   $   12.00   $    52.22   $ 73.30    $   125.52
 7/14/2019 Christian Ariel Banegas Castro             $11.00   54.70   $   12.00   $    54.70   $ 88.20    $   142.90
 7/21/2019 Christian Ariel Banegas Castro             $11.00   62.85   $   12.00   $    62.85   $ 137.10   $   199.95
 7/28/2019 Christian Ariel Banegas Castro             $11.00   62.00   $   12.00   $    62.00   $ 132.00   $   194.00
  8/4/2019 Christian Ariel Banegas Castro             $11.00   62.28   $   12.00   $    62.28   $ 133.70   $   195.98
 8/11/2019 Christian Ariel Banegas Castro             $11.00   51.50   $   12.00   $    51.50   $ 69.00    $   120.50
 8/18/2019 Christian Ariel Banegas Castro             $11.00   61.88   $   12.00   $    61.88   $ 131.30   $   193.18
 8/25/2019 Christian Ariel Banegas Castro             $11.00   62.02   $   12.00   $    62.02   $ 132.10   $   194.12
  9/1/2019 Christian Ariel Banegas Castro             $11.00   62.07   $   12.00   $    62.07   $ 132.40   $   194.47
  9/8/2019 Christian Ariel Banegas Castro             $11.00   51.27   $   12.00   $    51.27   $ 67.60    $   118.87
 9/15/2019 Christian Ariel Banegas Castro             $11.00   61.97   $   12.00   $    61.97   $ 131.80   $   193.77
 9/22/2019 Christian Ariel Banegas Castro             $11.00   61.95   $   12.00   $    61.95   $ 131.70   $   193.65
 9/29/2019 Christian Ariel Banegas Castro             $11.00   61.38   $   12.00   $    61.38   $ 128.30   $   189.68
 10/6/2019 Christian Ariel Banegas Castro             $11.00   54.10   $   12.00   $    54.10   $ 84.60    $   138.70
10/13/2019 Christian Ariel Banegas Castro             $11.00   61.87   $   12.00   $    61.87   $ 131.20   $   193.07
10/20/2019 Christian Ariel Banegas Castro             $11.00   61.05   $   12.00   $    61.05   $ 126.30   $   187.35
10/27/2019 Christian Ariel Banegas Castro             $11.00   61.15   $   12.00   $    61.15   $ 126.90   $   188.05
 11/3/2019 Christian Ariel Banegas Castro             $11.00   61.50   $   12.00   $    61.50   $ 129.00   $   190.50
11/10/2019 Christian Ariel Banegas Castro             $11.00   63.15   $   12.00   $    63.15   $ 138.90   $   202.05
11/17/2019 Christian Ariel Banegas Castro             $11.00   55.32   $   12.00   $    55.32   $ 91.90    $   147.22
11/24/2019 Christian Ariel Banegas Castro             $11.00   61.93   $   12.00   $    61.93   $ 131.60   $   193.53
 12/1/2019 Christian Ariel Banegas Castro             $11.00   52.63   $   12.00   $    52.63   $ 75.80    $   128.43
 12/8/2019 Christian Ariel Banegas Castro             $11.00   59.62   $   12.00   $    59.62   $ 117.70   $   177.32
12/15/2019 Christian Ariel Banegas Castro             $11.00   62.20   $   12.00   $    62.20   $ 133.20   $   195.40
12/22/2019 Christian Ariel Banegas Castro             $11.00   61.75   $   12.00   $    61.75   $ 130.50   $   192.25
12/29/2019 Christian Ariel Banegas Castro             $11.00   49.13   $   12.00   $    49.13   $ 54.80    $   103.93
  1/5/2020 Christian Ariel Banegas Castro             $11.00   52.27   $   13.00   $   104.53   $ 79.73    $   184.27
 1/12/2020 Christian Ariel Banegas Castro             $11.00   62.97   $   13.00   $   125.93   $ 149.28   $   275.22
 1/19/2020 Christian Ariel Banegas Castro             $11.00   52.57   $   13.00   $   105.13   $ 81.68    $   186.82
 1/26/2020 Christian Ariel Banegas Castro             $13.00   52.55   $   13.00                $ 81.58    $    81.58
 6/24/2018 Christopher David Lafrance                 $11.00   62.00   $   11.00                $ 121.00   $   121.00
  7/1/2018 Christopher David Lafrance                 $11.00   58.87   $   11.00                $ 103.77   $   103.77
12/30/2018 Concepcion Munguia                         $10.00   47.00   $   11.00   $    47.00   $ 38.50    $    85.50
 1/21/2018 Cristian Edgardo Portillo Aparicio         $16.50   43.88   $   11.00                $ 32.04    $    32.04
 1/28/2018 Cristian Edgardo Portillo Aparicio         $16.50   40.87   $   11.00                $   7.15   $     7.15
  2/4/2018 Cristian Edgardo Portillo Aparicio         $16.50   40.28   $   11.00                $   2.34   $     2.34
 2/18/2018 Cristian Edgardo Portillo Aparicio         $16.50   41.33   $   11.00                $ 11.00    $    11.00


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                                                         Exhibit 5
                                                Long Island Computations


  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                        Name                                 Minimum  Regular Half-Time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

 2/25/2018 Cristian Edgardo Portillo Aparicio         $16.50   40.28   $   11.00         $   2.34   $       2.34
  4/1/2018 Cristian Edgardo Portillo Aparicio         $16.50   41.53   $   11.00         $ 12.65    $      12.65
 4/15/2018 Cristian Edgardo Portillo Aparicio         $16.50   40.65   $   11.00         $   5.36   $       5.36
 4/29/2018 Cristian Edgardo Portillo Aparicio         $16.50   42.02   $   11.00         $ 16.64    $      16.64
  5/6/2018 Cristian Edgardo Portillo Aparicio         $16.50   48.38   $   11.00         $ 69.16    $      69.16
 5/13/2018 Cristian Edgardo Portillo Aparicio         $16.50   57.75   $   11.00         $ 146.44   $     146.44
 5/20/2018 Cristian Edgardo Portillo Aparicio         $16.50   57.48   $   11.00         $ 144.24   $     144.24
 5/27/2018 Cristian Edgardo Portillo Aparicio         $16.50   57.82   $   11.00         $ 146.99   $     146.99
  6/3/2018 Cristian Edgardo Portillo Aparicio         $16.50   48.40   $   11.00         $ 69.30    $      69.30
 6/10/2018 Cristian Edgardo Portillo Aparicio         $16.50   61.08   $   11.00         $ 173.94   $     173.94
 6/17/2018 Cristian Edgardo Portillo Aparicio         $16.50   64.48   $   11.00         $ 201.99   $     201.99
 6/24/2018 Cristian Edgardo Portillo Aparicio         $16.50   57.30   $   11.00         $ 142.73   $     142.73
  7/1/2018 Cristian Edgardo Portillo Aparicio         $16.50   63.20   $   11.00         $ 191.40   $     191.40
  7/8/2018 Cristian Edgardo Portillo Aparicio         $16.50   51.97   $   11.00         $ 98.73    $      98.73
 7/15/2018 Cristian Edgardo Portillo Aparicio         $16.50   58.57   $   11.00         $ 153.18   $     153.18
 7/22/2018 Cristian Edgardo Portillo Aparicio         $16.50   58.25   $   11.00         $ 150.56   $     150.56
 7/29/2018 Cristian Edgardo Portillo Aparicio         $16.50   60.47   $   11.00         $ 168.85   $     168.85
  8/5/2018 Cristian Edgardo Portillo Aparicio         $16.50   62.40   $   11.00         $ 184.80   $     184.80
 8/12/2018 Cristian Edgardo Portillo Aparicio         $16.50   42.50   $   11.00         $ 20.63    $      20.63
  5/5/2019 Cristian Edgardo Portillo Aparicio         $12.00   40.78   $   12.00         $   4.70   $       4.70
 5/12/2019 Cristian Edgardo Portillo Aparicio         $12.00   59.88   $   12.00         $ 119.30   $     119.30
 5/19/2019 Cristian Edgardo Portillo Aparicio         $12.00   40.78   $   12.00         $   4.70   $       4.70
 5/26/2019 Cristian Edgardo Portillo Aparicio         $12.00   60.12   $   12.00         $ 120.70   $     120.70
  3/3/2019 Dalendo R. Malary Jr.                      $16.50   44.00   $   12.00         $ 33.00    $      33.00
  2/5/2017 Damian Del Rosario                         $10.00   52.75   $   10.00         $ 63.75    $      63.75
 2/19/2017 Damian Del Rosario                         $10.00   51.05   $   10.00         $ 55.25    $      55.25
 2/26/2017 Damian Del Rosario                         $10.00   53.98   $   10.00         $ 69.92    $      69.92
  3/5/2017 Damian Del Rosario                         $10.00   51.22   $   10.00         $ 56.08    $      56.08
 3/12/2017 Damian Del Rosario                         $10.00   51.80   $   10.00         $ 59.00    $      59.00
 3/26/2017 Damian Del Rosario                         $10.00   51.62   $   10.00         $ 58.08    $      58.08
  4/2/2017 Damian Del Rosario                         $10.00   46.00   $   10.00         $ 30.00    $      30.00
  4/9/2017 Damian Del Rosario                         $10.00   51.62   $   10.00         $ 58.08    $      58.08
 4/16/2017 Damian Del Rosario                         $10.00   52.72   $   10.00         $ 63.58    $      63.58
 4/23/2017 Damian Del Rosario                         $10.00   49.50   $   10.00         $ 47.50    $      47.50
 4/30/2017 Damian Del Rosario                         $10.00   52.20   $   10.00         $ 61.00    $      61.00
  5/7/2017 Damian Del Rosario                         $10.00   51.60   $   10.00         $ 58.00    $      58.00
 5/14/2017 Damian Del Rosario                         $10.00   52.40   $   10.00         $ 62.00    $      62.00
 5/21/2017 Damian Del Rosario                         $10.00   53.12   $   10.00         $ 65.58    $      65.58
 5/28/2017 Damian Del Rosario                         $10.00   53.42   $   10.00         $ 67.08    $      67.08
  6/4/2017 Damian Del Rosario                         $10.00   45.25   $   10.00         $ 26.25    $      26.25
 6/11/2017 Damian Del Rosario                         $10.00   56.35   $   10.00         $ 81.75    $      81.75
 6/18/2017 Damian Del Rosario                         $10.00   48.95   $   10.00         $ 44.75    $      44.75
  7/2/2017 Damian Del Rosario                         $10.00   45.43   $   10.00         $ 27.17    $      27.17
  7/9/2017 Damian Del Rosario                         $10.00   44.45   $   10.00         $ 22.25    $      22.25
 7/16/2017 Damian Del Rosario                         $10.00   54.62   $   10.00         $ 73.08    $      73.08
 7/23/2017 Damian Del Rosario                         $10.00   63.22   $   10.00         $ 116.08   $     116.08
 7/30/2017 Damian Del Rosario                         $10.00   56.07   $   10.00         $ 80.33    $      80.33
  8/6/2017 Damian Del Rosario                         $10.00   54.47   $   10.00         $ 72.33    $      72.33
 8/13/2017 Damian Del Rosario                         $10.00   53.48   $   10.00         $ 67.42    $      67.42
 8/20/2017 Damian Del Rosario                         $10.00   51.47   $   10.00         $ 57.33    $      57.33
 8/27/2017 Damian Del Rosario                         $10.00   54.13   $   10.00         $ 70.67    $      70.67
  9/3/2017 Damian Del Rosario                         $10.00   53.33   $   10.00         $ 66.67    $      66.67


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                                            Exhibit 5
                                   Long Island Computations


  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                     Name                       Minimum  Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                  Wage   Rate Due     Due       Wages Due

 9/10/2017 Damian Del Rosario            $10.00   44.08   $   10.00               $   20.42   $    20.42
 9/17/2017 Damian Del Rosario            $10.00   53.40   $   10.00               $   67.00   $    67.00
 9/24/2017 Damian Del Rosario            $10.00   54.12   $   10.00               $   70.58   $    70.58
 10/1/2017 Damian Del Rosario            $10.00   53.87   $   10.00               $   69.33   $    69.33
 10/8/2017 Damian Del Rosario            $10.00   53.95   $   10.00               $   69.75   $    69.75
10/15/2017 Damian Del Rosario            $10.00   56.45   $   10.00               $   82.25   $    82.25
10/22/2017 Damian Del Rosario            $10.00   54.15   $   10.00               $   70.75   $    70.75
10/29/2017 Damian Del Rosario            $10.00   53.00   $   10.00               $   65.00   $    65.00
 11/5/2017 Damian Del Rosario            $10.00   53.27   $   10.00               $   66.33   $    66.33
11/12/2017 Damian Del Rosario            $10.00   54.63   $   10.00               $   73.17   $    73.17
11/19/2017 Damian Del Rosario            $10.00   52.92   $   10.00               $   64.58   $    64.58
11/26/2017 Damian Del Rosario            $10.00   42.43   $   10.00               $   12.17   $    12.17
 12/3/2017 Damian Del Rosario            $10.00   52.65   $   10.00               $   63.25   $    63.25
12/10/2017 Damian Del Rosario            $10.00   54.43   $   10.00               $   72.17   $    72.17
12/24/2017 Damian Del Rosario            $10.00   52.12   $   10.00               $   60.58   $    60.58
12/31/2017 Damian Del Rosario            $10.00   43.90   $   11.00   $   43.90   $   21.45   $    65.35
  1/7/2018 Damian Del Rosario            $10.00   40.60   $   11.00   $   40.60   $    3.30   $    43.90
 1/14/2018 Damian Del Rosario            $10.00   53.55   $   11.00   $   53.55   $   74.53   $   128.08
 1/21/2018 Damian Del Rosario            $10.00   53.10   $   11.00   $   53.10   $   72.05   $   125.15
 1/28/2018 Damian Del Rosario            $10.00   52.57   $   11.00   $   52.57   $   69.12   $   121.68
  2/4/2018 Damian Del Rosario            $10.00   44.30   $   11.00   $   44.30   $   23.65   $    67.95
 3/25/2018 Damian Del Rosario            $10.00   52.28   $   11.00   $   52.28   $   67.56   $   119.84
  4/1/2018 Damian Del Rosario            $10.00   55.05   $   11.00   $   55.05   $   82.78   $   137.83
  4/8/2018 Damian Del Rosario            $10.00   53.75   $   11.00   $   53.75   $   75.63   $   129.38
 4/15/2018 Damian Del Rosario            $10.00   54.50   $   11.00   $   54.50   $   79.75   $   134.25
 4/22/2018 Damian Del Rosario            $10.00   44.67   $   11.00   $   44.67   $   25.67   $    70.33
 4/29/2018 Damian Del Rosario            $10.00   55.62   $   11.00   $   55.62   $   85.89   $   141.51
  5/6/2018 Damian Del Rosario            $10.00   55.53   $   11.00   $   55.53   $   85.43   $   140.97
 5/13/2018 Damian Del Rosario            $10.00   53.37   $   11.00   $   53.37   $   73.52   $   126.88
 5/27/2018 Damian Del Rosario            $10.00   54.97   $   11.00   $   54.97   $   82.32   $   137.28
  6/3/2018 Damian Del Rosario            $10.00   48.05   $   11.00   $   48.05   $   44.28   $    92.33
 6/17/2018 Damian Del Rosario            $10.00   46.22   $   11.00   $   46.22   $   34.19   $    80.41
  7/1/2018 Damian Del Rosario            $10.00   47.90   $   11.00   $   47.90   $   43.45   $    91.35
  7/8/2018 Damian Del Rosario            $10.00   43.92   $   11.00   $   43.92   $   21.54   $    65.46
 7/22/2018 Damian Del Rosario            $10.00   55.53   $   11.00   $   55.53   $   85.43   $   140.97
 7/29/2018 Damian Del Rosario            $10.00   54.45   $   11.00   $   54.45   $   79.48   $   133.93
  8/5/2018 Damian Del Rosario            $10.00   44.72   $   11.00   $   44.72   $   25.94   $    70.66
 8/12/2018 Damian Del Rosario            $10.00   54.55   $   11.00   $   54.55   $   80.02   $   134.58
 8/19/2018 Damian Del Rosario            $10.00   54.27   $   11.00   $   54.27   $   78.47   $   132.73
 8/26/2018 Damian Del Rosario            $10.00   53.33   $   11.00   $   53.33   $   73.33   $   126.67
  9/2/2018 Damian Del Rosario            $10.00   56.28   $   11.00   $   56.28   $   89.56   $   145.84
  9/9/2018 Damian Del Rosario            $10.00   44.15   $   11.00   $   44.15   $   22.83   $    66.98
 9/16/2018 Damian Del Rosario            $10.00   48.87   $   11.00   $   48.87   $   48.77   $    97.63
 9/23/2018 Damian Del Rosario            $10.00   45.47   $   11.00   $   45.47   $   30.07   $    75.53
 9/30/2018 Damian Del Rosario            $10.00   49.68   $   11.00   $   49.68   $   53.26   $   102.94
 10/7/2018 Damian Del Rosario            $10.00   53.75   $   11.00   $   53.75   $   75.63   $   129.38
10/14/2018 Damian Del Rosario            $10.00   45.25   $   11.00   $   45.25   $   28.88   $    74.13
10/21/2018 Damian Del Rosario            $10.00   56.60   $   11.00   $   56.60   $   91.30   $   147.90
10/28/2018 Damian Del Rosario            $10.00   47.60   $   11.00   $   47.60   $   41.80   $    89.40
 11/4/2018 Damian Del Rosario            $10.00   57.87   $   11.00   $   57.87   $   98.27   $   156.13
11/11/2018 Damian Del Rosario            $10.00   55.85   $   11.00   $   55.85   $   87.18   $   143.03
11/18/2018 Damian Del Rosario            $10.00   46.18   $   11.00   $   46.18   $   34.01   $    80.19


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                                            Exhibit 5
                                   Long Island Computations


  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                     Name                       Minimum  Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                  Wage   Rate Due     Due       Wages Due

11/25/2018 Damian Del Rosario            $10.00   48.53   $   11.00   $    48.53   $ 46.93    $    95.47
 12/2/2018 Damian Del Rosario            $10.00   58.57   $   11.00   $    58.57   $ 102.12   $   160.68
 12/9/2018 Damian Del Rosario            $10.00   57.28   $   11.00   $    57.28   $ 95.06    $   152.34
12/16/2018 Damian Del Rosario            $10.00   57.23   $   11.00   $    57.23   $ 94.78    $   152.02
12/23/2018 Damian Del Rosario            $10.00   57.62   $   11.00   $    57.62   $ 96.89    $   154.51
12/30/2018 Damian Del Rosario            $10.00   44.68   $   11.00   $    44.68   $ 25.76    $    70.44
  1/6/2019 Damian Del Rosario            $10.00   44.97   $   12.00   $    89.93   $ 29.80    $   119.73
 1/13/2019 Damian Del Rosario            $10.00   47.48   $   12.00   $    94.97   $ 44.90    $   139.87
 1/20/2019 Damian Del Rosario            $10.00   48.45   $   12.00   $    96.90   $ 50.70    $   147.60
 1/27/2019 Damian Del Rosario            $10.00   43.58   $   12.00   $    87.17   $ 21.50    $   108.67
  2/3/2019 Damian Del Rosario            $10.00   44.53   $   12.00   $    89.07   $ 27.20    $   116.27
 2/10/2019 Damian Del Rosario            $10.00   54.82   $   12.00   $   109.63   $ 88.90    $   198.53
 2/17/2019 Damian Del Rosario            $10.00   56.50   $   12.00   $   113.00   $ 99.00    $   212.00
 2/24/2019 Damian Del Rosario            $10.00   58.03   $   12.00   $   116.07   $ 108.20   $   224.27
  3/3/2019 Damian Del Rosario            $10.00   57.83   $   12.00   $   115.67   $ 107.00   $   222.67
 3/10/2019 Damian Del Rosario            $10.00   56.65   $   12.00   $   113.30   $ 99.90    $   213.20
 3/17/2019 Damian Del Rosario            $10.00   57.55   $   12.00   $   115.10   $ 105.30   $   220.40
 3/24/2019 Damian Del Rosario            $10.00   59.62   $   12.00   $   119.23   $ 117.70   $   236.93
 3/31/2019 Damian Del Rosario            $10.00   57.60   $   12.00   $   115.20   $ 105.60   $   220.80
  4/7/2019 Damian Del Rosario            $10.00   56.00   $   12.00   $   112.00   $ 96.00    $   208.00
 4/14/2019 Damian Del Rosario            $10.00   56.83   $   12.00   $   113.67   $ 101.00   $   214.67
 4/21/2019 Damian Del Rosario            $10.00   47.42   $   12.00   $    94.83   $ 44.50    $   139.33
 4/28/2019 Damian Del Rosario            $10.00   57.35   $   12.00   $   114.70   $ 104.10   $   218.80
  5/5/2019 Damian Del Rosario            $10.00   58.97   $   12.00   $   117.93   $ 113.80   $   231.73
 5/12/2019 Damian Del Rosario            $10.00   58.30   $   12.00   $   116.60   $ 109.80   $   226.40
 5/19/2019 Damian Del Rosario            $10.00   58.00   $   12.00   $   116.00   $ 108.00   $   224.00
 5/26/2019 Damian Del Rosario            $10.00   54.42   $   12.00   $   108.83   $ 86.50    $   195.33
  6/2/2019 Damian Del Rosario            $10.00   46.53   $   12.00   $    93.07   $ 39.20    $   132.27
  6/9/2019 Damian Del Rosario            $10.00   58.23   $   12.00   $   116.47   $ 109.40   $   225.87
 6/16/2019 Damian Del Rosario            $10.00   56.75   $   12.00   $   113.50   $ 100.50   $   214.00
 6/23/2019 Damian Del Rosario            $10.00   56.68   $   12.00   $   113.37   $ 100.10   $   213.47
 6/30/2019 Damian Del Rosario            $10.00   48.65   $   12.00   $    97.30   $ 51.90    $   149.20
  7/7/2019 Damian Del Rosario            $13.00   44.23   $   12.00                $ 27.52    $    27.52
 7/14/2019 Damian Del Rosario            $13.00   57.43   $   12.00                $ 113.32   $   113.32
 7/21/2019 Damian Del Rosario            $13.00   56.57   $   12.00                $ 107.68   $   107.68
 7/28/2019 Damian Del Rosario            $13.00   55.75   $   12.00                $ 102.38   $   102.38
  8/4/2019 Damian Del Rosario            $13.00   53.70   $   12.00                $ 89.05    $    89.05
 8/11/2019 Damian Del Rosario            $13.00   53.77   $   12.00                $ 89.48    $    89.48
 8/18/2019 Damian Del Rosario            $13.00   52.97   $   12.00                $ 84.28    $    84.28
 8/25/2019 Damian Del Rosario            $13.00   56.03   $   12.00                $ 104.22   $   104.22
  9/1/2019 Damian Del Rosario            $13.00   52.17   $   12.00                $ 79.08    $    79.08
  9/8/2019 Damian Del Rosario            $13.00   46.55   $   12.00                $ 42.58    $    42.58
 9/15/2019 Damian Del Rosario            $13.00   57.88   $   12.00                $ 116.24   $   116.24
 9/22/2019 Damian Del Rosario            $13.00   51.62   $   12.00                $ 75.51    $    75.51
 9/29/2019 Damian Del Rosario            $13.00   45.38   $   12.00                $ 34.99    $    34.99
 10/6/2019 Damian Del Rosario            $13.00   53.63   $   12.00                $ 88.62    $    88.62
10/13/2019 Damian Del Rosario            $13.00   53.27   $   12.00                $ 86.23    $    86.23
10/20/2019 Damian Del Rosario            $13.00   52.02   $   12.00                $ 78.11    $    78.11
10/27/2019 Damian Del Rosario            $13.00   55.92   $   12.00                $ 103.46   $   103.46
 11/3/2019 Damian Del Rosario            $13.00   57.05   $   12.00                $ 110.83   $   110.83
11/10/2019 Damian Del Rosario            $13.00   53.73   $   12.00                $ 89.27    $    89.27
11/17/2019 Damian Del Rosario            $13.00   53.63   $   12.00                $ 88.62    $    88.62


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                                            Exhibit 5
                                   Long Island Computations


  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                     Name                       Minimum  Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                  Wage   Rate Due     Due       Wages Due

11/24/2019 Damian Del Rosario            $13.00   52.13   $   12.00                $ 78.87    $    78.87
 12/1/2019 Damian Del Rosario            $13.00   44.60   $   12.00                $ 29.90    $    29.90
 12/8/2019 Damian Del Rosario            $13.00   47.40   $   12.00                $ 48.10    $    48.10
12/15/2019 Damian Del Rosario            $13.00   54.97   $   12.00                $ 97.28    $    97.28
12/22/2019 Damian Del Rosario            $13.00   48.05   $   12.00                $ 52.33    $    52.33
 1/26/2020 Damian Del Rosario            $13.00   46.90   $   13.00                $ 44.85    $    44.85
12/10/2017 Danilo Moratayra               $9.50   49.32   $   10.00   $    24.66   $ 46.58    $    71.24
12/17/2017 Danilo Moratayra               $9.50   51.07   $   10.00   $    25.53   $ 55.33    $    80.87
12/24/2017 Danilo Moratayra               $9.50   57.17   $   10.00   $    28.58   $ 85.83    $   114.42
12/31/2017 Danilo Moratayra               $9.50   46.88   $   11.00   $    70.33   $ 37.86    $   108.18
  1/7/2018 Danilo Moratayra               $9.50   41.68   $   11.00   $    62.53   $   9.26   $    71.78
 1/14/2018 Danilo Moratayra               $9.50   46.35   $   11.00   $    69.53   $ 34.93    $   104.45
 1/28/2018 Danilo Moratayra               $9.50   46.93   $   11.00   $    70.40   $ 38.13    $   108.53
  2/4/2018 Danilo Moratayra               $9.50   56.07   $   11.00   $    84.10   $ 88.37    $   172.47
 2/18/2018 Danilo Moratayra               $9.50   52.03   $   11.00   $    78.05   $ 66.18    $   144.23
 2/25/2018 Danilo Moratayra               $9.50   44.47   $   11.00   $    66.70   $ 24.57    $    91.27
  3/4/2018 Danilo Moratayra               $9.50   43.57   $   11.00   $    65.35   $ 19.62    $    84.97
  4/1/2018 Danilo Moratayra               $9.50   60.43   $   11.00   $    90.65   $ 112.38   $   203.03
  4/8/2018 Danilo Moratayra               $9.50   60.13   $   11.00   $    90.20   $ 110.73   $   200.93
 4/15/2018 Danilo Moratayra               $9.50   55.43   $   11.00   $    83.15   $ 84.88    $   168.03
11/18/2018 Danilo Moratayra               $9.50   59.87   $   11.00   $    89.80   $ 109.27   $   199.07
11/25/2018 Danilo Moratayra               $9.50   41.07   $   11.00   $    61.60   $   5.87   $    67.47
 12/2/2018 Danilo Moratayra               $9.50   53.33   $   11.00   $    80.00   $ 73.33    $   153.33
 12/9/2018 Danilo Moratayra               $9.50   61.60   $   11.00   $    92.40   $ 118.80   $   211.20
12/16/2018 Danilo Moratayra               $9.50   60.08   $   11.00   $    90.13   $ 110.46   $   200.58
12/23/2018 Danilo Moratayra               $9.50   61.25   $   11.00   $    91.88   $ 116.88   $   208.75
  1/6/2019 Danilo Moratayra               $9.50   47.87   $   12.00   $   119.67   $ 47.20    $   166.87
 1/13/2019 Danilo Moratayra               $9.50   54.75   $   12.00   $   136.88   $ 88.50    $   225.38
 1/20/2019 Danilo Moratayra               $9.50   62.35   $   12.00   $   155.88   $ 134.10   $   289.98
 1/27/2019 Danilo Moratayra               $9.50   63.18   $   12.00   $   157.96   $ 139.10   $   297.06
  2/3/2019 Danilo Moratayra               $9.50   62.08   $   12.00   $   155.21   $ 132.50   $   287.71
 2/10/2019 Danilo Moratayra               $9.50   62.02   $   12.00   $   155.04   $ 132.10   $   287.14
 2/17/2019 Danilo Moratayra               $9.50   42.10   $   12.00   $   105.25   $ 12.60    $   117.85
 2/24/2019 Danilo Moratayra               $9.50   62.47   $   12.00   $   156.17   $ 134.80   $   290.97
  3/3/2019 Danilo Moratayra               $9.50   60.92   $   12.00   $   152.29   $ 125.50   $   277.79
 3/10/2019 Danilo Moratayra               $9.50   63.82   $   12.00   $   159.54   $ 142.90   $   302.44
 3/17/2019 Danilo Moratayra               $9.50   64.02   $   12.00   $   160.04   $ 144.10   $   304.14
 3/24/2019 Danilo Moratayra               $9.50   63.95   $   12.00   $   159.88   $ 143.70   $   303.58
 3/31/2019 Danilo Moratayra               $9.50   62.38   $   12.00   $   155.96   $ 134.30   $   290.26
11/24/2019 Danilo Moratayra              $11.00   54.87   $   12.00   $    54.87   $ 89.20    $   144.07
 12/8/2019 Danilo Moratayra              $11.00   54.38   $   12.00   $    54.38   $ 86.30    $   140.68
12/15/2019 Danilo Moratayra              $11.00   54.80   $   12.00   $    54.80   $ 88.80    $   143.60
12/22/2019 Danilo Moratayra              $11.00   54.13   $   12.00   $    54.13   $ 84.80    $   138.93
12/29/2019 Danilo Moratayra              $11.00   43.68   $   12.00   $    43.68   $ 22.10    $    65.78
 1/19/2020 Danilo Moratayra              $11.00   52.95   $   13.00   $   105.90   $ 84.18    $   190.08
 1/26/2020 Danilo Moratayra              $11.00   53.63   $   13.00   $   107.27   $ 88.62    $   195.88
 7/30/2017 Daris Morales                  $9.00   61.07   $   10.00   $    61.07   $ 105.33   $   166.40
  8/6/2017 Daris Morales                  $9.00   59.87   $   10.00   $    59.87   $ 99.33    $   159.20
 8/13/2017 Daris Morales                  $9.00   45.65   $   10.00   $    45.65   $ 28.25    $    73.90
 8/20/2017 Daris Morales                  $9.00   57.12   $   10.00   $    57.12   $ 85.58    $   142.70
 8/27/2017 Daris Morales                  $9.00   57.92   $   10.00   $    57.92   $ 89.58    $   147.50
  9/3/2017 Daris Morales                  $9.00   58.35   $   10.00   $    58.35   $ 91.75    $   150.10


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                                                      Exhibit 5
                                             Long Island Computations


  Week                                                             State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
 Ending                     Name                                 Minimum  Regular Half-Time Overtime Back
                                                    Rate Week
  Date                                                            Wage   Rate Due     Due       Wages Due

 9/17/2017 Daris Morales                            $9.00   63.03   $   10.00   $    63.03   $ 115.17   $   178.20
 9/24/2017 Daris Morales                            $9.00   60.00   $   10.00   $    60.00   $ 100.00   $   160.00
 10/1/2017 Daris Morales                            $9.00   63.68   $   10.00   $    63.68   $ 118.42   $   182.10
 10/8/2017 Daris Morales                            $9.00   56.85   $   10.00   $    56.85   $ 84.25    $   141.10
10/15/2017 Daris Morales                            $9.00   58.57   $   10.00   $    58.57   $ 92.83    $   151.40
10/22/2017 Daris Morales                            $9.00   59.92   $   10.00   $    59.92   $ 99.58    $   159.50
10/29/2017 Daris Morales                            $9.00   46.88   $   10.00   $    46.88   $ 34.42    $    81.30
 11/5/2017 Daris Morales                            $9.00   47.55   $   10.00   $    47.55   $ 37.75    $    85.30
11/12/2017 Daris Morales                            $9.00   60.25   $   10.00   $    60.25   $ 101.25   $   161.50
11/19/2017 Daris Morales                            $9.00   57.35   $   10.00   $    57.35   $ 86.75    $   144.10
 12/3/2017 Daris Morales                            $9.00   58.15   $   10.00   $    58.15   $ 90.75    $   148.90
12/10/2017 Daris Morales                            $9.00   54.30   $   10.00   $    54.30   $ 71.50    $   125.80
12/17/2017 Daris Morales                            $9.00   56.27   $   10.00   $    56.27   $ 81.33    $   137.60
12/24/2017 Daris Morales                            $9.00   57.17   $   10.00   $    57.17   $ 85.83    $   143.00
12/31/2017 Daris Morales                            $9.00   45.18   $   11.00   $    90.37   $ 28.51    $   118.88
 1/14/2018 Daris Morales                            $9.00   56.43   $   11.00   $   112.87   $ 90.38    $   203.25
 1/21/2018 Daris Morales                            $9.00   53.20   $   11.00   $   106.40   $ 72.60    $   179.00
 1/28/2018 Daris Morales                            $9.00   47.28   $   11.00   $    94.57   $ 40.06    $   134.63
 3/31/2019 Darwin Jose Rodriguez Varamendi         $16.50   60.00   $   12.00                $ 165.00   $   165.00
  4/7/2019 Darwin Jose Rodriguez Varamendi         $16.50   60.00   $   12.00                $ 165.00   $   165.00
 4/14/2019 Darwin Jose Rodriguez Varamendi         $16.50   58.23   $   12.00                $ 150.43   $   150.43
 4/21/2019 Darwin Jose Rodriguez Varamendi         $16.50   56.32   $   12.00                $ 134.61   $   134.61
 4/28/2019 Darwin Jose Rodriguez Varamendi         $16.50   58.73   $   12.00                $ 154.55   $   154.55
  5/5/2019 Darwin Jose Rodriguez Varamendi         $16.50   58.30   $   12.00                $ 150.98   $   150.98
 5/12/2019 Darwin Jose Rodriguez Varamendi         $16.50   55.73   $   12.00                $ 129.80   $   129.80
  4/1/2018 Darwin Rodriguez -                      $11.50   54.48   $   11.00                $ 83.28    $    83.28
  4/8/2018 Darwin Rodriguez -                      $11.50   54.58   $   11.00                $ 83.85    $    83.85
 4/15/2018 Darwin Rodriguez -                      $11.50   53.03   $   11.00                $ 74.94    $    74.94
 4/22/2018 Darwin Rodriguez -                      $11.50   55.47   $   11.00                $ 88.93    $    88.93
 4/29/2018 Darwin Rodriguez -                      $11.50   54.47   $   11.00                $ 83.18    $    83.18
  8/5/2018 David Padilla                           $12.00   52.22   $   11.00                $ 73.30    $    73.30
 8/12/2018 David Padilla                           $12.00   51.68   $   11.00                $ 70.10    $    70.10
 8/19/2018 David Padilla                           $12.00   40.48   $   11.00                $   2.90   $     2.90
 8/26/2018 David Padilla                           $12.00   44.12   $   11.00                $ 24.70    $    24.70
  9/2/2018 David Padilla                           $12.00   51.42   $   11.00                $ 68.50    $    68.50
  9/9/2018 David Padilla                           $12.00   43.35   $   11.00                $ 20.10    $    20.10
 9/16/2018 David Padilla                           $12.00   46.00   $   11.00                $ 36.00    $    36.00
 9/23/2018 David Padilla                           $12.00   51.67   $   11.00                $ 70.00    $    70.00
 9/30/2018 David Padilla                           $12.00   51.80   $   11.00                $ 70.80    $    70.80
 10/7/2018 David Padilla                           $12.00   58.57   $   11.00                $ 111.40   $   111.40
10/14/2018 David Padilla                           $12.00   61.27   $   11.00                $ 127.60   $   127.60
10/21/2018 David Padilla                           $12.00   62.50   $   11.00                $ 135.00   $   135.00
10/28/2018 David Padilla                           $12.00   64.17   $   11.00                $ 145.00   $   145.00
 11/4/2018 David Padilla                           $12.00   65.50   $   11.00                $ 153.00   $   153.00
11/11/2018 David Padilla                           $12.00   60.05   $   11.00                $ 120.30   $   120.30
11/18/2018 David Padilla                           $12.00   60.13   $   11.00                $ 120.80   $   120.80
11/25/2018 David Padilla                           $12.00   55.58   $   11.00                $ 93.50    $    93.50
 12/2/2018 David Padilla                           $12.00   60.68   $   11.00                $ 124.10   $   124.10
 12/9/2018 David Padilla                           $12.00   61.62   $   11.00                $ 129.70   $   129.70
12/16/2018 David Padilla                           $12.00   61.03   $   11.00                $ 126.20   $   126.20
12/23/2018 David Padilla                           $12.00   65.72   $   11.00                $ 154.30   $   154.30
12/30/2018 David Padilla                           $12.00   46.23   $   11.00                $ 37.40    $    37.40


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                                           Exhibit 5
                                  Long Island Computations


  Week                                                  State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
 Ending                    Name                       Minimum  Regular Half-Time Overtime Back
                                         Rate Week
  Date                                                 Wage   Rate Due     Due       Wages Due

  1/6/2019 David Padilla                $12.00   50.03   $   12.00         $ 60.20    $      60.20
 1/13/2019 David Padilla                $12.00   51.17   $   12.00         $ 67.00    $      67.00
 1/20/2019 David Padilla                $12.00   57.60   $   12.00         $ 105.60   $     105.60
 1/27/2019 David Padilla                $12.00   61.27   $   12.00         $ 127.60   $     127.60
  2/3/2019 David Padilla                $12.00   49.53   $   12.00         $ 57.20    $      57.20
 2/10/2019 David Padilla                $12.00   61.58   $   12.00         $ 129.50   $     129.50
 2/17/2019 David Padilla                $12.00   69.08   $   12.00         $ 174.50   $     174.50
 2/24/2019 David Padilla                $12.00   61.08   $   12.00         $ 126.50   $     126.50
  3/3/2019 David Padilla                $12.00   50.85   $   12.00         $ 65.10    $      65.10
 3/10/2019 David Padilla                $12.00   60.75   $   12.00         $ 124.50   $     124.50
 3/17/2019 David Padilla                $12.00   61.55   $   12.00         $ 129.30   $     129.30
 3/31/2019 David Padilla                $12.00   58.97   $   12.00         $ 113.80   $     113.80
 4/14/2019 David Padilla                $12.00   60.80   $   12.00         $ 124.80   $     124.80
 4/21/2019 David Padilla                $12.00   49.45   $   12.00         $ 56.70    $      56.70
 4/28/2019 David Padilla                $12.00   50.20   $   12.00         $ 61.20    $      61.20
  5/5/2019 David Padilla                $12.00   60.67   $   12.00         $ 124.00   $     124.00
 5/12/2019 David Padilla                $12.00   59.30   $   12.00         $ 115.80   $     115.80
 5/19/2019 David Padilla                $12.00   58.97   $   12.00         $ 113.80   $     113.80
 5/26/2019 David Padilla                $12.00   60.43   $   12.00         $ 122.60   $     122.60
  6/2/2019 David Padilla                $12.00   41.33   $   12.00         $   8.00   $       8.00
  6/9/2019 David Padilla                $12.00   57.75   $   12.00         $ 106.50   $     106.50
 6/16/2019 David Padilla                $12.00   60.50   $   12.00         $ 123.00   $     123.00
 6/23/2019 David Padilla                $12.00   57.32   $   12.00         $ 103.90   $     103.90
 6/30/2019 David Padilla                $12.00   61.02   $   12.00         $ 126.10   $     126.10
  7/7/2019 David Padilla                $13.00   48.07   $   12.00         $ 52.43    $      52.43
 7/14/2019 David Padilla                $13.00   54.97   $   12.00         $ 97.28    $      97.28
 7/28/2019 David Padilla                $13.00   57.32   $   12.00         $ 112.56   $     112.56
  8/4/2019 David Padilla                $13.00   55.90   $   12.00         $ 103.35   $     103.35
 8/11/2019 David Padilla                $13.00   42.75   $   12.00         $ 17.88    $      17.88
 8/18/2019 David Padilla                $13.00   47.33   $   12.00         $ 47.67    $      47.67
 8/25/2019 David Padilla                $13.00   55.97   $   12.00         $ 103.78   $     103.78
  9/8/2019 David Padilla                $13.00   48.30   $   12.00         $ 53.95    $      53.95
 9/15/2019 David Padilla                $13.00   58.13   $   12.00         $ 117.87   $     117.87
 9/22/2019 David Padilla                $13.00   47.78   $   12.00         $ 50.59    $      50.59
 9/29/2019 David Padilla                $13.00   57.07   $   12.00         $ 110.93   $     110.93
 10/6/2019 David Padilla                $13.00   57.13   $   12.00         $ 111.37   $     111.37
10/13/2019 David Padilla                $13.00   57.70   $   12.00         $ 115.05   $     115.05
10/20/2019 David Padilla                $13.00   57.10   $   12.00         $ 111.15   $     111.15
10/27/2019 David Padilla                $13.00   48.95   $   12.00         $ 58.18    $      58.18
 11/3/2019 David Padilla                $13.00   57.37   $   12.00         $ 112.88   $     112.88
11/10/2019 David Padilla                $13.00   57.28   $   12.00         $ 112.34   $     112.34
11/17/2019 David Padilla                $13.00   48.20   $   12.00         $ 53.30    $      53.30
11/24/2019 David Padilla                $13.00   57.72   $   12.00         $ 115.16   $     115.16
 12/1/2019 David Padilla                $13.00   48.08   $   12.00         $ 52.54    $      52.54
 12/8/2019 David Padilla                $13.00   47.77   $   12.00         $ 50.48    $      50.48
12/15/2019 David Padilla                $13.00   58.17   $   12.00         $ 118.08   $     118.08
12/22/2019 David Padilla                $13.00   46.67   $   12.00         $ 43.33    $      43.33
12/29/2019 David Padilla                $13.00   43.90   $   12.00         $ 25.35    $      25.35
  1/5/2020 David Padilla                $13.00   48.32   $   13.00         $ 54.06    $      54.06
 1/12/2020 David Padilla                $13.00   47.50   $   13.00         $ 48.75    $      48.75
 1/19/2020 David Padilla                $13.00   57.30   $   13.00         $ 112.45   $     112.45
 1/26/2020 David Padilla                $13.00   47.75   $   13.00         $ 50.38    $      50.38


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  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                     Name                           Minimum  Regular Half-Time Overtime Back
                                              Rate Week
  Date                                                      Wage   Rate Due     Due       Wages Due

  2/5/2017 Denis A Canales                    $9.00   62.15   $   10.00   $   62.15   $ 110.75   $   172.90
 2/12/2017 Denis A Canales                    $9.00   50.30   $   10.00   $   50.30   $ 51.50    $   101.80
 2/19/2017 Denis A Canales                    $9.00   65.18   $   10.00   $   65.18   $ 125.92   $   191.10
 2/26/2017 Denis A Canales                    $9.00   48.45   $   10.00   $   48.45   $ 42.25    $    90.70
  3/5/2017 Denis A Canales                    $9.00   61.32   $   10.00   $   61.32   $ 106.58   $   167.90
 3/12/2017 Denis A Canales                    $9.00   62.32   $   10.00   $   62.32   $ 111.58   $   173.90
 3/19/2017 Denis A Canales                    $9.00   51.45   $   10.00   $   51.45   $ 57.25    $   108.70
 3/26/2017 Denis A Canales                    $9.00   62.65   $   10.00   $   62.65   $ 113.25   $   175.90
  4/2/2017 Denis A Canales                    $9.00   62.05   $   10.00   $   62.05   $ 110.25   $   172.30
 5/26/2019 Dennis Hernandez                  $12.00   58.88   $   12.00               $ 113.30   $   113.30
  6/2/2019 Dennis Hernandez                  $12.00   50.25   $   12.00               $ 61.50    $    61.50
  6/9/2019 Dennis Hernandez                  $12.00   59.53   $   12.00               $ 117.20   $   117.20
 6/16/2019 Dennis Hernandez                  $12.00   60.57   $   12.00               $ 123.40   $   123.40
 6/23/2019 Dennis Hernandez                  $12.00   61.60   $   12.00               $ 129.60   $   129.60
 6/30/2019 Dennis Hernandez                  $12.00   61.20   $   12.00               $ 127.20   $   127.20
  7/7/2019 Dennis Hernandez                  $13.00   49.23   $   12.00               $ 60.02    $    60.02
 7/14/2019 Dennis Hernandez                  $13.00   65.82   $   12.00               $ 167.81   $   167.81
 7/21/2019 Dennis Hernandez                  $13.00   61.35   $   12.00               $ 138.78   $   138.78
 7/28/2019 Dennis Hernandez                  $13.00   62.53   $   12.00               $ 146.47   $   146.47
  8/4/2019 Dennis Hernandez                  $13.00   66.88   $   12.00               $ 174.74   $   174.74
 8/11/2019 Dennis Hernandez                  $13.00   64.67   $   12.00               $ 160.33   $   160.33
 8/18/2019 Dennis Hernandez                  $13.00   63.98   $   12.00               $ 155.89   $   155.89
 8/25/2019 Dennis Hernandez                  $13.00   54.68   $   12.00               $ 95.44    $    95.44
  9/1/2019 Dennis Hernandez                  $13.00   63.17   $   12.00               $ 150.58   $   150.58
  9/8/2019 Dennis Hernandez                  $13.00   52.35   $   12.00               $ 80.28    $    80.28
 9/15/2019 Dennis Hernandez                  $13.00   60.97   $   12.00               $ 136.28   $   136.28
 9/22/2019 Dennis Hernandez                  $13.00   65.38   $   12.00               $ 164.99   $   164.99
 9/29/2019 Dennis Hernandez                  $13.00   62.08   $   12.00               $ 143.54   $   143.54
 10/6/2019 Dennis Hernandez                  $13.00   71.63   $   12.00               $ 205.62   $   205.62
10/13/2019 Dennis Hernandez                  $13.00   63.02   $   12.00               $ 149.61   $   149.61
10/20/2019 Dennis Hernandez                  $13.00   60.42   $   12.00               $ 132.71   $   132.71
10/27/2019 Dennis Hernandez                  $13.00   59.35   $   12.00               $ 125.78   $   125.78
 11/3/2019 Dennis Hernandez                  $13.00   63.90   $   12.00               $ 155.35   $   155.35
11/10/2019 Dennis Hernandez                  $13.00   65.92   $   12.00               $ 168.46   $   168.46
11/17/2019 Dennis Hernandez                  $13.00   61.47   $   12.00               $ 139.53   $   139.53
11/24/2019 Dennis Hernandez                  $13.00   67.82   $   12.00               $ 180.81   $   180.81
 12/1/2019 Dennis Hernandez                  $13.00   50.30   $   12.00               $ 66.95    $    66.95
 12/8/2019 Dennis Hernandez                  $13.00   49.72   $   12.00               $ 63.16    $    63.16
12/15/2019 Dennis Hernandez                  $13.00   60.23   $   12.00               $ 131.52   $   131.52
12/22/2019 Dennis Hernandez                  $13.00   63.97   $   12.00               $ 155.78   $   155.78
12/29/2019 Dennis Hernandez                  $13.00   49.17   $   12.00               $ 59.58    $    59.58
  1/5/2020 Dennis Hernandez                  $13.00   54.23   $   13.00               $ 92.52    $    92.52
 1/12/2020 Dennis Hernandez                  $13.00   66.03   $   13.00               $ 169.22   $   169.22
 1/19/2020 Dennis Hernandez                  $13.00   60.23   $   13.00               $ 131.52   $   131.52
 1/26/2020 Dennis Hernandez                  $13.00   52.95   $   13.00               $ 84.18    $    84.18
 3/25/2018 Dennis Romero- Valet              $16.50   49.33   $   11.00               $ 77.00    $    77.00
 4/28/2019 Dennis Serrano - Car Wash         $12.00   61.45   $   12.00               $ 128.70   $   128.70
  2/5/2017 Deybin Gabriel Barahona           $10.00   60.78   $   10.00               $ 103.92   $   103.92
 2/12/2017 Deybin Gabriel Barahona           $10.00   50.07   $   10.00               $ 50.33    $    50.33
 2/19/2017 Deybin Gabriel Barahona           $10.00   61.33   $   10.00               $ 106.67   $   106.67
 2/26/2017 Deybin Gabriel Barahona           $10.00   61.00   $   10.00               $ 105.00   $   105.00
  3/5/2017 Deybin Gabriel Barahona           $10.00   58.58   $   10.00               $ 92.92    $    92.92


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  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                     Name                         Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 3/12/2017 Deybin Gabriel Barahona         $10.00   60.80   $   10.00               $ 104.00   $   104.00
 3/19/2017 Deybin Gabriel Barahona         $10.00   50.93   $   10.00               $ 54.67    $    54.67
 3/26/2017 Deybin Gabriel Barahona         $10.00   59.62   $   10.00               $ 98.08    $    98.08
  4/2/2017 Deybin Gabriel Barahona         $10.00   60.37   $   10.00               $ 101.83   $   101.83
  4/9/2017 Deybin Gabriel Barahona         $10.00   61.02   $   10.00               $ 105.08   $   105.08
 4/16/2017 Deybin Gabriel Barahona         $10.00   61.60   $   10.00               $ 108.00   $   108.00
 4/23/2017 Deybin Gabriel Barahona         $10.00   62.13   $   10.00               $ 110.67   $   110.67
 4/30/2017 Deybin Gabriel Barahona         $10.00   59.10   $   10.00               $ 95.50    $    95.50
  5/7/2017 Deybin Gabriel Barahona         $10.00   61.18   $   10.00               $ 105.92   $   105.92
 5/14/2017 Deybin Gabriel Barahona         $10.00   60.97   $   10.00               $ 104.83   $   104.83
 5/21/2017 Deybin Gabriel Barahona         $10.00   62.00   $   10.00               $ 110.00   $   110.00
 5/28/2017 Deybin Gabriel Barahona         $10.00   61.23   $   10.00               $ 106.17   $   106.17
  6/4/2017 Deybin Gabriel Barahona         $10.00   50.27   $   10.00               $ 51.33    $    51.33
 6/11/2017 Deybin Gabriel Barahona         $10.00   50.30   $   10.00               $ 51.50    $    51.50
 6/18/2017 Deybin Gabriel Barahona         $10.00   60.73   $   10.00               $ 103.67   $   103.67
 6/25/2017 Deybin Gabriel Barahona         $10.00   61.60   $   10.00               $ 108.00   $   108.00
  7/2/2017 Deybin Gabriel Barahona         $10.00   61.50   $   10.00               $ 107.50   $   107.50
  7/9/2017 Deybin Gabriel Barahona         $10.00   50.33   $   10.00               $ 51.67    $    51.67
 7/16/2017 Deybin Gabriel Barahona         $10.00   62.03   $   10.00               $ 110.17   $   110.17
 7/23/2017 Deybin Gabriel Barahona         $10.00   61.43   $   10.00               $ 107.17   $   107.17
 7/30/2017 Deybin Gabriel Barahona         $10.00   60.13   $   10.00               $ 100.67   $   100.67
  8/6/2017 Deybin Gabriel Barahona         $10.00   59.50   $   10.00               $ 97.50    $    97.50
 8/13/2017 Deybin Gabriel Barahona         $10.00   62.02   $   10.00               $ 110.08   $   110.08
 8/20/2017 Deybin Gabriel Barahona         $10.00   60.82   $   10.00               $ 104.08   $   104.08
 8/27/2017 Deybin Gabriel Barahona         $10.00   60.22   $   10.00               $ 101.08   $   101.08
  9/3/2017 Deybin Gabriel Barahona         $10.00   61.53   $   10.00               $ 107.67   $   107.67
 9/10/2017 Deybin Gabriel Barahona         $10.00   49.80   $   10.00               $ 49.00    $    49.00
 9/17/2017 Deybin Gabriel Barahona         $10.00   61.12   $   10.00               $ 105.58   $   105.58
 9/24/2017 Deybin Gabriel Barahona         $10.00   50.73   $   10.00               $ 53.67    $    53.67
 10/1/2017 Deybin Gabriel Barahona         $10.00   64.97   $   10.00               $ 124.83   $   124.83
10/15/2017 Deybin Gabriel Barahona         $10.00   55.78   $   10.00               $ 78.92    $    78.92
11/26/2017 Deybin Gabriel Barahona         $10.00   49.93   $   10.00               $ 49.67    $    49.67
 12/3/2017 Deybin Gabriel Barahona         $10.00   59.75   $   10.00               $ 98.75    $    98.75
12/10/2017 Deybin Gabriel Barahona         $10.00   61.18   $   10.00               $ 105.92   $   105.92
12/17/2017 Deybin Gabriel Barahona         $10.00   61.83   $   10.00               $ 109.17   $   109.17
12/24/2017 Deybin Gabriel Barahona         $10.00   59.40   $   10.00               $ 97.00    $    97.00
12/31/2017 Deybin Gabriel Barahona         $10.00   49.53   $   11.00   $   49.53   $ 52.43    $   101.97
  1/7/2018 Deybin Gabriel Barahona         $10.00   43.35   $   11.00   $   43.35   $ 18.43    $    61.78
 1/14/2018 Deybin Gabriel Barahona         $10.00   61.67   $   11.00   $   61.67   $ 119.17   $   180.83
 1/21/2018 Deybin Gabriel Barahona         $10.00   61.78   $   11.00   $   61.78   $ 119.81   $   181.59
 1/28/2018 Deybin Gabriel Barahona         $10.00   59.87   $   11.00   $   59.87   $ 109.27   $   169.13
  2/4/2018 Deybin Gabriel Barahona         $10.00   61.12   $   11.00   $   61.12   $ 116.14   $   177.26
 2/11/2018 Deybin Gabriel Barahona         $10.00   61.63   $   11.00   $   61.63   $ 118.98   $   180.62
 2/18/2018 Deybin Gabriel Barahona         $10.00   60.67   $   11.00   $   60.67   $ 113.67   $   174.33
  4/1/2018 Deybin Gabriel Barahona         $10.00   62.38   $   11.00   $   62.38   $ 123.11   $   185.49
  4/8/2018 Deybin Gabriel Barahona         $10.00   59.32   $   11.00   $   59.32   $ 106.24   $   165.56
 4/15/2018 Deybin Gabriel Barahona         $10.00   61.00   $   11.00   $   61.00   $ 115.50   $   176.50
 4/22/2018 Deybin Gabriel Barahona         $10.00   62.10   $   11.00   $   62.10   $ 121.55   $   183.65
 4/29/2018 Deybin Gabriel Barahona         $10.00   63.02   $   11.00   $   63.02   $ 126.59   $   189.61
  5/6/2018 Deybin Gabriel Barahona         $10.00   62.23   $   11.00   $   62.23   $ 122.28   $   184.52
 5/13/2018 Deybin Gabriel Barahona         $10.00   61.93   $   11.00   $   61.93   $ 120.63   $   182.57
 5/20/2018 Deybin Gabriel Barahona         $10.00   61.93   $   11.00   $   61.93   $ 120.63   $   182.57


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  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                     Name                         Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 5/27/2018 Deybin Gabriel Barahona         $10.00   61.25   $   11.00   $    61.25   $ 116.88   $   178.13
  6/3/2018 Deybin Gabriel Barahona         $10.00   51.23   $   11.00   $    51.23   $ 61.78    $   113.02
 6/10/2018 Deybin Gabriel Barahona         $10.00   62.90   $   11.00   $    62.90   $ 125.95   $   188.85
 6/17/2018 Deybin Gabriel Barahona         $10.00   62.65   $   11.00   $    62.65   $ 124.58   $   187.23
 6/24/2018 Deybin Gabriel Barahona         $10.00   60.77   $   11.00   $    60.77   $ 114.22   $   174.98
  7/1/2018 Deybin Gabriel Barahona         $10.00   61.95   $   11.00   $    61.95   $ 120.73   $   182.68
  7/8/2018 Deybin Gabriel Barahona         $10.00   40.65   $   11.00   $    40.65   $   3.58   $    44.23
 7/15/2018 Deybin Gabriel Barahona         $10.00   61.68   $   11.00   $    61.68   $ 119.26   $   180.94
 7/22/2018 Deybin Gabriel Barahona         $10.00   61.63   $   11.00   $    61.63   $ 118.98   $   180.62
 7/29/2018 Deybin Gabriel Barahona         $10.00   62.12   $   11.00   $    62.12   $ 121.64   $   183.76
  8/5/2018 Deybin Gabriel Barahona         $10.00   61.15   $   11.00   $    61.15   $ 116.33   $   177.48
 8/12/2018 Deybin Gabriel Barahona         $10.00   51.57   $   11.00   $    51.57   $ 63.62    $   115.18
 8/26/2018 Deybin Gabriel Barahona         $10.00   60.52   $   11.00   $    60.52   $ 112.84   $   173.36
  9/2/2018 Deybin Gabriel Barahona         $10.00   63.20   $   11.00   $    63.20   $ 127.60   $   190.80
  9/9/2018 Deybin Gabriel Barahona         $10.00   52.18   $   11.00   $    52.18   $ 67.01    $   119.19
 9/16/2018 Deybin Gabriel Barahona         $10.00   61.37   $   11.00   $    61.37   $ 117.52   $   178.88
 9/23/2018 Deybin Gabriel Barahona         $10.00   62.20   $   11.00   $    62.20   $ 122.10   $   184.30
 9/30/2018 Deybin Gabriel Barahona         $10.00   62.62   $   11.00   $    62.62   $ 124.39   $   187.01
 10/7/2018 Deybin Gabriel Barahona         $10.00   63.30   $   11.00   $    63.30   $ 128.15   $   191.45
10/14/2018 Deybin Gabriel Barahona         $10.00   62.12   $   11.00   $    62.12   $ 121.64   $   183.76
10/21/2018 Deybin Gabriel Barahona         $10.00   60.83   $   11.00   $    60.83   $ 114.58   $   175.42
10/28/2018 Deybin Gabriel Barahona         $10.00   61.18   $   11.00   $    61.18   $ 116.51   $   177.69
 11/4/2018 Deybin Gabriel Barahona         $10.00   62.13   $   11.00   $    62.13   $ 121.73   $   183.87
11/11/2018 Deybin Gabriel Barahona         $10.00   61.92   $   11.00   $    61.92   $ 120.54   $   182.46
11/18/2018 Deybin Gabriel Barahona         $10.00   61.83   $   11.00   $    61.83   $ 120.08   $   181.92
11/25/2018 Deybin Gabriel Barahona         $10.00   50.55   $   11.00   $    50.55   $ 58.03    $   108.58
 12/2/2018 Deybin Gabriel Barahona         $10.00   61.20   $   11.00   $    61.20   $ 116.60   $   177.80
 12/9/2018 Deybin Gabriel Barahona         $10.00   61.35   $   11.00   $    61.35   $ 117.43   $   178.78
12/16/2018 Deybin Gabriel Barahona         $10.00   60.97   $   11.00   $    60.97   $ 115.32   $   176.28
12/23/2018 Deybin Gabriel Barahona         $10.00   61.30   $   11.00   $    61.30   $ 117.15   $   178.45
12/30/2018 Deybin Gabriel Barahona         $10.00   49.02   $   11.00   $    49.02   $ 49.59    $    98.61
  1/6/2019 Deybin Gabriel Barahona         $10.00   48.77   $   12.00   $    97.53   $ 52.60    $   150.13
 1/13/2019 Deybin Gabriel Barahona         $10.00   61.92   $   12.00   $   123.83   $ 131.50   $   255.33
 1/20/2019 Deybin Gabriel Barahona         $10.00   62.35   $   12.00   $   124.70   $ 134.10   $   258.80
 1/27/2019 Deybin Gabriel Barahona         $10.00   48.22   $   12.00   $    96.43   $ 49.30    $   145.73
  2/3/2019 Deybin Gabriel Barahona         $10.00   57.35   $   12.00   $   114.70   $ 104.10   $   218.80
 2/10/2019 Deybin Gabriel Barahona         $10.00   57.63   $   12.00   $   115.27   $ 105.80   $   221.07
 2/17/2019 Deybin Gabriel Barahona         $10.00   53.03   $   12.00   $   106.07   $ 78.20    $   184.27
 2/24/2019 Deybin Gabriel Barahona         $10.00   61.40   $   12.00   $   122.80   $ 128.40   $   251.20
  3/3/2019 Deybin Gabriel Barahona         $10.00   57.50   $   12.00   $   115.00   $ 105.00   $   220.00
 3/10/2019 Deybin Gabriel Barahona         $10.00   61.98   $   12.00   $   123.97   $ 131.90   $   255.87
 3/17/2019 Deybin Gabriel Barahona         $10.00   60.98   $   12.00   $   121.97   $ 125.90   $   247.87
 3/24/2019 Deybin Gabriel Barahona         $10.00   65.08   $   12.00   $   130.17   $ 150.50   $   280.67
 3/31/2019 Deybin Gabriel Barahona         $10.00   53.13   $   12.00   $   106.27   $ 78.80    $   185.07
  4/7/2019 Deybin Gabriel Barahona         $10.00   62.30   $   12.00   $   124.60   $ 133.80   $   258.40
 4/14/2019 Deybin Gabriel Barahona         $10.00   60.93   $   12.00   $   121.87   $ 125.60   $   247.47
 4/21/2019 Deybin Gabriel Barahona         $10.00   61.28   $   12.00   $   122.57   $ 127.70   $   250.27
 4/28/2019 Deybin Gabriel Barahona         $10.00   61.95   $   12.00   $   123.90   $ 131.70   $   255.60
  5/5/2019 Deybin Gabriel Barahona         $10.00   60.73   $   12.00   $   121.47   $ 124.40   $   245.87
 5/12/2019 Deybin Gabriel Barahona         $10.00   60.02   $   12.00   $   120.03   $ 120.10   $   240.13
 5/19/2019 Deybin Gabriel Barahona         $10.00   51.18   $   12.00   $   102.37   $ 67.10    $   169.47
 5/26/2019 Deybin Gabriel Barahona         $10.00   59.20   $   12.00   $   118.40   $ 115.20   $   233.60


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  Week                                                             State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
 Ending                    Name                                  Minimum  Regular Half-Time Overtime Back
                                                    Rate Week
  Date                                                            Wage   Rate Due     Due       Wages Due

  6/2/2019 Deybin Gabriel Barahona                 $10.00   50.00   $   12.00   $   100.00   $ 60.00    $   160.00
  6/9/2019 Deybin Gabriel Barahona                 $10.00   60.73   $   12.00   $   121.47   $ 124.40   $   245.87
 6/16/2019 Deybin Gabriel Barahona                 $10.00   60.07   $   12.00   $   120.13   $ 120.40   $   240.53
 6/23/2019 Deybin Gabriel Barahona                 $10.00   60.17   $   12.00   $   120.33   $ 121.00   $   241.33
 6/30/2019 Deybin Gabriel Barahona                 $10.00   60.22   $   12.00   $   120.43   $ 121.30   $   241.73
 7/14/2019 Deybin Gabriel Barahona                 $13.00   55.67   $   12.00                $ 101.83   $   101.83
 7/21/2019 Deybin Gabriel Barahona                 $13.00   54.92   $   12.00                $ 96.96    $    96.96
 7/28/2019 Deybin Gabriel Barahona                 $13.00   54.63   $   12.00                $ 95.12    $    95.12
  8/4/2019 Deybin Gabriel Barahona                 $13.00   53.95   $   12.00                $ 90.67    $    90.67
 8/11/2019 Deybin Gabriel Barahona                 $13.00   55.50   $   12.00                $ 100.75   $   100.75
 8/18/2019 Deybin Gabriel Barahona                 $13.00   54.65   $   12.00                $ 95.22    $    95.22
 8/25/2019 Deybin Gabriel Barahona                 $13.00   45.03   $   12.00                $ 32.72    $    32.72
  9/1/2019 Deybin Gabriel Barahona                 $13.00   54.40   $   12.00                $ 93.60    $    93.60
 9/15/2019 Deybin Gabriel Barahona                 $13.00   47.20   $   12.00                $ 46.80    $    46.80
 9/22/2019 Deybin Gabriel Barahona                 $13.00   54.68   $   12.00                $ 95.44    $    95.44
 9/29/2019 Deybin Gabriel Barahona                 $13.00   54.17   $   12.00                $ 92.08    $    92.08
 10/6/2019 Deybin Gabriel Barahona                 $13.00   54.52   $   12.00                $ 94.36    $    94.36
10/13/2019 Deybin Gabriel Barahona                 $13.00   53.73   $   12.00                $ 89.27    $    89.27
10/20/2019 Deybin Gabriel Barahona                 $13.00   46.37   $   12.00                $ 41.38    $    41.38
10/27/2019 Deybin Gabriel Barahona                 $13.00   53.80   $   12.00                $ 89.70    $    89.70
 11/3/2019 Deybin Gabriel Barahona                 $13.00   52.55   $   12.00                $ 81.58    $    81.58
11/17/2019 Deybin Gabriel Barahona                 $13.00   46.67   $   12.00                $ 43.33    $    43.33
11/24/2019 Deybin Gabriel Barahona                 $13.00   52.52   $   12.00                $ 81.36    $    81.36
 12/8/2019 Deybin Gabriel Barahona                 $13.00   45.68   $   12.00                $ 36.94    $    36.94
12/15/2019 Deybin Gabriel Barahona                 $13.00   53.53   $   12.00                $ 87.97    $    87.97
12/29/2019 Deybin Gabriel Barahona                 $13.00   43.27   $   12.00                $ 21.23    $    21.23
 1/12/2020 Deybin Gabriel Barahona                 $13.00   49.97   $   13.00                $ 64.78    $    64.78
 1/19/2020 Deybin Gabriel Barahona                 $13.00   51.40   $   13.00                $ 74.10    $    74.10
  9/1/2019 Diego Alexander Ramos Hernandez         $13.00   63.68   $   12.00                $ 153.94   $   153.94
 9/15/2019 Diego Alexander Ramos Hernandez         $13.00   51.83   $   12.00                $ 76.92    $    76.92
 9/22/2019 Diego Alexander Ramos Hernandez         $13.00   54.78   $   12.00                $ 96.09    $    96.09
 9/29/2019 Diego Alexander Ramos Hernandez         $13.00   47.33   $   12.00                $ 47.67    $    47.67
 10/6/2019 Diego Alexander Ramos Hernandez         $13.00   59.53   $   12.00                $ 126.97   $   126.97
10/13/2019 Diego Alexander Ramos Hernandez         $13.00   53.62   $   12.00                $ 88.51    $    88.51
10/20/2019 Diego Alexander Ramos Hernandez         $13.00   55.05   $   12.00                $ 97.83    $    97.83
10/27/2019 Diego Alexander Ramos Hernandez         $13.00   55.15   $   12.00                $ 98.48    $    98.48
 11/3/2019 Diego Alexander Ramos Hernandez         $13.00   50.80   $   12.00                $ 70.20    $    70.20
11/17/2019 Diego Alexander Ramos Hernandez         $13.00   56.80   $   12.00                $ 109.20   $   109.20
11/24/2019 Diego Alexander Ramos Hernandez         $13.00   56.52   $   12.00                $ 107.36   $   107.36
 12/1/2019 Diego Alexander Ramos Hernandez         $13.00   42.03   $   12.00                $ 13.22    $    13.22
 12/8/2019 Diego Alexander Ramos Hernandez         $13.00   56.63   $   12.00                $ 108.12   $   108.12
12/15/2019 Diego Alexander Ramos Hernandez         $13.00   57.15   $   12.00                $ 111.48   $   111.48
12/22/2019 Diego Alexander Ramos Hernandez         $13.00   56.05   $   12.00                $ 104.33   $   104.33
12/29/2019 Diego Alexander Ramos Hernandez         $13.00   50.03   $   12.00                $ 65.22    $    65.22
  1/5/2020 Diego Alexander Ramos Hernandez         $13.00   52.93   $   13.00                $ 84.07    $    84.07
 1/12/2020 Diego Alexander Ramos Hernandez         $13.00   44.15   $   13.00                $ 26.98    $    26.98
 1/19/2020 Diego Alexander Ramos Hernandez         $13.00   60.52   $   13.00                $ 133.36   $   133.36
 1/26/2020 Diego Alexander Ramos Hernandez         $13.00   59.08   $   13.00                $ 124.04   $   124.04
  2/3/2019 Diego Valladres                         $12.00   44.43   $   12.00                $ 26.60    $    26.60
 2/10/2019 Diego Valladres                         $12.00   64.22   $   12.00                $ 145.30   $   145.30
 2/17/2019 Diego Valladres                         $12.00   70.68   $   12.00                $ 184.10   $   184.10
 2/24/2019 Diego Valladres                         $12.00   70.15   $   12.00                $ 180.90   $   180.90


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  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                      Name                       Minimum  Regular Half-Time Overtime Back
                                           Rate Week
  Date                                                   Wage   Rate Due     Due       Wages Due

  3/3/2019 Diego Valladres                $12.00   69.22   $   12.00               $ 175.30   $   175.30
 3/10/2019 Diego Valladres                $12.00   71.38   $   12.00               $ 188.30   $   188.30
 3/17/2019 Diego Valladres                $12.00   55.85   $   12.00               $ 95.10    $    95.10
 3/24/2019 Diego Valladres                $12.00   64.67   $   12.00               $ 148.00   $   148.00
 3/31/2019 Diego Valladres                $12.00   68.18   $   12.00               $ 169.10   $   169.10
  4/7/2019 Diego Valladres                $12.00   70.33   $   12.00               $ 182.00   $   182.00
 4/14/2019 Diego Valladres                $12.00   71.50   $   12.00               $ 189.00   $   189.00
 4/21/2019 Diego Valladres                $12.00   64.73   $   12.00               $ 148.40   $   148.40
 4/28/2019 Diego Valladres                $12.00   55.35   $   12.00               $ 92.10    $    92.10
  5/5/2019 Diego Valladres                $12.00   63.70   $   12.00               $ 142.20   $   142.20
 5/12/2019 Diego Valladres                $12.00   66.50   $   12.00               $ 159.00   $   159.00
 5/19/2019 Diego Valladres                $12.00   66.32   $   12.00               $ 157.90   $   157.90
 5/26/2019 Diego Valladres                $12.00   66.28   $   12.00               $ 157.70   $   157.70
  6/2/2019 Diego Valladres                $12.00   57.87   $   12.00               $ 107.20   $   107.20
  6/9/2019 Diego Valladres                $12.00   57.12   $   12.00               $ 102.70   $   102.70
 6/16/2019 Diego Valladres                $12.00   65.40   $   12.00               $ 152.40   $   152.40
 6/23/2019 Diego Valladres                $12.00   67.35   $   12.00               $ 164.10   $   164.10
 6/30/2019 Diego Valladres                $12.00   59.83   $   12.00               $ 119.00   $   119.00
  7/7/2019 Diego Valladres                $13.00   45.93   $   12.00               $ 38.57    $    38.57
 7/14/2019 Diego Valladres                $13.00   66.28   $   12.00               $ 170.84   $   170.84
 7/21/2019 Diego Valladres                $13.00   61.32   $   12.00               $ 138.56   $   138.56
 7/28/2019 Diego Valladres                $13.00   69.60   $   12.00               $ 192.40   $   192.40
  8/4/2019 Diego Valladres                $13.00   69.63   $   12.00               $ 192.62   $   192.62
 8/11/2019 Diego Valladres                $13.00   68.33   $   12.00               $ 184.17   $   184.17
 8/18/2019 Diego Valladres                $13.00   57.27   $   12.00               $ 112.23   $   112.23
 8/25/2019 Diego Valladres                $13.00   58.70   $   12.00               $ 121.55   $   121.55
  9/1/2019 Diego Valladres                $13.00   68.67   $   12.00               $ 186.33   $   186.33
  9/8/2019 Diego Valladres                $13.00   53.35   $   12.00               $ 86.78    $    86.78
 9/15/2019 Diego Valladres                $13.00   70.27   $   12.00               $ 196.73   $   196.73
 9/22/2019 Diego Valladres                $13.00   68.88   $   12.00               $ 187.74   $   187.74
 9/29/2019 Diego Valladres                $13.00   69.82   $   12.00               $ 193.81   $   193.81
 10/6/2019 Diego Valladres                $13.00   68.50   $   12.00               $ 185.25   $   185.25
10/13/2019 Diego Valladres                $13.00   58.40   $   12.00               $ 119.60   $   119.60
10/20/2019 Diego Valladres                $13.00   58.77   $   12.00               $ 121.98   $   121.98
10/27/2019 Diego Valladres                $13.00   66.07   $   12.00               $ 169.43   $   169.43
 11/3/2019 Diego Valladres                $13.00   58.17   $   12.00               $ 118.08   $   118.08
11/10/2019 Diego Valladres                $13.00   61.92   $   12.00               $ 142.46   $   142.46
11/17/2019 Diego Valladres                $13.00   58.70   $   12.00               $ 121.55   $   121.55
11/24/2019 Diego Valladres                $13.00   57.65   $   12.00               $ 114.73   $   114.73
 12/1/2019 Diego Valladres                $13.00   58.43   $   12.00               $ 119.82   $   119.82
 12/8/2019 Diego Valladres                $13.00   57.87   $   12.00               $ 116.13   $   116.13
12/15/2019 Diego Valladres                $13.00   68.73   $   12.00               $ 186.77   $   186.77
12/22/2019 Diego Valladres                $13.00   59.53   $   12.00               $ 126.97   $   126.97
12/29/2019 Diego Valladres                $13.00   55.80   $   12.00               $ 102.70   $   102.70
  1/5/2020 Diego Valladres                $13.00   60.52   $   13.00               $ 133.36   $   133.36
 1/12/2020 Diego Valladres                $13.00   70.75   $   13.00               $ 199.88   $   199.88
 1/19/2020 Diego Valladres                $13.00   52.60   $   13.00               $ 81.90    $    81.90
 1/26/2020 Diego Valladres                $13.00   53.00   $   13.00               $ 84.50    $    84.50
11/24/2019 Dixin Josue Alvarado           $11.50   56.22   $   12.00   $   28.11   $ 97.30    $   125.41
 12/8/2019 Dixin Josue Alvarado           $11.50   55.28   $   12.00   $   27.64   $ 91.70    $   119.34
12/15/2019 Dixin Josue Alvarado           $11.50   55.45   $   12.00   $   27.73   $ 92.70    $   120.43
12/22/2019 Dixin Josue Alvarado           $11.50   53.43   $   12.00   $   26.72   $ 80.60    $   107.32


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  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                      Name                       Minimum  Regular Half-Time Overtime Back
                                           Rate Week
  Date                                                   Wage   Rate Due     Due       Wages Due

12/29/2019 Dixin Josue Alvarado           $11.50   43.75   $   12.00   $   21.88   $ 22.50    $    44.38
  1/5/2020 Dixin Josue Alvarado           $11.50   49.98   $   13.00   $   74.98   $ 64.89    $   139.87
 1/12/2020 Dixin Josue Alvarado           $11.50   54.32   $   13.00   $   81.48   $ 93.06    $   174.53
 1/19/2020 Dixin Josue Alvarado           $11.50   52.62   $   13.00   $   78.93   $ 82.01    $   160.93
 1/26/2020 Dixin Josue Alvarado           $11.50   54.30   $   13.00   $   81.45   $ 92.95    $   174.40
 4/22/2018 Edgar Dominguez Jr.            $16.50   44.80   $   11.00               $ 39.60    $    39.60
 4/29/2018 Edgar Dominguez Jr.            $16.50   45.20   $   11.00               $ 42.90    $    42.90
  5/6/2018 Edgar Dominguez Jr.            $16.50   45.23   $   11.00               $ 43.18    $    43.18
 5/13/2018 Edgar Dominguez Jr.            $16.50   41.70   $   11.00               $ 14.03    $    14.03
 5/20/2018 Edgar Dominguez Jr.            $16.50   40.10   $   11.00               $   0.82   $     0.82
 5/27/2018 Edgar Dominguez Jr.            $16.50   44.25   $   11.00               $ 35.06    $    35.06
 6/10/2018 Edgar Dominguez Jr.            $16.50   42.12   $   11.00               $ 17.46    $    17.46
 6/17/2018 Edgar Dominguez Jr.            $16.50   49.83   $   11.00               $ 81.13    $    81.13
 6/24/2018 Edgar Dominguez Jr.            $16.50   44.23   $   11.00               $ 34.93    $    34.93
  7/1/2018 Edgar Dominguez Jr.            $16.50   44.70   $   11.00               $ 38.78    $    38.78
  7/8/2018 Edgar Dominguez Jr.            $16.50   40.97   $   11.00               $   7.98   $     7.98
 7/15/2018 Edgar Dominguez Jr.            $16.50   46.45   $   11.00               $ 53.21    $    53.21
 7/22/2018 Edgar Dominguez Jr.            $16.50   45.87   $   11.00               $ 48.40    $    48.40
 7/29/2018 Edgar Dominguez Jr.            $16.50   56.43   $   11.00               $ 135.58   $   135.58
 8/19/2018 Edgar Dominguez Jr.            $16.50   40.10   $   11.00               $   0.83   $     0.83
 9/16/2018 Edgar Dominguez Jr.            $16.50   40.03   $   11.00               $   0.27   $     0.27
 9/23/2018 Edgar Dominguez Jr.            $16.50   40.10   $   11.00               $   0.83   $     0.83
 9/30/2018 Edgar Dominguez Jr.            $16.50   40.12   $   11.00               $   0.96   $     0.96
10/21/2018 Edgar Dominguez Jr.            $16.50   40.30   $   11.00               $   2.47   $     2.47
 11/4/2018 Edgar Dominguez Jr.            $16.50   40.08   $   11.00               $   0.69   $     0.69
11/11/2018 Edgar Dominguez Jr.            $16.50   40.70   $   11.00               $   5.78   $     5.78
11/18/2018 Edgar Dominguez Jr.            $16.50   40.80   $   11.00               $   6.60   $     6.60
 12/2/2018 Edgar Dominguez Jr.            $16.50   40.72   $   11.00               $   5.91   $     5.91
12/16/2018 Edgar Dominguez Jr.            $16.50   40.73   $   11.00               $   6.05   $     6.05
12/23/2018 Edgar Dominguez Jr.            $16.50   40.80   $   11.00               $   6.60   $     6.60
  1/6/2019 Edgar Dominguez Jr.            $16.50   40.10   $   12.00               $   0.82   $     0.82
 1/20/2019 Edgar Dominguez Jr.            $16.50   40.65   $   12.00               $   5.36   $     5.36
 1/27/2019 Edgar Dominguez Jr.            $16.50   40.35   $   12.00               $   2.89   $     2.89
 2/10/2019 Edgar Dominguez Jr.            $16.50   40.82   $   12.00               $   6.74   $     6.74
 2/17/2019 Edgar Dominguez Jr.            $16.50   40.72   $   12.00               $   5.91   $     5.91
 2/24/2019 Edgar Dominguez Jr.            $16.50   40.07   $   12.00               $   0.55   $     0.55
  3/3/2019 Edgar Dominguez Jr.            $16.50   40.22   $   12.00               $   1.79   $     1.79
 3/17/2019 Edgar Dominguez Jr.            $16.50   40.87   $   12.00               $   7.15   $     7.15
 3/24/2019 Edgar Dominguez Jr.            $16.50   40.73   $   12.00               $   6.05   $     6.05
 3/31/2019 Edgar Dominguez Jr.            $16.50   40.37   $   12.00               $   3.02   $     3.02
 4/14/2019 Edgar Dominguez Jr.            $16.50   40.07   $   12.00               $   0.55   $     0.55
 4/21/2019 Edgar Dominguez Jr.            $16.50   40.25   $   12.00               $   2.06   $     2.06
 4/28/2019 Edgar Dominguez Jr.            $16.50   40.63   $   12.00               $   5.23   $     5.23
  5/5/2019 Edgar Dominguez Jr.            $16.50   40.18   $   12.00               $   1.51   $     1.51
 5/12/2019 Edgar Dominguez Jr.            $16.50   40.40   $   12.00               $   3.30   $     3.30
 5/19/2019 Edgar Dominguez Jr.            $16.50   40.18   $   12.00               $   1.51   $     1.51
  6/9/2019 Edgar Dominguez Jr.            $16.50   40.13   $   12.00               $   1.10   $     1.10
 6/16/2019 Edgar Dominguez Jr.            $16.50   40.38   $   12.00               $   3.16   $     3.16
 6/23/2019 Edgar Dominguez Jr.            $16.50   40.18   $   12.00               $   1.51   $     1.51
 6/30/2019 Edgar Dominguez Jr.            $16.50   40.55   $   12.00               $   4.54   $     4.54
  7/7/2019 Edgar Dominguez Jr.            $16.50   40.45   $   12.00               $   3.71   $     3.71
 7/14/2019 Edgar Dominguez Jr.            $16.50   40.18   $   12.00               $   1.51   $     1.51


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  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 7/28/2019 Edgar Dominguez Jr.             $16.50   40.48   $   12.00         $   3.99   $       3.99
 8/11/2019 Edgar Dominguez Jr.             $16.50   40.87   $   12.00         $   7.15   $       7.15
 8/18/2019 Edgar Dominguez Jr.             $16.50   41.30   $   12.00         $ 10.73    $      10.73
 8/25/2019 Edgar Dominguez Jr.             $16.50   40.77   $   12.00         $   6.32   $       6.32
  9/1/2019 Edgar Dominguez Jr.             $16.50   41.17   $   12.00         $   9.63   $       9.63
 9/22/2019 Edgar Dominguez Jr.             $16.50   40.05   $   12.00         $   0.41   $       0.41
10/13/2019 Edgar Dominguez Jr.             $16.50   40.27   $   12.00         $   2.20   $       2.20
10/20/2019 Edgar Dominguez Jr.             $16.50   40.27   $   12.00         $   2.20   $       2.20
10/27/2019 Edgar Dominguez Jr.             $16.50   40.70   $   12.00         $   5.77   $       5.77
 11/3/2019 Edgar Dominguez Jr.             $16.50   40.88   $   12.00         $   7.29   $       7.29
11/10/2019 Edgar Dominguez Jr.             $16.50   40.72   $   12.00         $   5.91   $       5.91
11/17/2019 Edgar Dominguez Jr.             $16.50   40.72   $   12.00         $   5.91   $       5.91
11/24/2019 Edgar Dominguez Jr.             $16.50   41.15   $   12.00         $   9.49   $       9.49
 12/8/2019 Edgar Dominguez Jr.             $16.50   40.05   $   12.00         $   0.41   $       0.41
12/29/2019 Edgar Dominguez Jr.             $16.50   40.68   $   12.00         $   5.64   $       5.64
 1/12/2020 Edgar Dominguez Jr.             $16.50   50.38   $   13.00         $ 85.66    $      85.66
 1/19/2020 Edgar Dominguez Jr.             $16.50   43.93   $   13.00         $ 32.45    $      32.45
 1/12/2020 Edilberto Munguia Ortiz         $13.00   42.68   $   13.00         $ 17.44    $      17.44
 1/19/2020 Edilberto Munguia Ortiz         $13.00   53.00   $   13.00         $ 84.50    $      84.50
 1/26/2020 Edilberto Munguia Ortiz         $13.00   53.27   $   13.00         $ 86.23    $      86.23
  2/5/2017 Eduardo Cubas                   $10.00   49.53   $   10.00         $ 47.67    $      47.67
 2/19/2017 Eduardo Cubas                   $10.00   49.63   $   10.00         $ 48.17    $      48.17
 2/26/2017 Eduardo Cubas                   $10.00   59.38   $   10.00         $ 96.92    $      96.92
  3/5/2017 Eduardo Cubas                   $10.00   59.25   $   10.00         $ 96.25    $      96.25
 3/12/2017 Eduardo Cubas                   $10.00   59.95   $   10.00         $ 99.75    $      99.75
 3/19/2017 Eduardo Cubas                   $10.00   48.13   $   10.00         $ 40.67    $      40.67
 3/26/2017 Eduardo Cubas                   $10.00   57.62   $   10.00         $ 88.08    $      88.08
  4/2/2017 Eduardo Cubas                   $10.00   60.08   $   10.00         $ 100.42   $     100.42
  4/9/2017 Eduardo Cubas                   $10.00   57.15   $   10.00         $ 85.75    $      85.75
 4/16/2017 Eduardo Cubas                   $10.00   59.42   $   10.00         $ 97.08    $      97.08
 4/23/2017 Eduardo Cubas                   $10.00   58.92   $   10.00         $ 94.58    $      94.58
 4/30/2017 Eduardo Cubas                   $10.00   59.53   $   10.00         $ 97.67    $      97.67
  5/7/2017 Eduardo Cubas                   $10.00   59.83   $   10.00         $ 99.17    $      99.17
12/17/2017 Eduardo Duverge                 $12.50   57.55   $   10.00         $ 109.69   $     109.69
12/24/2017 Eduardo Duverge                 $12.50   61.55   $   10.00         $ 134.69   $     134.69
12/31/2017 Eduardo Duverge                 $12.50   47.65   $   11.00         $ 47.81    $      47.81
  2/5/2017 Eduardo Medina Mata             $11.00   48.37   $   10.00         $ 46.02    $      46.02
 2/19/2017 Eduardo Medina Mata             $11.00   46.58   $   10.00         $ 36.21    $      36.21
 2/26/2017 Eduardo Medina Mata             $11.00   47.82   $   10.00         $ 42.99    $      42.99
  3/5/2017 Eduardo Medina Mata             $11.00   46.53   $   10.00         $ 35.93    $      35.93
 3/26/2017 Eduardo Medina Mata             $11.00   48.18   $   10.00         $ 45.01    $      45.01
  4/2/2017 Eduardo Medina Mata             $11.00   51.17   $   10.00         $ 61.42    $      61.42
 4/16/2017 Eduardo Medina Mata             $11.00   49.22   $   10.00         $ 50.69    $      50.69
 4/23/2017 Eduardo Medina Mata             $11.00   48.07   $   10.00         $ 44.37    $      44.37
 4/30/2017 Eduardo Medina Mata             $11.00   41.27   $   10.00         $   6.97   $       6.97
 5/14/2017 Eduardo Medina Mata             $11.00   49.28   $   10.00         $ 51.06    $      51.06
 5/21/2017 Eduardo Medina Mata             $11.00   51.08   $   10.00         $ 60.96    $      60.96
 5/28/2017 Eduardo Medina Mata             $11.00   45.38   $   10.00         $ 29.61    $      29.61
  6/4/2017 Eduardo Medina Mata             $11.00   42.93   $   10.00         $ 16.13    $      16.13
 6/11/2017 Eduardo Medina Mata             $11.00   49.75   $   10.00         $ 53.63    $      53.63
 6/18/2017 Eduardo Medina Mata             $11.00   48.25   $   10.00         $ 45.38    $      45.38
 6/25/2017 Eduardo Medina Mata             $11.00   51.83   $   10.00         $ 65.08    $      65.08


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                                  Long Island Computations


  Week                                                  State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
 Ending                    Name                       Minimum  Regular Half-Time Overtime Back
                                         Rate Week
  Date                                                 Wage   Rate Due     Due       Wages Due

  7/2/2017 Eduardo Medina Mata          $11.00   42.98   $   10.00         $ 16.41    $      16.41
 7/16/2017 Eduardo Medina Mata          $11.00   50.30   $   10.00         $ 56.65    $      56.65
 7/23/2017 Eduardo Medina Mata          $11.00   49.83   $   10.00         $ 54.08    $      54.08
  8/6/2017 Eduardo Medina Mata          $11.00   46.62   $   10.00         $ 36.39    $      36.39
 8/13/2017 Eduardo Medina Mata          $11.00   45.47   $   10.00         $ 30.07    $      30.07
 8/20/2017 Eduardo Medina Mata          $11.00   45.63   $   10.00         $ 30.98    $      30.98
 8/27/2017 Eduardo Medina Mata          $11.00   49.95   $   10.00         $ 54.73    $      54.73
  9/3/2017 Eduardo Medina Mata          $11.00   41.52   $   10.00         $   8.34   $       8.34
 9/10/2017 Eduardo Medina Mata          $11.00   42.32   $   10.00         $ 12.74    $      12.74
 9/17/2017 Eduardo Medina Mata          $11.00   53.07   $   10.00         $ 71.87    $      71.87
 9/24/2017 Eduardo Medina Mata          $11.00   48.60   $   10.00         $ 47.30    $      47.30
 10/1/2017 Eduardo Medina Mata          $11.00   52.08   $   10.00         $ 66.46    $      66.46
 10/8/2017 Eduardo Medina Mata          $11.00   50.30   $   10.00         $ 56.65    $      56.65
10/15/2017 Eduardo Medina Mata          $11.00   46.73   $   10.00         $ 37.03    $      37.03
10/22/2017 Eduardo Medina Mata          $11.00   46.75   $   10.00         $ 37.13    $      37.13
10/29/2017 Eduardo Medina Mata          $11.00   43.23   $   10.00         $ 17.78    $      17.78
 11/5/2017 Eduardo Medina Mata          $11.00   47.57   $   10.00         $ 41.62    $      41.62
11/12/2017 Eduardo Medina Mata          $11.00   49.85   $   10.00         $ 54.18    $      54.18
11/19/2017 Eduardo Medina Mata          $11.00   48.18   $   10.00         $ 45.01    $      45.01
 12/3/2017 Eduardo Medina Mata          $11.00   52.78   $   10.00         $ 70.31    $      70.31
12/10/2017 Eduardo Medina Mata          $11.00   47.02   $   10.00         $ 38.59    $      38.59
12/17/2017 Eduardo Medina Mata          $11.00   48.27   $   10.00         $ 45.47    $      45.47
12/24/2017 Eduardo Medina Mata          $11.00   45.88   $   10.00         $ 32.36    $      32.36
 1/14/2018 Eduardo Medina Mata          $11.00   50.77   $   11.00         $ 59.22    $      59.22
 1/21/2018 Eduardo Medina Mata          $11.00   42.30   $   11.00         $ 12.65    $      12.65
 1/28/2018 Eduardo Medina Mata          $11.00   52.53   $   11.00         $ 68.93    $      68.93
  2/4/2018 Eduardo Medina Mata          $11.00   53.62   $   11.00         $ 74.89    $      74.89
 2/11/2018 Eduardo Medina Mata          $11.00   54.63   $   11.00         $ 80.48    $      80.48
 2/18/2018 Eduardo Medina Mata          $11.00   58.03   $   11.00         $ 99.18    $      99.18
 2/25/2018 Eduardo Medina Mata          $11.00   56.48   $   11.00         $ 90.66    $      90.66
  3/4/2018 Eduardo Medina Mata          $11.00   55.45   $   11.00         $ 84.97    $      84.97
 3/25/2018 Eduardo Medina Mata          $11.00   50.08   $   11.00         $ 55.46    $      55.46
  4/1/2018 Eduardo Medina Mata          $11.00   62.17   $   11.00         $ 121.92   $     121.92
  4/8/2018 Eduardo Medina Mata          $11.00   62.58   $   11.00         $ 124.21   $     124.21
 4/15/2018 Eduardo Medina Mata          $11.00   56.00   $   11.00         $ 88.00    $      88.00
 4/22/2018 Eduardo Medina Mata          $11.00   58.23   $   11.00         $ 100.28   $     100.28
 4/29/2018 Eduardo Medina Mata          $11.00   42.80   $   11.00         $ 15.40    $      15.40
  5/6/2018 Eduardo Medina Mata          $11.00   54.30   $   11.00         $ 78.65    $      78.65
 5/13/2018 Eduardo Medina Mata          $11.00   54.77   $   11.00         $ 81.22    $      81.22
 5/20/2018 Eduardo Medina Mata          $11.00   44.77   $   11.00         $ 26.22    $      26.22
 5/27/2018 Eduardo Medina Mata          $11.00   53.65   $   11.00         $ 75.08    $      75.08
  6/3/2018 Eduardo Medina Mata          $11.00   43.35   $   11.00         $ 18.43    $      18.43
 6/10/2018 Eduardo Medina Mata          $11.00   41.13   $   11.00         $   6.23   $       6.23
 6/17/2018 Eduardo Medina Mata          $11.00   48.22   $   11.00         $ 45.19    $      45.19
 6/24/2018 Eduardo Medina Mata          $11.00   58.48   $   11.00         $ 101.66   $     101.66
  7/1/2018 Eduardo Medina Mata          $11.00   51.83   $   11.00         $ 65.08    $      65.08
 7/15/2018 Eduardo Medina Mata          $11.00   43.22   $   11.00         $ 17.69    $      17.69
 7/22/2018 Eduardo Medina Mata          $11.00   55.28   $   11.00         $ 84.06    $      84.06
 7/29/2018 Eduardo Medina Mata          $11.00   52.13   $   11.00         $ 66.73    $      66.73
  8/5/2018 Eduardo Medina Mata          $11.00   47.15   $   11.00         $ 39.33    $      39.33
 8/26/2018 Eduardo Medina Mata          $11.00   45.43   $   11.00         $ 29.88    $      29.88
 9/16/2018 Eduardo Medina Mata          $11.00   41.32   $   11.00         $   7.24   $       7.24


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                                           Exhibit 5
                                  Long Island Computations


  Week                                                  State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
 Ending                    Name                       Minimum  Regular Half-Time Overtime Back
                                         Rate Week
  Date                                                 Wage   Rate Due     Due       Wages Due

 9/23/2018 Eduardo Medina Mata          $11.00   41.30   $   11.00               $   7.15   $     7.15
 9/30/2018 Eduardo Medina Mata          $11.00   52.37   $   11.00               $ 68.02    $    68.02
11/11/2018 Eduardo Medina Mata          $11.00   53.80   $   11.00               $ 75.90    $    75.90
11/18/2018 Eduardo Medina Mata          $11.00   47.75   $   11.00               $ 42.63    $    42.63
 12/2/2018 Eduardo Medina Mata          $11.00   56.22   $   11.00               $ 89.19    $    89.19
 12/9/2018 Eduardo Medina Mata          $11.00   56.67   $   11.00               $ 91.67    $    91.67
12/23/2018 Eduardo Medina Mata          $11.00   56.38   $   11.00               $ 90.11    $    90.11
 5/27/2018 Edwin Macias                 $10.00   47.08   $   11.00   $   47.08   $ 38.96    $    86.04
 2/10/2019 Elias M. Mejia               $12.00   55.17   $   12.00               $ 91.00    $    91.00
 2/17/2019 Elias M. Mejia               $12.00   54.25   $   12.00               $ 85.50    $    85.50
 2/24/2019 Elias M. Mejia               $12.00   60.50   $   12.00               $ 123.00   $   123.00
  3/3/2019 Elias M. Mejia               $12.00   64.52   $   12.00               $ 147.10   $   147.10
 3/10/2019 Elias M. Mejia               $12.00   56.28   $   12.00               $ 97.70    $    97.70
 3/17/2019 Elias M. Mejia               $12.00   59.10   $   12.00               $ 114.60   $   114.60
 3/24/2019 Elias M. Mejia               $12.00   58.87   $   12.00               $ 113.20   $   113.20
 3/31/2019 Elias M. Mejia               $12.00   56.70   $   12.00               $ 100.20   $   100.20
  4/7/2019 Elias M. Mejia               $12.00   55.95   $   12.00               $ 95.70    $    95.70
 4/14/2019 Elias M. Mejia               $12.00   57.27   $   12.00               $ 103.60   $   103.60
 4/21/2019 Elias M. Mejia               $12.00   61.03   $   12.00               $ 126.20   $   126.20
 4/28/2019 Elias M. Mejia               $12.00   57.95   $   12.00               $ 107.70   $   107.70
  5/5/2019 Elias M. Mejia               $12.00   60.23   $   12.00               $ 121.40   $   121.40
 5/12/2019 Elias M. Mejia               $12.00   60.05   $   12.00               $ 120.30   $   120.30
 5/19/2019 Elias M. Mejia               $12.00   47.52   $   12.00               $ 45.10    $    45.10
 5/26/2019 Elias M. Mejia               $12.00   61.03   $   12.00               $ 126.20   $   126.20
  6/2/2019 Elias M. Mejia               $12.00   48.17   $   12.00               $ 49.00    $    49.00
  6/9/2019 Elias M. Mejia               $12.00   59.08   $   12.00               $ 114.50   $   114.50
 6/16/2019 Elias M. Mejia               $12.00   50.40   $   12.00               $ 62.40    $    62.40
 6/23/2019 Elias M. Mejia               $12.00   55.92   $   12.00               $ 95.50    $    95.50
 6/30/2019 Elias M. Mejia               $12.00   55.97   $   12.00               $ 95.80    $    95.80
  7/7/2019 Elias M. Mejia               $13.00   46.08   $   12.00               $ 39.54    $    39.54
 7/14/2019 Elias M. Mejia               $13.00   46.55   $   12.00               $ 42.58    $    42.58
 7/21/2019 Elias M. Mejia               $13.00   56.58   $   12.00               $ 107.79   $   107.79
 7/28/2019 Elias M. Mejia               $13.00   56.87   $   12.00               $ 109.63   $   109.63
  8/4/2019 Elias M. Mejia               $13.00   55.98   $   12.00               $ 103.89   $   103.89
 8/11/2019 Elias M. Mejia               $13.00   53.05   $   12.00               $ 84.83    $    84.83
 8/18/2019 Elias M. Mejia               $13.00   46.10   $   12.00               $ 39.65    $    39.65
 8/25/2019 Elias M. Mejia               $13.00   56.90   $   12.00               $ 109.85   $   109.85
  9/1/2019 Elias M. Mejia               $13.00   55.52   $   12.00               $ 100.86   $   100.86
  9/8/2019 Elias M. Mejia               $13.00   45.93   $   12.00               $ 38.57    $    38.57
 9/15/2019 Elias M. Mejia               $13.00   55.18   $   12.00               $ 98.69    $    98.69
 9/22/2019 Elias M. Mejia               $13.00   54.97   $   12.00               $ 97.28    $    97.28
 9/29/2019 Elias M. Mejia               $13.00   55.05   $   12.00               $ 97.83    $    97.83
 10/6/2019 Elias M. Mejia               $13.00   45.27   $   12.00               $ 34.23    $    34.23
10/13/2019 Elias M. Mejia               $13.00   55.45   $   12.00               $ 100.43   $   100.43
10/20/2019 Elias M. Mejia               $13.00   52.13   $   12.00               $ 78.87    $    78.87
10/27/2019 Elias M. Mejia               $13.00   55.58   $   12.00               $ 101.29   $   101.29
 11/3/2019 Elias M. Mejia               $13.00   53.95   $   12.00               $ 90.68    $    90.68
11/10/2019 Elias M. Mejia               $13.00   52.13   $   12.00               $ 78.87    $    78.87
11/17/2019 Elias M. Mejia               $13.00   56.22   $   12.00               $ 105.41   $   105.41
11/24/2019 Elias M. Mejia               $13.00   55.67   $   12.00               $ 101.83   $   101.83
 12/1/2019 Elias M. Mejia               $13.00   45.35   $   12.00               $ 34.78    $    34.78
 12/8/2019 Elias M. Mejia               $13.00   55.27   $   12.00               $ 99.23    $    99.23


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                                            Exhibit 5
                                   Long Island Computations


  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                     Name                       Minimum  Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                  Wage   Rate Due     Due       Wages Due

12/15/2019 Elias M. Mejia                $13.00   55.52   $   12.00         $ 100.86   $     100.86
12/22/2019 Elias M. Mejia                $13.00   44.22   $   12.00         $ 27.41    $      27.41
12/29/2019 Elias M. Mejia                $13.00   42.92   $   12.00         $ 18.96    $      18.96
 1/12/2020 Elias M. Mejia                $13.00   45.93   $   13.00         $ 38.57    $      38.57
 1/19/2020 Elias M. Mejia                $13.00   56.03   $   13.00         $ 104.22   $     104.22
 1/26/2020 Elias M. Mejia                $13.00   53.50   $   13.00         $ 87.75    $      87.75
  8/5/2018 Elizabeth Vera                $20.00   66.17   $   11.00         $ 261.67   $     261.67
 8/12/2018 Elizabeth Vera                $20.00   64.57   $   11.00         $ 245.67   $     245.67
 8/19/2018 Elizabeth Vera                $20.00   69.85   $   11.00         $ 298.50   $     298.50
 8/26/2018 Elizabeth Vera                $20.00   72.17   $   11.00         $ 321.67   $     321.67
  9/2/2018 Elizabeth Vera                $20.00   51.85   $   11.00         $ 118.50   $     118.50
  9/9/2018 Elizabeth Vera                $20.00   45.67   $   11.00         $ 56.67    $      56.67
 9/16/2018 Elizabeth Vera                $20.00   54.28   $   11.00         $ 142.83   $     142.83
 9/23/2018 Elizabeth Vera                $20.00   53.92   $   11.00         $ 139.17   $     139.17
 9/30/2018 Elizabeth Vera                $20.00   52.88   $   11.00         $ 128.83   $     128.83
 10/7/2018 Elizabeth Vera                $20.00   61.87   $   11.00         $ 218.67   $     218.67
10/14/2018 Elizabeth Vera                $20.00   73.10   $   11.00         $ 331.00   $     331.00
10/21/2018 Elizabeth Vera                $20.00   51.72   $   11.00         $ 117.17   $     117.17
10/28/2018 Elizabeth Vera                $20.00   68.58   $   11.00         $ 285.83   $     285.83
 11/4/2018 Elizabeth Vera                $20.00   62.62   $   11.00         $ 226.17   $     226.17
11/11/2018 Elizabeth Vera                $20.00   59.42   $   11.00         $ 194.17   $     194.17
 12/2/2018 Elizabeth Vera                $20.00   58.50   $   11.00         $ 185.00   $     185.00
 12/9/2018 Elizabeth Vera                $20.00   55.80   $   11.00         $ 158.00   $     158.00
12/16/2018 Elizabeth Vera                $20.00   71.28   $   11.00         $ 312.83   $     312.83
12/23/2018 Elizabeth Vera                $20.00   72.25   $   11.00         $ 322.50   $     322.50
12/30/2018 Elizabeth Vera                $20.00   57.15   $   11.00         $ 171.50   $     171.50
 1/27/2019 Elizabeth Vera                $20.00   44.08   $   12.00         $ 40.83    $      40.83
 2/10/2019 Elizabeth Vera                $20.00   40.60   $   12.00         $   6.00   $       6.00
 7/21/2019 Elizabeth Vera                $20.00   42.08   $   12.00         $ 20.83    $      20.83
 7/28/2019 Elizabeth Vera                $20.00   45.53   $   12.00         $ 55.33    $      55.33
 8/11/2019 Elizabeth Vera                $20.00   43.43   $   12.00         $ 34.33    $      34.33
 8/18/2019 Elizabeth Vera                $20.00   43.73   $   12.00         $ 37.33    $      37.33
 1/14/2018 Elmer Acosta                  $12.00   47.12   $   11.00         $ 42.70    $      42.70
 1/21/2018 Elmer Acosta                  $12.00   58.75   $   11.00         $ 112.50   $     112.50
 1/28/2018 Elmer Acosta                  $12.00   59.33   $   11.00         $ 116.00   $     116.00
  2/4/2018 Elmer Acosta                  $12.00   62.52   $   11.00         $ 135.10   $     135.10
 2/11/2018 Elmer Acosta                  $12.00   59.52   $   11.00         $ 117.10   $     117.10
 2/18/2018 Elmer Acosta                  $12.00   59.72   $   11.00         $ 118.30   $     118.30
 2/25/2018 Elmer Acosta                  $12.00   59.82   $   11.00         $ 118.90   $     118.90
  3/4/2018 Elmer Acosta                  $12.00   59.62   $   11.00         $ 117.70   $     117.70
 3/25/2018 Elmer Acosta                  $12.00   55.90   $   11.00         $ 95.40    $      95.40
  4/1/2018 Elmer Acosta                  $12.00   61.33   $   11.00         $ 128.00   $     128.00
  4/8/2018 Elmer Acosta                  $12.00   60.33   $   11.00         $ 122.00   $     122.00
 4/15/2018 Elmer Acosta                  $12.00   60.73   $   11.00         $ 124.40   $     124.40
 4/22/2018 Elmer Acosta                  $12.00   59.82   $   11.00         $ 118.90   $     118.90
 4/29/2018 Elmer Acosta                  $12.00   60.18   $   11.00         $ 121.10   $     121.10
  5/6/2018 Elmer Acosta                  $12.00   60.13   $   11.00         $ 120.80   $     120.80
 5/13/2018 Elmer Acosta                  $12.00   59.75   $   11.00         $ 118.50   $     118.50
 5/20/2018 Elmer Acosta                  $12.00   50.78   $   11.00         $ 64.70    $      64.70
 5/27/2018 Elmer Acosta                  $12.00   59.45   $   11.00         $ 116.70   $     116.70
  6/3/2018 Elmer Acosta                  $12.00   48.25   $   11.00         $ 49.50    $      49.50
 6/10/2018 Elmer Acosta                  $12.00   57.10   $   11.00         $ 102.60   $     102.60


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                                                        Exhibit 5
                                               Long Island Computations


  Week                                                               State Section 7: Section 7: Total Section 7
                                                     Hourly Hours/
 Ending                       Name                                 Minimum  Regular Half-Time Overtime Back
                                                      Rate Week
  Date                                                              Wage   Rate Due     Due       Wages Due

 6/17/2018 Elmer Acosta                              $12.00   58.97   $   11.00               $ 113.80   $   113.80
 6/24/2018 Elmer Acosta                              $12.00   58.87   $   11.00               $ 113.20   $   113.20
  7/1/2018 Elmer Acosta                              $12.00   59.27   $   11.00               $ 115.60   $   115.60
  7/8/2018 Elmer Acosta                              $12.00   50.20   $   11.00               $ 61.20    $    61.20
  2/4/2018 Elvin Vela                                $16.50   41.00   $   11.00               $   8.25   $     8.25
 2/25/2018 Elvin Vela                                $16.50   41.53   $   11.00               $ 12.65    $    12.65
  3/4/2018 Elvin Vela                                $16.50   40.37   $   11.00               $   3.03   $     3.03
 3/25/2018 Elvin Vela                                $16.50   41.23   $   11.00               $ 10.18    $    10.18
  4/1/2018 Elvin Vela                                $16.50   40.85   $   11.00               $   7.01   $     7.01
  4/8/2018 Elvin Vela                                $16.50   40.90   $   11.00               $   7.42   $     7.42
 4/15/2018 Elvin Vela                                $16.50   41.38   $   11.00               $ 11.41    $    11.41
 4/22/2018 Elvin Vela                                $16.50   41.10   $   11.00               $   9.07   $     9.07
 3/25/2018 Enrique Manuel Villalobos - Valet         $10.00   48.62   $   11.00   $   48.62   $ 47.39    $    96.01
  4/1/2018 Enrique Manuel Villalobos - Valet         $10.00   48.22   $   11.00   $   48.22   $ 45.19    $    93.41
  4/8/2018 Enrique Manuel Villalobos - Valet         $10.00   57.77   $   11.00   $   57.77   $ 97.72    $   155.48
 4/15/2018 Enrique Manuel Villalobos - Valet         $10.00   45.08   $   11.00   $   45.08   $ 27.96    $    73.04
  5/6/2018 Enrique Manuel Villalobos - Valet         $10.00   48.17   $   11.00   $   48.17   $ 44.92    $    93.08
 5/20/2018 Enrique Manuel Villalobos - Valet         $10.00   52.43   $   11.00   $   52.43   $ 68.38    $   120.82
 5/27/2018 Enrique Manuel Villalobos - Valet         $10.00   48.22   $   11.00   $   48.22   $ 45.19    $    93.41
 6/10/2018 Enrique Manuel Villalobos - Valet         $10.00   47.60   $   11.00   $   47.60   $ 41.80    $    89.40
 6/17/2018 Enrique Manuel Villalobos - Valet         $10.00   47.43   $   11.00   $   47.43   $ 40.88    $    88.32
 6/24/2018 Enrique Manuel Villalobos - Valet         $10.00   56.08   $   11.00   $   56.08   $ 88.46    $   144.54
  7/1/2018 Enrique Manuel Villalobos - Valet         $10.00   43.73   $   11.00   $   43.73   $ 20.53    $    64.27
 7/15/2018 Enrique Manuel Villalobos - Valet         $10.00   47.23   $   11.00   $   47.23   $ 39.78    $    87.02
 7/22/2018 Enrique Manuel Villalobos - Valet         $10.00   49.05   $   11.00   $   49.05   $ 49.78    $    98.83
 7/29/2018 Enrique Manuel Villalobos - Valet         $10.00   58.68   $   11.00   $   58.68   $ 102.76   $   161.44
 8/12/2018 Enrique Manuel Villalobos - Valet         $10.00   48.95   $   11.00   $   48.95   $ 49.23    $    98.18
 9/30/2018 Enrique Manuel Villalobos - Valet         $10.00   41.68   $   11.00   $   41.68   $   9.26   $    50.94
10/14/2018 Enrique Manuel Villalobos - Valet         $10.00   40.48   $   11.00   $   40.48   $   2.66   $    43.14
10/28/2018 Enrique Manuel Villalobos - Valet         $10.00   42.63   $   11.00   $   42.63   $ 14.48    $    57.12
 11/4/2018 Enrique Manuel Villalobos - Valet         $10.00   43.75   $   11.00   $   43.75   $ 20.63    $    64.38
11/11/2018 Enrique Manuel Villalobos - Valet         $10.00   44.53   $   11.00   $   44.53   $ 24.93    $    69.47
11/18/2018 Enrique Manuel Villalobos - Valet         $10.00   40.48   $   11.00   $   40.48   $   2.66   $    43.14
11/25/2018 Enrique Manuel Villalobos - Valet         $10.00   47.45   $   11.00   $   47.45   $ 40.98    $    88.43
 12/2/2018 Enrique Manuel Villalobos - Valet         $10.00   52.25   $   11.00   $   52.25   $ 67.38    $   119.63
 12/9/2018 Enrique Manuel Villalobos - Valet         $10.00   42.58   $   11.00   $   42.58   $ 14.21    $    56.79
12/16/2018 Enrique Manuel Villalobos - Valet         $10.00   43.55   $   11.00   $   43.55   $ 19.53    $    63.08
 9/30/2018 Erick Amaya                               $11.00   50.07   $   11.00               $ 55.37    $    55.37
 10/7/2018 Erick Amaya                               $11.00   52.15   $   11.00               $ 66.83    $    66.83
10/14/2018 Erick Amaya                               $11.00   43.07   $   11.00               $ 16.87    $    16.87
10/21/2018 Erick Amaya                               $11.00   48.05   $   11.00               $ 44.28    $    44.28
10/28/2018 Erick Amaya                               $11.00   44.88   $   11.00               $ 26.86    $    26.86
 11/4/2018 Erick Amaya                               $11.00   49.35   $   11.00               $ 51.43    $    51.43
11/11/2018 Erick Amaya                               $11.00   48.77   $   11.00               $ 48.22    $    48.22
11/18/2018 Erick Amaya                               $11.00   40.97   $   11.00               $   5.32   $     5.32
11/25/2018 Erick Amaya                               $11.00   41.57   $   11.00               $   8.62   $     8.62
 12/9/2018 Erick Amaya                               $11.00   50.30   $   11.00               $ 56.65    $    56.65
12/23/2018 Erick Amaya                               $11.00   47.75   $   11.00               $ 42.63    $    42.63
 1/20/2019 Erick Amaya                               $11.00   56.53   $   12.00   $   56.53   $ 99.20    $   155.73
 1/27/2019 Erick Amaya                               $11.00   47.97   $   12.00   $   47.97   $ 47.80    $    95.77
 2/17/2019 Erick Amaya                               $11.00   45.18   $   12.00   $   45.18   $ 31.10    $    76.28
  3/3/2019 Erick Amaya                               $11.00   47.78   $   12.00   $   47.78   $ 46.70    $    94.48


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  Week                                                  State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
 Ending                    Name                       Minimum  Regular Half-Time Overtime Back
                                         Rate Week
  Date                                                 Wage   Rate Due     Due       Wages Due

 3/10/2019 Erick Amaya                  $11.00   41.42   $   12.00   $   41.42   $   8.50   $    49.92
 3/17/2019 Erick Amaya                  $11.00   49.53   $   12.00   $   49.53   $ 57.20    $   106.73
 3/24/2019 Erick Amaya                  $11.00   47.40   $   12.00   $   47.40   $ 44.40    $    91.80
 3/31/2019 Erick Amaya                  $11.00   41.00   $   12.00   $   41.00   $   6.00   $    47.00
  4/7/2019 Erick Amaya                  $11.00   45.48   $   12.00   $   45.48   $ 32.90    $    78.38
 4/14/2019 Erick Amaya                  $11.00   45.32   $   12.00   $   45.32   $ 31.90    $    77.22
 4/21/2019 Erick Amaya                  $11.00   45.22   $   12.00   $   45.22   $ 31.30    $    76.52
  5/5/2019 Erick Amaya                  $11.00   47.67   $   12.00   $   47.67   $ 46.00    $    93.67
 5/19/2019 Erick Amaya                  $11.00   44.37   $   12.00   $   44.37   $ 26.20    $    70.57
 5/26/2019 Erick Amaya                  $11.00   56.95   $   12.00   $   56.95   $ 101.70   $   158.65
  6/2/2019 Erick Amaya                  $11.00   40.28   $   12.00   $   40.28   $   1.70   $    41.98
  6/9/2019 Erick Amaya                  $11.00   43.28   $   12.00   $   43.28   $ 19.70    $    62.98
 6/16/2019 Erick Amaya                  $11.00   49.80   $   12.00   $   49.80   $ 58.80    $   108.60
 6/23/2019 Erick Amaya                  $11.00   41.52   $   12.00   $   41.52   $   9.10   $    50.62
 7/14/2019 Erick Amaya                  $11.00   48.25   $   12.00   $   48.25   $ 49.50    $    97.75
 7/21/2019 Erick Amaya                  $11.00   54.78   $   12.00   $   54.78   $ 88.70    $   143.48
 7/28/2019 Erick Amaya                  $11.00   45.32   $   12.00   $   45.32   $ 31.90    $    77.22
  8/4/2019 Erick Amaya                  $11.00   52.30   $   12.00   $   52.30   $ 73.80    $   126.10
 8/11/2019 Erick Amaya                  $11.00   51.30   $   12.00   $   51.30   $ 67.80    $   119.10
 8/18/2019 Erick Amaya                  $11.00   45.08   $   12.00   $   45.08   $ 30.50    $    75.58
 9/15/2019 Erick Amaya                  $11.00   40.80   $   12.00   $   40.80   $   4.80   $    45.60
 9/29/2019 Erick Amaya                  $11.00   42.65   $   12.00   $   42.65   $ 15.90    $    58.55
 9/24/2017 Ervin Nazario                $10.00   53.58   $   10.00               $ 67.92    $    67.92
 10/1/2017 Ervin Nazario                $10.00   51.40   $   10.00               $ 57.00    $    57.00
 10/8/2017 Ervin Nazario                $10.00   53.22   $   10.00               $ 66.08    $    66.08
10/15/2017 Ervin Nazario                $10.00   53.18   $   10.00               $ 65.92    $    65.92
10/22/2017 Ervin Nazario                $10.00   55.42   $   10.00               $ 77.08    $    77.08
10/29/2017 Ervin Nazario                $10.00   51.17   $   10.00               $ 55.83    $    55.83
 11/5/2017 Ervin Nazario                $10.00   50.65   $   10.00               $ 53.25    $    53.25
11/12/2017 Ervin Nazario                $10.00   53.48   $   10.00               $ 67.42    $    67.42
11/19/2017 Ervin Nazario                $10.00   52.73   $   10.00               $ 63.67    $    63.67
11/26/2017 Ervin Nazario                $10.00   44.80   $   10.00               $ 24.00    $    24.00
 12/3/2017 Ervin Nazario                $10.00   41.62   $   10.00               $   8.08   $     8.08
12/10/2017 Ervin Nazario                $10.00   53.20   $   10.00               $ 66.00    $    66.00
12/17/2017 Ervin Nazario                $10.00   50.57   $   10.00               $ 52.83    $    52.83
12/24/2017 Ervin Nazario                $10.00   52.63   $   10.00               $ 63.17    $    63.17
12/31/2017 Ervin Nazario                $10.00   50.07   $   11.00   $   50.07   $ 55.37    $   105.43
 1/14/2018 Ervin Nazario                $10.00   55.07   $   11.00   $   55.07   $ 82.87    $   137.93
 1/21/2018 Ervin Nazario                $10.00   56.80   $   11.00   $   56.80   $ 92.40    $   149.20
 1/28/2018 Ervin Nazario                $10.00   54.98   $   11.00   $   54.98   $ 82.41    $   137.39
  2/4/2018 Ervin Nazario                $10.00   59.25   $   11.00   $   59.25   $ 105.88   $   165.13
 2/11/2018 Ervin Nazario                $10.00   52.97   $   11.00   $   52.97   $ 71.32    $   124.28
 2/18/2018 Ervin Nazario                $10.00   53.40   $   11.00   $   53.40   $ 73.70    $   127.10
 2/25/2018 Ervin Nazario                $10.00   61.73   $   11.00   $   61.73   $ 119.53   $   181.27
  3/4/2018 Ervin Nazario                $10.00   61.98   $   11.00   $   61.98   $ 120.91   $   182.89
 3/25/2018 Ervin Nazario                $10.00   58.25   $   11.00   $   58.25   $ 100.38   $   158.63
  4/1/2018 Ervin Nazario                $10.00   54.95   $   11.00   $   54.95   $ 82.23    $   137.18
  4/8/2018 Ervin Nazario                $10.00   61.47   $   11.00   $   61.47   $ 118.07   $   179.53
 4/15/2018 Ervin Nazario                $10.00   59.88   $   11.00   $   59.88   $ 109.36   $   169.24
 4/22/2018 Ervin Nazario                $10.00   58.32   $   11.00   $   58.32   $ 100.74   $   159.06
 4/29/2018 Ervin Nazario                $10.00   58.77   $   11.00   $   58.77   $ 103.22   $   161.98
  5/6/2018 Ervin Nazario                $10.00   58.08   $   11.00   $   58.08   $ 99.46    $   157.54


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  Week                                                             State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
 Ending                      Name                                Minimum  Regular Half-Time Overtime Back
                                                    Rate Week
  Date                                                            Wage   Rate Due     Due       Wages Due

 5/13/2018 Ervin Nazario                           $10.00   59.92   $   11.00   $   59.92   $ 109.54   $   169.46
 5/20/2018 Ervin Nazario                           $10.00   57.75   $   11.00   $   57.75   $ 97.63    $   155.38
 5/27/2018 Ervin Nazario                           $10.00   55.67   $   11.00   $   55.67   $ 86.17    $   141.83
  6/3/2018 Ervin Nazario                           $10.00   51.80   $   11.00   $   51.80   $ 64.90    $   116.70
 6/10/2018 Ervin Nazario                           $10.00   58.33   $   11.00   $   58.33   $ 100.83   $   159.17
 6/17/2018 Ervin Nazario                           $10.00   58.23   $   11.00   $   58.23   $ 100.28   $   158.52
 6/24/2018 Ervin Nazario                           $10.00   59.72   $   11.00   $   59.72   $ 108.44   $   168.16
  7/1/2018 Ervin Nazario                           $10.00   61.73   $   11.00   $   61.73   $ 119.53   $   181.27
  7/8/2018 Ervin Nazario                           $10.00   50.83   $   11.00   $   50.83   $ 59.58    $   110.42
 7/15/2018 Ervin Nazario                           $10.00   59.48   $   11.00   $   59.48   $ 107.16   $   166.64
 7/22/2018 Ervin Nazario                           $10.00   62.08   $   11.00   $   62.08   $ 121.46   $   183.54
 7/29/2018 Ervin Nazario                           $10.00   61.87   $   11.00   $   61.87   $ 120.27   $   182.13
  8/5/2018 Ervin Nazario                           $10.00   61.52   $   11.00   $   61.52   $ 118.34   $   179.86
 8/12/2018 Ervin Nazario                           $10.00   61.37   $   11.00   $   61.37   $ 117.52   $   178.88
 8/19/2018 Ervin Nazario                           $10.00   60.85   $   11.00   $   60.85   $ 114.68   $   175.53
 8/26/2018 Ervin Nazario                           $10.00   58.52   $   11.00   $   58.52   $ 101.84   $   160.36
  9/2/2018 Ervin Nazario                           $10.00   61.12   $   11.00   $   61.12   $ 116.14   $   177.26
  9/9/2018 Ervin Nazario                           $10.00   51.03   $   11.00   $   51.03   $ 60.68    $   111.72
 9/16/2018 Ervin Nazario                           $10.00   51.88   $   11.00   $   51.88   $ 65.36    $   117.24
 9/23/2018 Ervin Nazario                           $10.00   61.93   $   11.00   $   61.93   $ 120.63   $   182.57
 9/30/2018 Ervin Nazario                           $10.00   60.65   $   11.00   $   60.65   $ 113.58   $   174.23
 10/7/2018 Ervin Nazario                           $10.00   60.75   $   11.00   $   60.75   $ 114.13   $   174.88
10/14/2018 Ervin Nazario                           $10.00   60.67   $   11.00   $   60.67   $ 113.67   $   174.33
10/21/2018 Ervin Nazario                           $10.00   58.60   $   11.00   $   58.60   $ 102.30   $   160.90
10/28/2018 Ervin Nazario                           $10.00   50.38   $   11.00   $   50.38   $ 57.11    $   107.49
 11/4/2018 Ervin Nazario                           $10.00   51.95   $   11.00   $   51.95   $ 65.73    $   117.68
 12/9/2018 Estefany Cruz                           $11.00   54.50   $   11.00               $ 79.75    $    79.75
 3/24/2019 Eulises A. Perez Santos                 $16.50   40.50   $   12.00               $   4.13   $     4.13
 3/31/2019 Eulises A. Perez Santos                 $16.50   52.50   $   12.00               $ 103.13   $   103.13
  4/7/2019 Eulises A. Perez Santos                 $16.50   49.10   $   12.00               $ 75.08    $    75.08
 3/25/2018 Ever Rivera - Assistant Manager         $17.50   47.17   $   11.00               $ 62.71    $    62.71
  4/8/2018 Ever Rivera - Assistant Manager         $17.50   46.18   $   11.00               $ 54.10    $    54.10
 4/15/2018 Ever Rivera - Assistant Manager         $17.50   58.13   $   11.00               $ 158.67   $   158.67
 4/22/2018 Ever Rivera - Assistant Manager         $17.50   57.87   $   11.00               $ 156.33   $   156.33
 4/29/2018 Ever Rivera - Assistant Manager         $17.50   59.57   $   11.00               $ 171.21   $   171.21
  5/6/2018 Ever Rivera - Assistant Manager         $17.50   63.18   $   11.00               $ 202.85   $   202.85
 5/13/2018 Ever Rivera - Assistant Manager         $17.50   50.58   $   11.00               $ 92.60    $    92.60
 5/20/2018 Ever Rivera - Assistant Manager         $17.50   58.33   $   11.00               $ 160.42   $   160.42
 5/27/2018 Ever Rivera - Assistant Manager         $17.50   53.00   $   11.00               $ 113.75   $   113.75
  6/3/2018 Ever Rivera - Assistant Manager         $17.50   52.75   $   11.00               $ 111.56   $   111.56
 6/10/2018 Ever Rivera - Assistant Manager         $17.50   53.10   $   11.00               $ 114.63   $   114.63
 6/17/2018 Ever Rivera - Assistant Manager         $17.50   61.10   $   11.00               $ 184.63   $   184.63
 6/24/2018 Ever Rivera - Assistant Manager         $17.50   58.27   $   11.00               $ 159.83   $   159.83
  7/1/2018 Ever Rivera - Assistant Manager         $17.50   63.75   $   11.00               $ 207.81   $   207.81
  7/8/2018 Ever Rivera - Assistant Manager         $17.50   53.77   $   11.00               $ 120.46   $   120.46
 7/15/2018 Ever Rivera - Assistant Manager         $17.50   48.83   $   11.00               $ 77.29    $    77.29
 7/22/2018 Ever Rivera - Assistant Manager         $17.50   56.42   $   11.00               $ 143.65   $   143.65
 7/29/2018 Ever Rivera - Assistant Manager         $17.50   61.87   $   11.00               $ 191.33   $   191.33
  8/5/2018 Ever Rivera - Assistant Manager         $17.50   54.07   $   11.00               $ 123.08   $   123.08
 8/12/2018 Ever Rivera - Assistant Manager         $17.50   53.37   $   11.00               $ 116.96   $   116.96
 8/19/2018 Ever Rivera - Assistant Manager         $17.50   50.50   $   11.00               $ 91.88    $    91.88
 8/26/2018 Ever Rivera - Assistant Manager         $17.50   52.25   $   11.00               $ 107.19   $   107.19


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                                                      Exhibit 5
                                             Long Island Computations


  Week                                                             State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
 Ending                      Name                                Minimum  Regular Half-Time Overtime Back
                                                    Rate Week
  Date                                                            Wage   Rate Due     Due       Wages Due

  9/2/2018 Ever Rivera - Assistant Manager         $17.50   51.78   $   11.00               $ 103.10   $   103.10
  9/9/2018 Ever Rivera - Assistant Manager         $17.50   44.02   $   11.00               $ 35.15    $    35.15
 9/16/2018 Ever Rivera - Assistant Manager         $17.50   51.48   $   11.00               $ 100.48   $   100.48
 9/23/2018 Ever Rivera - Assistant Manager         $17.50   51.52   $   11.00               $ 100.77   $   100.77
 9/30/2018 Ever Rivera - Assistant Manager         $17.50   50.53   $   11.00               $ 92.17    $    92.17
 10/7/2018 Ever Rivera - Assistant Manager         $17.50   61.23   $   11.00               $ 185.79   $   185.79
10/14/2018 Ever Rivera - Assistant Manager         $17.50   50.22   $   11.00               $ 89.40    $    89.40
10/21/2018 Ever Rivera - Assistant Manager         $17.50   50.92   $   11.00               $ 95.52    $    95.52
10/28/2018 Ever Rivera - Assistant Manager         $17.50   57.27   $   11.00               $ 151.08   $   151.08
 11/4/2018 Ever Rivera - Assistant Manager         $17.50   58.48   $   11.00               $ 161.73   $   161.73
11/11/2018 Ever Rivera - Assistant Manager         $17.50   54.62   $   11.00               $ 127.90   $   127.90
11/18/2018 Ever Rivera - Assistant Manager         $17.50   52.30   $   11.00               $ 107.63   $   107.63
 2/17/2019 Ever Rivera - Assistant Manager         $17.50   57.38   $   12.00               $ 152.10   $   152.10
 2/24/2019 Ever Rivera - Assistant Manager         $17.50   57.27   $   12.00               $ 151.08   $   151.08
  3/3/2019 Ever Rivera - Assistant Manager         $17.50   55.53   $   12.00               $ 135.92   $   135.92
 3/10/2019 Ever Rivera - Assistant Manager         $17.50   48.67   $   12.00               $ 75.83    $    75.83
 3/17/2019 Ever Rivera - Assistant Manager         $17.50   61.82   $   12.00               $ 190.90   $   190.90
 3/24/2019 Ever Rivera - Assistant Manager         $17.50   61.45   $   12.00               $ 187.69   $   187.69
 3/31/2019 Ever Rivera - Assistant Manager         $17.50   59.78   $   12.00               $ 173.10   $   173.10
  4/7/2019 Ever Rivera - Assistant Manager         $17.50   59.37   $   12.00               $ 169.46   $   169.46
 4/14/2019 Ever Rivera - Assistant Manager         $17.50   62.13   $   12.00               $ 193.67   $   193.67
 4/21/2019 Ever Rivera - Assistant Manager         $17.50   56.47   $   12.00               $ 144.08   $   144.08
 4/28/2019 Ever Rivera - Assistant Manager         $17.50   61.87   $   12.00               $ 191.33   $   191.33
  5/5/2019 Ever Rivera - Assistant Manager         $17.50   61.33   $   12.00               $ 186.67   $   186.67
 5/12/2019 Ever Rivera - Assistant Manager         $17.50   60.82   $   12.00               $ 182.15   $   182.15
 3/26/2017 Eyerson Balbuena Polanco                 $9.00   58.88   $   10.00   $   58.88   $ 94.42    $   153.30
  4/2/2017 Eyerson Balbuena Polanco                 $9.00   50.20   $   10.00   $   50.20   $ 51.00    $   101.20
 6/11/2017 Francisco Javier Polanco Mojica         $10.00   62.42   $   10.00               $ 112.08   $   112.08
 6/18/2017 Francisco Javier Polanco Mojica         $10.00   57.43   $   10.00               $ 87.17    $    87.17
 6/25/2017 Francisco Javier Polanco Mojica         $10.00   49.38   $   10.00               $ 46.92    $    46.92
  7/2/2017 Francisco Javier Polanco Mojica         $10.00   47.43   $   10.00               $ 37.17    $    37.17
  7/9/2017 Francisco Javier Polanco Mojica         $10.00   48.67   $   10.00               $ 43.33    $    43.33
 7/16/2017 Francisco Javier Polanco Mojica         $10.00   59.65   $   10.00               $ 98.25    $    98.25
 7/23/2017 Francisco Javier Polanco Mojica         $10.00   49.65   $   10.00               $ 48.25    $    48.25
 7/30/2017 Francisco Javier Polanco Mojica         $10.00   59.75   $   10.00               $ 98.75    $    98.75
 6/18/2017 Fredy Gomez Campos                      $10.00   60.45   $   10.00               $ 102.25   $   102.25
 6/25/2017 Fredy Gomez Campos                      $10.00   60.47   $   10.00               $ 102.33   $   102.33
  7/2/2017 Fredy Gomez Campos                      $10.00   50.83   $   10.00               $ 54.17    $    54.17
  7/9/2017 Fredy Gomez Campos                      $10.00   50.23   $   10.00               $ 51.17    $    51.17
 7/16/2017 Fredy Gomez Campos                      $10.00   59.72   $   10.00               $ 98.58    $    98.58
 7/23/2017 Fredy Gomez Campos                      $10.00   59.95   $   10.00               $ 99.75    $    99.75
 7/30/2017 Fredy Gomez Campos                      $10.00   61.27   $   10.00               $ 106.33   $   106.33
  8/6/2017 Fredy Gomez Campos                      $10.00   62.82   $   10.00               $ 114.08   $   114.08
 8/13/2017 Fredy Gomez Campos                      $10.00   50.03   $   10.00               $ 50.17    $    50.17
 8/20/2017 Fredy Gomez Campos                      $10.00   60.32   $   10.00               $ 101.58   $   101.58
 8/27/2017 Fredy Gomez Campos                      $10.00   54.62   $   10.00               $ 73.08    $    73.08
  9/3/2017 Fredy Gomez Campos                      $10.00   60.15   $   10.00               $ 100.75   $   100.75
 9/17/2017 Fredy Gomez Campos                      $10.00   60.23   $   10.00               $ 101.17   $   101.17
 9/24/2017 Fredy Gomez Campos                      $10.00   59.87   $   10.00               $ 99.33    $    99.33
 10/1/2017 Fredy Gomez Campos                      $10.00   59.85   $   10.00               $ 99.25    $    99.25
 10/8/2017 Fredy Gomez Campos                      $10.00   60.02   $   10.00               $ 100.08   $   100.08
10/15/2017 Fredy Gomez Campos                      $10.00   50.42   $   10.00               $ 52.08    $    52.08


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                                                  Exhibit 5
                                         Long Island Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
 Ending                      Name                            Minimum  Regular Half-Time Overtime Back
                                                Rate Week
  Date                                                        Wage   Rate Due     Due       Wages Due

10/22/2017 Fredy Gomez Campos                  $10.00   50.23   $   10.00               $   51.17   $   51.17
10/29/2017 Fredy Gomez Campos                  $10.00   50.48   $   10.00               $   52.42   $   52.42
 11/5/2017 Fredy Gomez Campos                  $10.00   58.57   $   10.00               $   92.83   $   92.83
11/12/2017 Fredy Gomez Campos                  $10.00   58.40   $   10.00               $   92.00   $   92.00
11/19/2017 Fredy Gomez Campos                  $10.00   57.00   $   10.00               $   85.00   $   85.00
11/26/2017 Fredy Gomez Campos                  $10.00   48.07   $   10.00               $   40.33   $   40.33
 12/3/2017 Fredy Gomez Campos                  $10.00   48.22   $   10.00               $   41.08   $   41.08
12/10/2017 Fredy Gomez Campos                  $10.00   58.38   $   10.00               $   91.92   $   91.92
12/17/2017 Fredy Gomez Campos                  $10.00   58.18   $   10.00               $   90.92   $   90.92
12/24/2017 Fredy Gomez Campos                  $10.00   58.13   $   10.00               $   90.67   $   90.67
12/31/2017 Fredy Gomez Campos                  $10.00   47.90   $   11.00   $   47.90   $   43.45   $   91.35
 2/26/2017 Gabriel Antonio Cosme Ortiz          $9.50   46.33   $   10.00   $   23.17   $   31.67   $   54.83
  3/5/2017 Gabriel Antonio Cosme Ortiz          $9.50   44.73   $   10.00   $   22.37   $   23.67   $   46.03
 3/12/2017 Gabriel Antonio Cosme Ortiz          $9.50   44.42   $   10.00   $   22.21   $   22.08   $   44.29
 3/26/2017 Gabriel Antonio Cosme Ortiz          $9.50   50.33   $   10.00   $   25.17   $   51.67   $   76.83
  4/2/2017 Gabriel Antonio Cosme Ortiz          $9.50   45.35   $   10.00   $   22.68   $   26.75   $   49.43
  4/9/2017 Gabriel Antonio Cosme Ortiz          $9.50   45.43   $   10.00   $   22.72   $   27.17   $   49.88
 4/16/2017 Gabriel Antonio Cosme Ortiz          $9.50   46.07   $   10.00   $   23.03   $   30.33   $   53.37
 4/23/2017 Gabriel Antonio Cosme Ortiz          $9.50   44.48   $   10.00   $   22.24   $   22.42   $   44.66
 4/30/2017 Gabriel Antonio Cosme Ortiz          $9.50   45.32   $   10.00   $   22.66   $   26.58   $   49.24
  5/7/2017 Gabriel Antonio Cosme Ortiz          $9.50   45.17   $   10.00   $   22.58   $   25.83   $   48.42
 5/14/2017 Gabriel Antonio Cosme Ortiz          $9.50   45.32   $   10.00   $   22.66   $   26.58   $   49.24
 5/21/2017 Gabriel Antonio Cosme Ortiz          $9.50   45.47   $   10.00   $   22.73   $   27.33   $   50.07
 5/28/2017 Gabriel Antonio Cosme Ortiz          $9.50   45.12   $   10.00   $   22.56   $   25.58   $   48.14
 6/11/2017 Gabriel Antonio Cosme Ortiz          $9.50   45.58   $   10.00   $   22.79   $   27.92   $   50.71
 6/18/2017 Gabriel Antonio Cosme Ortiz          $9.50   45.33   $   10.00   $   22.67   $   26.67   $   49.33
 6/25/2017 Gabriel Antonio Cosme Ortiz          $9.50   44.92   $   10.00   $   22.46   $   24.58   $   47.04
  7/2/2017 Gabriel Antonio Cosme Ortiz          $9.50   44.35   $   10.00   $   22.18   $   21.75   $   43.93
 7/16/2017 Gabriel Antonio Cosme Ortiz          $9.50   46.17   $   10.00   $   23.08   $   30.83   $   53.92
 7/23/2017 Gabriel Antonio Cosme Ortiz          $9.50   46.05   $   10.00   $   23.03   $   30.25   $   53.28
 7/30/2017 Gabriel Antonio Cosme Ortiz          $9.50   45.68   $   10.00   $   22.84   $   28.42   $   51.26
  8/6/2017 Gabriel Antonio Cosme Ortiz          $9.50   45.63   $   10.00   $   22.82   $   28.17   $   50.98
 8/13/2017 Gabriel Antonio Cosme Ortiz          $9.50   45.85   $   10.00   $   22.93   $   29.25   $   52.18
 8/20/2017 Gabriel Antonio Cosme Ortiz          $9.50   51.50   $   10.00   $   25.75   $   57.50   $   83.25
 8/27/2017 Gabriel Antonio Cosme Ortiz          $9.50   46.00   $   10.00   $   23.00   $   30.00   $   53.00
  9/3/2017 Gabriel Antonio Cosme Ortiz          $9.50   46.65   $   10.00   $   23.33   $   33.25   $   56.58
 9/17/2017 Gabriel Antonio Cosme Ortiz          $9.50   51.03   $   10.00   $   25.52   $   55.17   $   80.68
 9/24/2017 Gabriel Antonio Cosme Ortiz          $9.50   52.58   $   10.00   $   26.29   $   62.92   $   89.21
 10/1/2017 Gabriel Antonio Cosme Ortiz          $9.50   52.45   $   10.00   $   26.23   $   62.25   $   88.48
 10/8/2017 Gabriel Antonio Cosme Ortiz          $9.50   43.20   $   10.00   $   21.60   $   16.00   $   37.60
10/15/2017 Gabriel Antonio Cosme Ortiz          $9.50   45.67   $   10.00   $   22.83   $   28.33   $   51.17
10/22/2017 Gabriel Antonio Cosme Ortiz          $9.50   45.82   $   10.00   $   22.91   $   29.08   $   51.99
10/29/2017 Gabriel Antonio Cosme Ortiz          $9.50   52.15   $   10.00   $   26.08   $   60.75   $   86.83
 11/5/2017 Gabriel Antonio Cosme Ortiz          $9.50   52.42   $   10.00   $   26.21   $   62.08   $   88.29
11/12/2017 Gabriel Antonio Cosme Ortiz          $9.50   45.05   $   10.00   $   22.53   $   25.25   $   47.78
11/19/2017 Gabriel Antonio Cosme Ortiz          $9.50   49.68   $   10.00   $   24.84   $   48.42   $   73.26
11/26/2017 Gabriel Antonio Cosme Ortiz          $9.50   42.03   $   10.00   $   21.02   $   10.17   $   31.18
 12/3/2017 Gabriel Antonio Cosme Ortiz          $9.50   52.18   $   10.00   $   26.09   $   60.92   $   87.01
12/10/2017 Gabriel Antonio Cosme Ortiz          $9.50   52.47   $   10.00   $   26.23   $   62.33   $   88.57
12/17/2017 Gabriel Antonio Cosme Ortiz          $9.50   42.93   $   10.00   $   21.47   $   14.67   $   36.13
12/24/2017 Gabriel Antonio Cosme Ortiz          $9.50   51.72   $   10.00   $   25.86   $   58.58   $   84.44
12/31/2017 Gabriel Antonio Cosme Ortiz          $9.50   42.82   $   11.00   $   64.23   $   15.49   $   79.72


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                                                       Exhibit 5
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  Week                                                              State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
 Ending                     Name                                  Minimum  Regular Half-Time Overtime Back
                                                     Rate Week
  Date                                                             Wage   Rate Due     Due       Wages Due

 1/14/2018 Gabriel Antonio Cosme Ortiz               $9.50   42.70   $   11.00   $   64.05   $ 14.85    $    78.90
 1/28/2018 Gabriel Antonio Cosme Ortiz               $9.50   51.75   $   11.00   $   77.63   $ 64.63    $   142.25
  2/4/2018 Gabriel Antonio Cosme Ortiz               $9.50   44.02   $   11.00   $   66.03   $ 22.09    $    88.12
 2/11/2018 Gabriel Antonio Cosme Ortiz               $9.50   45.43   $   11.00   $   68.15   $ 29.88    $    98.03
 2/18/2018 Gabriel Antonio Cosme Ortiz               $9.50   51.50   $   11.00   $   77.25   $ 63.25    $   140.50
 2/25/2018 Gabriel Antonio Cosme Ortiz               $9.50   51.02   $   11.00   $   76.53   $ 60.59    $   137.12
  3/4/2018 Gabriel Antonio Cosme Ortiz               $9.50   50.35   $   11.00   $   75.53   $ 56.93    $   132.45
 3/25/2018 Gabriel Antonio Cosme Ortiz               $9.50   40.15   $   11.00   $   60.23   $   0.83   $    61.05
  4/1/2018 Gabriel Antonio Cosme Ortiz               $9.50   54.52   $   11.00   $   81.78   $ 79.84    $   161.62
  4/8/2018 Gabriel Antonio Cosme Ortiz               $9.50   44.57   $   11.00   $   66.85   $ 25.12    $    91.97
 4/15/2018 Gabriel Antonio Cosme Ortiz               $9.50   44.53   $   11.00   $   66.80   $ 24.93    $    91.73
 4/22/2018 Gabriel Antonio Cosme Ortiz               $9.50   53.22   $   11.00   $   79.83   $ 72.69    $   152.52
 4/29/2018 Gabriel Antonio Cosme Ortiz               $9.50   43.05   $   11.00   $   64.58   $ 16.78    $    81.35
  5/6/2018 Gabriel Antonio Cosme Ortiz               $9.50   43.40   $   11.00   $   65.10   $ 18.70    $    83.80
 5/13/2018 Gabriel Antonio Cosme Ortiz               $9.50   53.13   $   11.00   $   79.70   $ 72.23    $   151.93
 5/20/2018 Gabriel Antonio Cosme Ortiz               $9.50   46.92   $   11.00   $   70.38   $ 38.04    $   108.42
 5/27/2018 Gabriel Antonio Cosme Ortiz               $9.50   54.82   $   11.00   $   82.23   $ 81.49    $   163.72
 4/22/2018 Gabriel Rodriguez                        $10.50   45.65   $   11.00   $   22.83   $ 31.08    $    53.90
 4/29/2018 Gabriel Rodriguez                        $10.50   49.65   $   11.00   $   24.83   $ 53.08    $    77.90
  5/6/2018 Gabriel Rodriguez                        $10.50   50.55   $   11.00   $   25.28   $ 58.03    $    83.30
 5/13/2018 Gabriel Rodriguez                        $10.50   58.20   $   11.00   $   29.10   $ 100.10   $   129.20
 5/20/2018 Gabriel Rodriguez                        $10.50   59.28   $   11.00   $   29.64   $ 106.06   $   135.70
 5/27/2018 Gabriel Rodriguez                        $10.50   51.93   $   11.00   $   25.97   $ 65.63    $    91.60
  6/3/2018 Gabriel Rodriguez                        $10.50   47.87   $   11.00   $   23.93   $ 43.27    $    67.20
 6/10/2018 Gabriel Rodriguez                        $10.50   52.15   $   11.00   $   26.08   $ 66.83    $    92.90
 6/17/2018 Gabriel Rodriguez                        $10.50   52.53   $   11.00   $   26.27   $ 68.93    $    95.20
 6/24/2018 Gabriel Rodriguez                        $10.50   62.07   $   11.00   $   31.03   $ 121.37   $   152.40
  7/1/2018 Gabriel Rodriguez                        $10.50   61.78   $   11.00   $   30.89   $ 119.81   $   150.70
  7/8/2018 Gabriel Rodriguez                        $10.50   56.90   $   11.00   $   28.45   $ 92.95    $   121.40
 7/15/2018 Gabriel Rodriguez                        $10.50   52.93   $   11.00   $   26.47   $ 71.13    $    97.60
 7/22/2018 Gabriel Rodriguez                        $10.50   52.23   $   11.00   $   26.12   $ 67.28    $    93.40
 7/29/2018 Gabriel Rodriguez                        $10.50   53.55   $   11.00   $   26.78   $ 74.53    $   101.30
  8/5/2018 Gabriel Rodriguez                        $10.50   52.48   $   11.00   $   26.24   $ 68.66    $    94.90
 1/27/2019 Gerber Antonio Castro - Car Wash         $11.00   55.17   $   12.00   $   55.17   $ 91.00    $   146.17
  2/3/2019 Gerber Antonio Castro - Car Wash         $11.00   57.72   $   12.00   $   57.72   $ 106.30   $   164.02
 2/10/2019 Gerber Antonio Castro - Car Wash         $11.00   55.45   $   12.00   $   55.45   $ 92.70    $   148.15
 2/17/2019 Gerber Antonio Castro - Car Wash         $11.00   64.03   $   12.00   $   64.03   $ 144.20   $   208.23
 2/24/2019 Gerber Antonio Castro - Car Wash         $11.00   61.78   $   12.00   $   61.78   $ 130.70   $   192.48
  3/3/2019 Gerber Antonio Castro - Car Wash         $11.00   62.57   $   12.00   $   62.57   $ 135.40   $   197.97
 3/10/2019 Gerber Antonio Castro - Car Wash         $11.00   61.97   $   12.00   $   61.97   $ 131.80   $   193.77
 3/17/2019 Gerber Antonio Castro - Car Wash         $11.00   62.60   $   12.00   $   62.60   $ 135.60   $   198.20
 3/24/2019 Gerber Antonio Castro - Car Wash         $11.00   62.97   $   12.00   $   62.97   $ 137.80   $   200.77
 3/31/2019 Gerber Antonio Castro - Car Wash         $11.00   62.22   $   12.00   $   62.22   $ 133.30   $   195.52
  4/7/2019 Gerber Antonio Castro - Car Wash         $11.00   62.25   $   12.00   $   62.25   $ 133.50   $   195.75
 4/14/2019 Gerber Antonio Castro - Car Wash         $11.00   62.42   $   12.00   $   62.42   $ 134.50   $   196.92
 4/21/2019 Gerber Antonio Castro - Car Wash         $11.00   61.88   $   12.00   $   61.88   $ 131.30   $   193.18
 4/28/2019 Gerber Antonio Castro - Car Wash         $11.00   62.33   $   12.00   $   62.33   $ 134.00   $   196.33
  5/5/2019 Gerber Antonio Castro - Car Wash         $11.00   62.25   $   12.00   $   62.25   $ 133.50   $   195.75
 5/12/2019 Gerber Antonio Castro - Car Wash         $11.00   63.55   $   12.00   $   63.55   $ 141.30   $   204.85
 5/19/2019 Gerber Antonio Castro - Car Wash         $11.00   62.87   $   12.00   $   62.87   $ 137.20   $   200.07
 5/26/2019 Gerber Antonio Castro - Car Wash         $11.00   53.23   $   12.00   $   53.23   $ 79.40    $   132.63
  6/2/2019 Gerber Antonio Castro - Car Wash         $11.00   52.20   $   12.00   $   52.20   $ 73.20    $   125.40


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                                                       Exhibit 5
                                              Long Island Computations


  Week                                                              State Section 7: Section 7: Total Section 7
                                                    Hourly Hours/
 Ending                     Name                                  Minimum  Regular Half-Time Overtime Back
                                                     Rate Week
  Date                                                             Wage   Rate Due     Due       Wages Due

  6/9/2019 Gerber Antonio Castro - Car Wash         $11.00   62.10   $   12.00   $    62.10   $ 132.60   $   194.70
 6/16/2019 Gerber Antonio Castro - Car Wash         $11.00   62.18   $   12.00   $    62.18   $ 133.10   $   195.28
 6/23/2019 Gerber Antonio Castro - Car Wash         $11.00   62.47   $   12.00   $    62.47   $ 134.80   $   197.27
 6/30/2019 Gerber Antonio Castro - Car Wash         $11.00   63.27   $   12.00   $    63.27   $ 139.60   $   202.87
  7/7/2019 Gerber Antonio Castro - Car Wash         $13.00   49.37   $   12.00                $ 60.88    $    60.88
 7/14/2019 Gerber Antonio Castro - Car Wash         $13.00   59.63   $   12.00                $ 127.62   $   127.62
 7/21/2019 Gerber Antonio Castro - Car Wash         $13.00   59.52   $   12.00                $ 126.86   $   126.86
 7/28/2019 Gerber Antonio Castro - Car Wash         $13.00   59.72   $   12.00                $ 128.16   $   128.16
  8/4/2019 Gerber Antonio Castro - Car Wash         $13.00   58.75   $   12.00                $ 121.88   $   121.88
 8/11/2019 Gerber Antonio Castro - Car Wash         $13.00   59.93   $   12.00                $ 129.57   $   129.57
 8/18/2019 Gerber Antonio Castro - Car Wash         $13.00   59.88   $   12.00                $ 129.24   $   129.24
 8/25/2019 Gerber Antonio Castro - Car Wash         $13.00   60.52   $   12.00                $ 133.36   $   133.36
  9/1/2019 Gerber Antonio Castro - Car Wash         $13.00   60.47   $   12.00                $ 133.03   $   133.03
  9/8/2019 Gerber Antonio Castro - Car Wash         $13.00   49.60   $   12.00                $ 62.40    $    62.40
 9/15/2019 Gerber Antonio Castro - Car Wash         $13.00   60.72   $   12.00                $ 134.66   $   134.66
 9/22/2019 Gerber Antonio Castro - Car Wash         $13.00   60.13   $   12.00                $ 130.87   $   130.87
 9/29/2019 Gerber Antonio Castro - Car Wash         $13.00   60.52   $   12.00                $ 133.36   $   133.36
 10/6/2019 Gerber Antonio Castro - Car Wash         $13.00   60.13   $   12.00                $ 130.87   $   130.87
10/13/2019 Gerber Antonio Castro - Car Wash         $13.00   60.60   $   12.00                $ 133.90   $   133.90
10/20/2019 Gerber Antonio Castro - Car Wash         $13.00   60.33   $   12.00                $ 132.17   $   132.17
10/27/2019 Gerber Antonio Castro - Car Wash         $13.00   49.62   $   12.00                $ 62.51    $    62.51
 11/3/2019 Gerber Antonio Castro - Car Wash         $13.00   60.07   $   12.00                $ 130.43   $   130.43
11/10/2019 Gerber Antonio Castro - Car Wash         $13.00   59.88   $   12.00                $ 129.24   $   129.24
11/17/2019 Gerber Antonio Castro - Car Wash         $13.00   60.00   $   12.00                $ 130.00   $   130.00
11/24/2019 Gerber Antonio Castro - Car Wash         $13.00   59.65   $   12.00                $ 127.73   $   127.73
 12/1/2019 Gerber Antonio Castro - Car Wash         $13.00   49.37   $   12.00                $ 60.88    $    60.88
 12/8/2019 Gerber Antonio Castro - Car Wash         $13.00   59.57   $   12.00                $ 127.18   $   127.18
12/15/2019 Gerber Antonio Castro - Car Wash         $13.00   59.60   $   12.00                $ 127.40   $   127.40
12/22/2019 Gerber Antonio Castro - Car Wash         $13.00   59.88   $   12.00                $ 129.24   $   129.24
12/29/2019 Gerber Antonio Castro - Car Wash         $13.00   46.80   $   12.00                $ 44.20    $    44.20
  1/5/2020 Gerber Antonio Castro - Car Wash         $13.00   48.42   $   13.00                $ 54.71    $    54.71
 1/12/2020 Gerber Antonio Castro - Car Wash         $13.00   59.48   $   13.00                $ 126.64   $   126.64
 1/19/2020 Gerber Antonio Castro - Car Wash         $13.00   59.92   $   13.00                $ 129.46   $   129.46
 1/26/2020 Gerber Antonio Castro - Car Wash         $13.00   59.75   $   13.00                $ 128.38   $   128.38
  4/1/2018 Giancarlos Rojas                         $11.00   54.77   $   11.00                $ 81.22    $    81.22
  4/8/2018 Giancarlos Rojas                         $11.00   54.87   $   11.00                $ 81.77    $    81.77
 4/15/2018 Giancarlos Rojas                         $11.00   53.87   $   11.00                $ 76.27    $    76.27
 4/22/2018 Giancarlos Rojas                         $11.00   55.55   $   11.00                $ 85.53    $    85.53
 4/29/2018 Giancarlos Rojas                         $11.00   54.33   $   11.00                $ 78.83    $    78.83
  5/6/2018 Giancarlos Rojas                          $9.50   49.50   $   11.00   $    74.25   $ 52.25    $   126.50
 2/11/2018 Gilberto Ramiro Batista                  $10.00   54.18   $   11.00   $    54.18   $ 78.01    $   132.19
 2/18/2018 Gilberto Ramiro Batista                  $10.00   57.95   $   11.00   $    57.95   $ 98.73    $   156.68
 2/25/2018 Gilberto Ramiro Batista                  $10.00   56.40   $   11.00   $    56.40   $ 90.20    $   146.60
  3/4/2018 Gilberto Ramiro Batista                  $10.00   55.53   $   11.00   $    55.53   $ 85.43    $   140.97
 12/8/2019 Gonzalo De J. Guardado Galdamez          $13.00   57.45   $   12.00                $ 113.43   $   113.43
12/15/2019 Gonzalo De J. Guardado Galdamez          $13.00   53.97   $   12.00                $ 90.78    $    90.78
12/22/2019 Gonzalo De J. Guardado Galdamez          $13.00   45.95   $   12.00                $ 38.68    $    38.68
  1/5/2020 Gonzalo De J. Guardado Galdamez          $13.00   46.18   $   13.00                $ 40.19    $    40.19
 1/12/2020 Gonzalo De J. Guardado Galdamez          $13.00   44.65   $   13.00                $ 30.23    $    30.23
10/20/2019 Harrinson Jimenez                        $10.00   54.85   $   12.00   $   109.70   $ 89.10    $   198.80
10/27/2019 Harrinson Jimenez                        $10.00   41.82   $   12.00   $    83.63   $ 10.90    $    94.53
 11/3/2019 Harrinson Jimenez                        $10.00   42.47   $   12.00   $    84.93   $ 14.80    $    99.73


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                                                      Exhibit 5
                                             Long Island Computations


  Week                                                             State Section 7: Section 7: Total Section 7
                                                   Hourly Hours/
 Ending                      Name                                Minimum  Regular Half-Time Overtime Back
                                                    Rate Week
  Date                                                            Wage   Rate Due     Due       Wages Due

11/10/2019 Harrinson Jimenez                       $10.00   44.65   $   12.00   $   89.30   $ 27.90    $   117.20
 3/25/2018 Harrison Rosario - Valet                $16.50   59.07   $   11.00               $ 157.30   $   157.30
  4/1/2018 Harrison Rosario - Valet                $16.50   57.75   $   11.00               $ 146.44   $   146.44
  4/8/2018 Harrison Rosario - Valet                $16.50   49.10   $   11.00               $ 75.08    $    75.08
 4/15/2018 Harrison Rosario - Valet                $16.50   48.02   $   11.00               $ 66.14    $    66.14
 4/22/2018 Harrison Rosario - Valet                $16.50   46.97   $   11.00               $ 57.48    $    57.48
 4/29/2018 Harrison Rosario - Valet                $16.50   48.05   $   11.00               $ 66.41    $    66.41
 5/13/2018 Harrison Rosario - Valet                $16.50   44.62   $   11.00               $ 38.09    $    38.09
 4/28/2019 Hever Reyes - Detail Department         $11.00   58.87   $   12.00   $   58.87   $ 113.20   $   172.07
  5/5/2019 Hever Reyes - Detail Department         $11.00   60.22   $   12.00   $   60.22   $ 121.30   $   181.52
 5/12/2019 Hever Reyes - Detail Department         $11.00   60.52   $   12.00   $   60.52   $ 123.10   $   183.62
 5/19/2019 Hever Reyes - Detail Department         $11.00   49.50   $   12.00   $   49.50   $ 57.00    $   106.50
 5/26/2019 Hever Reyes - Detail Department         $11.00   60.45   $   12.00   $   60.45   $ 122.70   $   183.15
  6/2/2019 Hever Reyes - Detail Department         $11.00   50.40   $   12.00   $   50.40   $ 62.40    $   112.80
  6/9/2019 Hever Reyes - Detail Department         $11.00   59.92   $   12.00   $   59.92   $ 119.50   $   179.42
 6/16/2019 Hever Reyes - Detail Department         $11.00   61.30   $   12.00   $   61.30   $ 127.80   $   189.10
 6/23/2019 Hever Reyes - Detail Department         $11.00   49.85   $   12.00   $   49.85   $ 59.10    $   108.95
 6/30/2019 Hever Reyes - Detail Department         $11.00   60.12   $   12.00   $   60.12   $ 120.70   $   180.82
 7/14/2019 Hever Reyes - Detail Department         $13.00   55.52   $   12.00               $ 100.86   $   100.86
 7/21/2019 Hever Reyes - Detail Department         $13.00   55.07   $   12.00               $ 97.93    $    97.93
 7/28/2019 Hever Reyes - Detail Department         $13.00   54.43   $   12.00               $ 93.82    $    93.82
  8/4/2019 Hever Reyes - Detail Department         $13.00   54.22   $   12.00               $ 92.41    $    92.41
 8/11/2019 Hever Reyes - Detail Department         $13.00   54.52   $   12.00               $ 94.36    $    94.36
 8/18/2019 Hever Reyes - Detail Department         $13.00   55.62   $   12.00               $ 101.51   $   101.51
 8/25/2019 Hever Reyes - Detail Department         $13.00   54.45   $   12.00               $ 93.93    $    93.93
  9/1/2019 Hever Reyes - Detail Department         $13.00   55.72   $   12.00               $ 102.16   $   102.16
  9/8/2019 Hever Reyes - Detail Department         $13.00   45.63   $   12.00               $ 36.62    $    36.62
 9/15/2019 Hever Reyes - Detail Department         $13.00   46.55   $   12.00               $ 42.58    $    42.58
 9/22/2019 Hever Reyes - Detail Department         $13.00   56.58   $   12.00               $ 107.79   $   107.79
 9/29/2019 Hever Reyes - Detail Department         $13.00   55.48   $   12.00               $ 100.64   $   100.64
 10/6/2019 Hever Reyes - Detail Department         $13.00   56.53   $   12.00               $ 107.47   $   107.47
10/13/2019 Hever Reyes - Detail Department         $13.00   45.18   $   12.00               $ 33.69    $    33.69
10/20/2019 Hever Reyes - Detail Department         $13.00   55.62   $   12.00               $ 101.51   $   101.51
10/27/2019 Hever Reyes - Detail Department         $13.00   55.95   $   12.00               $ 103.68   $   103.68
 11/3/2019 Hever Reyes - Detail Department         $13.00   48.22   $   12.00               $ 53.41    $    53.41
11/10/2019 Hever Reyes - Detail Department         $13.00   46.52   $   12.00               $ 42.36    $    42.36
11/17/2019 Hever Reyes - Detail Department         $13.00   56.95   $   12.00               $ 110.18   $   110.18
11/24/2019 Hever Reyes - Detail Department         $13.00   57.15   $   12.00               $ 111.48   $   111.48
 12/1/2019 Hever Reyes - Detail Department         $13.00   46.75   $   12.00               $ 43.88    $    43.88
 12/8/2019 Hever Reyes - Detail Department         $13.00   55.83   $   12.00               $ 102.92   $   102.92
12/15/2019 Hever Reyes - Detail Department         $13.00   56.70   $   12.00               $ 108.55   $   108.55
12/22/2019 Hever Reyes - Detail Department         $13.00   55.43   $   12.00               $ 100.32   $   100.32
12/29/2019 Hever Reyes - Detail Department         $13.00   44.12   $   12.00               $ 26.76    $    26.76
  1/5/2020 Hever Reyes - Detail Department         $13.00   46.30   $   13.00               $ 40.95    $    40.95
 1/12/2020 Hever Reyes - Detail Department         $13.00   56.77   $   13.00               $ 108.98   $   108.98
 1/19/2020 Hever Reyes - Detail Department         $13.00   56.25   $   13.00               $ 105.63   $   105.63
 1/26/2020 Hever Reyes - Detail Department         $13.00   55.83   $   13.00               $ 102.92   $   102.92
11/17/2019 Hugo Ernesto Portillo Penate            $13.00   55.92   $   12.00               $ 103.46   $   103.46
11/24/2019 Hugo Ernesto Portillo Penate            $13.00   55.42   $   12.00               $ 100.21   $   100.21
 12/1/2019 Hugo Ernesto Portillo Penate            $13.00   46.48   $   12.00               $ 42.14    $    42.14
 12/8/2019 Hugo Ernesto Portillo Penate            $13.00   55.35   $   12.00               $ 99.78    $    99.78
12/15/2019 Hugo Ernesto Portillo Penate            $13.00   55.82   $   12.00               $ 102.81   $   102.81


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  Week                                                           State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
 Ending                       Name                             Minimum  Regular Half-Time Overtime Back
                                                  Rate Week
  Date                                                          Wage   Rate Due     Due       Wages Due

  1/5/2020 Hugo Ernesto Portillo Penate          $13.00   45.58   $   13.00               $ 36.29    $    36.29
 1/12/2020 Hugo Ernesto Portillo Penate          $13.00   55.97   $   13.00               $ 103.78   $   103.78
 1/19/2020 Hugo Ernesto Portillo Penate          $13.00   55.77   $   13.00               $ 102.48   $   102.48
 1/26/2020 Hugo Ernesto Portillo Penate          $13.00   54.50   $   13.00               $ 94.25    $    94.25
  8/5/2018 Ipolito Yoel Velasquez Licona         $10.50   59.97   $   11.00   $   29.98   $ 109.82   $   139.80
 8/12/2018 Ipolito Yoel Velasquez Licona         $10.50   61.50   $   11.00   $   30.75   $ 118.25   $   149.00
 8/19/2018 Ipolito Yoel Velasquez Licona         $10.50   63.98   $   11.00   $   31.99   $ 131.91   $   163.90
 8/26/2018 Ipolito Yoel Velasquez Licona         $10.50   57.28   $   11.00   $   28.64   $ 95.06    $   123.70
  9/2/2018 Ipolito Yoel Velasquez Licona         $10.50   59.87   $   11.00   $   29.93   $ 109.27   $   139.20
  9/9/2018 Ipolito Yoel Velasquez Licona         $10.50   50.02   $   11.00   $   25.01   $ 55.09    $    80.10
 9/16/2018 Ipolito Yoel Velasquez Licona         $10.50   44.80   $   11.00   $   22.40   $ 26.40    $    48.80
 9/23/2018 Ipolito Yoel Velasquez Licona         $10.50   66.32   $   11.00   $   33.16   $ 144.74   $   177.90
 9/30/2018 Ipolito Yoel Velasquez Licona         $10.50   54.67   $   11.00   $   27.33   $ 80.67    $   108.00
 10/7/2018 Ipolito Yoel Velasquez Licona         $10.50   48.80   $   11.00   $   24.40   $ 48.40    $    72.80
11/11/2018 Ipolito Yoel Velasquez Licona         $10.50   45.27   $   11.00   $   22.63   $ 28.97    $    51.60
11/18/2018 Ipolito Yoel Velasquez Licona         $10.50   58.33   $   11.00   $   29.17   $ 100.83   $   130.00
11/25/2018 Ipolito Yoel Velasquez Licona         $10.50   51.48   $   11.00   $   25.74   $ 63.16    $    88.90
 12/2/2018 Ipolito Yoel Velasquez Licona         $10.50   65.55   $   11.00   $   32.78   $ 140.53   $   173.30
 12/9/2018 Ipolito Yoel Velasquez Licona         $10.50   65.02   $   11.00   $   32.51   $ 137.59   $   170.10
12/16/2018 Ipolito Yoel Velasquez Licona         $10.50   58.38   $   11.00   $   29.19   $ 101.11   $   130.30
12/23/2018 Ipolito Yoel Velasquez Licona         $10.50   59.43   $   11.00   $   29.72   $ 106.88   $   136.60
12/30/2018 Ipolito Yoel Velasquez Licona         $10.50   49.03   $   11.00   $   24.52   $ 49.68    $    74.20
 1/13/2019 Ipolito Yoel Velasquez Licona         $10.50   62.23   $   12.00   $   93.35   $ 133.40   $   226.75
 1/20/2019 Ipolito Yoel Velasquez Licona         $10.50   58.15   $   12.00   $   87.23   $ 108.90   $   196.13
 1/27/2019 Ipolito Yoel Velasquez Licona         $10.50   48.48   $   12.00   $   72.73   $ 50.90    $   123.63
  2/3/2019 Ipolito Yoel Velasquez Licona         $10.50   54.42   $   12.00   $   81.63   $ 86.50    $   168.13
 2/10/2019 Ipolito Yoel Velasquez Licona         $10.50   51.20   $   12.00   $   76.80   $ 67.20    $   144.00
 2/17/2019 Ipolito Yoel Velasquez Licona         $10.50   49.38   $   12.00   $   74.08   $ 56.30    $   130.38
 2/24/2019 Ipolito Yoel Velasquez Licona         $10.50   56.48   $   12.00   $   84.73   $ 98.90    $   183.63
 3/10/2019 Ipolito Yoel Velasquez Licona         $10.50   54.12   $   12.00   $   81.18   $ 84.70    $   165.88
 3/31/2019 Ipolito Yoel Velasquez Licona         $10.50   51.27   $   12.00   $   76.90   $ 67.60    $   144.50
 3/31/2019 Iris Escobar - Car Wash               $10.50   61.63   $   12.00   $   92.45   $ 129.80   $   222.25
  4/7/2019 Iris Escobar - Car Wash               $10.50   60.58   $   12.00   $   90.88   $ 123.50   $   214.38
 4/14/2019 Iris Escobar - Car Wash               $10.50   60.55   $   12.00   $   90.83   $ 123.30   $   214.13
 4/21/2019 Iris Escobar - Car Wash               $10.50   60.03   $   12.00   $   90.05   $ 120.20   $   210.25
 4/28/2019 Iris Escobar - Car Wash               $10.50   61.58   $   12.00   $   92.38   $ 129.50   $   221.88
  5/5/2019 Iris Escobar - Car Wash               $10.50   61.35   $   12.00   $   92.03   $ 128.10   $   220.13
 5/12/2019 Iris Escobar - Car Wash               $10.50   51.40   $   12.00   $   77.10   $ 68.40    $   145.50
 5/19/2019 Iris Escobar - Car Wash               $10.50   52.40   $   12.00   $   78.60   $ 74.40    $   153.00
 5/26/2019 Iris Escobar - Car Wash               $10.50   61.47   $   12.00   $   92.20   $ 128.80   $   221.00
  6/2/2019 Iris Escobar - Car Wash               $10.50   42.02   $   12.00   $   63.03   $ 12.10    $    75.13
  6/9/2019 Iris Escobar - Car Wash               $10.50   51.45   $   12.00   $   77.18   $ 68.70    $   145.88
 6/16/2019 Iris Escobar - Car Wash               $10.50   40.75   $   12.00   $   61.13   $   4.50   $    65.63
 6/23/2019 Iris Escobar - Car Wash               $10.50   62.02   $   12.00   $   93.03   $ 132.10   $   225.13
 6/30/2019 Iris Escobar - Car Wash               $10.50   62.88   $   12.00   $   94.33   $ 137.30   $   231.63
  7/7/2019 Iris Escobar - Car Wash               $13.00   46.07   $   12.00               $ 39.43    $    39.43
 7/14/2019 Iris Escobar - Car Wash               $13.00   59.12   $   12.00               $ 124.26   $   124.26
 7/21/2019 Iris Escobar - Car Wash               $13.00   48.90   $   12.00               $ 57.85    $    57.85
 7/28/2019 Iris Escobar - Car Wash               $13.00   59.08   $   12.00               $ 124.04   $   124.04
  8/4/2019 Iris Escobar - Car Wash               $13.00   59.75   $   12.00               $ 128.38   $   128.38
 8/11/2019 Iris Escobar - Car Wash               $13.00   59.02   $   12.00               $ 123.61   $   123.61
 8/18/2019 Iris Escobar - Car Wash               $13.00   59.63   $   12.00               $ 127.62   $   127.62


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  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                      Name                          Minimum  Regular Half-Time Overtime Back
                                              Rate Week
  Date                                                      Wage   Rate Due     Due       Wages Due

 8/25/2019 Iris Escobar - Car Wash           $13.00   60.20   $   12.00               $ 131.30   $   131.30
  9/1/2019 Iris Escobar - Car Wash           $13.00   60.63   $   12.00               $ 134.12   $   134.12
  9/8/2019 Iris Escobar - Car Wash           $13.00   49.87   $   12.00               $ 64.13    $    64.13
 9/15/2019 Iris Escobar - Car Wash           $13.00   60.92   $   12.00               $ 135.96   $   135.96
 9/22/2019 Iris Escobar - Car Wash           $13.00   59.42   $   12.00               $ 126.21   $   126.21
 9/29/2019 Iris Escobar - Car Wash           $13.00   58.40   $   12.00               $ 119.60   $   119.60
 10/6/2019 Iris Escobar - Car Wash           $13.00   49.48   $   12.00               $ 61.64    $    61.64
10/13/2019 Iris Escobar - Car Wash           $13.00   54.12   $   12.00               $ 91.76    $    91.76
10/20/2019 Iris Escobar - Car Wash           $13.00   59.63   $   12.00               $ 127.62   $   127.62
10/27/2019 Iris Escobar - Car Wash           $13.00   59.08   $   12.00               $ 124.04   $   124.04
 11/3/2019 Iris Escobar - Car Wash           $13.00   59.62   $   12.00               $ 127.51   $   127.51
11/10/2019 Iris Escobar - Car Wash           $13.00   59.53   $   12.00               $ 126.97   $   126.97
11/17/2019 Iris Escobar - Car Wash           $13.00   59.20   $   12.00               $ 124.80   $   124.80
11/24/2019 Iris Escobar - Car Wash           $13.00   43.37   $   12.00               $ 21.88    $    21.88
 12/1/2019 Iris Escobar - Car Wash           $13.00   48.98   $   12.00               $ 58.39    $    58.39
 12/8/2019 Iris Escobar - Car Wash           $13.00   58.85   $   12.00               $ 122.53   $   122.53
12/15/2019 Iris Escobar - Car Wash           $13.00   58.85   $   12.00               $ 122.53   $   122.53
12/22/2019 Iris Escobar - Car Wash           $13.00   59.15   $   12.00               $ 124.48   $   124.48
12/29/2019 Iris Escobar - Car Wash           $13.00   46.17   $   12.00               $ 40.08    $    40.08
  1/5/2020 Iris Escobar - Car Wash           $13.00   47.85   $   13.00               $ 51.03    $    51.03
 1/12/2020 Iris Escobar - Car Wash           $13.00   58.93   $   13.00               $ 123.07   $   123.07
 1/19/2020 Iris Escobar - Car Wash           $13.00   58.93   $   13.00               $ 123.07   $   123.07
 1/26/2020 Iris Escobar - Car Wash           $13.00   59.07   $   13.00               $ 123.93   $   123.93
11/11/2018 Ivette Arguera - Car Wash         $10.50   50.55   $   11.00   $   25.28   $ 58.03    $    83.30
11/18/2018 Ivette Arguera - Car Wash         $10.50   61.65   $   11.00   $   30.83   $ 119.08   $   149.90
11/25/2018 Ivette Arguera - Car Wash         $10.50   48.92   $   11.00   $   24.46   $ 49.04    $    73.50
 12/2/2018 Ivette Arguera - Car Wash         $10.50   62.45   $   11.00   $   31.23   $ 123.48   $   154.70
 12/9/2018 Ivette Arguera - Car Wash         $10.50   56.18   $   11.00   $   28.09   $ 89.01    $   117.10
12/16/2018 Ivette Arguera - Car Wash         $10.50   53.60   $   11.00   $   26.80   $ 74.80    $   101.60
12/23/2018 Ivette Arguera - Car Wash         $10.50   57.87   $   11.00   $   28.93   $ 98.27    $   127.20
12/30/2018 Ivette Arguera - Car Wash         $10.50   46.65   $   11.00   $   23.33   $ 36.58    $    59.90
  1/6/2019 Ivette Arguera - Car Wash         $10.50   47.43   $   12.00   $   71.15   $ 44.60    $   115.75
 1/13/2019 Ivette Arguera - Car Wash         $10.50   60.53   $   12.00   $   90.80   $ 123.20   $   214.00
 1/20/2019 Ivette Arguera - Car Wash         $10.50   62.00   $   12.00   $   93.00   $ 132.00   $   225.00
 1/27/2019 Ivette Arguera - Car Wash         $10.50   55.17   $   12.00   $   82.75   $ 91.00    $   173.75
  2/3/2019 Ivette Arguera - Car Wash         $10.50   49.27   $   12.00   $   73.90   $ 55.60    $   129.50
 2/10/2019 Ivette Arguera - Car Wash         $10.50   53.35   $   12.00   $   80.03   $ 80.10    $   160.13
 2/17/2019 Ivette Arguera - Car Wash         $10.50   63.20   $   12.00   $   94.80   $ 139.20   $   234.00
 2/24/2019 Ivette Arguera - Car Wash         $10.50   61.68   $   12.00   $   92.53   $ 130.10   $   222.63
  3/3/2019 Ivette Arguera - Car Wash         $10.50   62.02   $   12.00   $   93.03   $ 132.10   $   225.13
 3/10/2019 Ivette Arguera - Car Wash         $10.50   61.43   $   12.00   $   92.15   $ 128.60   $   220.75
 3/17/2019 Ivette Arguera - Car Wash         $10.50   62.37   $   12.00   $   93.55   $ 134.20   $   227.75
 3/24/2019 Ivette Arguera - Car Wash         $10.50   61.70   $   12.00   $   92.55   $ 130.20   $   222.75
 3/31/2019 Ivette Arguera - Car Wash         $10.50   61.40   $   12.00   $   92.10   $ 128.40   $   220.50
  4/7/2019 Ivette Arguera - Car Wash         $10.50   60.60   $   12.00   $   90.90   $ 123.60   $   214.50
 4/14/2019 Ivette Arguera - Car Wash         $10.50   60.58   $   12.00   $   90.88   $ 123.50   $   214.38
 4/21/2019 Ivette Arguera - Car Wash         $10.50   60.25   $   12.00   $   90.38   $ 121.50   $   211.88
 4/28/2019 Ivette Arguera - Car Wash         $10.50   61.65   $   12.00   $   92.48   $ 129.90   $   222.38
  5/5/2019 Ivette Arguera - Car Wash         $10.50   52.50   $   12.00   $   78.75   $ 75.00    $   153.75
 5/12/2019 Ivette Arguera - Car Wash         $10.50   53.27   $   12.00   $   79.90   $ 79.60    $   159.50
 6/16/2019 Ivette Arguera - Car Wash         $10.50   61.77   $   12.00   $   92.65   $ 130.60   $   223.25
 6/23/2019 Ivette Arguera - Car Wash         $10.50   51.53   $   12.00   $   77.30   $ 69.20    $   146.50


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                                       Long Island Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                      Name                          Minimum  Regular Half-Time Overtime Back
                                              Rate Week
  Date                                                      Wage   Rate Due     Due       Wages Due

 6/30/2019 Ivette Arguera - Car Wash         $10.50   62.92   $   12.00   $   94.38   $ 137.50   $   231.88
  7/7/2019 Ivette Arguera - Car Wash         $13.00   48.85   $   12.00               $ 57.53    $    57.53
 7/14/2019 Ivette Arguera - Car Wash         $13.00   59.10   $   12.00               $ 124.15   $   124.15
 7/21/2019 Ivette Arguera - Car Wash         $13.00   58.88   $   12.00               $ 122.74   $   122.74
 7/28/2019 Ivette Arguera - Car Wash         $13.00   59.08   $   12.00               $ 124.04   $   124.04
  8/4/2019 Ivette Arguera - Car Wash         $13.00   59.72   $   12.00               $ 128.16   $   128.16
 8/11/2019 Ivette Arguera - Car Wash         $13.00   58.98   $   12.00               $ 123.39   $   123.39
 8/18/2019 Ivette Arguera - Car Wash         $13.00   59.68   $   12.00               $ 127.94   $   127.94
 8/25/2019 Ivette Arguera - Car Wash         $13.00   59.90   $   12.00               $ 129.35   $   129.35
  9/1/2019 Ivette Arguera - Car Wash         $13.00   60.05   $   12.00               $ 130.33   $   130.33
  9/8/2019 Ivette Arguera - Car Wash         $13.00   48.93   $   12.00               $ 58.07    $    58.07
 9/15/2019 Ivette Arguera - Car Wash         $13.00   59.82   $   12.00               $ 128.81   $   128.81
 9/22/2019 Ivette Arguera - Car Wash         $13.00   59.38   $   12.00               $ 125.99   $   125.99
 9/29/2019 Ivette Arguera - Car Wash         $13.00   55.87   $   12.00               $ 103.13   $   103.13
 10/6/2019 Ivette Arguera - Car Wash         $13.00   49.33   $   12.00               $ 60.67    $    60.67
10/13/2019 Ivette Arguera - Car Wash         $13.00   49.65   $   12.00               $ 62.73    $    62.73
10/20/2019 Ivette Arguera - Car Wash         $13.00   59.68   $   12.00               $ 127.94   $   127.94
10/27/2019 Ivette Arguera - Car Wash         $13.00   59.20   $   12.00               $ 124.80   $   124.80
 11/3/2019 Ivette Arguera - Car Wash         $13.00   59.60   $   12.00               $ 127.40   $   127.40
11/10/2019 Ivette Arguera - Car Wash         $13.00   59.50   $   12.00               $ 126.75   $   126.75
11/17/2019 Ivette Arguera - Car Wash         $13.00   56.13   $   12.00               $ 104.87   $   104.87
11/24/2019 Ivette Arguera - Car Wash         $13.00   58.87   $   12.00               $ 122.63   $   122.63
 12/1/2019 Ivette Arguera - Car Wash         $13.00   49.03   $   12.00               $ 58.72    $    58.72
 12/8/2019 Ivette Arguera - Car Wash         $13.00   58.80   $   12.00               $ 122.20   $   122.20
12/15/2019 Ivette Arguera - Car Wash         $13.00   58.65   $   12.00               $ 121.23   $   121.23
12/22/2019 Ivette Arguera - Car Wash         $13.00   59.17   $   12.00               $ 124.58   $   124.58
12/29/2019 Ivette Arguera - Car Wash         $13.00   46.23   $   12.00               $ 40.52    $    40.52
  1/5/2020 Ivette Arguera - Car Wash         $13.00   47.83   $   13.00               $ 50.92    $    50.92
 1/12/2020 Ivette Arguera - Car Wash         $13.00   58.95   $   13.00               $ 123.18   $   123.18
 1/19/2020 Ivette Arguera - Car Wash         $13.00   58.97   $   13.00               $ 123.28   $   123.28
 1/26/2020 Ivette Arguera - Car Wash         $13.00   59.12   $   13.00               $ 124.26   $   124.26
  8/5/2018 Jason Velas                       $11.00   62.40   $   11.00               $ 123.20   $   123.20
 8/12/2018 Jason Velas                       $11.00   42.50   $   11.00               $ 13.75    $    13.75
 9/23/2018 Javier Velasquez-                 $10.50   59.75   $   11.00   $   29.88   $ 108.63   $   138.50
 9/30/2018 Javier Velasquez-                 $10.50   60.02   $   11.00   $   30.01   $ 110.09   $   140.10
 10/7/2018 Javier Velasquez-                 $10.50   60.78   $   11.00   $   30.39   $ 114.31   $   144.70
10/14/2018 Javier Velasquez-                 $10.50   61.47   $   11.00   $   30.73   $ 118.07   $   148.80
10/21/2018 Javier Velasquez-                 $10.50   61.32   $   11.00   $   30.66   $ 117.24   $   147.90
10/28/2018 Javier Velasquez-                 $10.50   71.63   $   11.00   $   35.82   $ 173.98   $   209.80
 11/4/2018 Javier Velasquez-                 $10.50   54.85   $   11.00   $   27.43   $ 81.68    $   109.10
11/11/2018 Javier Velasquez-                 $10.50   58.67   $   11.00   $   29.33   $ 102.67   $   132.00
11/18/2018 Javier Velasquez-                 $10.50   55.75   $   11.00   $   27.88   $ 86.63    $   114.50
11/25/2018 Javier Velasquez-                 $10.50   51.45   $   11.00   $   25.73   $ 62.98    $    88.70
 12/2/2018 Javier Velasquez-                 $10.50   59.08   $   11.00   $   29.54   $ 104.96   $   134.50
 12/9/2018 Javier Velasquez-                 $10.50   58.67   $   11.00   $   29.33   $ 102.67   $   132.00
12/16/2018 Javier Velasquez-                 $10.50   58.80   $   11.00   $   29.40   $ 103.40   $   132.80
12/23/2018 Javier Velasquez-                 $10.50   49.67   $   11.00   $   24.83   $ 53.17    $    78.00
 2/10/2019 Jerson Sandoval                   $12.50   66.65   $   12.00               $ 166.56   $   166.56
 2/17/2019 Jerson Sandoval                   $12.50   67.27   $   12.00               $ 170.42   $   170.42
 2/24/2019 Jerson Sandoval                   $12.50   62.60   $   12.00               $ 141.25   $   141.25
  3/3/2019 Jerson Sandoval                   $12.50   56.55   $   12.00               $ 103.44   $   103.44
 3/10/2019 Jerson Sandoval                   $12.50   66.63   $   12.00               $ 166.46   $   166.46


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                                    Long Island Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                      Name                       Minimum  Regular Half-Time Overtime Back
                                           Rate Week
  Date                                                   Wage   Rate Due     Due       Wages Due

 3/17/2019 Jerson Sandoval                $12.50   54.95   $   12.00               $ 93.44    $    93.44
 3/24/2019 Jerson Sandoval                $12.50   54.88   $   12.00               $ 93.02    $    93.02
 3/31/2019 Jerson Sandoval                $12.50   64.47   $   12.00               $ 152.92   $   152.92
  4/7/2019 Jerson Sandoval                $12.50   64.38   $   12.00               $ 152.40   $   152.40
 4/14/2019 Jerson Sandoval                $12.50   64.97   $   12.00               $ 156.04   $   156.04
 4/21/2019 Jerson Sandoval                $12.50   65.35   $   12.00               $ 158.44   $   158.44
 4/28/2019 Jerson Sandoval                $12.50   65.07   $   12.00               $ 156.67   $   156.67
  5/5/2019 Jerson Sandoval                $12.50   67.50   $   12.00               $ 171.88   $   171.88
 5/12/2019 Jerson Sandoval                $12.50   59.23   $   12.00               $ 120.21   $   120.21
 5/19/2019 Jerson Sandoval                $12.50   66.88   $   12.00               $ 168.02   $   168.02
 5/26/2019 Jerson Sandoval                $12.50   67.12   $   12.00               $ 169.48   $   169.48
  6/2/2019 Jerson Sandoval                $12.50   53.02   $   12.00               $ 81.35    $    81.35
  6/9/2019 Jerson Sandoval                $12.50   58.20   $   12.00               $ 113.75   $   113.75
 6/16/2019 Jerson Sandoval                $12.50   67.78   $   12.00               $ 173.65   $   173.65
 6/23/2019 Jerson Sandoval                $12.50   64.68   $   12.00               $ 154.27   $   154.27
 6/30/2019 Jerson Sandoval                $12.50   56.33   $   12.00               $ 102.08   $   102.08
  7/7/2019 Jerson Sandoval                $12.50   54.07   $   12.00               $ 87.92    $    87.92
 7/14/2019 Jerson Sandoval                $12.50   65.43   $   12.00               $ 158.96   $   158.96
 7/21/2019 Jerson Sandoval                $12.50   65.28   $   12.00               $ 158.02   $   158.02
 7/28/2019 Jerson Sandoval                $12.50   65.57   $   12.00               $ 159.79   $   159.79
  8/4/2019 Jerson Sandoval                $12.50   65.00   $   12.00               $ 156.25   $   156.25
 8/11/2019 Jerson Sandoval                $12.50   56.15   $   12.00               $ 100.94   $   100.94
 8/18/2019 Jerson Sandoval                $12.50   57.88   $   12.00               $ 111.77   $   111.77
 8/25/2019 Jerson Sandoval                $12.50   57.50   $   12.00               $ 109.38   $   109.38
  9/1/2019 Jerson Sandoval                $12.50   64.18   $   12.00               $ 151.15   $   151.15
  9/8/2019 Jerson Sandoval                $12.50   53.03   $   12.00               $ 81.46    $    81.46
 9/15/2019 Jerson Sandoval                $12.50   64.07   $   12.00               $ 150.42   $   150.42
 9/22/2019 Jerson Sandoval                $12.50   56.33   $   12.00               $ 102.08   $   102.08
 9/29/2019 Jerson Sandoval                $12.50   63.97   $   12.00               $ 149.79   $   149.79
 10/6/2019 Jerson Sandoval                $12.50   62.10   $   12.00               $ 138.13   $   138.13
10/13/2019 Jerson Sandoval                $12.50   64.70   $   12.00               $ 154.38   $   154.38
10/20/2019 Jerson Sandoval                $12.50   64.87   $   12.00               $ 155.42   $   155.42
10/27/2019 Jerson Sandoval                $12.50   56.98   $   12.00               $ 106.15   $   106.15
 11/3/2019 Jerson Sandoval                $12.50   61.13   $   12.00               $ 132.08   $   132.08
11/10/2019 Jerson Sandoval                $12.50   64.20   $   12.00               $ 151.25   $   151.25
11/17/2019 Jerson Sandoval                $12.50   64.90   $   12.00               $ 155.63   $   155.63
11/24/2019 Jerson Sandoval                $12.50   64.77   $   12.00               $ 154.79   $   154.79
 12/1/2019 Jerson Sandoval                $12.50   55.02   $   12.00               $ 93.85    $    93.85
 12/8/2019 Jerson Sandoval                $12.50   64.80   $   12.00               $ 155.00   $   155.00
12/15/2019 Jerson Sandoval                $12.50   64.23   $   12.00               $ 151.46   $   151.46
12/22/2019 Jerson Sandoval                $12.50   64.15   $   12.00               $ 150.94   $   150.94
12/29/2019 Jerson Sandoval                $12.50   50.70   $   12.00               $ 66.88    $    66.88
  1/5/2020 Jerson Sandoval                $12.50   54.08   $   13.00   $   27.04   $ 91.54    $   118.58
 1/12/2020 Jerson Sandoval                $12.50   65.43   $   13.00   $   32.72   $ 165.32   $   198.03
 1/19/2020 Jerson Sandoval                $12.50   65.13   $   13.00   $   32.57   $ 163.37   $   195.93
 1/26/2020 Jerson Sandoval                $13.00   61.30   $   13.00               $ 138.45   $   138.45
  9/1/2019 Jesus Aviles                   $13.00   56.28   $   12.00               $ 105.84   $   105.84
  9/8/2019 Jesus Aviles                   $13.00   46.03   $   12.00               $ 39.22    $    39.22
 9/15/2019 Jesus Aviles                   $13.00   53.68   $   12.00               $ 88.94    $    88.94
 9/22/2019 Jesus Aviles                   $13.00   46.02   $   12.00               $ 39.11    $    39.11
 9/29/2019 Jesus Aviles                   $13.00   55.47   $   12.00               $ 100.53   $   100.53
 10/6/2019 Jesus Aviles                   $13.00   59.52   $   12.00               $ 126.86   $   126.86


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                                                   Exhibit 5
                                          Long Island Computations


  Week                                                          State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
 Ending                      Name                             Minimum  Regular Half-Time Overtime Back
                                                 Rate Week
  Date                                                         Wage   Rate Due     Due       Wages Due

10/13/2019 Jesus Aviles                         $13.00   53.60   $   12.00         $ 88.40    $      88.40
10/20/2019 Jesus Aviles                         $13.00   55.10   $   12.00         $ 98.15    $      98.15
10/27/2019 Jesus Aviles                         $13.00   55.15   $   12.00         $ 98.48    $      98.48
 11/3/2019 Jesus Aviles                         $13.00   60.15   $   12.00         $ 130.98   $     130.98
11/10/2019 Jesus Aviles                         $13.00   54.78   $   12.00         $ 96.09    $      96.09
11/17/2019 Jesus Aviles                         $13.00   47.70   $   12.00         $ 50.05    $      50.05
11/24/2019 Jesus Aviles                         $13.00   56.52   $   12.00         $ 107.36   $     107.36
 12/8/2019 Jesus Aviles                         $13.00   56.60   $   12.00         $ 107.90   $     107.90
12/15/2019 Jesus Aviles                         $13.00   57.15   $   12.00         $ 111.48   $     111.48
12/22/2019 Jesus Aviles                         $13.00   56.07   $   12.00         $ 104.43   $     104.43
12/29/2019 Jesus Aviles                         $13.00   50.05   $   12.00         $ 65.33    $      65.33
  1/5/2020 Jesus Aviles                         $13.00   52.93   $   13.00         $ 84.07    $      84.07
 1/19/2020 Jesus Aviles                         $13.00   60.50   $   13.00         $ 133.25   $     133.25
 1/26/2020 Jesus Aviles                         $13.00   59.07   $   13.00         $ 123.93   $     123.93
 5/28/2017 Johnathan Rodriguez                  $10.00   46.07   $   10.00         $ 30.33    $      30.33
  6/4/2017 Johnathan Rodriguez                  $10.00   41.62   $   10.00         $   8.08   $       8.08
 6/11/2017 Johnathan Rodriguez                  $10.00   53.03   $   10.00         $ 65.17    $      65.17
 6/18/2017 Johnathan Rodriguez                  $10.00   43.80   $   10.00         $ 19.00    $      19.00
 6/25/2017 Johnathan Rodriguez                  $10.00   43.30   $   10.00         $ 16.50    $      16.50
  7/2/2017 Johnathan Rodriguez                  $10.00   45.42   $   10.00         $ 27.08    $      27.08
 7/23/2017 Johnathan Rodriguez                  $10.00   41.67   $   10.00         $   8.33   $       8.33
 7/30/2017 Johnathan Rodriguez                  $10.00   43.88   $   10.00         $ 19.42    $      19.42
  8/6/2017 Johnathan Rodriguez                  $10.00   47.18   $   10.00         $ 35.92    $      35.92
 8/13/2017 Johnathan Rodriguez                  $10.00   54.07   $   10.00         $ 70.33    $      70.33
 8/20/2017 Johnathan Rodriguez                  $10.00   49.80   $   10.00         $ 49.00    $      49.00
 8/27/2017 Johnathan Rodriguez                  $10.00   56.13   $   10.00         $ 80.67    $      80.67
  9/3/2017 Johnathan Rodriguez                  $10.00   56.42   $   10.00         $ 82.08    $      82.08
 9/10/2017 Johnathan Rodriguez                  $10.00   53.27   $   10.00         $ 66.33    $      66.33
 9/17/2017 Johnathan Rodriguez                  $10.00   58.42   $   10.00         $ 92.08    $      92.08
  7/8/2018 Jonathan Castro Ayala Xavier         $16.50   53.88   $   11.00         $ 114.54   $     114.54
 7/15/2018 Jonathan Castro Ayala Xavier         $16.50   45.18   $   11.00         $ 42.76    $      42.76
 7/22/2018 Jonathan Castro Ayala Xavier         $16.50   49.75   $   11.00         $ 80.44    $      80.44
 7/29/2018 Jonathan Castro Ayala Xavier         $16.50   48.83   $   11.00         $ 72.88    $      72.88
  8/5/2018 Jonathan Castro Ayala Xavier         $16.50   47.63   $   11.00         $ 62.98    $      62.98
  9/2/2018 Jonathan Castro Ayala Xavier         $16.50   40.60   $   11.00         $   4.95   $       4.95
  9/9/2018 Jonathan Castro Ayala Xavier         $16.50   52.58   $   11.00         $ 103.81   $     103.81
 9/16/2018 Jonathan Castro Ayala Xavier         $16.50   44.70   $   11.00         $ 38.78    $      38.78
 9/23/2018 Jonathan Castro Ayala Xavier         $16.50   49.45   $   11.00         $ 77.96    $      77.96
 9/30/2018 Jonathan Castro Ayala Xavier         $16.50   47.88   $   11.00         $ 65.04    $      65.04
 10/7/2018 Jonathan Castro Ayala Xavier         $16.50   49.23   $   11.00         $ 76.18    $      76.18
10/14/2018 Jonathan Castro Ayala Xavier         $16.50   49.10   $   11.00         $ 75.08    $      75.08
10/21/2018 Jonathan Castro Ayala Xavier         $16.50   49.43   $   11.00         $ 77.83    $      77.83
 11/4/2018 Jonathan Castro Ayala Xavier         $16.50   48.25   $   11.00         $ 68.06    $      68.06
11/11/2018 Jonathan Castro Ayala Xavier         $16.50   46.10   $   11.00         $ 50.33    $      50.33
11/18/2018 Jonathan Castro Ayala Xavier         $16.50   43.62   $   11.00         $ 29.84    $      29.84
11/25/2018 Jonathan Castro Ayala Xavier         $16.50   47.30   $   11.00         $ 60.23    $      60.23
 12/9/2018 Jonathan Castro Ayala Xavier         $16.50   44.65   $   11.00         $ 38.36    $      38.36
12/16/2018 Jonathan Castro Ayala Xavier         $16.50   43.72   $   11.00         $ 30.66    $      30.66
 1/20/2019 Jonathan Castro Ayala Xavier         $16.50   44.97   $   12.00         $ 40.98    $      40.98
 1/27/2019 Jonathan Castro Ayala Xavier         $16.50   51.42   $   12.00         $ 94.19    $      94.19
 2/10/2019 Jonathan Castro Ayala Xavier         $16.50   47.27   $   12.00         $ 59.95    $      59.95
 2/17/2019 Jonathan Castro Ayala Xavier         $16.50   41.60   $   12.00         $ 13.20    $      13.20


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                                                   Exhibit 5
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  Week                                                          State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
 Ending                      Name                             Minimum  Regular Half-Time Overtime Back
                                                 Rate Week
  Date                                                         Wage   Rate Due     Due       Wages Due

 2/24/2019 Jonathan Castro Ayala Xavier         $16.50   46.17   $   12.00         $ 50.88    $      50.88
  3/3/2019 Jonathan Castro Ayala Xavier         $16.50   40.32   $   12.00         $   2.61   $       2.61
 3/10/2019 Jonathan Castro Ayala Xavier         $16.50   62.75   $   12.00         $ 187.69   $     187.69
 3/17/2019 Jonathan Castro Ayala Xavier         $16.50   51.23   $   12.00         $ 92.68    $      92.68
 3/31/2019 Jonathan Castro Ayala Xavier         $16.50   40.45   $   12.00         $   3.71   $       3.71
  4/7/2019 Jonathan Castro Ayala Xavier         $16.50   45.03   $   12.00         $ 41.53    $      41.53
 4/14/2019 Jonathan Castro Ayala Xavier         $16.50   46.05   $   12.00         $ 49.91    $      49.91
 4/21/2019 Jonathan Castro Ayala Xavier         $16.50   49.10   $   12.00         $ 75.08    $      75.08
 4/28/2019 Jonathan Castro Ayala Xavier         $16.50   44.30   $   12.00         $ 35.48    $      35.48
  5/5/2019 Jonathan Castro Ayala Xavier         $16.50   58.25   $   12.00         $ 150.56   $     150.56
 5/12/2019 Jonathan Castro Ayala Xavier         $16.50   47.12   $   12.00         $ 58.71    $      58.71
 3/25/2018 Jordan Beltraz - Valet               $16.50   46.98   $   11.00         $ 57.61    $      57.61
  4/8/2018 Jordan Beltraz - Valet               $16.50   43.75   $   11.00         $ 30.94    $      30.94
 4/15/2018 Jordan Beltraz - Valet               $16.50   45.88   $   11.00         $ 48.54    $      48.54
  5/6/2018 Jordan Beltraz - Valet               $16.50   45.02   $   11.00         $ 41.39    $      41.39
 5/13/2018 Jordan Beltraz - Valet               $16.50   43.70   $   11.00         $ 30.53    $      30.53
  9/9/2018 Jordan Beltraz - Valet               $16.50   41.22   $   11.00         $ 10.04    $      10.04
 9/16/2018 Jordan Beltraz - Valet               $16.50   51.58   $   11.00         $ 95.56    $      95.56
 9/23/2018 Jordan Beltraz - Valet               $16.50   51.68   $   11.00         $ 96.39    $      96.39
 9/30/2018 Jordan Beltraz - Valet               $16.50   50.73   $   11.00         $ 88.55    $      88.55
 10/7/2018 Jordan Beltraz - Valet               $16.50   53.05   $   11.00         $ 107.66   $     107.66
10/14/2018 Jordan Beltraz - Valet               $16.50   51.93   $   11.00         $ 98.45    $      98.45
10/21/2018 Jordan Beltraz - Valet               $16.50   59.00   $   11.00         $ 156.75   $     156.75
10/28/2018 Jordan Beltraz - Valet               $16.50   53.83   $   11.00         $ 114.13   $     114.13
  2/5/2017 Jose Carlos Cosme Morel              $10.50   52.85   $   10.00         $ 67.46    $      67.46
 2/19/2017 Jose Carlos Cosme Morel              $10.50   50.63   $   10.00         $ 55.83    $      55.83
 2/26/2017 Jose Carlos Cosme Morel              $10.50   53.92   $   10.00         $ 73.06    $      73.06
  3/5/2017 Jose Carlos Cosme Morel              $10.50   50.58   $   10.00         $ 55.56    $      55.56
 3/12/2017 Jose Carlos Cosme Morel              $10.50   50.70   $   10.00         $ 56.18    $      56.18
 3/26/2017 Jose Carlos Cosme Morel              $10.50   51.20   $   10.00         $ 58.80    $      58.80
  4/2/2017 Jose Carlos Cosme Morel              $10.50   52.25   $   10.00         $ 64.31    $      64.31
  4/9/2017 Jose Carlos Cosme Morel              $10.50   53.92   $   10.00         $ 73.06    $      73.06
 4/16/2017 Jose Carlos Cosme Morel              $10.50   50.42   $   10.00         $ 54.69    $      54.69
 4/23/2017 Jose Carlos Cosme Morel              $10.50   53.23   $   10.00         $ 69.48    $      69.48
 4/30/2017 Jose Carlos Cosme Morel              $10.50   58.08   $   10.00         $ 94.94    $      94.94
  5/7/2017 Jose Carlos Cosme Morel              $10.50   51.08   $   10.00         $ 58.19    $      58.19
 5/14/2017 Jose Carlos Cosme Morel              $10.50   52.62   $   10.00         $ 66.24    $      66.24
 5/21/2017 Jose Carlos Cosme Morel              $10.50   56.85   $   10.00         $ 88.46    $      88.46
 5/28/2017 Jose Carlos Cosme Morel              $10.50   58.07   $   10.00         $ 94.85    $      94.85
  6/4/2017 Jose Carlos Cosme Morel              $10.50   49.92   $   10.00         $ 52.06    $      52.06
 6/11/2017 Jose Carlos Cosme Morel              $10.50   60.67   $   10.00         $ 108.50   $     108.50
 6/18/2017 Jose Carlos Cosme Morel              $10.50   57.07   $   10.00         $ 89.60    $      89.60
 6/25/2017 Jose Carlos Cosme Morel              $10.50   64.05   $   10.00         $ 126.26   $     126.26
  7/2/2017 Jose Carlos Cosme Morel              $10.50   62.58   $   10.00         $ 118.56   $     118.56
  7/9/2017 Jose Carlos Cosme Morel              $10.50   49.70   $   10.00         $ 50.93    $      50.93
 7/16/2017 Jose Carlos Cosme Morel              $10.50   57.13   $   10.00         $ 89.95    $      89.95
 7/23/2017 Jose Carlos Cosme Morel              $10.50   59.80   $   10.00         $ 103.95   $     103.95
 7/30/2017 Jose Carlos Cosme Morel              $10.50   59.08   $   10.00         $ 100.19   $     100.19
  8/6/2017 Jose Carlos Cosme Morel              $10.50   55.58   $   10.00         $ 81.81    $      81.81
 8/13/2017 Jose Carlos Cosme Morel              $10.50   46.27   $   10.00         $ 32.90    $      32.90
 8/20/2017 Jose Carlos Cosme Morel              $10.50   55.28   $   10.00         $ 80.24    $      80.24
 8/27/2017 Jose Carlos Cosme Morel              $10.50   55.85   $   10.00         $ 83.21    $      83.21


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                                              Exhibit 5
                                     Long Island Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                     Name                         Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

  9/3/2017 Jose Carlos Cosme Morel         $10.50   59.63   $   10.00               $ 103.08   $   103.08
 9/10/2017 Jose Carlos Cosme Morel         $10.50   47.13   $   10.00               $ 37.45    $    37.45
 10/8/2017 Jose Carlos Cosme Morel         $10.50   55.77   $   10.00               $ 82.78    $    82.78
10/15/2017 Jose Carlos Cosme Morel         $10.50   57.17   $   10.00               $ 90.13    $    90.13
10/22/2017 Jose Carlos Cosme Morel         $10.50   57.65   $   10.00               $ 92.66    $    92.66
10/29/2017 Jose Carlos Cosme Morel         $10.50   59.13   $   10.00               $ 100.45   $   100.45
 11/5/2017 Jose Carlos Cosme Morel         $10.50   56.70   $   10.00               $ 87.68    $    87.68
11/12/2017 Jose Carlos Cosme Morel         $10.50   51.42   $   10.00               $ 59.94    $    59.94
11/19/2017 Jose Carlos Cosme Morel         $10.50   53.87   $   10.00               $ 72.80    $    72.80
11/26/2017 Jose Carlos Cosme Morel         $10.50   45.67   $   10.00               $ 29.75    $    29.75
 12/3/2017 Jose Carlos Cosme Morel         $10.50   58.73   $   10.00               $ 98.35    $    98.35
12/10/2017 Jose Carlos Cosme Morel         $10.50   56.33   $   10.00               $ 85.75    $    85.75
12/17/2017 Jose Carlos Cosme Morel         $10.50   56.72   $   10.00               $ 87.76    $    87.76
12/24/2017 Jose Carlos Cosme Morel         $10.50   58.85   $   10.00               $ 98.96    $    98.96
12/31/2017 Jose Carlos Cosme Morel         $10.50   49.13   $   11.00   $   24.57   $ 50.23    $    74.80
  1/7/2018 Jose Carlos Cosme Morel         $10.50   40.35   $   11.00   $   20.18   $   1.92   $    22.10
 1/14/2018 Jose Carlos Cosme Morel         $10.50   58.47   $   11.00   $   29.23   $ 101.57   $   130.80
 1/21/2018 Jose Carlos Cosme Morel         $10.50   56.75   $   11.00   $   28.38   $ 92.13    $   120.50
 1/28/2018 Jose Carlos Cosme Morel         $10.50   56.45   $   11.00   $   28.23   $ 90.48    $   118.70
  2/4/2018 Jose Carlos Cosme Morel         $10.50   48.28   $   11.00   $   24.14   $ 45.56    $    69.70
 2/11/2018 Jose Carlos Cosme Morel         $10.50   55.87   $   11.00   $   27.93   $ 87.27    $   115.20
 2/18/2018 Jose Carlos Cosme Morel         $10.50   56.38   $   11.00   $   28.19   $ 90.11    $   118.30
 2/25/2018 Jose Carlos Cosme Morel         $10.50   51.68   $   11.00   $   25.84   $ 64.26    $    90.10
  3/4/2018 Jose Carlos Cosme Morel         $10.50   57.32   $   11.00   $   28.66   $ 95.24    $   123.90
 3/25/2018 Jose Carlos Cosme Morel         $10.50   52.82   $   11.00   $   26.41   $ 70.49    $    96.90
  4/1/2018 Jose Carlos Cosme Morel         $10.50   59.72   $   11.00   $   29.86   $ 108.44   $   138.30
  4/8/2018 Jose Carlos Cosme Morel         $10.50   56.32   $   11.00   $   28.16   $ 89.74    $   117.90
 4/15/2018 Jose Carlos Cosme Morel         $10.50   58.68   $   11.00   $   29.34   $ 102.76   $   132.10
 4/22/2018 Jose Carlos Cosme Morel         $10.50   57.90   $   11.00   $   28.95   $ 98.45    $   127.40
 4/29/2018 Jose Carlos Cosme Morel         $10.50   58.17   $   11.00   $   29.08   $ 99.92    $   129.00
  5/6/2018 Jose Carlos Cosme Morel         $10.50   58.22   $   11.00   $   29.11   $ 100.19   $   129.30
 5/13/2018 Jose Carlos Cosme Morel         $10.50   58.60   $   11.00   $   29.30   $ 102.30   $   131.60
 5/20/2018 Jose Carlos Cosme Morel         $10.50   47.85   $   11.00   $   23.93   $ 43.18    $    67.10
 5/27/2018 Jose Carlos Cosme Morel         $10.50   55.32   $   11.00   $   27.66   $ 84.24    $   111.90
  6/3/2018 Jose Carlos Cosme Morel         $10.50   50.12   $   11.00   $   25.06   $ 55.64    $    80.70
 6/10/2018 Jose Carlos Cosme Morel         $10.50   57.22   $   11.00   $   28.61   $ 94.69    $   123.30
 6/17/2018 Jose Carlos Cosme Morel         $10.50   58.18   $   11.00   $   29.09   $ 100.01   $   129.10
 6/24/2018 Jose Carlos Cosme Morel         $10.50   46.92   $   11.00   $   23.46   $ 38.04    $    61.50
  7/1/2018 Jose Carlos Cosme Morel         $10.50   58.42   $   11.00   $   29.21   $ 101.29   $   130.50
 7/15/2018 Jose Carlos Cosme Morel         $10.50   56.97   $   11.00   $   28.48   $ 93.32    $   121.80
 7/22/2018 Jose Carlos Cosme Morel         $10.50   56.25   $   11.00   $   28.13   $ 89.38    $   117.50
 7/29/2018 Jose Carlos Cosme Morel         $10.50   56.03   $   11.00   $   28.02   $ 88.18    $   116.20
  8/5/2018 Jose Carlos Cosme Morel         $10.50   52.90   $   11.00   $   26.45   $ 70.95    $    97.40
 8/12/2018 Jose Carlos Cosme Morel         $10.50   54.75   $   11.00   $   27.38   $ 81.13    $   108.50
 8/19/2018 Jose Carlos Cosme Morel         $10.50   54.25   $   11.00   $   27.13   $ 78.38    $   105.50
 8/26/2018 Jose Carlos Cosme Morel         $10.50   55.97   $   11.00   $   27.98   $ 87.82    $   115.80
  9/2/2018 Jose Carlos Cosme Morel         $10.50   57.00   $   11.00   $   28.50   $ 93.50    $   122.00
  9/9/2018 Jose Carlos Cosme Morel         $10.50   43.65   $   11.00   $   21.83   $ 20.08    $    41.90
 9/16/2018 Jose Carlos Cosme Morel         $10.50   56.15   $   11.00   $   28.08   $ 88.83    $   116.90
 9/23/2018 Jose Carlos Cosme Morel         $10.50   60.15   $   11.00   $   30.08   $ 110.83   $   140.90
 9/30/2018 Jose Carlos Cosme Morel         $10.50   56.70   $   11.00   $   28.35   $ 91.85    $   120.20
 10/7/2018 Jose Carlos Cosme Morel         $10.50   51.93   $   11.00   $   25.97   $ 65.63    $    91.60


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  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                     Name                         Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

10/14/2018 Jose Carlos Cosme Morel         $10.50   56.40   $   11.00   $   28.20   $ 90.20    $   118.40
10/21/2018 Jose Carlos Cosme Morel         $10.50   56.68   $   11.00   $   28.34   $ 91.76    $   120.10
10/28/2018 Jose Carlos Cosme Morel         $10.50   58.20   $   11.00   $   29.10   $ 100.10   $   129.20
 11/4/2018 Jose Carlos Cosme Morel         $10.50   58.25   $   11.00   $   29.13   $ 100.38   $   129.50
11/11/2018 Jose Carlos Cosme Morel         $10.50   55.85   $   11.00   $   27.93   $ 87.18    $   115.10
11/18/2018 Jose Carlos Cosme Morel         $10.50   56.40   $   11.00   $   28.20   $ 90.20    $   118.40
11/25/2018 Jose Carlos Cosme Morel         $10.50   48.52   $   11.00   $   24.26   $ 46.84    $    71.10
 12/2/2018 Jose Carlos Cosme Morel         $10.50   58.42   $   11.00   $   29.21   $ 101.29   $   130.50
 12/9/2018 Jose Carlos Cosme Morel         $10.50   57.17   $   11.00   $   28.58   $ 94.42    $   123.00
12/16/2018 Jose Carlos Cosme Morel         $10.50   57.15   $   11.00   $   28.58   $ 94.33    $   122.90
12/23/2018 Jose Carlos Cosme Morel         $10.50   57.63   $   11.00   $   28.82   $ 96.98    $   125.80
12/30/2018 Jose Carlos Cosme Morel         $10.50   44.37   $   11.00   $   22.18   $ 24.02    $    46.20
  1/6/2019 Jose Carlos Cosme Morel         $10.50   44.93   $   12.00   $   67.40   $ 29.60    $    97.00
 1/13/2019 Jose Carlos Cosme Morel         $10.50   57.28   $   12.00   $   85.93   $ 103.70   $   189.63
 1/20/2019 Jose Carlos Cosme Morel         $10.50   59.00   $   12.00   $   88.50   $ 114.00   $   202.50
 1/27/2019 Jose Carlos Cosme Morel         $10.50   55.23   $   12.00   $   82.85   $ 91.40    $   174.25
  2/3/2019 Jose Carlos Cosme Morel         $10.50   54.92   $   12.00   $   82.38   $ 89.50    $   171.88
 2/10/2019 Jose Carlos Cosme Morel         $10.50   54.83   $   12.00   $   82.25   $ 89.00    $   171.25
 2/17/2019 Jose Carlos Cosme Morel         $10.50   57.18   $   12.00   $   85.78   $ 103.10   $   188.88
 2/24/2019 Jose Carlos Cosme Morel         $10.50   57.97   $   12.00   $   86.95   $ 107.80   $   194.75
  3/3/2019 Jose Carlos Cosme Morel         $10.50   57.77   $   12.00   $   86.65   $ 106.60   $   193.25
 3/10/2019 Jose Carlos Cosme Morel         $10.50   56.65   $   12.00   $   84.98   $ 99.90    $   184.88
 3/17/2019 Jose Carlos Cosme Morel         $10.50   57.53   $   12.00   $   86.30   $ 105.20   $   191.50
 3/24/2019 Jose Carlos Cosme Morel         $10.50   59.60   $   12.00   $   89.40   $ 117.60   $   207.00
 3/31/2019 Jose Carlos Cosme Morel         $10.50   58.83   $   12.00   $   88.25   $ 113.00   $   201.25
  4/7/2019 Jose Carlos Cosme Morel         $10.50   57.03   $   12.00   $   85.55   $ 102.20   $   187.75
 4/14/2019 Jose Carlos Cosme Morel         $10.50   56.82   $   12.00   $   85.23   $ 100.90   $   186.13
 4/21/2019 Jose Carlos Cosme Morel         $10.50   57.82   $   12.00   $   86.73   $ 106.90   $   193.63
 4/28/2019 Jose Carlos Cosme Morel         $10.50   47.90   $   12.00   $   71.85   $ 47.40    $   119.25
  5/5/2019 Jose Carlos Cosme Morel         $10.50   58.97   $   12.00   $   88.45   $ 113.80   $   202.25
 5/12/2019 Jose Carlos Cosme Morel         $10.50   59.53   $   12.00   $   89.30   $ 117.20   $   206.50
 5/19/2019 Jose Carlos Cosme Morel         $10.50   57.95   $   12.00   $   86.93   $ 107.70   $   194.63
 5/26/2019 Jose Carlos Cosme Morel         $10.50   58.83   $   12.00   $   88.25   $ 113.00   $   201.25
  6/2/2019 Jose Carlos Cosme Morel         $10.50   46.52   $   12.00   $   69.78   $ 39.10    $   108.88
  6/9/2019 Jose Carlos Cosme Morel         $10.50   58.00   $   12.00   $   87.00   $ 108.00   $   195.00
 6/16/2019 Jose Carlos Cosme Morel         $10.50   56.73   $   12.00   $   85.10   $ 100.40   $   185.50
 6/23/2019 Jose Carlos Cosme Morel         $10.50   56.67   $   12.00   $   85.00   $ 100.00   $   185.00
 6/30/2019 Jose Carlos Cosme Morel         $10.50   58.77   $   12.00   $   88.15   $ 112.60   $   200.75
  7/7/2019 Jose Carlos Cosme Morel         $13.00   44.23   $   12.00               $ 27.52    $    27.52
 7/14/2019 Jose Carlos Cosme Morel         $13.00   57.38   $   12.00               $ 112.99   $   112.99
 7/21/2019 Jose Carlos Cosme Morel         $13.00   56.55   $   12.00               $ 107.58   $   107.58
 7/28/2019 Jose Carlos Cosme Morel         $13.00   55.75   $   12.00               $ 102.38   $   102.38
  8/4/2019 Jose Carlos Cosme Morel         $13.00   53.70   $   12.00               $ 89.05    $    89.05
 8/11/2019 Jose Carlos Cosme Morel         $13.00   53.75   $   12.00               $ 89.38    $    89.38
 8/18/2019 Jose Carlos Cosme Morel         $13.00   52.93   $   12.00               $ 84.07    $    84.07
 8/25/2019 Jose Carlos Cosme Morel         $13.00   56.03   $   12.00               $ 104.22   $   104.22
  9/1/2019 Jose Carlos Cosme Morel         $13.00   56.55   $   12.00               $ 107.58   $   107.58
  9/8/2019 Jose Carlos Cosme Morel         $13.00   46.57   $   12.00               $ 42.68    $    42.68
 9/15/2019 Jose Carlos Cosme Morel         $13.00   57.90   $   12.00               $ 116.35   $   116.35
 9/22/2019 Jose Carlos Cosme Morel         $13.00   55.85   $   12.00               $ 103.03   $   103.03
 9/29/2019 Jose Carlos Cosme Morel         $13.00   55.17   $   12.00               $ 98.58    $    98.58
 10/6/2019 Jose Carlos Cosme Morel         $13.00   53.58   $   12.00               $ 88.29    $    88.29


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  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                     Name                            Minimum  Regular Half-Time Overtime Back
                                               Rate Week
  Date                                                       Wage   Rate Due     Due       Wages Due

10/13/2019 Jose Carlos Cosme Morel            $13.00   53.25   $   12.00         $ 86.13    $      86.13
10/20/2019 Jose Carlos Cosme Morel            $13.00   53.35   $   12.00         $ 86.78    $      86.78
10/27/2019 Jose Carlos Cosme Morel            $13.00   55.92   $   12.00         $ 103.46   $     103.46
 11/3/2019 Jose Carlos Cosme Morel            $13.00   53.13   $   12.00         $ 85.37    $      85.37
11/10/2019 Jose Carlos Cosme Morel            $13.00   53.72   $   12.00         $ 89.16    $      89.16
11/17/2019 Jose Carlos Cosme Morel            $13.00   53.63   $   12.00         $ 88.62    $      88.62
11/24/2019 Jose Carlos Cosme Morel            $13.00   52.13   $   12.00         $ 78.87    $      78.87
 12/1/2019 Jose Carlos Cosme Morel            $13.00   44.63   $   12.00         $ 30.12    $      30.12
 12/8/2019 Jose Carlos Cosme Morel            $13.00   47.40   $   12.00         $ 48.10    $      48.10
12/15/2019 Jose Carlos Cosme Morel            $13.00   55.00   $   12.00         $ 97.50    $      97.50
12/22/2019 Jose Carlos Cosme Morel            $13.00   55.95   $   12.00         $ 103.68   $     103.68
12/29/2019 Jose Carlos Cosme Morel            $13.00   44.07   $   12.00         $ 26.43    $      26.43
  1/5/2020 Jose Carlos Cosme Morel            $13.00   47.37   $   13.00         $ 47.88    $      47.88
 1/12/2020 Jose Carlos Cosme Morel            $13.00   59.10   $   13.00         $ 124.15   $     124.15
 1/19/2020 Jose Carlos Cosme Morel            $13.00   58.65   $   13.00         $ 121.23   $     121.23
 1/26/2020 Jose Carlos Cosme Morel            $13.00   57.10   $   13.00         $ 111.15   $     111.15
  2/5/2017 Jose Elias Ramos                   $11.00   49.12   $   10.00         $ 50.14    $      50.14
 2/12/2017 Jose Elias Ramos                   $11.00   53.43   $   10.00         $ 73.88    $      73.88
 2/19/2017 Jose Elias Ramos                   $11.00   56.05   $   10.00         $ 88.28    $      88.28
 2/26/2017 Jose Elias Ramos                   $11.00   55.83   $   10.00         $ 87.08    $      87.08
  3/5/2017 Jose Elias Ramos                   $11.00   61.05   $   10.00         $ 115.78   $     115.78
 3/12/2017 Jose Elias Ramos                   $11.00   50.95   $   10.00         $ 60.23    $      60.23
 3/19/2017 Jose Elias Ramos                   $11.00   49.62   $   10.00         $ 52.89    $      52.89
 3/26/2017 Jose Elias Ramos                   $11.00   46.67   $   10.00         $ 36.67    $      36.67
  4/2/2017 Jose Elias Ramos                   $11.00   56.25   $   10.00         $ 89.38    $      89.38
  4/9/2017 Jose Elias Ramos                   $11.00   59.50   $   10.00         $ 107.25   $     107.25
 4/16/2017 Jose Elias Ramos                   $11.00   62.20   $   10.00         $ 122.10   $     122.10
 4/23/2017 Jose Elias Ramos                   $11.00   54.97   $   10.00         $ 82.32    $      82.32
 2/10/2019 Jose Elias Ramos                   $13.50   46.65   $   12.00         $ 44.89    $      44.89
 2/17/2019 Jose Elias Ramos                   $13.50   59.72   $   12.00         $ 133.09   $     133.09
 2/24/2019 Jose Elias Ramos                   $13.50   62.30   $   12.00         $ 150.53   $     150.53
  3/3/2019 Jose Elias Ramos                   $13.50   61.83   $   12.00         $ 147.38   $     147.38
 3/10/2019 Jose Elias Ramos                   $13.50   61.05   $   12.00         $ 142.09   $     142.09
 3/17/2019 Jose Elias Ramos                   $13.50   59.87   $   12.00         $ 134.10   $     134.10
 3/24/2019 Jose Elias Ramos                   $13.50   49.85   $   12.00         $ 66.49    $      66.49
 3/31/2019 Jose Elias Ramos                   $13.50   40.33   $   12.00         $   2.25   $       2.25
  4/7/2019 Jose Elias Ramos                   $13.50   57.67   $   12.00         $ 119.25   $     119.25
 4/14/2019 Jose Elias Ramos                   $13.50   61.65   $   12.00         $ 146.14   $     146.14
 1/21/2018 Jose Fabricio Rivera Ramos         $12.00   48.92   $   11.00         $ 53.50    $      53.50
 1/28/2018 Jose Fabricio Rivera Ramos         $12.00   59.27   $   11.00         $ 115.60   $     115.60
  2/4/2018 Jose Fabricio Rivera Ramos         $12.00   62.57   $   11.00         $ 135.40   $     135.40
 2/11/2018 Jose Fabricio Rivera Ramos         $12.00   59.62   $   11.00         $ 117.70   $     117.70
 2/18/2018 Jose Fabricio Rivera Ramos         $12.00   50.25   $   11.00         $ 61.50    $      61.50
 2/25/2018 Jose Fabricio Rivera Ramos         $12.00   59.82   $   11.00         $ 118.90   $     118.90
  3/4/2018 Jose Fabricio Rivera Ramos         $12.00   59.70   $   11.00         $ 118.20   $     118.20
 3/25/2018 Jose Fabricio Rivera Ramos         $12.00   47.83   $   11.00         $ 47.00    $      47.00
  4/1/2018 Jose Fabricio Rivera Ramos         $12.00   60.82   $   11.00         $ 124.90   $     124.90
  4/8/2018 Jose Fabricio Rivera Ramos         $12.00   60.30   $   11.00         $ 121.80   $     121.80
 4/15/2018 Jose Fabricio Rivera Ramos         $12.00   60.97   $   11.00         $ 125.80   $     125.80
 4/22/2018 Jose Fabricio Rivera Ramos         $12.00   60.03   $   11.00         $ 120.20   $     120.20
 4/29/2018 Jose Fabricio Rivera Ramos         $12.00   53.27   $   11.00         $ 79.60    $      79.60
  5/6/2018 Jose Fabricio Rivera Ramos         $12.00   60.15   $   11.00         $ 120.90   $     120.90


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  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                     Name                            Minimum  Regular Half-Time Overtime Back
                                               Rate Week
  Date                                                       Wage   Rate Due     Due       Wages Due

 5/13/2018 Jose Fabricio Rivera Ramos         $12.00   59.75   $   11.00         $ 118.50   $     118.50
 5/20/2018 Jose Fabricio Rivera Ramos         $12.00   60.78   $   11.00         $ 124.70   $     124.70
 5/27/2018 Jose Fabricio Rivera Ramos         $12.00   59.47   $   11.00         $ 116.80   $     116.80
  6/3/2018 Jose Fabricio Rivera Ramos         $12.00   57.52   $   11.00         $ 105.10   $     105.10
 6/10/2018 Jose Fabricio Rivera Ramos         $12.00   49.97   $   11.00         $ 59.80    $      59.80
 6/17/2018 Jose Fabricio Rivera Ramos         $12.00   51.48   $   11.00         $ 68.90    $      68.90
 6/24/2018 Jose Fabricio Rivera Ramos         $12.00   61.77   $   11.00         $ 130.60   $     130.60
  7/1/2018 Jose Fabricio Rivera Ramos         $12.00   49.27   $   11.00         $ 55.60    $      55.60
  7/8/2018 Jose Fabricio Rivera Ramos         $12.00   56.00   $   11.00         $ 96.00    $      96.00
 7/15/2018 Jose Fabricio Rivera Ramos         $12.00   60.97   $   11.00         $ 125.80   $     125.80
 7/22/2018 Jose Fabricio Rivera Ramos         $12.00   62.47   $   11.00         $ 134.80   $     134.80
 7/29/2018 Jose Fabricio Rivera Ramos         $12.00   50.35   $   11.00         $ 62.10    $      62.10
  8/5/2018 Jose Fabricio Rivera Ramos         $12.00   51.45   $   11.00         $ 68.70    $      68.70
 8/12/2018 Jose Fabricio Rivera Ramos         $12.00   61.05   $   11.00         $ 126.30   $     126.30
 8/19/2018 Jose Fabricio Rivera Ramos         $12.00   60.33   $   11.00         $ 122.00   $     122.00
 8/26/2018 Jose Fabricio Rivera Ramos         $12.00   62.05   $   11.00         $ 132.30   $     132.30
  9/2/2018 Jose Fabricio Rivera Ramos         $12.00   49.83   $   11.00         $ 59.00    $      59.00
  9/9/2018 Jose Fabricio Rivera Ramos         $12.00   46.57   $   11.00         $ 39.40    $      39.40
 9/16/2018 Jose Fabricio Rivera Ramos         $12.00   50.40   $   11.00         $ 62.40    $      62.40
 9/23/2018 Jose Fabricio Rivera Ramos         $12.00   59.98   $   11.00         $ 119.90   $     119.90
 9/30/2018 Jose Fabricio Rivera Ramos         $12.00   49.23   $   11.00         $ 55.40    $      55.40
 10/7/2018 Jose Fabricio Rivera Ramos         $12.00   47.58   $   11.00         $ 45.50    $      45.50
10/14/2018 Jose Fabricio Rivera Ramos         $12.00   48.97   $   11.00         $ 53.80    $      53.80
10/21/2018 Jose Fabricio Rivera Ramos         $12.00   52.42   $   11.00         $ 74.50    $      74.50
10/28/2018 Jose Fabricio Rivera Ramos         $12.00   61.15   $   11.00         $ 126.90   $     126.90
 11/4/2018 Jose Fabricio Rivera Ramos         $12.00   55.07   $   11.00         $ 90.40    $      90.40
11/11/2018 Jose Fabricio Rivera Ramos         $12.00   56.02   $   11.00         $ 96.10    $      96.10
 12/2/2018 Jose Fabricio Rivera Ramos         $12.00   40.08   $   11.00         $   0.50   $       0.50
 12/9/2018 Jose Fabricio Rivera Ramos         $12.00   56.70   $   11.00         $ 100.20   $     100.20
12/16/2018 Jose Fabricio Rivera Ramos         $12.00   51.85   $   11.00         $ 71.10    $      71.10
12/23/2018 Jose Fabricio Rivera Ramos         $12.00   61.50   $   11.00         $ 129.00   $     129.00
12/30/2018 Jose Fabricio Rivera Ramos         $12.00   44.62   $   11.00         $ 27.70    $      27.70
  1/6/2019 Jose Fabricio Rivera Ramos         $12.00   52.43   $   12.00         $ 74.60    $      74.60
 1/13/2019 Jose Fabricio Rivera Ramos         $12.00   50.35   $   12.00         $ 62.10    $      62.10
 1/20/2019 Jose Fabricio Rivera Ramos         $12.00   59.47   $   12.00         $ 116.80   $     116.80
 1/27/2019 Jose Fabricio Rivera Ramos         $12.00   49.70   $   12.00         $ 58.20    $      58.20
  2/3/2019 Jose Fabricio Rivera Ramos         $12.00   60.02   $   12.00         $ 120.10   $     120.10
 2/10/2019 Jose Fabricio Rivera Ramos         $12.00   50.83   $   12.00         $ 65.00    $      65.00
 2/17/2019 Jose Fabricio Rivera Ramos         $12.00   60.13   $   12.00         $ 120.80   $     120.80
 2/24/2019 Jose Fabricio Rivera Ramos         $12.00   61.17   $   12.00         $ 127.00   $     127.00
 11/3/2019 Jose Flores                        $13.00   50.53   $   12.00         $ 68.47    $      68.47
11/10/2019 Jose Flores                        $13.00   46.83   $   12.00         $ 44.42    $      44.42
11/17/2019 Jose Flores                        $13.00   55.78   $   12.00         $ 102.59   $     102.59
11/24/2019 Jose Flores                        $13.00   57.22   $   12.00         $ 111.91   $     111.91
 12/1/2019 Jose Flores                        $13.00   47.52   $   12.00         $ 48.86    $      48.86
 12/8/2019 Jose Flores                        $13.00   56.62   $   12.00         $ 108.01   $     108.01
12/15/2019 Jose Flores                        $13.00   49.52   $   12.00         $ 61.86    $      61.86
12/22/2019 Jose Flores                        $13.00   54.72   $   12.00         $ 95.66    $      95.66
12/29/2019 Jose Flores                        $13.00   44.47   $   12.00         $ 29.03    $      29.03
  1/5/2020 Jose Flores                        $13.00   44.85   $   13.00         $ 31.53    $      31.53
 1/12/2020 Jose Flores                        $13.00   57.97   $   13.00         $ 116.78   $     116.78
 1/19/2020 Jose Flores                        $13.00   53.62   $   13.00         $ 88.51    $      88.51


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  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                     Name                       Minimum  Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                  Wage   Rate Due     Due       Wages Due

 1/26/2020 Jose Flores                   $13.00   53.72   $   13.00         $ 89.16    $      89.16
  2/5/2017 Jose Gabriel Aguinada         $12.50   50.20   $   10.00         $ 63.75    $      63.75
 2/19/2017 Jose Gabriel Aguinada         $12.50   50.65   $   10.00         $ 66.56    $      66.56
 2/26/2017 Jose Gabriel Aguinada         $12.50   60.63   $   10.00         $ 128.96   $     128.96
  3/5/2017 Jose Gabriel Aguinada         $12.50   59.97   $   10.00         $ 124.79   $     124.79
 3/12/2017 Jose Gabriel Aguinada         $12.50   60.23   $   10.00         $ 126.46   $     126.46
 3/19/2017 Jose Gabriel Aguinada         $12.50   56.68   $   10.00         $ 104.27   $     104.27
 3/26/2017 Jose Gabriel Aguinada         $12.50   60.28   $   10.00         $ 126.77   $     126.77
  4/2/2017 Jose Gabriel Aguinada         $12.50   61.28   $   10.00         $ 133.02   $     133.02
  4/9/2017 Jose Gabriel Aguinada         $12.50   61.15   $   10.00         $ 132.19   $     132.19
 4/16/2017 Jose Gabriel Aguinada         $12.50   60.93   $   10.00         $ 130.83   $     130.83
 4/23/2017 Jose Gabriel Aguinada         $12.50   61.40   $   10.00         $ 133.75   $     133.75
 4/30/2017 Jose Gabriel Aguinada         $12.50   61.02   $   10.00         $ 131.35   $     131.35
  5/7/2017 Jose Gabriel Aguinada         $12.50   60.87   $   10.00         $ 130.42   $     130.42
 5/14/2017 Jose Gabriel Aguinada         $12.50   60.55   $   10.00         $ 128.44   $     128.44
 5/21/2017 Jose Gabriel Aguinada         $12.50   60.45   $   10.00         $ 127.81   $     127.81
 5/28/2017 Jose Gabriel Aguinada         $12.50   48.67   $   10.00         $ 54.17    $      54.17
  6/4/2017 Jose Gabriel Aguinada         $12.50   51.45   $   10.00         $ 71.56    $      71.56
 6/11/2017 Jose Gabriel Aguinada         $12.50   61.07   $   10.00         $ 131.67   $     131.67
 6/18/2017 Jose Gabriel Aguinada         $12.50   60.63   $   10.00         $ 128.96   $     128.96
 6/25/2017 Jose Gabriel Aguinada         $12.50   60.53   $   10.00         $ 128.33   $     128.33
  7/2/2017 Jose Gabriel Aguinada         $12.50   62.12   $   10.00         $ 138.23   $     138.23
  7/9/2017 Jose Gabriel Aguinada         $12.50   50.83   $   10.00         $ 67.71    $      67.71
 7/16/2017 Jose Gabriel Aguinada         $12.50   60.97   $   10.00         $ 131.04   $     131.04
 7/23/2017 Jose Gabriel Aguinada         $12.50   62.87   $   10.00         $ 142.92   $     142.92
 7/30/2017 Jose Gabriel Aguinada         $12.50   64.57   $   10.00         $ 153.54   $     153.54
  8/6/2017 Jose Gabriel Aguinada         $12.50   69.33   $   10.00         $ 183.33   $     183.33
 8/13/2017 Jose Gabriel Aguinada         $12.50   60.85   $   10.00         $ 130.31   $     130.31
 8/20/2017 Jose Gabriel Aguinada         $12.50   66.28   $   10.00         $ 164.27   $     164.27
 8/27/2017 Jose Gabriel Aguinada         $12.50   66.42   $   10.00         $ 165.10   $     165.10
  9/3/2017 Jose Gabriel Aguinada         $12.50   66.32   $   10.00         $ 164.48   $     164.48
 9/10/2017 Jose Gabriel Aguinada         $12.50   66.72   $   10.00         $ 166.98   $     166.98
 9/17/2017 Jose Gabriel Aguinada         $12.50   66.53   $   10.00         $ 165.83   $     165.83
 9/24/2017 Jose Gabriel Aguinada         $12.50   66.40   $   10.00         $ 165.00   $     165.00
 10/1/2017 Jose Gabriel Aguinada         $12.50   71.78   $   10.00         $ 198.65   $     198.65
 10/8/2017 Jose Gabriel Aguinada         $12.50   66.60   $   10.00         $ 166.25   $     166.25
10/15/2017 Jose Gabriel Aguinada         $12.50   55.48   $   10.00         $ 96.77    $      96.77
10/22/2017 Jose Gabriel Aguinada         $12.50   55.47   $   10.00         $ 96.67    $      96.67
10/29/2017 Jose Gabriel Aguinada         $12.50   60.60   $   10.00         $ 128.75   $     128.75
 11/5/2017 Jose Gabriel Aguinada         $12.50   66.63   $   10.00         $ 166.46   $     166.46
11/12/2017 Jose Gabriel Aguinada         $12.50   66.72   $   10.00         $ 166.98   $     166.98
11/19/2017 Jose Gabriel Aguinada         $12.50   66.58   $   10.00         $ 166.15   $     166.15
11/26/2017 Jose Gabriel Aguinada         $12.50   60.67   $   10.00         $ 129.17   $     129.17
 12/3/2017 Jose Gabriel Aguinada         $12.50   67.00   $   10.00         $ 168.75   $     168.75
12/10/2017 Jose Gabriel Aguinada         $12.50   67.00   $   10.00         $ 168.75   $     168.75
12/17/2017 Jose Gabriel Aguinada         $12.50   66.55   $   10.00         $ 165.94   $     165.94
12/24/2017 Jose Gabriel Aguinada         $12.50   72.72   $   10.00         $ 204.48   $     204.48
12/31/2017 Jose Gabriel Aguinada         $12.50   55.72   $   11.00         $ 98.23    $      98.23
  1/7/2018 Jose Gabriel Aguinada         $12.50   54.15   $   11.00         $ 88.44    $      88.44
 1/14/2018 Jose Gabriel Aguinada         $12.50   66.97   $   11.00         $ 168.54   $     168.54
 1/21/2018 Jose Gabriel Aguinada         $12.50   72.52   $   11.00         $ 203.23   $     203.23
 1/28/2018 Jose Gabriel Aguinada         $12.50   64.85   $   11.00         $ 155.31   $     155.31


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  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                     Name                       Minimum  Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                  Wage   Rate Due     Due       Wages Due

  2/4/2018 Jose Gabriel Aguinada         $12.50   65.25   $   11.00         $ 157.81   $     157.81
 2/11/2018 Jose Gabriel Aguinada         $12.50   66.45   $   11.00         $ 165.31   $     165.31
 2/18/2018 Jose Gabriel Aguinada         $12.50   72.58   $   11.00         $ 203.65   $     203.65
 2/25/2018 Jose Gabriel Aguinada         $12.50   67.18   $   11.00         $ 169.90   $     169.90
  3/4/2018 Jose Gabriel Aguinada         $12.50   66.58   $   11.00         $ 166.15   $     166.15
 3/25/2018 Jose Gabriel Aguinada         $12.50   66.55   $   11.00         $ 165.94   $     165.94
  4/1/2018 Jose Gabriel Aguinada         $12.50   66.78   $   11.00         $ 167.40   $     167.40
  4/8/2018 Jose Gabriel Aguinada         $12.50   71.98   $   11.00         $ 199.90   $     199.90
 4/15/2018 Jose Gabriel Aguinada         $12.50   67.90   $   11.00         $ 174.38   $     174.38
 4/22/2018 Jose Gabriel Aguinada         $12.50   67.08   $   11.00         $ 169.27   $     169.27
 4/29/2018 Jose Gabriel Aguinada         $12.50   66.47   $   11.00         $ 165.42   $     165.42
  5/6/2018 Jose Gabriel Aguinada         $12.50   72.62   $   11.00         $ 203.85   $     203.85
 5/13/2018 Jose Gabriel Aguinada         $12.50   67.18   $   11.00         $ 169.90   $     169.90
 5/20/2018 Jose Gabriel Aguinada         $12.50   67.23   $   11.00         $ 170.21   $     170.21
 5/27/2018 Jose Gabriel Aguinada         $12.50   67.30   $   11.00         $ 170.63   $     170.63
  6/3/2018 Jose Gabriel Aguinada         $12.50   73.17   $   11.00         $ 207.29   $     207.29
 6/10/2018 Jose Gabriel Aguinada         $12.50   67.65   $   11.00         $ 172.81   $     172.81
 6/17/2018 Jose Gabriel Aguinada         $12.50   67.23   $   11.00         $ 170.21   $     170.21
 6/24/2018 Jose Gabriel Aguinada         $12.50   67.05   $   11.00         $ 169.06   $     169.06
  7/1/2018 Jose Gabriel Aguinada         $12.50   73.08   $   11.00         $ 206.77   $     206.77
  7/8/2018 Jose Gabriel Aguinada         $12.50   55.80   $   11.00         $ 98.75    $      98.75
 7/15/2018 Jose Gabriel Aguinada         $12.50   66.70   $   11.00         $ 166.88   $     166.88
 7/22/2018 Jose Gabriel Aguinada         $12.50   73.40   $   11.00         $ 208.75   $     208.75
 7/29/2018 Jose Gabriel Aguinada         $12.50   67.48   $   11.00         $ 171.77   $     171.77
  8/5/2018 Jose Gabriel Aguinada         $12.50   67.03   $   11.00         $ 168.96   $     168.96
 8/12/2018 Jose Gabriel Aguinada         $12.50   66.17   $   11.00         $ 163.54   $     163.54
 8/19/2018 Jose Gabriel Aguinada         $12.50   67.32   $   11.00         $ 170.73   $     170.73
 8/26/2018 Jose Gabriel Aguinada         $12.50   72.60   $   11.00         $ 203.75   $     203.75
  9/2/2018 Jose Gabriel Aguinada         $12.50   67.33   $   11.00         $ 170.83   $     170.83
  9/9/2018 Jose Gabriel Aguinada         $12.50   67.10   $   11.00         $ 169.38   $     169.38
 9/16/2018 Jose Gabriel Aguinada         $12.50   57.38   $   11.00         $ 108.65   $     108.65
 9/23/2018 Jose Gabriel Aguinada         $12.50   72.85   $   11.00         $ 205.31   $     205.31
 9/30/2018 Jose Gabriel Aguinada         $12.50   73.80   $   11.00         $ 211.25   $     211.25
 10/7/2018 Jose Gabriel Aguinada         $12.50   67.27   $   11.00         $ 170.42   $     170.42
10/14/2018 Jose Gabriel Aguinada         $12.50   66.83   $   11.00         $ 167.71   $     167.71
10/21/2018 Jose Gabriel Aguinada         $12.50   72.93   $   11.00         $ 205.83   $     205.83
10/28/2018 Jose Gabriel Aguinada         $12.50   67.35   $   11.00         $ 170.94   $     170.94
 11/4/2018 Jose Gabriel Aguinada         $12.50   55.72   $   11.00         $ 98.23    $      98.23
11/11/2018 Jose Gabriel Aguinada         $12.50   67.88   $   11.00         $ 174.27   $     174.27
11/18/2018 Jose Gabriel Aguinada         $12.50   72.27   $   11.00         $ 201.67   $     201.67
11/25/2018 Jose Gabriel Aguinada         $12.50   55.85   $   11.00         $ 99.06    $      99.06
 12/2/2018 Jose Gabriel Aguinada         $12.50   68.02   $   11.00         $ 175.10   $     175.10
 12/9/2018 Jose Gabriel Aguinada         $12.50   67.40   $   11.00         $ 171.25   $     171.25
12/16/2018 Jose Gabriel Aguinada         $12.50   73.65   $   11.00         $ 210.31   $     210.31
12/23/2018 Jose Gabriel Aguinada         $12.50   67.47   $   11.00         $ 171.67   $     171.67
12/30/2018 Jose Gabriel Aguinada         $12.50   52.63   $   11.00         $ 78.96    $      78.96
  1/6/2019 Jose Gabriel Aguinada         $12.50   61.62   $   12.00         $ 135.10   $     135.10
 1/13/2019 Jose Gabriel Aguinada         $12.50   70.17   $   12.00         $ 188.54   $     188.54
 1/20/2019 Jose Gabriel Aguinada         $12.50   63.40   $   12.00         $ 146.25   $     146.25
 1/27/2019 Jose Gabriel Aguinada         $12.50   63.77   $   12.00         $ 148.54   $     148.54
  2/3/2019 Jose Gabriel Aguinada         $12.50   63.52   $   12.00         $ 146.98   $     146.98
 2/10/2019 Jose Gabriel Aguinada         $12.50   71.18   $   12.00         $ 194.90   $     194.90


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  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 2/17/2019 Jose Gabriel Aguinada           $12.50   63.40   $   12.00         $ 146.25   $     146.25
 2/24/2019 Jose Gabriel Aguinada           $12.50   63.77   $   12.00         $ 148.54   $     148.54
  3/3/2019 Jose Gabriel Aguinada           $12.50   63.27   $   12.00         $ 145.42   $     145.42
 3/10/2019 Jose Gabriel Aguinada           $12.50   69.50   $   12.00         $ 184.38   $     184.38
 3/17/2019 Jose Gabriel Aguinada           $12.50   63.45   $   12.00         $ 146.56   $     146.56
 3/24/2019 Jose Gabriel Aguinada           $12.50   60.75   $   12.00         $ 129.69   $     129.69
 3/31/2019 Jose Gabriel Aguinada           $12.50   63.62   $   12.00         $ 147.60   $     147.60
  4/7/2019 Jose Gabriel Aguinada           $12.50   67.68   $   12.00         $ 173.02   $     173.02
 4/14/2019 Jose Gabriel Aguinada           $12.50   61.85   $   12.00         $ 136.56   $     136.56
 4/21/2019 Jose Gabriel Aguinada           $12.50   62.43   $   12.00         $ 140.21   $     140.21
 4/28/2019 Jose Gabriel Aguinada           $12.50   62.52   $   12.00         $ 140.73   $     140.73
  5/5/2019 Jose Gabriel Aguinada           $12.50   68.35   $   12.00         $ 177.19   $     177.19
 5/12/2019 Jose Gabriel Aguinada           $12.50   62.15   $   12.00         $ 138.44   $     138.44
 5/19/2019 Jose Gabriel Aguinada           $12.50   62.40   $   12.00         $ 140.00   $     140.00
 5/26/2019 Jose Gabriel Aguinada           $12.50   61.97   $   12.00         $ 137.29   $     137.29
  6/2/2019 Jose Gabriel Aguinada           $12.50   65.93   $   12.00         $ 162.08   $     162.08
  6/9/2019 Jose Gabriel Aguinada           $12.50   62.88   $   12.00         $ 143.02   $     143.02
 6/16/2019 Jose Gabriel Aguinada           $12.50   61.37   $   12.00         $ 133.54   $     133.54
 6/23/2019 Jose Gabriel Aguinada           $12.50   63.82   $   12.00         $ 148.85   $     148.85
 6/30/2019 Jose Gabriel Aguinada           $12.50   62.05   $   12.00         $ 137.81   $     137.81
  7/7/2019 Jose Gabriel Aguinada           $13.00   52.93   $   12.00         $ 84.07    $      84.07
 7/14/2019 Jose Gabriel Aguinada           $13.00   63.15   $   12.00         $ 150.48   $     150.48
 7/21/2019 Jose Gabriel Aguinada           $13.00   63.75   $   12.00         $ 154.38   $     154.38
 7/28/2019 Jose Gabriel Aguinada           $13.00   68.13   $   12.00         $ 182.87   $     182.87
  8/4/2019 Jose Gabriel Aguinada           $13.00   62.62   $   12.00         $ 147.01   $     147.01
 8/11/2019 Jose Gabriel Aguinada           $13.00   52.63   $   12.00         $ 82.12    $      82.12
 8/18/2019 Jose Gabriel Aguinada           $13.00   64.27   $   12.00         $ 157.73   $     157.73
 8/25/2019 Jose Gabriel Aguinada           $13.00   67.53   $   12.00         $ 178.97   $     178.97
  9/1/2019 Jose Gabriel Aguinada           $13.00   65.17   $   12.00         $ 163.58   $     163.58
  9/8/2019 Jose Gabriel Aguinada           $13.00   62.80   $   12.00         $ 148.20   $     148.20
 9/15/2019 Jose Gabriel Aguinada           $13.00   62.42   $   12.00         $ 145.71   $     145.71
 9/22/2019 Jose Gabriel Aguinada           $13.00   67.43   $   12.00         $ 178.32   $     178.32
 9/29/2019 Jose Gabriel Aguinada           $13.00   62.07   $   12.00         $ 143.43   $     143.43
 10/6/2019 Jose Gabriel Aguinada           $13.00   63.20   $   12.00         $ 150.80   $     150.80
10/13/2019 Jose Gabriel Aguinada           $13.00   63.30   $   12.00         $ 151.45   $     151.45
10/20/2019 Jose Gabriel Aguinada           $13.00   68.03   $   12.00         $ 182.22   $     182.22
10/27/2019 Jose Gabriel Aguinada           $13.00   61.90   $   12.00         $ 142.35   $     142.35
 11/3/2019 Jose Gabriel Aguinada           $13.00   52.12   $   12.00         $ 78.76    $      78.76
11/10/2019 Jose Gabriel Aguinada           $13.00   62.70   $   12.00         $ 147.55   $     147.55
11/17/2019 Jose Gabriel Aguinada           $13.00   47.90   $   12.00         $ 51.35    $      51.35
11/24/2019 Jose Gabriel Aguinada           $13.00   63.08   $   12.00         $ 150.04   $     150.04
 12/1/2019 Jose Gabriel Aguinada           $13.00   53.43   $   12.00         $ 87.32    $      87.32
 12/8/2019 Jose Gabriel Aguinada           $13.00   62.83   $   12.00         $ 148.42   $     148.42
12/15/2019 Jose Gabriel Aguinada           $13.00   63.90   $   12.00         $ 155.35   $     155.35
12/22/2019 Jose Gabriel Aguinada           $13.00   65.88   $   12.00         $ 168.24   $     168.24
12/29/2019 Jose Gabriel Aguinada           $13.00   53.08   $   12.00         $ 85.04    $      85.04
  1/5/2020 Jose Gabriel Aguinada           $13.00   62.73   $   13.00         $ 147.77   $     147.77
 1/12/2020 Jose Gabriel Aguinada           $13.00   64.35   $   13.00         $ 158.28   $     158.28
 1/19/2020 Jose Gabriel Aguinada           $13.00   64.00   $   13.00         $ 156.00   $     156.00
 1/26/2020 Jose Gabriel Aguinada           $13.00   53.18   $   13.00         $ 85.69    $      85.69
 5/20/2018 Jose Javier Ruiz Murcia         $12.00   49.02   $   11.00         $ 54.10    $      54.10
 5/27/2018 Jose Javier Ruiz Murcia         $12.00   58.43   $   11.00         $ 110.60   $     110.60


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  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

  6/3/2018 Jose Javier Ruiz Murcia         $12.00   66.33   $   11.00         $ 158.00   $     158.00
 6/10/2018 Jose Javier Ruiz Murcia         $12.00   53.10   $   11.00         $ 78.60    $      78.60
 6/17/2018 Jose Javier Ruiz Murcia         $12.00   65.25   $   11.00         $ 151.50   $     151.50
 6/24/2018 Jose Javier Ruiz Murcia         $12.00   48.58   $   11.00         $ 51.50    $      51.50
  7/1/2018 Jose Javier Ruiz Murcia         $12.00   58.73   $   11.00         $ 112.40   $     112.40
  7/8/2018 Jose Javier Ruiz Murcia         $12.00   50.93   $   11.00         $ 65.60    $      65.60
 7/15/2018 Jose Javier Ruiz Murcia         $12.00   49.78   $   11.00         $ 58.70    $      58.70
 7/22/2018 Jose Javier Ruiz Murcia         $12.00   60.55   $   11.00         $ 123.30   $     123.30
 7/29/2018 Jose Javier Ruiz Murcia         $12.00   59.78   $   11.00         $ 118.70   $     118.70
  8/5/2018 Jose Javier Ruiz Murcia         $12.00   60.63   $   11.00         $ 123.80   $     123.80
 8/12/2018 Jose Javier Ruiz Murcia         $12.00   52.28   $   11.00         $ 73.70    $      73.70
 8/19/2018 Jose Javier Ruiz Murcia         $12.00   59.88   $   11.00         $ 119.30   $     119.30
 8/26/2018 Jose Javier Ruiz Murcia         $12.00   60.57   $   11.00         $ 123.40   $     123.40
  9/2/2018 Jose Javier Ruiz Murcia         $12.00   65.38   $   11.00         $ 152.30   $     152.30
  9/9/2018 Jose Javier Ruiz Murcia         $12.00   60.45   $   11.00         $ 122.70   $     122.70
 9/16/2018 Jose Javier Ruiz Murcia         $12.00   59.97   $   11.00         $ 119.80   $     119.80
 9/23/2018 Jose Javier Ruiz Murcia         $12.00   60.22   $   11.00         $ 121.30   $     121.30
 9/30/2018 Jose Javier Ruiz Murcia         $12.00   65.78   $   11.00         $ 154.70   $     154.70
10/14/2018 Jose Javier Ruiz Murcia         $12.00   60.33   $   11.00         $ 122.00   $     122.00
10/21/2018 Jose Javier Ruiz Murcia         $12.00   49.92   $   11.00         $ 59.50    $      59.50
10/28/2018 Jose Javier Ruiz Murcia         $12.00   65.73   $   11.00         $ 154.40   $     154.40
 11/4/2018 Jose Javier Ruiz Murcia         $12.00   63.13   $   11.00         $ 138.80   $     138.80
11/11/2018 Jose Javier Ruiz Murcia         $12.00   56.78   $   11.00         $ 100.70   $     100.70
11/18/2018 Jose Javier Ruiz Murcia         $12.00   55.10   $   11.00         $ 90.60    $      90.60
 12/2/2018 Jose Javier Ruiz Murcia         $12.00   57.85   $   11.00         $ 107.10   $     107.10
 12/9/2018 Jose Javier Ruiz Murcia         $12.00   46.90   $   11.00         $ 41.40    $      41.40
12/23/2018 Jose Javier Ruiz Murcia         $12.00   56.85   $   11.00         $ 101.10   $     101.10
 1/27/2019 Jose Javier Ruiz Murcia         $12.00   55.97   $   12.00         $ 95.80    $      95.80
  2/3/2019 Jose Javier Ruiz Murcia         $12.00   55.38   $   12.00         $ 92.30    $      92.30
 2/17/2019 Jose Javier Ruiz Murcia         $12.00   58.20   $   12.00         $ 109.20   $     109.20
 2/24/2019 Jose Javier Ruiz Murcia         $12.00   46.13   $   12.00         $ 36.80    $      36.80
 3/10/2019 Jose Javier Ruiz Murcia         $12.00   57.03   $   12.00         $ 102.20   $     102.20
  4/7/2019 Jose Javier Ruiz Murcia         $12.00   46.42   $   12.00         $ 38.50    $      38.50
 4/14/2019 Jose Javier Ruiz Murcia         $12.00   46.93   $   12.00         $ 41.60    $      41.60
 4/28/2019 Jose Javier Ruiz Murcia         $12.00   55.17   $   12.00         $ 91.00    $      91.00
 5/12/2019 Jose Javier Ruiz Murcia         $12.00   54.30   $   12.00         $ 85.80    $      85.80
 5/19/2019 Jose Javier Ruiz Murcia         $12.00   53.92   $   12.00         $ 83.50    $      83.50
 5/26/2019 Jose Javier Ruiz Murcia         $12.00   53.42   $   12.00         $ 80.50    $      80.50
  6/2/2019 Jose Javier Ruiz Murcia         $12.00   44.80   $   12.00         $ 28.80    $      28.80
  6/9/2019 Jose Javier Ruiz Murcia         $12.00   45.18   $   12.00         $ 31.10    $      31.10
 6/16/2019 Jose Javier Ruiz Murcia         $12.00   54.58   $   12.00         $ 87.50    $      87.50
 6/23/2019 Jose Javier Ruiz Murcia         $12.00   54.35   $   12.00         $ 86.10    $      86.10
 6/30/2019 Jose Javier Ruiz Murcia         $12.00   55.18   $   12.00         $ 91.10    $      91.10
 7/14/2019 Jose Javier Ruiz Murcia         $13.00   50.70   $   12.00         $ 69.55    $      69.55
 7/21/2019 Jose Javier Ruiz Murcia         $13.00   51.28   $   12.00         $ 73.34    $      73.34
 7/28/2019 Jose Javier Ruiz Murcia         $13.00   51.67   $   12.00         $ 75.83    $      75.83
  8/4/2019 Jose Javier Ruiz Murcia         $13.00   52.70   $   12.00         $ 82.55    $      82.55
 8/11/2019 Jose Javier Ruiz Murcia         $13.00   43.43   $   12.00         $ 22.32    $      22.32
 8/18/2019 Jose Javier Ruiz Murcia         $13.00   55.70   $   12.00         $ 102.05   $     102.05
 8/25/2019 Jose Javier Ruiz Murcia         $13.00   55.67   $   12.00         $ 101.83   $     101.83
  9/8/2019 Jose Javier Ruiz Murcia         $13.00   55.02   $   12.00         $ 97.61    $      97.61
 9/15/2019 Jose Javier Ruiz Murcia         $13.00   58.13   $   12.00         $ 117.87   $     117.87


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                                     Long Island Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 9/22/2019 Jose Javier Ruiz Murcia         $13.00   47.78   $   12.00         $ 50.59    $      50.59
 9/29/2019 Jose Javier Ruiz Murcia         $13.00   57.15   $   12.00         $ 111.48   $     111.48
 10/6/2019 Jose Javier Ruiz Murcia         $13.00   57.33   $   12.00         $ 112.67   $     112.67
10/13/2019 Jose Javier Ruiz Murcia         $13.00   57.70   $   12.00         $ 115.05   $     115.05
10/20/2019 Jose Javier Ruiz Murcia         $13.00   40.87   $   12.00         $   5.63   $       5.63
10/27/2019 Jose Javier Ruiz Murcia         $13.00   48.95   $   12.00         $ 58.18    $      58.18
 11/3/2019 Jose Javier Ruiz Murcia         $13.00   57.32   $   12.00         $ 112.56   $     112.56
11/10/2019 Jose Javier Ruiz Murcia         $13.00   57.28   $   12.00         $ 112.34   $     112.34
11/17/2019 Jose Javier Ruiz Murcia         $13.00   57.88   $   12.00         $ 116.24   $     116.24
11/24/2019 Jose Javier Ruiz Murcia         $13.00   57.73   $   12.00         $ 115.27   $     115.27
 12/1/2019 Jose Javier Ruiz Murcia         $13.00   48.08   $   12.00         $ 52.54    $      52.54
 12/8/2019 Jose Javier Ruiz Murcia         $13.00   54.73   $   12.00         $ 95.77    $      95.77
12/15/2019 Jose Javier Ruiz Murcia         $13.00   58.22   $   12.00         $ 118.41   $     118.41
12/22/2019 Jose Javier Ruiz Murcia         $13.00   48.05   $   12.00         $ 52.33    $      52.33
12/29/2019 Jose Javier Ruiz Murcia         $13.00   43.93   $   12.00         $ 25.57    $      25.57
  1/5/2020 Jose Javier Ruiz Murcia         $13.00   53.45   $   13.00         $ 87.43    $      87.43
 1/12/2020 Jose Javier Ruiz Murcia         $13.00   57.50   $   13.00         $ 113.75   $     113.75
 1/19/2020 Jose Javier Ruiz Murcia         $13.00   57.53   $   13.00         $ 113.97   $     113.97
 1/26/2020 Jose Javier Ruiz Murcia         $13.00   47.88   $   13.00         $ 51.24    $      51.24
 6/16/2019 Jose Lopez Rivera               $12.00   57.42   $   12.00         $ 104.50   $     104.50
 6/23/2019 Jose Lopez Rivera               $12.00   57.45   $   12.00         $ 104.70   $     104.70
 6/30/2019 Jose Lopez Rivera               $12.00   60.12   $   12.00         $ 120.70   $     120.70
 7/21/2019 Jose Lopez Rivera               $13.00   55.85   $   12.00         $ 103.03   $     103.03
 7/28/2019 Jose Lopez Rivera               $13.00   55.07   $   12.00         $ 97.93    $      97.93
  8/4/2019 Jose Lopez Rivera               $13.00   54.92   $   12.00         $ 96.96    $      96.96
 8/11/2019 Jose Lopez Rivera               $13.00   45.63   $   12.00         $ 36.62    $      36.62
 8/18/2019 Jose Lopez Rivera               $13.00   54.28   $   12.00         $ 92.84    $      92.84
 8/25/2019 Jose Lopez Rivera               $13.00   44.40   $   12.00         $ 28.60    $      28.60
  9/1/2019 Jose Lopez Rivera               $13.00   53.00   $   12.00         $ 84.50    $      84.50
  9/8/2019 Jose Lopez Rivera               $13.00   46.97   $   12.00         $ 45.28    $      45.28
 9/15/2019 Jose Lopez Rivera               $13.00   46.58   $   12.00         $ 42.79    $      42.79
12/29/2019 Jose Lopez Rivera               $13.00   42.82   $   12.00         $ 18.31    $      18.31
  1/5/2020 Jose Lopez Rivera               $13.00   47.08   $   13.00         $ 46.04    $      46.04
  7/7/2019 Jose Luis Merino Munoz          $13.00   51.40   $   12.00         $ 74.10    $      74.10
 7/14/2019 Jose Luis Merino Munoz          $13.00   61.75   $   12.00         $ 141.38   $     141.38
 7/21/2019 Jose Luis Merino Munoz          $13.00   66.43   $   12.00         $ 171.82   $     171.82
 7/28/2019 Jose Luis Merino Munoz          $13.00   61.00   $   12.00         $ 136.50   $     136.50
  8/4/2019 Jose Luis Merino Munoz          $13.00   67.33   $   12.00         $ 177.67   $     177.67
 8/11/2019 Jose Luis Merino Munoz          $13.00   51.97   $   12.00         $ 77.78    $      77.78
 8/18/2019 Jose Luis Merino Munoz          $13.00   66.92   $   12.00         $ 174.96   $     174.96
 8/25/2019 Jose Luis Merino Munoz          $13.00   50.08   $   12.00         $ 65.54    $      65.54
  9/1/2019 Jose Luis Merino Munoz          $13.00   68.03   $   12.00         $ 182.22   $     182.22
  9/8/2019 Jose Luis Merino Munoz          $13.00   59.73   $   12.00         $ 128.27   $     128.27
 9/15/2019 Jose Luis Merino Munoz          $13.00   65.17   $   12.00         $ 163.58   $     163.58
 9/22/2019 Jose Luis Merino Munoz          $13.00   60.72   $   12.00         $ 134.66   $     134.66
 9/29/2019 Jose Luis Merino Munoz          $13.00   66.63   $   12.00         $ 173.12   $     173.12
 10/6/2019 Jose Luis Merino Munoz          $13.00   58.82   $   12.00         $ 122.31   $     122.31
10/13/2019 Jose Luis Merino Munoz          $13.00   57.23   $   12.00         $ 112.02   $     112.02
10/20/2019 Jose Luis Merino Munoz          $13.00   60.95   $   12.00         $ 136.18   $     136.18
10/27/2019 Jose Luis Merino Munoz          $13.00   66.42   $   12.00         $ 171.71   $     171.71
 11/3/2019 Jose Luis Merino Munoz          $13.00   52.65   $   12.00         $ 82.23    $      82.23
11/10/2019 Jose Luis Merino Munoz          $13.00   69.55   $   12.00         $ 192.08   $     192.08


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                                    Long Island Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                     Name                        Minimum  Regular Half-Time Overtime Back
                                           Rate Week
  Date                                                   Wage   Rate Due     Due       Wages Due

11/17/2019 Jose Luis Merino Munoz         $13.00   64.53   $   12.00         $ 159.47   $     159.47
11/24/2019 Jose Luis Merino Munoz         $13.00   65.63   $   12.00         $ 166.62   $     166.62
 12/1/2019 Jose Luis Merino Munoz         $13.00   51.67   $   12.00         $ 75.83    $      75.83
 12/8/2019 Jose Luis Merino Munoz         $13.00   56.50   $   12.00         $ 107.25   $     107.25
12/15/2019 Jose Luis Merino Munoz         $13.00   62.07   $   12.00         $ 143.43   $     143.43
12/22/2019 Jose Luis Merino Munoz         $13.00   63.60   $   12.00         $ 153.40   $     153.40
12/29/2019 Jose Luis Merino Munoz         $13.00   48.32   $   12.00         $ 54.06    $      54.06
  1/5/2020 Jose Luis Merino Munoz         $13.00   58.68   $   13.00         $ 121.44   $     121.44
 1/12/2020 Jose Luis Merino Munoz         $13.00   62.82   $   13.00         $ 148.31   $     148.31
 1/19/2020 Jose Luis Merino Munoz         $13.00   64.97   $   13.00         $ 162.28   $     162.28
 1/26/2020 Jose Luis Merino Munoz         $13.00   53.37   $   13.00         $ 86.88    $      86.88
 7/23/2017 Jose Merino Munoz              $12.00   61.55   $   10.00         $ 129.30   $     129.30
 7/30/2017 Jose Merino Munoz              $12.00   65.80   $   10.00         $ 154.80   $     154.80
  8/6/2017 Jose Merino Munoz              $12.00   68.47   $   10.00         $ 170.80   $     170.80
 8/13/2017 Jose Merino Munoz              $12.00   49.55   $   10.00         $ 57.30    $      57.30
 8/20/2017 Jose Merino Munoz              $12.00   58.58   $   10.00         $ 111.50   $     111.50
 8/27/2017 Jose Merino Munoz              $12.00   60.33   $   10.00         $ 122.00   $     122.00
  9/3/2017 Jose Merino Munoz              $12.00   60.43   $   10.00         $ 122.60   $     122.60
 9/10/2017 Jose Merino Munoz              $12.00   60.45   $   10.00         $ 122.70   $     122.70
 9/17/2017 Jose Merino Munoz              $12.00   61.02   $   10.00         $ 126.10   $     126.10
 9/24/2017 Jose Merino Munoz              $12.00   66.38   $   10.00         $ 158.30   $     158.30
 10/1/2017 Jose Merino Munoz              $12.00   60.55   $   10.00         $ 123.30   $     123.30
 10/8/2017 Jose Merino Munoz              $12.00   60.08   $   10.00         $ 120.50   $     120.50
10/15/2017 Jose Merino Munoz              $12.00   59.27   $   10.00         $ 115.60   $     115.60
10/22/2017 Jose Merino Munoz              $12.00   55.68   $   10.00         $ 94.10    $      94.10
10/29/2017 Jose Merino Munoz              $12.00   50.37   $   10.00         $ 62.20    $      62.20
 11/5/2017 Jose Merino Munoz              $12.00   60.18   $   10.00         $ 121.10   $     121.10
11/12/2017 Jose Merino Munoz              $12.00   65.85   $   10.00         $ 155.10   $     155.10
11/19/2017 Jose Merino Munoz              $12.00   65.60   $   10.00         $ 153.60   $     153.60
11/26/2017 Jose Merino Munoz              $12.00   51.00   $   10.00         $ 66.00    $      66.00
 12/3/2017 Jose Merino Munoz              $12.00   61.48   $   10.00         $ 128.90   $     128.90
12/10/2017 Jose Merino Munoz              $12.00   66.10   $   10.00         $ 156.60   $     156.60
12/17/2017 Jose Merino Munoz              $12.00   65.92   $   10.00         $ 155.50   $     155.50
12/24/2017 Jose Merino Munoz              $12.00   61.08   $   10.00         $ 126.50   $     126.50
12/31/2017 Jose Merino Munoz              $12.00   50.78   $   11.00         $ 64.70    $      64.70
  1/7/2018 Jose Merino Munoz              $12.00   52.87   $   11.00         $ 77.20    $      77.20
 1/14/2018 Jose Merino Munoz              $12.00   65.08   $   11.00         $ 150.50   $     150.50
 1/21/2018 Jose Merino Munoz              $12.00   60.10   $   11.00         $ 120.60   $     120.60
 1/28/2018 Jose Merino Munoz              $12.00   59.98   $   11.00         $ 119.90   $     119.90
  2/4/2018 Jose Merino Munoz              $12.00   65.83   $   11.00         $ 155.00   $     155.00
 2/11/2018 Jose Merino Munoz              $12.00   65.65   $   11.00         $ 153.90   $     153.90
 2/18/2018 Jose Merino Munoz              $12.00   61.37   $   11.00         $ 128.20   $     128.20
 2/25/2018 Jose Merino Munoz              $12.00   58.82   $   11.00         $ 112.90   $     112.90
  3/4/2018 Jose Merino Munoz              $12.00   67.17   $   11.00         $ 163.00   $     163.00
 3/25/2018 Jose Merino Munoz              $12.00   61.80   $   11.00         $ 130.80   $     130.80
  4/1/2018 Jose Merino Munoz              $12.00   61.45   $   11.00         $ 128.70   $     128.70
  4/8/2018 Jose Merino Munoz              $12.00   61.38   $   11.00         $ 128.30   $     128.30
 4/15/2018 Jose Merino Munoz              $12.00   61.13   $   11.00         $ 126.80   $     126.80
 4/22/2018 Jose Merino Munoz              $12.00   61.00   $   11.00         $ 126.00   $     126.00
 4/29/2018 Jose Merino Munoz              $12.00   66.65   $   11.00         $ 159.90   $     159.90
  5/6/2018 Jose Merino Munoz              $12.00   60.13   $   11.00         $ 120.80   $     120.80
 5/13/2018 Jose Merino Munoz              $12.00   59.53   $   11.00         $ 117.20   $     117.20


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  Week                                                  State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
 Ending                    Name                       Minimum  Regular Half-Time Overtime Back
                                         Rate Week
  Date                                                 Wage   Rate Due     Due       Wages Due

 5/20/2018 Jose Merino Munoz            $12.00   60.30   $   11.00         $ 121.80   $     121.80
 5/27/2018 Jose Merino Munoz            $12.00   66.63   $   11.00         $ 159.80   $     159.80
  6/3/2018 Jose Merino Munoz            $12.00   60.87   $   11.00         $ 125.20   $     125.20
 6/10/2018 Jose Merino Munoz            $12.00   56.25   $   11.00         $ 97.50    $      97.50
 6/17/2018 Jose Merino Munoz            $12.00   61.32   $   11.00         $ 127.90   $     127.90
 6/24/2018 Jose Merino Munoz            $12.00   66.27   $   11.00         $ 157.60   $     157.60
  7/1/2018 Jose Merino Munoz            $12.00   61.10   $   11.00         $ 126.60   $     126.60
  7/8/2018 Jose Merino Munoz            $12.00   51.40   $   11.00         $ 68.40    $      68.40
 7/15/2018 Jose Merino Munoz            $12.00   60.28   $   11.00         $ 121.70   $     121.70
 7/22/2018 Jose Merino Munoz            $12.00   59.35   $   11.00         $ 116.10   $     116.10
 7/29/2018 Jose Merino Munoz            $12.00   65.65   $   11.00         $ 153.90   $     153.90
  8/5/2018 Jose Merino Munoz            $12.00   60.50   $   11.00         $ 123.00   $     123.00
 8/12/2018 Jose Merino Munoz            $12.00   60.80   $   11.00         $ 124.80   $     124.80
 8/19/2018 Jose Merino Munoz            $12.00   65.62   $   11.00         $ 153.70   $     153.70
 8/26/2018 Jose Merino Munoz            $12.00   56.63   $   11.00         $ 99.80    $      99.80
  9/2/2018 Jose Merino Munoz            $12.00   60.58   $   11.00         $ 123.50   $     123.50
  9/9/2018 Jose Merino Munoz            $12.00   60.30   $   11.00         $ 121.80   $     121.80
 9/16/2018 Jose Merino Munoz            $12.00   66.22   $   11.00         $ 157.30   $     157.30
 9/23/2018 Jose Merino Munoz            $12.00   60.25   $   11.00         $ 121.50   $     121.50
 9/30/2018 Jose Merino Munoz            $12.00   65.92   $   11.00         $ 155.50   $     155.50
 10/7/2018 Jose Merino Munoz            $12.00   55.27   $   11.00         $ 91.60    $      91.60
10/14/2018 Jose Merino Munoz            $12.00   65.08   $   11.00         $ 150.50   $     150.50
10/21/2018 Jose Merino Munoz            $12.00   60.17   $   11.00         $ 121.00   $     121.00
10/28/2018 Jose Merino Munoz            $12.00   60.78   $   11.00         $ 124.70   $     124.70
 11/4/2018 Jose Merino Munoz            $12.00   62.02   $   11.00         $ 132.10   $     132.10
11/11/2018 Jose Merino Munoz            $12.00   66.17   $   11.00         $ 157.00   $     157.00
11/18/2018 Jose Merino Munoz            $12.00   61.07   $   11.00         $ 126.40   $     126.40
11/25/2018 Jose Merino Munoz            $12.00   50.13   $   11.00         $ 60.80    $      60.80
 12/2/2018 Jose Merino Munoz            $12.00   60.15   $   11.00         $ 120.90   $     120.90
 12/9/2018 Jose Merino Munoz            $12.00   56.55   $   11.00         $ 99.30    $      99.30
12/16/2018 Jose Merino Munoz            $12.00   61.35   $   11.00         $ 128.10   $     128.10
12/23/2018 Jose Merino Munoz            $12.00   61.00   $   11.00         $ 126.00   $     126.00
12/30/2018 Jose Merino Munoz            $12.00   46.50   $   11.00         $ 39.00    $      39.00
  1/6/2019 Jose Merino Munoz            $12.00   65.67   $   12.00         $ 154.00   $     154.00
 1/13/2019 Jose Merino Munoz            $12.00   61.12   $   12.00         $ 126.70   $     126.70
 1/20/2019 Jose Merino Munoz            $12.00   56.03   $   12.00         $ 96.20    $      96.20
 1/27/2019 Jose Merino Munoz            $12.00   61.45   $   12.00         $ 128.70   $     128.70
  2/3/2019 Jose Merino Munoz            $12.00   67.37   $   12.00         $ 164.20   $     164.20
 2/10/2019 Jose Merino Munoz            $12.00   51.17   $   12.00         $ 67.00    $      67.00
 2/17/2019 Jose Merino Munoz            $12.00   61.15   $   12.00         $ 126.90   $     126.90
 2/24/2019 Jose Merino Munoz            $12.00   61.32   $   12.00         $ 127.90   $     127.90
  3/3/2019 Jose Merino Munoz            $12.00   68.58   $   12.00         $ 171.50   $     171.50
 3/10/2019 Jose Merino Munoz            $12.00   60.67   $   12.00         $ 124.00   $     124.00
 3/17/2019 Jose Merino Munoz            $12.00   61.52   $   12.00         $ 129.10   $     129.10
 3/24/2019 Jose Merino Munoz            $12.00   60.47   $   12.00         $ 122.80   $     122.80
 3/31/2019 Jose Merino Munoz            $12.00   67.40   $   12.00         $ 164.40   $     164.40
  4/7/2019 Jose Merino Munoz            $12.00   65.37   $   12.00         $ 152.20   $     152.20
 4/14/2019 Jose Merino Munoz            $12.00   70.13   $   12.00         $ 180.80   $     180.80
 4/21/2019 Jose Merino Munoz            $12.00   65.52   $   12.00         $ 153.10   $     153.10
 4/28/2019 Jose Merino Munoz            $12.00   66.03   $   12.00         $ 156.20   $     156.20
  5/5/2019 Jose Merino Munoz            $12.00   62.12   $   12.00         $ 132.70   $     132.70
 5/12/2019 Jose Merino Munoz            $12.00   65.73   $   12.00         $ 154.40   $     154.40


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                                    Long Island Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                      Name                       Minimum  Regular Half-Time Overtime Back
                                           Rate Week
  Date                                                   Wage   Rate Due     Due       Wages Due

 5/26/2019 Jose Merino Munoz              $12.00   66.12   $   12.00               $ 156.70   $   156.70
  6/2/2019 Jose Merino Munoz              $12.00   59.42   $   12.00               $ 116.50   $   116.50
  6/9/2019 Jose Merino Munoz              $12.00   61.70   $   12.00               $ 130.20   $   130.20
 6/16/2019 Jose Merino Munoz              $12.00   60.32   $   12.00               $ 121.90   $   121.90
 6/23/2019 Jose Merino Munoz              $12.00   67.15   $   12.00               $ 162.90   $   162.90
 6/30/2019 Jose Merino Munoz              $12.00   63.73   $   12.00               $ 142.40   $   142.40
  2/5/2017 Jose Rafael Liriano            $10.50   55.85   $   10.00               $ 83.21    $    83.21
 2/12/2017 Jose Rafael Liriano            $10.50   51.78   $   10.00               $ 61.86    $    61.86
 2/19/2017 Jose Rafael Liriano            $10.50   40.57   $   10.00               $   2.97   $     2.97
 2/26/2017 Jose Rafael Liriano            $10.50   57.78   $   10.00               $ 93.36    $    93.36
  3/5/2017 Jose Rafael Liriano            $10.50   56.37   $   10.00               $ 85.93    $    85.93
 3/12/2017 Jose Rafael Liriano            $10.50   54.43   $   10.00               $ 75.78    $    75.78
 3/19/2017 Jose Rafael Liriano            $10.50   44.78   $   10.00               $ 25.11    $    25.11
 3/26/2017 Jose Rafael Liriano            $10.50   55.50   $   10.00               $ 81.37    $    81.37
  4/2/2017 Jose Rafael Liriano            $10.50   61.45   $   10.00               $ 112.61   $   112.61
  4/9/2017 Jose Rafael Liriano            $10.50   57.17   $   10.00               $ 90.12    $    90.12
 4/16/2017 Jose Rafael Liriano            $10.50   58.98   $   10.00               $ 99.66    $    99.66
 4/23/2017 Jose Rafael Liriano            $10.50   57.48   $   10.00               $ 91.79    $    91.79
 4/30/2017 Jose Rafael Liriano            $10.50   57.35   $   10.00               $ 91.09    $    91.09
  5/7/2017 Jose Rafael Liriano            $10.50   54.50   $   10.00               $ 76.13    $    76.13
 5/14/2017 Jose Rafael Liriano            $10.50   56.23   $   10.00               $ 85.23    $    85.23
 5/21/2017 Jose Rafael Liriano            $10.50   58.78   $   10.00               $ 98.61    $    98.61
 5/28/2017 Jose Rafael Liriano            $10.50   61.92   $   10.00               $ 115.06   $   115.06
  6/4/2017 Jose Rafael Liriano            $10.50   50.67   $   10.00               $ 56.00    $    56.00
 6/11/2017 Jose Rafael Liriano            $10.50   60.72   $   10.00               $ 108.76   $   108.76
 6/18/2017 Jose Rafael Liriano            $10.50   55.00   $   10.00               $ 78.75    $    78.75
 6/25/2017 Jose Rafael Liriano            $10.50   55.28   $   10.00               $ 80.24    $    80.24
  7/2/2017 Jose Rafael Liriano            $10.50   64.73   $   10.00               $ 129.85   $   129.85
  7/9/2017 Jose Rafael Liriano            $10.50   49.10   $   10.00               $ 47.78    $    47.78
 7/16/2017 Jose Rafael Liriano            $10.50   58.05   $   10.00               $ 94.76    $    94.76
 7/23/2017 Jose Rafael Liriano            $10.50   61.18   $   10.00               $ 111.21   $   111.21
 7/30/2017 Jose Rafael Liriano            $10.50   61.03   $   10.00               $ 110.43   $   110.43
  8/6/2017 Jose Rafael Liriano            $10.50   59.75   $   10.00               $ 103.69   $   103.69
 8/13/2017 Jose Rafael Liriano            $10.50   55.92   $   10.00               $ 83.56    $    83.56
 8/20/2017 Jose Rafael Liriano            $10.50   57.00   $   10.00               $ 89.25    $    89.25
 8/27/2017 Jose Rafael Liriano            $10.50   57.88   $   10.00               $ 93.89    $    93.89
  9/3/2017 Jose Rafael Liriano            $10.50   58.37   $   10.00               $ 96.43    $    96.43
 9/10/2017 Jose Rafael Liriano            $10.50   50.65   $   10.00               $ 55.91    $    55.91
 9/17/2017 Jose Rafael Liriano            $10.50   62.98   $   10.00               $ 120.66   $   120.66
 9/24/2017 Jose Rafael Liriano            $10.50   59.73   $   10.00               $ 103.60   $   103.60
 10/1/2017 Jose Rafael Liriano            $10.50   63.50   $   10.00               $ 123.38   $   123.38
 10/8/2017 Jose Rafael Liriano            $10.50   46.88   $   10.00               $ 36.14    $    36.14
10/15/2017 Jose Rafael Liriano            $10.50   58.58   $   10.00               $ 97.56    $    97.56
10/22/2017 Jose Rafael Liriano            $10.50   59.82   $   10.00               $ 104.04   $   104.04
10/29/2017 Jose Rafael Liriano            $10.50   64.78   $   10.00               $ 130.11   $   130.11
 11/5/2017 Jose Rafael Liriano            $10.50   57.50   $   10.00               $ 91.88    $    91.88
11/12/2017 Jose Rafael Liriano            $10.50   60.23   $   10.00               $ 106.23   $   106.23
11/19/2017 Jose Rafael Liriano            $10.50   57.42   $   10.00               $ 91.44    $    91.44
12/10/2017 Jose Rafael Liriano            $10.50   54.22   $   10.00               $ 74.64    $    74.64
12/17/2017 Jose Rafael Liriano            $10.50   56.23   $   10.00               $ 85.23    $    85.23
12/24/2017 Jose Rafael Liriano            $10.50   57.18   $   10.00               $ 90.21    $    90.21
12/31/2017 Jose Rafael Liriano            $10.50   51.62   $   11.00   $   25.81   $ 63.89    $    89.70


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                                        Long Island Computations


  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                          Name                       Minimum  Regular Half-Time Overtime Back
                                               Rate Week
  Date                                                       Wage   Rate Due     Due       Wages Due

  1/7/2018 Jose Rafael Liriano                $10.50   42.60   $   11.00   $   21.30   $ 14.30    $    35.60
 1/14/2018 Jose Rafael Liriano                $10.50   56.35   $   11.00   $   28.18   $ 89.93    $   118.10
 1/21/2018 Jose Rafael Liriano                $10.50   53.10   $   11.00   $   26.55   $ 72.05    $    98.60
 1/28/2018 Jose Rafael Liriano                $10.50   52.90   $   11.00   $   26.45   $ 70.95    $    97.40
  2/4/2018 Jose Rafael Liriano                $10.50   53.55   $   11.00   $   26.78   $ 74.53    $   101.30
 2/11/2018 Jose Rafael Liriano                $10.50   53.92   $   11.00   $   26.96   $ 76.54    $   103.50
 2/18/2018 Jose Rafael Liriano                $10.50   57.88   $   11.00   $   28.94   $ 98.36    $   127.30
 2/25/2018 Jose Rafael Liriano                $10.50   56.40   $   11.00   $   28.20   $ 90.20    $   118.40
  3/4/2018 Jose Rafael Liriano                $10.50   49.65   $   11.00   $   24.83   $ 53.08    $    77.90
 3/25/2018 Jose Rafael Liriano                $10.50   41.42   $   11.00   $   20.71   $   7.79   $    28.50
  4/1/2018 Jose Rafael Liriano                $10.50   61.68   $   11.00   $   30.84   $ 119.26   $   150.10
  4/8/2018 Jose Rafael Liriano                $10.50   51.53   $   11.00   $   25.77   $ 63.43    $    89.20
 4/15/2018 Jose Rafael Liriano                $10.50   57.75   $   11.00   $   28.88   $ 97.63    $   126.50
 4/22/2018 Jose Rafael Liriano                $10.50   58.75   $   11.00   $   29.38   $ 103.13   $   132.50
 4/29/2018 Jose Rafael Liriano                $10.50   57.22   $   11.00   $   28.61   $ 94.69    $   123.30
  5/6/2018 Jose Rafael Liriano                $10.50   57.00   $   11.00   $   28.50   $ 93.50    $   122.00
 5/13/2018 Jose Rafael Liriano                $10.50   58.32   $   11.00   $   29.16   $ 100.74   $   129.90
 5/20/2018 Jose Rafael Liriano                $10.50   56.90   $   11.00   $   28.45   $ 92.95    $   121.40
 5/27/2018 Jose Rafael Liriano                $10.50   56.63   $   11.00   $   28.32   $ 91.48    $   119.80
  6/3/2018 Jose Rafael Liriano                $10.50   52.45   $   11.00   $   26.23   $ 68.47    $    94.70
 6/10/2018 Jose Rafael Liriano                $10.50   58.72   $   11.00   $   29.36   $ 102.94   $   132.30
 6/17/2018 Jose Rafael Liriano                $10.50   50.73   $   11.00   $   25.37   $ 59.03    $    84.40
 6/24/2018 Jose Rafael Liriano                $10.50   52.75   $   11.00   $   26.38   $ 70.13    $    96.50
  7/1/2018 Jose Rafael Liriano                $10.50   49.87   $   11.00   $   24.93   $ 54.27    $    79.20
 7/15/2018 Jose Rafael Liriano                $10.50   59.10   $   11.00   $   29.55   $ 105.05   $   134.60
 7/22/2018 Jose Rafael Liriano                $10.50   59.07   $   11.00   $   29.53   $ 104.87   $   134.40
 7/29/2018 Jose Rafael Liriano                $10.50   53.97   $   11.00   $   26.98   $ 76.82    $   103.80
  8/5/2018 Jose Rafael Liriano                $10.50   59.82   $   11.00   $   29.91   $ 108.99   $   138.90
 8/12/2018 Jose Rafael Liriano                $10.50   57.08   $   11.00   $   28.54   $ 93.96    $   122.50
 8/19/2018 Jose Rafael Liriano                $10.50   56.47   $   11.00   $   28.23   $ 90.57    $   118.80
 8/26/2018 Jose Rafael Liriano                $10.50   54.85   $   11.00   $   27.43   $ 81.68    $   109.10
  9/2/2018 Jose Rafael Liriano                $10.50   58.60   $   11.00   $   29.30   $ 102.30   $   131.60
  9/9/2018 Jose Rafael Liriano                $10.50   46.92   $   11.00   $   23.46   $ 38.04    $    61.50
 9/16/2018 Jose Rafael Liriano                $10.50   57.15   $   11.00   $   28.58   $ 94.33    $   122.90
 9/23/2018 Jose Rafael Liriano                $10.50   59.82   $   11.00   $   29.91   $ 108.99   $   138.90
 9/30/2018 Jose Rafael Liriano                $10.50   57.20   $   11.00   $   28.60   $ 94.60    $   123.20
 10/7/2018 Jose Rafael Liriano                $10.50   56.32   $   11.00   $   28.16   $ 89.74    $   117.90
10/14/2018 Jose Rafael Liriano                $10.50   54.90   $   11.00   $   27.45   $ 81.95    $   109.40
10/21/2018 Jose Rafael Liriano                $10.50   55.38   $   11.00   $   27.69   $ 84.61    $   112.30
10/28/2018 Jose Rafael Liriano                $10.50   58.17   $   11.00   $   29.08   $ 99.92    $   129.00
 11/4/2018 Jose Rafael Liriano                $10.50   56.33   $   11.00   $   28.17   $ 89.83    $   118.00
11/11/2018 Jose Rafael Liriano                $10.50   53.13   $   11.00   $   26.57   $ 72.23    $    98.80
11/18/2018 Jose Rafael Liriano                $10.50   54.08   $   11.00   $   27.04   $ 77.46    $   104.50
11/25/2018 Jose Rafael Liriano                $10.50   49.28   $   11.00   $   24.64   $ 51.06    $    75.70
 12/2/2018 Jose Rafael Liriano                $10.50   56.10   $   11.00   $   28.05   $ 88.55    $   116.60
 12/9/2018 Jose Rafael Liriano                $10.50   55.85   $   11.00   $   27.93   $ 87.18    $   115.10
12/16/2018 Jose Rafael Liriano                $10.50   55.78   $   11.00   $   27.89   $ 86.81    $   114.70
12/23/2018 Jose Rafael Liriano                $10.50   56.37   $   11.00   $   28.18   $ 90.02    $   118.20
12/30/2018 Jose Rafael Liriano                $10.50   44.67   $   11.00   $   22.33   $ 25.67    $    48.00
  1/6/2019 Jose Rafael Liriano                $10.50   45.42   $   12.00   $   68.13   $ 32.50    $   100.63
 1/13/2019 Jose Rafael Liriano                $10.50   55.97   $   12.00   $   83.95   $ 95.80    $   179.75
 1/20/2019 Jose Rafael Liriano                $10.50   54.37   $   12.00   $   81.55   $ 86.20    $   167.75


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                                                 Exhibit 5
                                        Long Island Computations


  Week                                                        State Section 7: Section 7: Total Section 7
                                              Hourly Hours/
 Ending                     Name                            Minimum  Regular Half-Time Overtime Back
                                               Rate Week
  Date                                                       Wage   Rate Due     Due       Wages Due

 1/27/2019 Jose Rafael Liriano                $10.50   56.00   $   12.00   $   84.00   $ 96.00    $   180.00
  2/3/2019 Jose Rafael Liriano                $10.50   53.53   $   12.00   $   80.30   $ 81.20    $   161.50
 2/10/2019 Jose Rafael Liriano                $10.50   53.73   $   12.00   $   80.60   $ 82.40    $   163.00
 2/17/2019 Jose Rafael Liriano                $10.50   54.57   $   12.00   $   81.85   $ 87.40    $   169.25
 2/24/2019 Jose Rafael Liriano                $10.50   57.32   $   12.00   $   85.98   $ 103.90   $   189.88
  3/3/2019 Jose Rafael Liriano                $10.50   45.10   $   12.00   $   67.65   $ 30.60    $    98.25
 3/10/2019 Jose Rafael Liriano                $10.50   55.32   $   12.00   $   82.98   $ 91.90    $   174.88
 3/17/2019 Jose Rafael Liriano                $10.50   57.33   $   12.00   $   86.00   $ 104.00   $   190.00
 3/24/2019 Jose Rafael Liriano                $10.50   46.45   $   12.00   $   69.68   $ 38.70    $   108.38
 3/31/2019 Jose Rafael Liriano                $10.50   58.55   $   12.00   $   87.83   $ 111.30   $   199.13
  4/7/2019 Jose Rafael Liriano                $10.50   56.78   $   12.00   $   85.18   $ 100.70   $   185.88
 4/14/2019 Jose Rafael Liriano                $10.50   50.40   $   12.00   $   75.60   $ 62.40    $   138.00
 4/21/2019 Jose Rafael Liriano                $10.50   56.25   $   12.00   $   84.38   $ 97.50    $   181.88
 4/28/2019 Jose Rafael Liriano                $10.50   50.23   $   12.00   $   75.35   $ 61.40    $   136.75
  5/5/2019 Jose Rafael Liriano                $10.50   60.00   $   12.00   $   90.00   $ 120.00   $   210.00
 5/12/2019 Jose Rafael Liriano                $10.50   49.87   $   12.00   $   74.80   $ 59.20    $   134.00
 5/19/2019 Jose Rafael Liriano                $10.50   48.32   $   12.00   $   72.48   $ 49.90    $   122.38
 5/26/2019 Jose Rafael Liriano                $10.50   52.97   $   12.00   $   79.45   $ 77.80    $   157.25
  6/2/2019 Jose Rafael Liriano                $10.50   47.28   $   12.00   $   70.93   $ 43.70    $   114.63
  6/9/2019 Jose Rafael Liriano                $10.50   57.88   $   12.00   $   86.83   $ 107.30   $   194.13
 6/16/2019 Jose Rafael Liriano                $10.50   56.90   $   12.00   $   85.35   $ 101.40   $   186.75
 6/23/2019 Jose Rafael Liriano                $10.50   55.60   $   12.00   $   83.40   $ 93.60    $   177.00
 6/30/2019 Jose Rafael Liriano                $10.50   58.40   $   12.00   $   87.60   $ 110.40   $   198.00
  7/7/2019 Jose Rafael Liriano                $10.50   44.05   $   12.00   $   66.08   $ 24.30    $    90.38
 8/11/2019 Jose Rafael Liriano                $10.50   52.75   $   12.00   $   79.13   $ 76.50    $   155.63
 8/18/2019 Jose Rafael Liriano                $10.50   42.58   $   12.00   $   63.88   $ 15.50    $    79.38
 3/25/2018 Jose Ramon Pichardo Pujols         $11.00   47.65   $   11.00               $ 42.08    $    42.08
  4/1/2018 Jose Ramon Pichardo Pujols         $11.00   60.80   $   11.00               $ 114.40   $   114.40
  4/8/2018 Jose Ramon Pichardo Pujols         $11.00   59.18   $   11.00               $ 105.51   $   105.51
 4/15/2018 Jose Ramon Pichardo Pujols         $11.00   62.37   $   11.00               $ 123.02   $   123.02
 4/22/2018 Jose Ramon Pichardo Pujols         $11.00   59.50   $   11.00               $ 107.25   $   107.25
 4/29/2018 Jose Ramon Pichardo Pujols         $11.00   60.38   $   11.00               $ 112.11   $   112.11
  5/6/2018 Jose Ramon Pichardo Pujols         $11.00   57.23   $   11.00               $ 94.78    $    94.78
 5/13/2018 Jose Ramon Pichardo Pujols         $11.00   64.97   $   11.00               $ 137.32   $   137.32
 5/20/2018 Jose Ramon Pichardo Pujols         $11.00   50.20   $   11.00               $ 56.10    $    56.10
 5/27/2018 Jose Ramon Pichardo Pujols         $11.00   61.02   $   11.00               $ 115.59   $   115.59
  6/3/2018 Jose Ramon Pichardo Pujols         $11.00   59.97   $   11.00               $ 109.82   $   109.82
 6/10/2018 Jose Ramon Pichardo Pujols         $11.00   44.83   $   11.00               $ 26.58    $    26.58
 6/17/2018 Jose Ramon Pichardo Pujols         $11.00   56.23   $   11.00               $ 89.28    $    89.28
 6/24/2018 Jose Ramon Pichardo Pujols         $11.00   57.22   $   11.00               $ 94.69    $    94.69
  7/1/2018 Jose Ramon Pichardo Pujols         $11.00   56.98   $   11.00               $ 93.41    $    93.41
  7/8/2018 Jose Ramon Pichardo Pujols         $11.00   45.72   $   11.00               $ 31.44    $    31.44
 7/15/2018 Jose Ramon Pichardo Pujols         $11.00   58.93   $   11.00               $ 104.13   $   104.13
 7/22/2018 Jose Ramon Pichardo Pujols         $11.00   47.57   $   11.00               $ 41.62    $    41.62
 7/29/2018 Jose Ramon Pichardo Pujols         $11.00   55.52   $   11.00               $ 85.34    $    85.34
  8/5/2018 Jose Ramon Pichardo Pujols         $11.00   59.85   $   11.00               $ 109.18   $   109.18
 8/19/2018 Jose Ramon Pichardo Pujols         $11.00   50.23   $   11.00               $ 56.28    $    56.28
  2/5/2017 Jose W. Aguinada Orellana          $12.00   50.30   $   10.00               $ 61.80    $    61.80
 2/12/2017 Jose W. Aguinada Orellana          $12.00   40.12   $   10.00               $   0.70   $     0.70
 2/19/2017 Jose W. Aguinada Orellana          $12.00   50.48   $   10.00               $ 62.90    $    62.90
 2/26/2017 Jose W. Aguinada Orellana          $12.00   60.40   $   10.00               $ 122.40   $   122.40
  3/5/2017 Jose W. Aguinada Orellana          $12.00   59.95   $   10.00               $ 119.70   $   119.70


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  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                     Name                           Minimum  Regular Half-Time Overtime Back
                                              Rate Week
  Date                                                      Wage   Rate Due     Due       Wages Due

 3/12/2017 Jose W. Aguinada Orellana         $12.00   60.95   $   10.00         $ 125.70   $     125.70
 3/19/2017 Jose W. Aguinada Orellana         $12.00   56.60   $   10.00         $ 99.60    $      99.60
 3/26/2017 Jose W. Aguinada Orellana         $12.00   60.10   $   10.00         $ 120.60   $     120.60
  4/2/2017 Jose W. Aguinada Orellana         $12.00   60.87   $   10.00         $ 125.20   $     125.20
  4/9/2017 Jose W. Aguinada Orellana         $12.00   60.82   $   10.00         $ 124.90   $     124.90
 4/16/2017 Jose W. Aguinada Orellana         $12.00   60.38   $   10.00         $ 122.30   $     122.30
 4/23/2017 Jose W. Aguinada Orellana         $12.00   61.00   $   10.00         $ 126.00   $     126.00
 4/30/2017 Jose W. Aguinada Orellana         $12.00   60.90   $   10.00         $ 125.40   $     125.40
  5/7/2017 Jose W. Aguinada Orellana         $12.00   61.05   $   10.00         $ 126.30   $     126.30
 5/14/2017 Jose W. Aguinada Orellana         $12.00   60.87   $   10.00         $ 125.20   $     125.20
 5/21/2017 Jose W. Aguinada Orellana         $12.00   60.67   $   10.00         $ 124.00   $     124.00
 5/28/2017 Jose W. Aguinada Orellana         $12.00   61.63   $   10.00         $ 129.80   $     129.80
  6/4/2017 Jose W. Aguinada Orellana         $12.00   41.87   $   10.00         $ 11.20    $      11.20
 6/11/2017 Jose W. Aguinada Orellana         $12.00   61.15   $   10.00         $ 126.90   $     126.90
 6/18/2017 Jose W. Aguinada Orellana         $12.00   61.47   $   10.00         $ 128.80   $     128.80
 6/25/2017 Jose W. Aguinada Orellana         $12.00   60.72   $   10.00         $ 124.30   $     124.30
  7/2/2017 Jose W. Aguinada Orellana         $12.00   61.75   $   10.00         $ 130.50   $     130.50
  7/9/2017 Jose W. Aguinada Orellana         $12.00   50.80   $   10.00         $ 64.80    $      64.80
 7/16/2017 Jose W. Aguinada Orellana         $12.00   61.75   $   10.00         $ 130.50   $     130.50
 7/23/2017 Jose W. Aguinada Orellana         $12.00   63.28   $   10.00         $ 139.70   $     139.70
 7/30/2017 Jose W. Aguinada Orellana         $12.00   67.80   $   10.00         $ 166.80   $     166.80
  8/6/2017 Jose W. Aguinada Orellana         $12.00   64.33   $   10.00         $ 146.00   $     146.00
 8/13/2017 Jose W. Aguinada Orellana         $12.00   60.32   $   10.00         $ 121.90   $     121.90
 8/20/2017 Jose W. Aguinada Orellana         $12.00   62.17   $   10.00         $ 133.00   $     133.00
 8/27/2017 Jose W. Aguinada Orellana         $12.00   61.72   $   10.00         $ 130.30   $     130.30
  9/3/2017 Jose W. Aguinada Orellana         $12.00   60.22   $   10.00         $ 121.30   $     121.30
 9/10/2017 Jose W. Aguinada Orellana         $12.00   61.90   $   10.00         $ 131.40   $     131.40
 9/17/2017 Jose W. Aguinada Orellana         $12.00   62.03   $   10.00         $ 132.20   $     132.20
 9/24/2017 Jose W. Aguinada Orellana         $12.00   62.62   $   10.00         $ 135.70   $     135.70
 10/1/2017 Jose W. Aguinada Orellana         $12.00   61.70   $   10.00         $ 130.20   $     130.20
 10/8/2017 Jose W. Aguinada Orellana         $12.00   65.03   $   10.00         $ 150.20   $     150.20
10/15/2017 Jose W. Aguinada Orellana         $12.00   51.60   $   10.00         $ 69.60    $      69.60
10/22/2017 Jose W. Aguinada Orellana         $12.00   51.30   $   10.00         $ 67.80    $      67.80
10/29/2017 Jose W. Aguinada Orellana         $12.00   51.48   $   10.00         $ 68.90    $      68.90
 11/5/2017 Jose W. Aguinada Orellana         $12.00   67.70   $   10.00         $ 166.20   $     166.20
11/12/2017 Jose W. Aguinada Orellana         $12.00   62.47   $   10.00         $ 134.80   $     134.80
11/19/2017 Jose W. Aguinada Orellana         $12.00   62.10   $   10.00         $ 132.60   $     132.60
11/26/2017 Jose W. Aguinada Orellana         $12.00   51.70   $   10.00         $ 70.20    $      70.20
 12/3/2017 Jose W. Aguinada Orellana         $12.00   67.32   $   10.00         $ 163.90   $     163.90
12/10/2017 Jose W. Aguinada Orellana         $12.00   62.10   $   10.00         $ 132.60   $     132.60
12/17/2017 Jose W. Aguinada Orellana         $12.00   61.93   $   10.00         $ 131.60   $     131.60
12/24/2017 Jose W. Aguinada Orellana         $12.00   61.98   $   10.00         $ 131.90   $     131.90
12/31/2017 Jose W. Aguinada Orellana         $12.00   58.50   $   11.00         $ 111.00   $     111.00
  1/7/2018 Jose W. Aguinada Orellana         $12.00   51.32   $   11.00         $ 67.90    $      67.90
 1/14/2018 Jose W. Aguinada Orellana         $12.00   52.33   $   11.00         $ 74.00    $      74.00
 1/21/2018 Jose W. Aguinada Orellana         $12.00   62.10   $   11.00         $ 132.60   $     132.60
 1/28/2018 Jose W. Aguinada Orellana         $12.00   68.67   $   11.00         $ 172.00   $     172.00
  2/4/2018 Jose W. Aguinada Orellana         $12.00   55.52   $   11.00         $ 93.10    $      93.10
 2/11/2018 Jose W. Aguinada Orellana         $12.00   62.75   $   11.00         $ 136.50   $     136.50
 2/18/2018 Jose W. Aguinada Orellana         $12.00   52.70   $   11.00         $ 76.20    $      76.20
 2/25/2018 Jose W. Aguinada Orellana         $12.00   67.80   $   11.00         $ 166.80   $     166.80
  3/4/2018 Jose W. Aguinada Orellana         $12.00   63.20   $   11.00         $ 139.20   $     139.20


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                                                Exhibit 5
                                       Long Island Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                     Name                           Minimum  Regular Half-Time Overtime Back
                                              Rate Week
  Date                                                      Wage   Rate Due     Due       Wages Due

 3/25/2018 Jose W. Aguinada Orellana         $12.00   66.18   $   11.00         $ 157.10   $     157.10
  4/1/2018 Jose W. Aguinada Orellana         $12.00   58.60   $   11.00         $ 111.60   $     111.60
  4/8/2018 Jose W. Aguinada Orellana         $12.00   63.00   $   11.00         $ 138.00   $     138.00
 4/15/2018 Jose W. Aguinada Orellana         $12.00   52.62   $   11.00         $ 75.70    $      75.70
 4/22/2018 Jose W. Aguinada Orellana         $12.00   68.67   $   11.00         $ 172.00   $     172.00
 4/29/2018 Jose W. Aguinada Orellana         $12.00   63.33   $   11.00         $ 140.00   $     140.00
  5/6/2018 Jose W. Aguinada Orellana         $12.00   62.93   $   11.00         $ 137.60   $     137.60
 5/13/2018 Jose W. Aguinada Orellana         $12.00   63.23   $   11.00         $ 139.40   $     139.40
 5/20/2018 Jose W. Aguinada Orellana         $12.00   69.40   $   11.00         $ 176.40   $     176.40
 5/27/2018 Jose W. Aguinada Orellana         $12.00   63.67   $   11.00         $ 142.00   $     142.00
  6/3/2018 Jose W. Aguinada Orellana         $12.00   53.12   $   11.00         $ 78.70    $      78.70
 6/10/2018 Jose W. Aguinada Orellana         $12.00   63.57   $   11.00         $ 141.40   $     141.40
 6/17/2018 Jose W. Aguinada Orellana         $12.00   69.22   $   11.00         $ 175.30   $     175.30
 6/24/2018 Jose W. Aguinada Orellana         $12.00   63.70   $   11.00         $ 142.20   $     142.20
  7/1/2018 Jose W. Aguinada Orellana         $12.00   63.57   $   11.00         $ 141.40   $     141.40
  7/8/2018 Jose W. Aguinada Orellana         $12.00   52.70   $   11.00         $ 76.20    $      76.20
 7/15/2018 Jose W. Aguinada Orellana         $12.00   68.90   $   11.00         $ 173.40   $     173.40
 7/22/2018 Jose W. Aguinada Orellana         $12.00   62.90   $   11.00         $ 137.40   $     137.40
 7/29/2018 Jose W. Aguinada Orellana         $12.00   63.30   $   11.00         $ 139.80   $     139.80
  8/5/2018 Jose W. Aguinada Orellana         $12.00   63.22   $   11.00         $ 139.30   $     139.30
 8/12/2018 Jose W. Aguinada Orellana         $12.00   68.65   $   11.00         $ 171.90   $     171.90
 8/19/2018 Jose W. Aguinada Orellana         $12.00   64.02   $   11.00         $ 144.10   $     144.10
 8/26/2018 Jose W. Aguinada Orellana         $12.00   63.23   $   11.00         $ 139.40   $     139.40
  9/2/2018 Jose W. Aguinada Orellana         $12.00   63.40   $   11.00         $ 140.40   $     140.40
  9/9/2018 Jose W. Aguinada Orellana         $12.00   68.30   $   11.00         $ 169.80   $     169.80
 9/16/2018 Jose W. Aguinada Orellana         $12.00   52.77   $   11.00         $ 76.60    $      76.60
 9/23/2018 Jose W. Aguinada Orellana         $12.00   63.07   $   11.00         $ 138.40   $     138.40
 9/30/2018 Jose W. Aguinada Orellana         $12.00   64.13   $   11.00         $ 144.80   $     144.80
 10/7/2018 Jose W. Aguinada Orellana         $12.00   70.18   $   11.00         $ 181.10   $     181.10
10/14/2018 Jose W. Aguinada Orellana         $12.00   62.57   $   11.00         $ 135.40   $     135.40
10/21/2018 Jose W. Aguinada Orellana         $12.00   63.57   $   11.00         $ 141.40   $     141.40
10/28/2018 Jose W. Aguinada Orellana         $12.00   62.92   $   11.00         $ 137.50   $     137.50
 11/4/2018 Jose W. Aguinada Orellana         $12.00   74.43   $   11.00         $ 206.60   $     206.60
11/11/2018 Jose W. Aguinada Orellana         $12.00   68.43   $   11.00         $ 170.60   $     170.60
11/18/2018 Jose W. Aguinada Orellana         $12.00   67.95   $   11.00         $ 167.70   $     167.70
11/25/2018 Jose W. Aguinada Orellana         $12.00   56.25   $   11.00         $ 97.50    $      97.50
 12/2/2018 Jose W. Aguinada Orellana         $12.00   74.27   $   11.00         $ 205.60   $     205.60
 12/9/2018 Jose W. Aguinada Orellana         $12.00   67.85   $   11.00         $ 167.10   $     167.10
12/16/2018 Jose W. Aguinada Orellana         $12.00   68.52   $   11.00         $ 171.10   $     171.10
12/23/2018 Jose W. Aguinada Orellana         $12.00   56.37   $   11.00         $ 98.20    $      98.20
12/30/2018 Jose W. Aguinada Orellana         $12.00   57.83   $   11.00         $ 107.00   $     107.00
  1/6/2019 Jose W. Aguinada Orellana         $12.00   62.25   $   12.00         $ 133.50   $     133.50
 1/13/2019 Jose W. Aguinada Orellana         $12.00   64.17   $   12.00         $ 145.00   $     145.00
 1/20/2019 Jose W. Aguinada Orellana         $12.00   63.95   $   12.00         $ 143.70   $     143.70
 1/27/2019 Jose W. Aguinada Orellana         $12.00   59.50   $   12.00         $ 117.00   $     117.00
  2/3/2019 Jose W. Aguinada Orellana         $12.00   63.78   $   12.00         $ 142.70   $     142.70
 2/10/2019 Jose W. Aguinada Orellana         $12.00   53.75   $   12.00         $ 82.50    $      82.50
 2/17/2019 Jose W. Aguinada Orellana         $12.00   51.90   $   12.00         $ 71.40    $      71.40
 2/24/2019 Jose W. Aguinada Orellana         $12.00   70.75   $   12.00         $ 184.50   $     184.50
  3/3/2019 Jose W. Aguinada Orellana         $12.00   63.77   $   12.00         $ 142.60   $     142.60
 3/10/2019 Jose W. Aguinada Orellana         $12.00   53.37   $   12.00         $ 80.20    $      80.20
 3/17/2019 Jose W. Aguinada Orellana         $12.00   64.07   $   12.00         $ 144.40   $     144.40


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  Week                                                          State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
 Ending                     Name                              Minimum  Regular Half-Time Overtime Back
                                                 Rate Week
  Date                                                         Wage   Rate Due     Due       Wages Due

 3/24/2019 Jose W. Aguinada Orellana            $12.00   66.93   $   12.00         $ 161.60   $     161.60
 3/31/2019 Jose W. Aguinada Orellana            $12.00   50.95   $   12.00         $ 65.70    $      65.70
 5/26/2019 Jose W. Aguinada Orellana            $12.00   48.45   $   12.00         $ 50.70    $      50.70
  6/2/2019 Jose W. Aguinada Orellana            $12.00   46.87   $   12.00         $ 41.20    $      41.20
  6/9/2019 Jose W. Aguinada Orellana            $12.00   56.43   $   12.00         $ 98.60    $      98.60
 6/16/2019 Jose W. Aguinada Orellana            $12.00   57.37   $   12.00         $ 104.20   $     104.20
 6/23/2019 Jose W. Aguinada Orellana            $12.00   48.02   $   12.00         $ 48.10    $      48.10
 6/30/2019 Jose W. Aguinada Orellana            $12.00   60.08   $   12.00         $ 120.50   $     120.50
  7/7/2019 Jose W. Aguinada Orellana            $12.00   49.70   $   12.00         $ 58.20    $      58.20
 7/14/2019 Jose W. Aguinada Orellana            $12.00   59.68   $   12.00         $ 118.10   $     118.10
 7/21/2019 Jose W. Aguinada Orellana            $12.00   57.30   $   12.00         $ 103.80   $     103.80
 7/28/2019 Jose W. Aguinada Orellana            $12.00   59.97   $   12.00         $ 119.80   $     119.80
  8/4/2019 Jose W. Aguinada Orellana            $12.00   57.30   $   12.00         $ 103.80   $     103.80
 8/11/2019 Jose W. Aguinada Orellana            $12.00   47.60   $   12.00         $ 45.60    $      45.60
 8/18/2019 Jose W. Aguinada Orellana            $13.00   54.28   $   12.00         $ 92.84    $      92.84
 8/25/2019 Jose W. Aguinada Orellana            $13.00   44.40   $   12.00         $ 28.60    $      28.60
  9/1/2019 Jose W. Aguinada Orellana            $13.00   52.98   $   12.00         $ 84.39    $      84.39
  9/8/2019 Jose W. Aguinada Orellana            $13.00   46.97   $   12.00         $ 45.28    $      45.28
 9/15/2019 Jose W. Aguinada Orellana            $13.00   46.58   $   12.00         $ 42.79    $      42.79
 9/22/2019 Jose W. Aguinada Orellana            $13.00   54.90   $   12.00         $ 96.85    $      96.85
 9/29/2019 Jose W. Aguinada Orellana            $13.00   56.68   $   12.00         $ 108.44   $     108.44
 10/6/2019 Jose W. Aguinada Orellana            $13.00   55.45   $   12.00         $ 100.43   $     100.43
10/13/2019 Jose W. Aguinada Orellana            $13.00   54.55   $   12.00         $ 94.58    $      94.58
10/20/2019 Jose W. Aguinada Orellana            $13.00   44.98   $   12.00         $ 32.39    $      32.39
10/27/2019 Jose W. Aguinada Orellana            $13.00   47.38   $   12.00         $ 47.99    $      47.99
 11/3/2019 Jose W. Aguinada Orellana            $13.00   53.20   $   12.00         $ 85.80    $      85.80
11/10/2019 Jose W. Aguinada Orellana            $13.00   51.23   $   12.00         $ 73.02    $      73.02
11/17/2019 Jose W. Aguinada Orellana            $13.00   42.52   $   12.00         $ 16.36    $      16.36
11/24/2019 Jose W. Aguinada Orellana            $13.00   40.32   $   12.00         $   2.06   $       2.06
 12/1/2019 Jose W. Aguinada Orellana            $13.00   43.70   $   12.00         $ 24.05    $      24.05
 12/8/2019 Jose W. Aguinada Orellana            $13.00   43.28   $   12.00         $ 21.34    $      21.34
12/15/2019 Jose W. Aguinada Orellana            $13.00   52.10   $   12.00         $ 78.65    $      78.65
  1/5/2020 Jose W. Aguinada Orellana            $13.00   47.03   $   13.00         $ 45.72    $      45.72
 1/12/2020 Jose W. Aguinada Orellana            $13.00   58.78   $   13.00         $ 122.09   $     122.09
 1/19/2020 Jose W. Aguinada Orellana            $13.00   51.02   $   13.00         $ 71.61    $      71.61
 1/26/2020 Jose W. Aguinada Orellana            $13.00   56.07   $   13.00         $ 104.43   $     104.43
10/22/2017 Joshua Miranda Cooper                $11.00   43.28   $   10.00         $ 18.06    $      18.06
11/12/2017 Joshua Miranda Cooper                $11.00   40.10   $   10.00         $   0.55   $       0.55
11/19/2017 Joshua Miranda Cooper                $11.00   40.48   $   10.00         $   2.66   $       2.66
  4/7/2019 Josue Alejandro Merino Munoz         $12.00   60.08   $   12.00         $ 120.50   $     120.50
 4/14/2019 Josue Alejandro Merino Munoz         $12.00   51.33   $   12.00         $ 68.00    $      68.00
 4/21/2019 Josue Alejandro Merino Munoz         $12.00   61.35   $   12.00         $ 128.10   $     128.10
 4/28/2019 Josue Alejandro Merino Munoz         $12.00   40.07   $   12.00         $   0.40   $       0.40
  5/5/2019 Josue Alejandro Merino Munoz         $12.00   62.12   $   12.00         $ 132.70   $     132.70
 5/12/2019 Josue Alejandro Merino Munoz         $12.00   60.62   $   12.00         $ 123.70   $     123.70
 5/19/2019 Josue Alejandro Merino Munoz         $12.00   63.12   $   12.00         $ 138.70   $     138.70
 5/26/2019 Josue Alejandro Merino Munoz         $12.00   50.43   $   12.00         $ 62.60    $      62.60
  6/2/2019 Josue Alejandro Merino Munoz         $12.00   59.12   $   12.00         $ 114.70   $     114.70
  6/9/2019 Josue Alejandro Merino Munoz         $12.00   61.35   $   12.00         $ 128.10   $     128.10
 6/16/2019 Josue Alejandro Merino Munoz         $12.00   60.35   $   12.00         $ 122.10   $     122.10
 6/23/2019 Josue Alejandro Merino Munoz         $12.00   51.38   $   12.00         $ 68.30    $      68.30
 6/30/2019 Josue Alejandro Merino Munoz         $12.00   61.43   $   12.00         $ 128.60   $     128.60


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  Week                                                          State Section 7: Section 7: Total Section 7
                                                Hourly Hours/
 Ending                     Name                              Minimum  Regular Half-Time Overtime Back
                                                 Rate Week
  Date                                                         Wage   Rate Due     Due       Wages Due

  7/7/2019 Josue Alejandro Merino Munoz         $13.00   51.43   $   12.00         $ 74.32    $      74.32
 7/14/2019 Josue Alejandro Merino Munoz         $13.00   59.83   $   12.00         $ 128.92   $     128.92
 7/21/2019 Josue Alejandro Merino Munoz         $13.00   61.20   $   12.00         $ 137.80   $     137.80
 7/28/2019 Josue Alejandro Merino Munoz         $13.00   61.05   $   12.00         $ 136.83   $     136.83
  8/4/2019 Josue Alejandro Merino Munoz         $13.00   62.17   $   12.00         $ 144.08   $     144.08
 8/11/2019 Josue Alejandro Merino Munoz         $13.00   62.22   $   12.00         $ 144.41   $     144.41
 8/18/2019 Josue Alejandro Merino Munoz         $13.00   51.82   $   12.00         $ 76.81    $      76.81
 8/25/2019 Josue Alejandro Merino Munoz         $13.00   61.10   $   12.00         $ 137.15   $     137.15
  9/1/2019 Josue Alejandro Merino Munoz         $13.00   68.02   $   12.00         $ 182.11   $     182.11
  9/8/2019 Josue Alejandro Merino Munoz         $13.00   59.83   $   12.00         $ 128.92   $     128.92
 9/15/2019 Josue Alejandro Merino Munoz         $13.00   50.00   $   12.00         $ 65.00    $      65.00
 9/22/2019 Josue Alejandro Merino Munoz         $13.00   50.55   $   12.00         $ 68.58    $      68.58
 9/29/2019 Josue Alejandro Merino Munoz         $13.00   66.58   $   12.00         $ 172.79   $     172.79
 10/6/2019 Josue Alejandro Merino Munoz         $13.00   62.35   $   12.00         $ 145.28   $     145.28
10/13/2019 Josue Alejandro Merino Munoz         $13.00   62.33   $   12.00         $ 145.17   $     145.17
10/20/2019 Josue Alejandro Merino Munoz         $13.00   60.90   $   12.00         $ 135.85   $     135.85
10/27/2019 Josue Alejandro Merino Munoz         $13.00   60.98   $   12.00         $ 136.39   $     136.39
 11/3/2019 Josue Alejandro Merino Munoz         $13.00   52.68   $   12.00         $ 82.44    $      82.44
11/10/2019 Josue Alejandro Merino Munoz         $13.00   63.77   $   12.00         $ 154.48   $     154.48
11/17/2019 Josue Alejandro Merino Munoz         $13.00   64.53   $   12.00         $ 159.47   $     159.47
11/24/2019 Josue Alejandro Merino Munoz         $13.00   60.67   $   12.00         $ 134.33   $     134.33
 12/1/2019 Josue Alejandro Merino Munoz         $13.00   51.48   $   12.00         $ 74.64    $      74.64
 12/8/2019 Josue Alejandro Merino Munoz         $13.00   40.37   $   12.00         $   2.38   $       2.38
12/15/2019 Josue Alejandro Merino Munoz         $13.00   62.05   $   12.00         $ 143.33   $     143.33
12/22/2019 Josue Alejandro Merino Munoz         $13.00   63.12   $   12.00         $ 150.26   $     150.26
12/29/2019 Josue Alejandro Merino Munoz         $13.00   54.40   $   12.00         $ 93.60    $      93.60
  1/5/2020 Josue Alejandro Merino Munoz         $13.00   40.37   $   13.00         $   2.38   $       2.38
 1/12/2020 Josue Alejandro Merino Munoz         $13.00   52.52   $   13.00         $ 81.36    $      81.36
 1/19/2020 Josue Alejandro Merino Munoz         $13.00   54.70   $   13.00         $ 95.55    $      95.55
 1/26/2020 Josue Alejandro Merino Munoz         $13.00   53.98   $   13.00         $ 90.89    $      90.89
  5/7/2017 Josue Alvarado                       $11.00   58.67   $   10.00         $ 102.67   $     102.67
 5/14/2017 Josue Alvarado                       $11.00   52.53   $   10.00         $ 68.93    $      68.93
 5/21/2017 Josue Alvarado                       $11.00   58.47   $   10.00         $ 101.57   $     101.57
 5/28/2017 Josue Alvarado                       $11.00   58.57   $   10.00         $ 102.12   $     102.12
  6/4/2017 Josue Alvarado                       $11.00   48.95   $   10.00         $ 49.23    $      49.23
 6/11/2017 Josue Alvarado                       $11.00   59.30   $   10.00         $ 106.15   $     106.15
 6/18/2017 Josue Alvarado                       $11.00   58.35   $   10.00         $ 100.93   $     100.93
 6/25/2017 Josue Alvarado                       $11.00   47.90   $   10.00         $ 43.45    $      43.45
  7/2/2017 Josue Alvarado                       $11.00   60.02   $   10.00         $ 110.09   $     110.09
  7/9/2017 Josue Alvarado                       $11.00   48.52   $   10.00         $ 46.84    $      46.84
 7/16/2017 Josue Alvarado                       $11.00   57.95   $   10.00         $ 98.73    $      98.73
 7/23/2017 Josue Alvarado                       $11.00   57.72   $   10.00         $ 97.44    $      97.44
 7/30/2017 Josue Alvarado                       $11.00   58.70   $   10.00         $ 102.85   $     102.85
  8/6/2017 Josue Alvarado                       $11.00   58.17   $   10.00         $ 99.92    $      99.92
 8/13/2017 Josue Alvarado                       $11.00   53.20   $   10.00         $ 72.60    $      72.60
 8/20/2017 Josue Alvarado                       $11.00   57.90   $   10.00         $ 98.45    $      98.45
 8/27/2017 Josue Alvarado                       $11.00   55.80   $   10.00         $ 86.90    $      86.90
  9/3/2017 Josue Alvarado                       $11.00   56.73   $   10.00         $ 92.03    $      92.03
 9/17/2017 Josue Alvarado                       $11.00   57.20   $   10.00         $ 94.60    $      94.60
 9/24/2017 Josue Alvarado                       $11.00   58.48   $   10.00         $ 101.66   $     101.66
 10/1/2017 Josue Alvarado                       $11.00   58.90   $   10.00         $ 103.95   $     103.95
 10/8/2017 Josue Alvarado                       $11.00   58.62   $   10.00         $ 102.39   $     102.39


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  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                      Name                                   Minimum  Regular Half-Time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

10/15/2017 Josue Alvarado                             $11.00   55.50   $   10.00               $ 85.25    $    85.25
10/22/2017 Josue Alvarado                             $11.00   59.92   $   10.00               $ 109.54   $   109.54
10/29/2017 Josue Alvarado                             $11.00   59.05   $   10.00               $ 104.78   $   104.78
 11/5/2017 Josue Alvarado                             $11.00   58.77   $   10.00               $ 103.22   $   103.22
11/12/2017 Josue Alvarado                             $11.00   59.83   $   10.00               $ 109.08   $   109.08
11/19/2017 Josue Alvarado                             $11.00   60.63   $   10.00               $ 113.48   $   113.48
11/26/2017 Josue Alvarado                             $11.00   49.40   $   10.00               $ 51.70    $    51.70
 12/3/2017 Josue Alvarado                             $11.00   61.97   $   10.00               $ 120.82   $   120.82
12/10/2017 Josue Alvarado                             $11.00   58.25   $   10.00               $ 100.38   $   100.38
12/17/2017 Josue Alvarado                             $11.00   59.68   $   10.00               $ 108.26   $   108.26
12/24/2017 Josue Alvarado                             $11.00   49.80   $   10.00               $ 53.90    $    53.90
12/31/2017 Josue Alvarado                             $11.00   50.02   $   11.00               $ 55.09    $    55.09
  1/7/2018 Josue Alvarado                             $11.00   42.32   $   11.00               $ 12.74    $    12.74
 1/14/2018 Josue Alvarado                             $11.00   54.88   $   11.00               $ 81.86    $    81.86
 1/21/2018 Josue Alvarado                             $11.00   54.05   $   11.00               $ 77.28    $    77.28
 1/28/2018 Josue Alvarado                             $11.00   54.43   $   11.00               $ 79.38    $    79.38
  2/4/2018 Josue Alvarado                             $11.00   58.50   $   11.00               $ 101.75   $   101.75
 2/11/2018 Josue Alvarado                             $11.00   47.07   $   11.00               $ 38.87    $    38.87
 2/18/2018 Josue Alvarado                             $11.00   56.20   $   11.00               $ 89.10    $    89.10
 2/25/2018 Josue Alvarado                             $11.00   58.65   $   11.00               $ 102.58   $   102.58
  3/4/2018 Josue Alvarado                             $11.00   48.55   $   11.00               $ 47.03    $    47.03
 3/25/2018 Josue Alvarado                             $11.00   52.30   $   11.00               $ 67.65    $    67.65
  4/1/2018 Josue Alvarado                             $11.00   59.95   $   11.00               $ 109.73   $   109.73
  4/8/2018 Josue Alvarado                             $11.00   60.05   $   11.00               $ 110.28   $   110.28
 4/15/2018 Josue Alvarado                             $11.00   59.33   $   11.00               $ 106.33   $   106.33
11/18/2018 Josue Alvarado                             $11.00   53.05   $   11.00               $ 71.78    $    71.78
11/25/2018 Josue Alvarado                             $11.00   41.73   $   11.00               $   9.53   $     9.53
 12/2/2018 Josue Alvarado                             $11.00   58.05   $   11.00               $ 99.28    $    99.28
 12/9/2018 Josue Alvarado                             $11.00   59.93   $   11.00               $ 109.63   $   109.63
12/16/2018 Josue Alvarado                             $11.00   50.22   $   11.00               $ 56.19    $    56.19
12/23/2018 Josue Alvarado                             $11.00   57.13   $   11.00               $ 94.23    $    94.23
12/30/2018 Josue Alvarado                             $11.00   46.28   $   11.00               $ 34.56    $    34.56
  1/6/2019 Josue Alvarado                             $11.00   46.83   $   12.00   $   46.83   $ 41.00    $    87.83
 1/13/2019 Josue Alvarado                             $11.00   51.58   $   12.00   $   51.58   $ 69.50    $   121.08
 1/27/2019 Josue Alvarado                             $11.00   42.20   $   12.00   $   42.20   $ 13.20    $    55.40
  2/3/2019 Josue Alvarado                             $11.00   62.50   $   12.00   $   62.50   $ 135.00   $   197.50
 2/10/2019 Josue Alvarado                             $11.00   60.52   $   12.00   $   60.52   $ 123.10   $   183.62
 2/17/2019 Josue Alvarado                             $11.00   60.28   $   12.00   $   60.28   $ 121.70   $   181.98
 2/24/2019 Josue Alvarado                             $11.00   62.45   $   12.00   $   62.45   $ 134.70   $   197.15
  3/3/2019 Josue Alvarado                             $11.00   49.15   $   12.00   $   49.15   $ 54.90    $   104.05
 3/10/2019 Josue Alvarado                             $11.00   63.63   $   12.00   $   63.63   $ 141.80   $   205.43
 3/17/2019 Josue Alvarado                             $11.00   64.00   $   12.00   $   64.00   $ 144.00   $   208.00
 3/24/2019 Josue Alvarado                             $11.00   62.50   $   12.00   $   62.50   $ 135.00   $   197.50
 3/31/2019 Josue Alvarado                             $11.00   62.08   $   12.00   $   62.08   $ 132.50   $   194.58
 3/31/2019 Juan Antonio Cardoza - Detail Department   $11.00   51.95   $   12.00   $   51.95   $ 71.70    $   123.65
  4/7/2019 Juan Antonio Cardoza - Detail Department   $11.00   62.85   $   12.00   $   62.85   $ 137.10   $   199.95
 4/14/2019 Juan Antonio Cardoza - Detail Department   $11.00   62.25   $   12.00   $   62.25   $ 133.50   $   195.75
 4/21/2019 Juan Antonio Cardoza - Detail Department   $11.00   60.67   $   12.00   $   60.67   $ 124.00   $   184.67
 4/28/2019 Juan Antonio Cardoza - Detail Department   $11.00   59.55   $   12.00   $   59.55   $ 117.30   $   176.85
  5/5/2019 Juan Antonio Cardoza - Detail Department   $11.00   61.50   $   12.00   $   61.50   $ 129.00   $   190.50
 5/12/2019 Juan Antonio Cardoza - Detail Department   $11.00   50.52   $   12.00   $   50.52   $ 63.10    $   113.62
 5/19/2019 Juan Antonio Cardoza - Detail Department   $11.00   59.97   $   12.00   $   59.97   $ 119.80   $   179.77


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  Week                                                                State Section 7: Section 7: Total Section 7
                                                      Hourly Hours/
 Ending                      Name                                   Minimum  Regular Half-Time Overtime Back
                                                       Rate Week
  Date                                                               Wage   Rate Due     Due       Wages Due

 5/26/2019 Juan Antonio Cardoza - Detail Department   $11.00   60.02   $   12.00   $   60.02   $ 120.10   $   180.12
  6/2/2019 Juan Antonio Cardoza - Detail Department   $11.00   50.43   $   12.00   $   50.43   $ 62.60    $   113.03
  6/9/2019 Juan Antonio Cardoza - Detail Department   $11.00   62.10   $   12.00   $   62.10   $ 132.60   $   194.70
 6/16/2019 Juan Antonio Cardoza - Detail Department   $11.00   50.73   $   12.00   $   50.73   $ 64.40    $   115.13
 6/23/2019 Juan Antonio Cardoza - Detail Department   $11.00   60.33   $   12.00   $   60.33   $ 122.00   $   182.33
 6/30/2019 Juan Antonio Cardoza - Detail Department   $11.00   60.17   $   12.00   $   60.17   $ 121.00   $   181.17
  7/7/2019 Juan Antonio Cardoza - Detail Department   $13.00   46.20   $   12.00               $ 40.30    $    40.30
 7/14/2019 Juan Antonio Cardoza - Detail Department   $13.00   55.27   $   12.00               $ 99.23    $    99.23
 7/28/2019 Juan Antonio Cardoza - Detail Department   $13.00   54.47   $   12.00               $ 94.03    $    94.03
  8/4/2019 Juan Antonio Cardoza - Detail Department   $13.00   50.07   $   12.00               $ 65.43    $    65.43
 8/11/2019 Juan Antonio Cardoza - Detail Department   $13.00   45.58   $   12.00               $ 36.29    $    36.29
 8/18/2019 Juan Antonio Cardoza - Detail Department   $13.00   55.38   $   12.00               $ 99.99    $    99.99
 8/25/2019 Juan Antonio Cardoza - Detail Department   $13.00   54.50   $   12.00               $ 94.25    $    94.25
  9/1/2019 Juan Antonio Cardoza - Detail Department   $13.00   56.63   $   12.00               $ 108.12   $   108.12
 9/15/2019 Juan Antonio Cardoza - Detail Department   $13.00   56.98   $   12.00               $ 110.39   $   110.39
 9/22/2019 Juan Antonio Cardoza - Detail Department   $13.00   56.80   $   12.00               $ 109.20   $   109.20
 9/29/2019 Juan Antonio Cardoza - Detail Department   $13.00   57.45   $   12.00               $ 113.43   $   113.43
 10/6/2019 Juan Antonio Cardoza - Detail Department   $13.00   56.50   $   12.00               $ 107.25   $   107.25
10/13/2019 Juan Antonio Cardoza - Detail Department   $13.00   55.82   $   12.00               $ 102.81   $   102.81
10/20/2019 Juan Antonio Cardoza - Detail Department   $13.00   55.25   $   12.00               $ 99.13    $    99.13
10/27/2019 Juan Antonio Cardoza - Detail Department   $13.00   56.70   $   12.00               $ 108.55   $   108.55
 11/3/2019 Juan Antonio Cardoza - Detail Department   $13.00   59.52   $   12.00               $ 126.86   $   126.86
11/10/2019 Juan Antonio Cardoza - Detail Department   $13.00   57.60   $   12.00               $ 114.40   $   114.40
11/17/2019 Juan Antonio Cardoza - Detail Department   $13.00   57.15   $   12.00               $ 111.48   $   111.48
11/24/2019 Juan Antonio Cardoza - Detail Department   $13.00   57.55   $   12.00               $ 114.08   $   114.08
 12/1/2019 Juan Antonio Cardoza - Detail Department   $13.00   47.17   $   12.00               $ 46.58    $    46.58
 12/8/2019 Juan Antonio Cardoza - Detail Department   $13.00   57.10   $   12.00               $ 111.15   $   111.15
12/15/2019 Juan Antonio Cardoza - Detail Department   $13.00   57.48   $   12.00               $ 113.64   $   113.64
12/22/2019 Juan Antonio Cardoza - Detail Department   $13.00   57.33   $   12.00               $ 112.67   $   112.67
12/29/2019 Juan Antonio Cardoza - Detail Department   $13.00   44.33   $   12.00               $ 28.17    $    28.17
  1/5/2020 Juan Antonio Cardoza - Detail Department   $13.00   46.25   $   13.00               $ 40.63    $    40.63
 1/12/2020 Juan Antonio Cardoza - Detail Department   $13.00   47.87   $   13.00               $ 51.13    $    51.13
 1/19/2020 Juan Antonio Cardoza - Detail Department   $13.00   56.88   $   13.00               $ 109.74   $   109.74
 1/26/2020 Juan Antonio Cardoza - Detail Department   $13.00   56.87   $   13.00               $ 109.63   $   109.63
 4/29/2018 Juan Bustillo                              $11.00   61.60   $   11.00               $ 118.80   $   118.80
  5/6/2018 Juan Bustillo                              $11.00   62.48   $   11.00               $ 123.66   $   123.66
 5/13/2018 Juan Bustillo                              $11.00   62.32   $   11.00               $ 122.74   $   122.74
 5/20/2018 Juan Bustillo                              $11.00   62.20   $   11.00               $ 122.10   $   122.10
 5/27/2018 Juan Bustillo                              $11.00   60.20   $   11.00               $ 111.10   $   111.10
  6/3/2018 Juan Bustillo                              $11.00   52.13   $   11.00               $ 66.73    $    66.73
 6/10/2018 Juan Bustillo                              $11.00   63.18   $   11.00               $ 127.51   $   127.51
 6/17/2018 Juan Bustillo                              $11.00   59.35   $   11.00               $ 106.43   $   106.43
 6/24/2018 Juan Bustillo                              $11.00   62.70   $   11.00               $ 124.85   $   124.85
  7/1/2018 Juan Bustillo                              $11.00   62.38   $   11.00               $ 123.11   $   123.11
  7/8/2018 Juan Bustillo                              $11.00   49.57   $   11.00               $ 52.62    $    52.62
 7/15/2018 Juan Bustillo                              $11.00   62.42   $   11.00               $ 123.29   $   123.29
 7/22/2018 Juan Bustillo                              $11.00   62.63   $   11.00               $ 124.48   $   124.48
 7/29/2018 Juan Bustillo                              $11.00   59.80   $   11.00               $ 108.90   $   108.90
  8/5/2018 Juan Bustillo                              $11.00   61.30   $   11.00               $ 117.15   $   117.15
 8/12/2018 Juan Bustillo                              $11.00   61.20   $   11.00               $ 116.60   $   116.60
 8/19/2018 Juan Bustillo                              $11.00   48.95   $   11.00               $ 49.23    $    49.23
 8/26/2018 Juan Bustillo                              $11.00   60.95   $   11.00               $ 115.23   $   115.23


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  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                     Name                         Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

  9/2/2018 Juan Bustillo                   $11.00   61.12   $   11.00         $ 116.14   $     116.14
 9/16/2018 Juan Bustillo                   $11.00   59.65   $   11.00         $ 108.08   $     108.08
 9/23/2018 Juan Bustillo                   $11.00   61.85   $   11.00         $ 120.18   $     120.18
 9/30/2018 Juan Bustillo                   $11.00   54.33   $   11.00         $ 78.83    $      78.83
 10/7/2018 Juan Bustillo                   $11.00   60.82   $   11.00         $ 114.49   $     114.49
10/14/2018 Juan Bustillo                   $11.00   49.90   $   11.00         $ 54.45    $      54.45
10/21/2018 Juan Bustillo                   $11.00   61.32   $   11.00         $ 117.24   $     117.24
  2/5/2017 Juan Jose Cruz Pichardo         $10.50   56.67   $   10.00         $ 87.50    $      87.50
 2/12/2017 Juan Jose Cruz Pichardo         $10.50   45.87   $   10.00         $ 30.80    $      30.80
 2/19/2017 Juan Jose Cruz Pichardo         $10.50   55.47   $   10.00         $ 81.20    $      81.20
 2/26/2017 Juan Jose Cruz Pichardo         $10.50   57.80   $   10.00         $ 93.45    $      93.45
  3/5/2017 Juan Jose Cruz Pichardo         $10.50   56.13   $   10.00         $ 84.70    $      84.70
 3/12/2017 Juan Jose Cruz Pichardo         $10.50   52.23   $   10.00         $ 64.23    $      64.23
 3/19/2017 Juan Jose Cruz Pichardo         $10.50   44.95   $   10.00         $ 25.99    $      25.99
 3/26/2017 Juan Jose Cruz Pichardo         $10.50   55.70   $   10.00         $ 82.43    $      82.43
  4/2/2017 Juan Jose Cruz Pichardo         $10.50   73.97   $   10.00         $ 178.33   $     178.33
  4/9/2017 Juan Jose Cruz Pichardo         $10.50   68.83   $   10.00         $ 151.38   $     151.38
 4/16/2017 Juan Jose Cruz Pichardo         $10.50   57.35   $   10.00         $ 91.09    $      91.09
 4/23/2017 Juan Jose Cruz Pichardo         $10.50   64.20   $   10.00         $ 127.05   $     127.05
 4/30/2017 Juan Jose Cruz Pichardo         $10.50   69.00   $   10.00         $ 152.25   $     152.25
  5/7/2017 Juan Jose Cruz Pichardo         $10.50   63.12   $   10.00         $ 121.36   $     121.36
 5/14/2017 Juan Jose Cruz Pichardo         $10.50   68.53   $   10.00         $ 149.80   $     149.80
 5/21/2017 Juan Jose Cruz Pichardo         $10.50   59.17   $   10.00         $ 100.63   $     100.63
 5/28/2017 Juan Jose Cruz Pichardo         $10.50   69.27   $   10.00         $ 153.65   $     153.65
  6/4/2017 Juan Jose Cruz Pichardo         $10.50   57.97   $   10.00         $ 94.33    $      94.33
 6/11/2017 Juan Jose Cruz Pichardo         $10.50   67.30   $   10.00         $ 143.33   $     143.33
 6/18/2017 Juan Jose Cruz Pichardo         $10.50   71.60   $   10.00         $ 165.90   $     165.90
 6/25/2017 Juan Jose Cruz Pichardo         $10.50   72.37   $   10.00         $ 169.93   $     169.93
  7/2/2017 Juan Jose Cruz Pichardo         $10.50   70.77   $   10.00         $ 161.53   $     161.53
  7/9/2017 Juan Jose Cruz Pichardo         $10.50   49.18   $   10.00         $ 48.21    $      48.21
 7/16/2017 Juan Jose Cruz Pichardo         $10.50   69.07   $   10.00         $ 152.60   $     152.60
 7/23/2017 Juan Jose Cruz Pichardo         $10.50   72.40   $   10.00         $ 170.10   $     170.10
 7/30/2017 Juan Jose Cruz Pichardo         $10.50   71.85   $   10.00         $ 167.21   $     167.21
  8/6/2017 Juan Jose Cruz Pichardo         $10.50   72.03   $   10.00         $ 168.18   $     168.18
 8/13/2017 Juan Jose Cruz Pichardo         $10.50   69.33   $   10.00         $ 154.00   $     154.00
 8/20/2017 Juan Jose Cruz Pichardo         $10.50   57.10   $   10.00         $ 89.78    $      89.78
 8/27/2017 Juan Jose Cruz Pichardo         $10.50   59.12   $   10.00         $ 100.36   $     100.36
  9/3/2017 Juan Jose Cruz Pichardo         $10.50   65.88   $   10.00         $ 135.89   $     135.89
 9/10/2017 Juan Jose Cruz Pichardo         $10.50   66.08   $   10.00         $ 136.94   $     136.94
 9/17/2017 Juan Jose Cruz Pichardo         $10.50   69.47   $   10.00         $ 154.70   $     154.70
 9/24/2017 Juan Jose Cruz Pichardo         $10.50   70.93   $   10.00         $ 162.40   $     162.40
 10/1/2017 Juan Jose Cruz Pichardo         $10.50   62.05   $   10.00         $ 115.76   $     115.76
 10/8/2017 Juan Jose Cruz Pichardo         $10.50   66.92   $   10.00         $ 141.31   $     141.31
10/15/2017 Juan Jose Cruz Pichardo         $10.50   65.90   $   10.00         $ 135.98   $     135.98
10/22/2017 Juan Jose Cruz Pichardo         $10.50   68.77   $   10.00         $ 151.03   $     151.03
10/29/2017 Juan Jose Cruz Pichardo         $10.50   69.28   $   10.00         $ 153.74   $     153.74
 11/5/2017 Juan Jose Cruz Pichardo         $10.50   60.28   $   10.00         $ 106.49   $     106.49
11/12/2017 Juan Jose Cruz Pichardo         $10.50   59.25   $   10.00         $ 101.06   $     101.06
11/19/2017 Juan Jose Cruz Pichardo         $10.50   63.47   $   10.00         $ 123.20   $     123.20
11/26/2017 Juan Jose Cruz Pichardo         $10.50   55.05   $   10.00         $ 79.01    $      79.01
 12/3/2017 Juan Jose Cruz Pichardo         $10.50   69.47   $   10.00         $ 154.70   $     154.70
12/10/2017 Juan Jose Cruz Pichardo         $10.50   65.25   $   10.00         $ 132.56   $     132.56


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                                              Exhibit 5
                                     Long Island Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                     Name                         Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

12/17/2017 Juan Jose Cruz Pichardo         $10.50   54.50   $   10.00               $ 76.13    $    76.13
12/24/2017 Juan Jose Cruz Pichardo         $10.50   55.50   $   10.00               $ 81.38    $    81.38
12/31/2017 Juan Jose Cruz Pichardo         $10.50   46.48   $   11.00   $   23.24   $ 35.66    $    58.90
  1/7/2018 Juan Jose Cruz Pichardo         $10.50   48.52   $   11.00   $   24.26   $ 46.84    $    71.10
 1/14/2018 Juan Jose Cruz Pichardo         $10.50   54.88   $   11.00   $   27.44   $ 81.86    $   109.30
 1/21/2018 Juan Jose Cruz Pichardo         $10.50   61.87   $   11.00   $   30.93   $ 120.27   $   151.20
 1/28/2018 Juan Jose Cruz Pichardo         $10.50   59.97   $   11.00   $   29.98   $ 109.82   $   139.80
  2/4/2018 Juan Jose Cruz Pichardo         $10.50   53.63   $   11.00   $   26.82   $ 74.98    $   101.80
 2/11/2018 Juan Jose Cruz Pichardo         $10.50   67.55   $   11.00   $   33.78   $ 151.53   $   185.30
 2/18/2018 Juan Jose Cruz Pichardo         $10.50   53.75   $   11.00   $   26.88   $ 75.63    $   102.50
 2/25/2018 Juan Jose Cruz Pichardo         $10.50   60.17   $   11.00   $   30.08   $ 110.92   $   141.00
  3/4/2018 Juan Jose Cruz Pichardo         $10.50   52.70   $   11.00   $   26.35   $ 69.85    $    96.20
 3/25/2018 Juan Jose Cruz Pichardo         $10.50   57.32   $   11.00   $   28.66   $ 95.24    $   123.90
  4/1/2018 Juan Jose Cruz Pichardo         $10.50   67.75   $   11.00   $   33.88   $ 152.63   $   186.50
  4/8/2018 Juan Jose Cruz Pichardo         $10.50   72.25   $   11.00   $   36.13   $ 177.38   $   213.50
 4/15/2018 Juan Jose Cruz Pichardo         $10.50   65.90   $   11.00   $   32.95   $ 142.45   $   175.40
 4/22/2018 Juan Jose Cruz Pichardo         $10.50   66.32   $   11.00   $   33.16   $ 144.74   $   177.90
 4/29/2018 Juan Jose Cruz Pichardo         $10.50   66.93   $   11.00   $   33.47   $ 148.13   $   181.60
  5/6/2018 Juan Jose Cruz Pichardo         $10.50   66.78   $   11.00   $   33.39   $ 147.31   $   180.70
 5/13/2018 Juan Jose Cruz Pichardo         $10.50   58.47   $   11.00   $   29.23   $ 101.57   $   130.80
 5/20/2018 Juan Jose Cruz Pichardo         $10.50   47.45   $   11.00   $   23.73   $ 40.98    $    64.70
 5/27/2018 Juan Jose Cruz Pichardo         $10.50   55.53   $   11.00   $   27.77   $ 85.43    $   113.20
  6/3/2018 Juan Jose Cruz Pichardo         $10.50   75.98   $   11.00   $   37.99   $ 197.91   $   235.90
 6/10/2018 Juan Jose Cruz Pichardo         $10.50   48.12   $   11.00   $   24.06   $ 44.64    $    68.70
 6/17/2018 Juan Jose Cruz Pichardo         $10.50   72.90   $   11.00   $   36.45   $ 180.95   $   217.40
 6/24/2018 Juan Jose Cruz Pichardo         $10.50   58.92   $   11.00   $   29.46   $ 104.04   $   133.50
  7/1/2018 Juan Jose Cruz Pichardo         $10.50   70.87   $   11.00   $   35.43   $ 169.77   $   205.20
  7/8/2018 Juan Jose Cruz Pichardo         $10.50   55.25   $   11.00   $   27.63   $ 83.88    $   111.50
 7/15/2018 Juan Jose Cruz Pichardo         $10.50   69.45   $   11.00   $   34.73   $ 161.98   $   196.70
 7/22/2018 Juan Jose Cruz Pichardo         $10.50   86.47   $   11.00   $   43.23   $ 255.57   $   298.80
 7/29/2018 Juan Jose Cruz Pichardo         $10.50   71.23   $   11.00   $   35.62   $ 171.78   $   207.40
  8/5/2018 Juan Jose Cruz Pichardo         $10.50   71.78   $   11.00   $   35.89   $ 174.81   $   210.70
 8/12/2018 Juan Jose Cruz Pichardo         $10.50   59.77   $   11.00   $   29.88   $ 108.72   $   138.60
 8/19/2018 Juan Jose Cruz Pichardo         $10.50   76.02   $   11.00   $   38.01   $ 198.09   $   236.10
 8/26/2018 Juan Jose Cruz Pichardo         $10.50   66.90   $   11.00   $   33.45   $ 147.95   $   181.40
  9/2/2018 Juan Jose Cruz Pichardo         $10.50   68.92   $   11.00   $   34.46   $ 159.04   $   193.50
  9/9/2018 Juan Jose Cruz Pichardo         $10.50   67.33   $   11.00   $   33.67   $ 150.33   $   184.00
 9/16/2018 Juan Jose Cruz Pichardo         $10.50   67.28   $   11.00   $   33.64   $ 150.06   $   183.70
 9/23/2018 Juan Jose Cruz Pichardo         $10.50   78.52   $   11.00   $   39.26   $ 211.84   $   251.10
 9/30/2018 Juan Jose Cruz Pichardo         $10.50   70.23   $   11.00   $   35.12   $ 166.28   $   201.40
 10/7/2018 Juan Jose Cruz Pichardo         $10.50   68.37   $   11.00   $   34.18   $ 156.02   $   190.20
10/14/2018 Juan Jose Cruz Pichardo         $10.50   60.97   $   11.00   $   30.48   $ 115.32   $   145.80
10/21/2018 Juan Jose Cruz Pichardo         $10.50   66.75   $   11.00   $   33.38   $ 147.13   $   180.50
10/28/2018 Juan Jose Cruz Pichardo         $10.50   56.95   $   11.00   $   28.48   $ 93.23    $   121.70
 11/4/2018 Juan Jose Cruz Pichardo         $10.50   66.03   $   11.00   $   33.02   $ 143.18   $   176.20
11/11/2018 Juan Jose Cruz Pichardo         $10.50   65.82   $   11.00   $   32.91   $ 141.99   $   174.90
11/18/2018 Juan Jose Cruz Pichardo         $10.50   64.68   $   11.00   $   32.34   $ 135.76   $   168.10
11/25/2018 Juan Jose Cruz Pichardo         $10.50   57.67   $   11.00   $   28.83   $ 97.17    $   126.00
 12/2/2018 Juan Jose Cruz Pichardo         $10.50   64.50   $   11.00   $   32.25   $ 134.75   $   167.00
 12/9/2018 Juan Jose Cruz Pichardo         $10.50   59.98   $   11.00   $   29.99   $ 109.91   $   139.90
12/16/2018 Juan Jose Cruz Pichardo         $10.50   61.88   $   11.00   $   30.94   $ 120.36   $   151.30
12/23/2018 Juan Jose Cruz Pichardo         $10.50   67.40   $   11.00   $   33.70   $ 150.70   $   184.40


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                                       Long Island Computations


  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                      Name                          Minimum  Regular Half-Time Overtime Back
                                              Rate Week
  Date                                                      Wage   Rate Due     Due       Wages Due

12/30/2018 Juan Jose Cruz Pichardo           $10.50   46.05   $   11.00   $   23.03   $ 33.28    $    56.30
  1/6/2019 Juan Jose Cruz Pichardo           $10.50   44.38   $   12.00   $   66.58   $ 26.30    $    92.88
 1/13/2019 Juan Jose Cruz Pichardo           $10.50   41.70   $   12.00   $   62.55   $ 10.20    $    72.75
 4/23/2017 Julio A. Carbajal                 $10.00   59.37   $   10.00               $ 96.83    $    96.83
 4/30/2017 Julio A. Carbajal                 $10.00   59.33   $   10.00               $ 96.67    $    96.67
  5/7/2017 Julio A. Carbajal                 $10.00   59.40   $   10.00               $ 97.00    $    97.00
 5/14/2017 Julio A. Carbajal                 $10.00   59.18   $   10.00               $ 95.92    $    95.92
 5/21/2017 Julio A. Carbajal                 $10.00   59.23   $   10.00               $ 96.17    $    96.17
 5/28/2017 Julio A. Carbajal                 $10.00   57.38   $   10.00               $ 86.92    $    86.92
  6/4/2017 Julio A. Carbajal                 $10.00   49.58   $   10.00               $ 47.92    $    47.92
 6/11/2017 Julio A. Carbajal                 $10.00   59.28   $   10.00               $ 96.42    $    96.42
 6/25/2017 Julio A. Carbajal                 $10.00   56.45   $   10.00               $ 82.25    $    82.25
  7/2/2017 Julio A. Carbajal                 $10.00   50.32   $   10.00               $ 51.58    $    51.58
  7/9/2017 Julio A. Carbajal                 $10.00   48.95   $   10.00               $ 44.75    $    44.75
 7/16/2017 Julio A. Carbajal                 $10.00   48.80   $   10.00               $ 44.00    $    44.00
 7/23/2017 Julio A. Carbajal                 $10.00   58.23   $   10.00               $ 91.17    $    91.17
 7/30/2017 Julio A. Carbajal                 $10.00   59.83   $   10.00               $ 99.17    $    99.17
  8/6/2017 Julio A. Carbajal                 $10.00   60.97   $   10.00               $ 104.83   $   104.83
 8/13/2017 Julio A. Carbajal                 $10.00   57.35   $   10.00               $ 86.75    $    86.75
 8/20/2017 Julio A. Carbajal                 $10.00   49.87   $   10.00               $ 49.33    $    49.33
 9/17/2017 Julio A. Carbajal                 $10.00   58.42   $   10.00               $ 92.08    $    92.08
 9/24/2017 Julio A. Carbajal                 $10.00   58.35   $   10.00               $ 91.75    $    91.75
 10/1/2017 Julio A. Carbajal                 $10.00   57.40   $   10.00               $ 87.00    $    87.00
 10/8/2017 Julio A. Carbajal                 $10.00   58.62   $   10.00               $ 93.08    $    93.08
10/15/2017 Julio A. Carbajal                 $10.00   48.23   $   10.00               $ 41.17    $    41.17
 8/26/2018 Kenyer Matias-0256                $16.50   68.27   $   11.00               $ 233.20   $   233.20
  9/2/2018 Kenyer Matias-0256                $16.50   62.57   $   11.00               $ 186.18   $   186.18
  9/9/2018 Kenyer Matias-0256                $16.50   54.22   $   11.00               $ 117.29   $   117.29
 9/16/2018 Kenyer Matias-0256                $16.50   53.53   $   11.00               $ 111.65   $   111.65
 9/23/2018 Kenyer Matias-0256                $16.50   52.85   $   11.00               $ 106.01   $   106.01
 9/30/2018 Kenyer Matias-0256                $16.50   51.88   $   11.00               $ 98.04    $    98.04
10/14/2018 Kenyer Matias-0256                $16.50   48.05   $   11.00               $ 66.41    $    66.41
10/21/2018 Kenyer Matias-0256                $16.50   50.33   $   11.00               $ 85.25    $    85.25
10/28/2018 Kenyer Matias-0256                $16.50   48.52   $   11.00               $ 70.26    $    70.26
 11/4/2018 Kenyer Matias-0256                $16.50   51.90   $   11.00               $ 98.18    $    98.18
11/11/2018 Kenyer Matias-0256                $16.50   59.65   $   11.00               $ 162.11   $   162.11
11/18/2018 Kenyer Matias-0256                $16.50   70.47   $   11.00               $ 251.35   $   251.35
11/25/2018 Kenyer Matias-0256                $16.50   58.63   $   11.00               $ 153.73   $   153.73
 12/2/2018 Kenyer Matias-0256                $16.50   70.40   $   11.00               $ 250.80   $   250.80
 12/9/2018 Kenyer Matias-0256                $16.50   68.52   $   11.00               $ 235.26   $   235.26
12/16/2018 Kenyer Matias-0256                $16.50   59.15   $   11.00               $ 157.99   $   157.99
12/23/2018 Kenyer Matias-0256                $16.50   72.20   $   11.00               $ 265.65   $   265.65
12/30/2018 Kenyer Matias-0256                $16.50   45.08   $   11.00               $ 41.94    $    41.94
  1/6/2019 Kenyer Matias-0256                $16.50   53.90   $   12.00               $ 114.68   $   114.68
 1/13/2019 Kenyer Matias-0256                $16.50   58.78   $   12.00               $ 154.96   $   154.96
 1/20/2019 Kenyer Matias-0256                $16.50   67.12   $   12.00               $ 223.71   $   223.71
 1/27/2019 Kenyer Matias-0256                $16.50   44.40   $   12.00               $ 36.30    $    36.30
  2/3/2019 Kenyer Matias-0256                $16.50   70.12   $   12.00               $ 248.46   $   248.46
 2/10/2019 Kenyer Matias-0256                $16.50   50.63   $   12.00               $ 87.72    $    87.72
  8/5/2018 Kessel Garibaldy Mauricio         $16.50   58.23   $   11.00               $ 150.43   $   150.43
 8/12/2018 Kessel Garibaldy Mauricio         $16.50   62.13   $   11.00               $ 182.60   $   182.60
 8/19/2018 Kessel Garibaldy Mauricio         $16.50   69.25   $   11.00               $ 241.31   $   241.31


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  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                      Name                          Minimum  Regular Half-Time Overtime Back
                                              Rate Week
  Date                                                      Wage   Rate Due     Due       Wages Due

 8/26/2018 Kessel Garibaldy Mauricio         $16.50   71.52   $   11.00         $ 260.01   $     260.01
  9/2/2018 Kessel Garibaldy Mauricio         $16.50   62.72   $   11.00         $ 187.41   $     187.41
  9/9/2018 Kessel Garibaldy Mauricio         $16.50   56.20   $   11.00         $ 133.65   $     133.65
 9/16/2018 Kessel Garibaldy Mauricio         $16.50   64.12   $   11.00         $ 198.96   $     198.96
 9/23/2018 Kessel Garibaldy Mauricio         $16.50   52.05   $   11.00         $ 99.41    $      99.41
 9/30/2018 Kessel Garibaldy Mauricio         $16.50   62.45   $   11.00         $ 185.21   $     185.21
 10/7/2018 Kessel Garibaldy Mauricio         $16.50   72.27   $   11.00         $ 266.20   $     266.20
10/14/2018 Kessel Garibaldy Mauricio         $16.50   73.15   $   11.00         $ 273.49   $     273.49
10/21/2018 Kessel Garibaldy Mauricio         $16.50   61.75   $   11.00         $ 179.44   $     179.44
10/28/2018 Kessel Garibaldy Mauricio         $16.50   70.15   $   11.00         $ 248.74   $     248.74
 11/4/2018 Kessel Garibaldy Mauricio         $16.50   62.60   $   11.00         $ 186.45   $     186.45
11/11/2018 Kessel Garibaldy Mauricio         $16.50   71.73   $   11.00         $ 261.80   $     261.80
11/18/2018 Kessel Garibaldy Mauricio         $16.50   70.40   $   11.00         $ 250.80   $     250.80
11/25/2018 Kessel Garibaldy Mauricio         $16.50   58.65   $   11.00         $ 153.86   $     153.86
 12/2/2018 Kessel Garibaldy Mauricio         $16.50   70.38   $   11.00         $ 250.66   $     250.66
 12/9/2018 Kessel Garibaldy Mauricio         $16.50   54.87   $   11.00         $ 122.65   $     122.65
12/16/2018 Kessel Garibaldy Mauricio         $16.50   71.23   $   11.00         $ 257.68   $     257.68
12/23/2018 Kessel Garibaldy Mauricio         $16.50   72.17   $   11.00         $ 265.38   $     265.38
12/30/2018 Kessel Garibaldy Mauricio         $16.50   57.63   $   11.00         $ 145.48   $     145.48
  1/6/2019 Kessel Garibaldy Mauricio         $16.50   51.57   $   12.00         $ 95.43    $      95.43
 1/13/2019 Kessel Garibaldy Mauricio         $16.50   58.90   $   12.00         $ 155.93   $     155.93
 1/20/2019 Kessel Garibaldy Mauricio         $16.50   67.02   $   12.00         $ 222.89   $     222.89
 1/27/2019 Kessel Garibaldy Mauricio         $16.50   54.92   $   12.00         $ 123.06   $     123.06
  2/3/2019 Kessel Garibaldy Mauricio         $16.50   49.03   $   12.00         $ 74.52    $      74.52
 2/10/2019 Kessel Garibaldy Mauricio         $16.50   62.77   $   12.00         $ 187.83   $     187.83
 2/17/2019 Kessel Garibaldy Mauricio         $16.50   66.80   $   12.00         $ 221.10   $     221.10
 2/24/2019 Kessel Garibaldy Mauricio         $16.50   67.12   $   12.00         $ 223.71   $     223.71
  3/3/2019 Kessel Garibaldy Mauricio         $16.50   70.45   $   12.00         $ 251.21   $     251.21
 3/10/2019 Kessel Garibaldy Mauricio         $16.50   46.42   $   12.00         $ 52.94    $      52.94
 3/17/2019 Kessel Garibaldy Mauricio         $16.50   70.35   $   12.00         $ 250.39   $     250.39
 3/24/2019 Kessel Garibaldy Mauricio         $16.50   70.12   $   12.00         $ 248.46   $     248.46
 3/31/2019 Kessel Garibaldy Mauricio         $16.50   71.28   $   12.00         $ 258.09   $     258.09
  4/7/2019 Kessel Garibaldy Mauricio         $16.50   70.03   $   12.00         $ 247.78   $     247.78
 4/14/2019 Kessel Garibaldy Mauricio         $16.50   58.62   $   12.00         $ 153.59   $     153.59
 4/21/2019 Kessel Garibaldy Mauricio         $16.50   62.47   $   12.00         $ 185.35   $     185.35
 4/28/2019 Kessel Garibaldy Mauricio         $16.50   70.08   $   12.00         $ 248.19   $     248.19
  5/5/2019 Kessel Garibaldy Mauricio         $16.50   65.52   $   12.00         $ 210.51   $     210.51
 5/12/2019 Kessel Garibaldy Mauricio         $16.50   67.07   $   12.00         $ 223.30   $     223.30
 5/13/2018 Kevin Fuentes Portillo            $16.50   45.48   $   11.00         $ 45.24    $      45.24
 5/27/2018 Kevin Fuentes Portillo            $16.50   47.12   $   11.00         $ 58.71    $      58.71
 3/24/2019 Kevin Osvaldo Velasquez           $16.50   62.30   $   12.00         $ 183.98   $     183.98
 3/31/2019 Kevin Osvaldo Velasquez           $16.50   65.05   $   12.00         $ 206.66   $     206.66
 4/14/2019 Kevin Osvaldo Velasquez           $16.50   67.82   $   12.00         $ 229.49   $     229.49
 4/21/2019 Kevin Osvaldo Velasquez           $16.50   55.30   $   12.00         $ 126.23   $     126.23
 4/28/2019 Kevin Osvaldo Velasquez           $16.50   55.17   $   12.00         $ 125.13   $     125.13
  5/5/2019 Kevin Osvaldo Velasquez           $16.50   47.77   $   12.00         $ 64.08    $      64.08
 5/12/2019 Kevin Osvaldo Velasquez           $16.50   52.58   $   12.00         $ 103.81   $     103.81
  2/5/2017 Kevin Rivas                       $10.00   43.38   $   10.00         $ 16.92    $      16.92
 2/19/2017 Kevin Rivas                       $10.00   46.30   $   10.00         $ 31.50    $      31.50
  3/5/2017 Kevin Rivas                       $10.00   58.73   $   10.00         $ 93.67    $      93.67
  4/2/2017 Kevin Rivas                       $10.00   55.10   $   10.00         $ 75.50    $      75.50
 10/8/2017 Kevin Rivas                       $10.00   53.40   $   10.00         $ 67.00    $      67.00


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  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                     Name                       Minimum  Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                  Wage   Rate Due     Due       Wages Due

11/19/2017 Kevin Rivas                   $10.00   57.07   $   10.00         $ 85.33    $      85.33
 9/15/2019 Leonel Taveras                $12.00   49.35   $   12.00         $ 56.10    $      56.10
 9/22/2019 Leonel Taveras                $12.00   60.48   $   12.00         $ 122.90   $     122.90
 9/29/2019 Leonel Taveras                $12.00   50.75   $   12.00         $ 64.50    $      64.50
 10/6/2019 Leonel Taveras                $12.00   61.43   $   12.00         $ 128.60   $     128.60
10/13/2019 Leonel Taveras                $12.00   64.50   $   12.00         $ 147.00   $     147.00
10/20/2019 Leonel Taveras                $12.00   56.45   $   12.00         $ 98.70    $      98.70
10/27/2019 Leonel Taveras                $12.00   60.70   $   12.00         $ 124.20   $     124.20
 11/3/2019 Leonel Taveras                $12.00   60.48   $   12.00         $ 122.90   $     122.90
11/10/2019 Leonel Taveras                $12.00   51.03   $   12.00         $ 66.20    $      66.20
11/17/2019 Leonel Taveras                $13.00   56.97   $   12.00         $ 110.28   $     110.28
11/24/2019 Leonel Taveras                $13.00   47.63   $   12.00         $ 49.62    $      49.62
 12/1/2019 Leonel Taveras                $13.00   48.82   $   12.00         $ 57.31    $      57.31
 12/8/2019 Leonel Taveras                $13.00   49.12   $   12.00         $ 59.26    $      59.26
12/15/2019 Leonel Taveras                $13.00   56.78   $   12.00         $ 109.09   $     109.09
12/22/2019 Leonel Taveras                $13.00   59.10   $   12.00         $ 124.15   $     124.15
12/29/2019 Leonel Taveras                $13.00   43.52   $   12.00         $ 22.86    $      22.86
  1/5/2020 Leonel Taveras                $13.00   41.05   $   13.00         $   6.82   $       6.82
 1/12/2020 Leonel Taveras                $13.00   62.05   $   13.00         $ 143.33   $     143.33
 1/26/2020 Leonel Taveras                $13.00   53.13   $   13.00         $ 85.37    $      85.37
  2/5/2017 Luis A. Santos                $14.00   55.92   $   10.00         $ 111.42   $     111.42
 2/12/2017 Luis A. Santos                $14.00   51.82   $   10.00         $ 82.72    $      82.72
 2/19/2017 Luis A. Santos                $14.00   45.17   $   10.00         $ 36.17    $      36.17
 2/26/2017 Luis A. Santos                $14.00   57.90   $   10.00         $ 125.30   $     125.30
  3/5/2017 Luis A. Santos                $14.00   56.37   $   10.00         $ 114.57   $     114.57
 3/12/2017 Luis A. Santos                $14.00   54.27   $   10.00         $ 99.87    $      99.87
 3/19/2017 Luis A. Santos                $14.00   44.67   $   10.00         $ 32.67    $      32.67
 3/26/2017 Luis A. Santos                $14.00   55.48   $   10.00         $ 108.38   $     108.38
  4/2/2017 Luis A. Santos                $14.00   57.23   $   10.00         $ 120.63   $     120.63
  4/9/2017 Luis A. Santos                $14.00   53.47   $   10.00         $ 94.27    $      94.27
 4/16/2017 Luis A. Santos                $14.00   58.97   $   10.00         $ 132.77   $     132.77
 4/23/2017 Luis A. Santos                $14.00   51.80   $   10.00         $ 82.60    $      82.60
 4/30/2017 Luis A. Santos                $14.00   57.30   $   10.00         $ 121.10   $     121.10
  5/7/2017 Luis A. Santos                $14.00   54.05   $   10.00         $ 98.35    $      98.35
 5/14/2017 Luis A. Santos                $14.00   56.60   $   10.00         $ 116.20   $     116.20
 5/21/2017 Luis A. Santos                $14.00   47.83   $   10.00         $ 54.83    $      54.83
 5/28/2017 Luis A. Santos                $14.00   62.25   $   10.00         $ 155.75   $     155.75
  6/4/2017 Luis A. Santos                $14.00   50.90   $   10.00         $ 76.30    $      76.30
 6/11/2017 Luis A. Santos                $14.00   61.08   $   10.00         $ 147.58   $     147.58
 6/18/2017 Luis A. Santos                $14.00   61.73   $   10.00         $ 152.13   $     152.13
 6/25/2017 Luis A. Santos                $14.00   65.92   $   10.00         $ 181.42   $     181.42
  7/2/2017 Luis A. Santos                $14.00   64.83   $   10.00         $ 173.83   $     173.83
  7/9/2017 Luis A. Santos                $14.00   49.18   $   10.00         $ 64.28    $      64.28
 7/16/2017 Luis A. Santos                $14.00   58.70   $   10.00         $ 130.90   $     130.90
 7/23/2017 Luis A. Santos                $14.00   61.12   $   10.00         $ 147.82   $     147.82
 7/30/2017 Luis A. Santos                $14.00   54.12   $   10.00         $ 98.82    $      98.82
  8/6/2017 Luis A. Santos                $14.00   59.80   $   10.00         $ 138.60   $     138.60
 8/13/2017 Luis A. Santos                $14.00   55.83   $   10.00         $ 110.83   $     110.83
 8/20/2017 Luis A. Santos                $14.00   56.97   $   10.00         $ 118.77   $     118.77
 8/27/2017 Luis A. Santos                $14.00   57.93   $   10.00         $ 125.53   $     125.53
  9/3/2017 Luis A. Santos                $14.00   58.42   $   10.00         $ 128.92   $     128.92
 9/10/2017 Luis A. Santos                $14.00   50.63   $   10.00         $ 74.43    $      74.43


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  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                     Name                       Minimum  Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                  Wage   Rate Due     Due       Wages Due

 9/17/2017 Luis A. Santos                $14.00   63.15   $   10.00         $ 162.05   $     162.05
 9/24/2017 Luis A. Santos                $14.00   60.03   $   10.00         $ 140.23   $     140.23
 10/1/2017 Luis A. Santos                $14.00   63.50   $   10.00         $ 164.50   $     164.50
 10/8/2017 Luis A. Santos                $14.00   56.83   $   10.00         $ 117.83   $     117.83
10/15/2017 Luis A. Santos                $14.00   48.37   $   10.00         $ 58.57    $      58.57
10/22/2017 Luis A. Santos                $14.00   59.82   $   10.00         $ 138.72   $     138.72
10/29/2017 Luis A. Santos                $14.00   65.00   $   10.00         $ 175.00   $     175.00
 11/5/2017 Luis A. Santos                $14.00   47.45   $   10.00         $ 52.15    $      52.15
11/12/2017 Luis A. Santos                $14.00   60.28   $   10.00         $ 141.98   $     141.98
11/19/2017 Luis A. Santos                $14.00   57.28   $   10.00         $ 120.98   $     120.98
11/26/2017 Luis A. Santos                $14.00   47.52   $   10.00         $ 52.62    $      52.62
 12/3/2017 Luis A. Santos                $14.00   63.07   $   10.00         $ 161.47   $     161.47
12/10/2017 Luis A. Santos                $14.00   54.13   $   10.00         $ 98.93    $      98.93
12/17/2017 Luis A. Santos                $14.00   56.10   $   10.00         $ 112.70   $     112.70
12/24/2017 Luis A. Santos                $14.00   57.15   $   10.00         $ 120.05   $     120.05
12/31/2017 Luis A. Santos                $14.00   51.80   $   11.00         $ 82.60    $      82.60
  1/7/2018 Luis A. Santos                $14.00   42.52   $   11.00         $ 17.62    $      17.62
 1/14/2018 Luis A. Santos                $14.00   56.25   $   11.00         $ 113.75   $     113.75
 1/21/2018 Luis A. Santos                $14.00   47.07   $   11.00         $ 49.47    $      49.47
 1/28/2018 Luis A. Santos                $14.00   52.80   $   11.00         $ 89.60    $      89.60
  2/4/2018 Luis A. Santos                $14.00   47.73   $   11.00         $ 54.13    $      54.13
 2/11/2018 Luis A. Santos                $14.00   53.87   $   11.00         $ 97.07    $      97.07
 2/18/2018 Luis A. Santos                $14.00   47.27   $   11.00         $ 50.87    $      50.87
 2/25/2018 Luis A. Santos                $14.00   56.17   $   11.00         $ 113.17   $     113.17
  3/4/2018 Luis A. Santos                $14.00   55.12   $   11.00         $ 105.82   $     105.82
 3/25/2018 Luis A. Santos                $14.00   50.62   $   11.00         $ 74.32    $      74.32
  4/1/2018 Luis A. Santos                $14.00   62.00   $   11.00         $ 154.00   $     154.00
  4/8/2018 Luis A. Santos                $14.00   62.48   $   11.00         $ 157.38   $     157.38
 4/15/2018 Luis A. Santos                $14.00   57.70   $   11.00         $ 123.90   $     123.90
 4/22/2018 Luis A. Santos                $14.00   57.82   $   11.00         $ 124.72   $     124.72
 4/29/2018 Luis A. Santos                $14.00   56.93   $   11.00         $ 118.53   $     118.53
  5/6/2018 Luis A. Santos                $14.00   56.80   $   11.00         $ 117.60   $     117.60
 5/13/2018 Luis A. Santos                $14.00   58.20   $   11.00         $ 127.40   $     127.40
 5/20/2018 Luis A. Santos                $14.00   56.73   $   11.00         $ 117.13   $     117.13
 5/27/2018 Luis A. Santos                $14.00   56.55   $   11.00         $ 115.85   $     115.85
  6/3/2018 Luis A. Santos                $14.00   52.12   $   11.00         $ 84.82    $      84.82
 6/10/2018 Luis A. Santos                $14.00   58.58   $   11.00         $ 130.08   $     130.08
 6/17/2018 Luis A. Santos                $14.00   61.58   $   11.00         $ 151.08   $     151.08
 6/24/2018 Luis A. Santos                $14.00   58.82   $   11.00         $ 131.72   $     131.72
  7/1/2018 Luis A. Santos                $14.00   60.45   $   11.00         $ 143.15   $     143.15
  7/8/2018 Luis A. Santos                $14.00   49.03   $   11.00         $ 63.23    $      63.23
 7/15/2018 Luis A. Santos                $14.00   59.02   $   11.00         $ 133.12   $     133.12
 7/22/2018 Luis A. Santos                $14.00   59.12   $   11.00         $ 133.82   $     133.82
 7/29/2018 Luis A. Santos                $14.00   53.65   $   11.00         $ 95.55    $      95.55
  8/5/2018 Luis A. Santos                $14.00   53.67   $   11.00         $ 95.67    $      95.67
 8/12/2018 Luis A. Santos                $14.00   57.02   $   11.00         $ 119.12   $     119.12
 8/19/2018 Luis A. Santos                $14.00   56.42   $   11.00         $ 114.92   $     114.92
 8/26/2018 Luis A. Santos                $14.00   47.25   $   11.00         $ 50.75    $      50.75
  9/2/2018 Luis A. Santos                $14.00   58.58   $   11.00         $ 130.08   $     130.08
  9/9/2018 Luis A. Santos                $14.00   46.88   $   11.00         $ 48.18    $      48.18
 9/16/2018 Luis A. Santos                $14.00   57.08   $   11.00         $ 119.58   $     119.58
 9/23/2018 Luis A. Santos                $14.00   60.57   $   11.00         $ 143.97   $     143.97


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  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                     Name                       Minimum  Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                  Wage   Rate Due     Due       Wages Due

 9/30/2018 Luis A. Santos                $14.00   56.98   $   11.00         $ 118.88   $     118.88
 10/7/2018 Luis A. Santos                $14.00   56.35   $   11.00         $ 114.45   $     114.45
10/14/2018 Luis A. Santos                $14.00   55.40   $   11.00         $ 107.80   $     107.80
10/21/2018 Luis A. Santos                $14.00   56.50   $   11.00         $ 115.50   $     115.50
10/28/2018 Luis A. Santos                $14.00   58.87   $   11.00         $ 132.07   $     132.07
 11/4/2018 Luis A. Santos                $14.00   56.23   $   11.00         $ 113.63   $     113.63
11/11/2018 Luis A. Santos                $14.00   55.33   $   11.00         $ 107.33   $     107.33
11/18/2018 Luis A. Santos                $14.00   54.95   $   11.00         $ 104.65   $     104.65
11/25/2018 Luis A. Santos                $14.00   50.23   $   11.00         $ 71.63    $      71.63
 12/2/2018 Luis A. Santos                $14.00   50.33   $   11.00         $ 72.33    $      72.33
 12/9/2018 Luis A. Santos                $14.00   57.12   $   11.00         $ 119.82   $     119.82
12/16/2018 Luis A. Santos                $14.00   56.25   $   11.00         $ 113.75   $     113.75
12/23/2018 Luis A. Santos                $14.00   56.37   $   11.00         $ 114.57   $     114.57
12/30/2018 Luis A. Santos                $14.00   45.32   $   11.00         $ 37.22    $      37.22
  1/6/2019 Luis A. Santos                $14.00   45.47   $   12.00         $ 38.27    $      38.27
 1/13/2019 Luis A. Santos                $14.00   47.05   $   12.00         $ 49.35    $      49.35
 1/20/2019 Luis A. Santos                $14.00   54.83   $   12.00         $ 103.83   $     103.83
 1/27/2019 Luis A. Santos                $14.00   56.32   $   12.00         $ 114.22   $     114.22
  2/3/2019 Luis A. Santos                $14.00   53.72   $   12.00         $ 96.02    $      96.02
 2/17/2019 Luis A. Santos                $14.00   56.37   $   12.00         $ 114.57   $     114.57
 2/24/2019 Luis A. Santos                $14.00   58.07   $   12.00         $ 126.47   $     126.47
  3/3/2019 Luis A. Santos                $14.00   46.57   $   12.00         $ 45.97    $      45.97
 3/10/2019 Luis A. Santos                $14.00   46.55   $   12.00         $ 45.85    $      45.85
 3/17/2019 Luis A. Santos                $14.00   57.95   $   12.00         $ 125.65   $     125.65
 3/24/2019 Luis A. Santos                $14.00   52.12   $   12.00         $ 84.82    $      84.82
 3/31/2019 Luis A. Santos                $14.00   48.63   $   12.00         $ 60.43    $      60.43
 4/14/2019 Luis A. Santos                $14.00   58.20   $   12.00         $ 127.40   $     127.40
 4/21/2019 Luis A. Santos                $14.00   59.57   $   12.00         $ 136.97   $     136.97
 4/28/2019 Luis A. Santos                $14.00   50.15   $   12.00         $ 71.05    $      71.05
  5/5/2019 Luis A. Santos                $14.00   54.73   $   12.00         $ 103.13   $     103.13
 5/12/2019 Luis A. Santos                $14.00   63.30   $   12.00         $ 163.10   $     163.10
 5/19/2019 Luis A. Santos                $14.00   52.63   $   12.00         $ 88.43    $      88.43
 5/26/2019 Luis A. Santos                $14.00   60.82   $   12.00         $ 145.72   $     145.72
  6/2/2019 Luis A. Santos                $14.00   47.42   $   12.00         $ 51.92    $      51.92
  6/9/2019 Luis A. Santos                $14.00   49.15   $   12.00         $ 64.05    $      64.05
 6/16/2019 Luis A. Santos                $14.00   45.85   $   12.00         $ 40.95    $      40.95
 6/23/2019 Luis A. Santos                $14.00   57.32   $   12.00         $ 121.22   $     121.22
 6/30/2019 Luis A. Santos                $14.00   49.92   $   12.00         $ 69.42    $      69.42
  7/7/2019 Luis A. Santos                $13.00   45.00   $   12.00         $ 32.50    $      32.50
 7/14/2019 Luis A. Santos                $13.00   52.40   $   12.00         $ 80.60    $      80.60
 7/21/2019 Luis A. Santos                $13.00   46.00   $   12.00         $ 39.00    $      39.00
 7/28/2019 Luis A. Santos                $13.00   51.60   $   12.00         $ 75.40    $      75.40
  8/4/2019 Luis A. Santos                $13.00   51.42   $   12.00         $ 74.21    $      74.21
 8/11/2019 Luis A. Santos                $13.00   49.88   $   12.00         $ 64.24    $      64.24
 8/18/2019 Luis A. Santos                $13.00   52.52   $   12.00         $ 81.36    $      81.36
 8/25/2019 Luis A. Santos                $13.00   44.92   $   12.00         $ 31.96    $      31.96
  9/1/2019 Luis A. Santos                $13.00   54.03   $   12.00         $ 91.22    $      91.22
 9/15/2019 Luis A. Santos                $13.00   56.35   $   12.00         $ 106.28   $     106.28
 9/22/2019 Luis A. Santos                $13.00   55.98   $   12.00         $ 103.89   $     103.89
 9/29/2019 Luis A. Santos                $13.00   54.70   $   12.00         $ 95.55    $      95.55
 10/6/2019 Luis A. Santos                $13.00   54.62   $   12.00         $ 95.01    $      95.01
10/13/2019 Luis A. Santos                $13.00   52.55   $   12.00         $ 81.58    $      81.58


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  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

10/20/2019 Luis A. Santos                  $13.00   47.40   $   12.00               $ 48.10    $    48.10
10/27/2019 Luis A. Santos                  $13.00   53.65   $   12.00               $ 88.73    $    88.73
 11/3/2019 Luis A. Santos                  $13.00   52.62   $   12.00               $ 82.01    $    82.01
11/10/2019 Luis A. Santos                  $13.00   46.07   $   12.00               $ 39.43    $    39.43
11/17/2019 Luis A. Santos                  $13.00   53.23   $   12.00               $ 86.02    $    86.02
11/24/2019 Luis A. Santos                  $13.00   52.38   $   12.00               $ 80.49    $    80.49
 12/1/2019 Luis A. Santos                  $13.00   44.73   $   12.00               $ 30.77    $    30.77
 12/8/2019 Luis A. Santos                  $13.00   56.05   $   12.00               $ 104.33   $   104.33
12/15/2019 Luis A. Santos                  $13.00   54.70   $   12.00               $ 95.55    $    95.55
12/22/2019 Luis A. Santos                  $13.00   51.25   $   12.00               $ 73.13    $    73.13
12/29/2019 Luis A. Santos                  $13.00   41.28   $   12.00               $   8.34   $     8.34
  1/5/2020 Luis A. Santos                  $13.00   45.67   $   13.00               $ 36.83    $    36.83
 1/19/2020 Luis A. Santos                  $13.00   49.45   $   13.00               $ 61.43    $    61.43
 1/26/2020 Luis A. Santos                  $13.00   47.97   $   13.00               $ 51.78    $    51.78
 4/21/2019 Luis Caceres Villa              $11.00   49.13   $   12.00   $   49.13   $ 54.80    $   103.93
 4/28/2019 Luis Caceres Villa              $11.00   48.75   $   12.00   $   48.75   $ 52.50    $   101.25
 5/12/2019 Luis Caceres Villa              $11.00   60.73   $   12.00   $   60.73   $ 124.40   $   185.13
 5/19/2019 Luis Caceres Villa              $11.00   65.50   $   12.00   $   65.50   $ 153.00   $   218.50
 5/26/2019 Luis Caceres Villa              $11.00   60.63   $   12.00   $   60.63   $ 123.80   $   184.43
  6/2/2019 Luis Caceres Villa              $11.00   59.73   $   12.00   $   59.73   $ 118.40   $   178.13
  6/9/2019 Luis Caceres Villa              $11.00   53.23   $   12.00   $   53.23   $ 79.40    $   132.63
 6/16/2019 Luis Caceres Villa              $11.00   64.38   $   12.00   $   64.38   $ 146.30   $   210.68
 6/23/2019 Luis Caceres Villa              $11.00   61.02   $   12.00   $   61.02   $ 126.10   $   187.12
 6/30/2019 Luis Caceres Villa              $11.00   62.07   $   12.00   $   62.07   $ 132.40   $   194.47
11/18/2018 Luis Duverge-7067               $11.00   54.93   $   11.00               $ 82.13    $    82.13
11/25/2018 Luis Duverge-7067               $11.00   44.40   $   11.00               $ 24.20    $    24.20
 12/2/2018 Luis Duverge-7067               $11.00   45.05   $   11.00               $ 27.78    $    27.78
 12/9/2018 Luis Duverge-7067               $11.00   52.27   $   11.00               $ 67.47    $    67.47
12/16/2018 Luis Duverge-7067               $11.00   56.12   $   11.00               $ 88.64    $    88.64
12/23/2018 Luis Duverge-7067               $11.00   51.85   $   11.00               $ 65.18    $    65.18
 1/13/2019 Luis Duverge-7067               $11.00   43.03   $   12.00   $   43.03   $ 18.20    $    61.23
 1/20/2019 Luis Duverge-7067               $11.00   51.13   $   12.00   $   51.13   $ 66.80    $   117.93
 2/10/2019 Luis Duverge-7067               $11.00   46.07   $   12.00   $   46.07   $ 36.40    $    82.47
 3/31/2019 Luis E. Corsino                 $16.50   59.95   $   12.00               $ 164.59   $   164.59
  4/7/2019 Luis E. Corsino                 $16.50   50.83   $   12.00               $ 89.38    $    89.38
 4/14/2019 Luis E. Corsino                 $16.50   63.93   $   12.00               $ 197.45   $   197.45
 4/21/2019 Luis E. Corsino                 $16.50   51.38   $   12.00               $ 93.91    $    93.91
 4/28/2019 Luis E. Corsino                 $16.50   62.33   $   12.00               $ 184.25   $   184.25
  5/5/2019 Luis E. Corsino                 $16.50   61.88   $   12.00               $ 180.54   $   180.54
 5/12/2019 Luis E. Corsino                 $16.50   49.65   $   12.00               $ 79.61    $    79.61
  6/3/2018 Luis Manuel Lopez               $16.50   42.85   $   11.00               $ 23.51    $    23.51
 6/24/2018 Luis Manuel Lopez               $16.50   46.35   $   11.00               $ 52.39    $    52.39
  5/5/2019 Luis Manuel Lopez               $16.50   42.47   $   12.00               $ 20.35    $    20.35
  7/7/2019 Luis Omar Caceres Villa         $13.00   55.33   $   12.00               $ 99.67    $    99.67
 7/14/2019 Luis Omar Caceres Villa         $13.00   55.52   $   12.00               $ 100.86   $   100.86
 7/21/2019 Luis Omar Caceres Villa         $13.00   56.85   $   12.00               $ 109.53   $   109.53
 7/28/2019 Luis Omar Caceres Villa         $13.00   68.37   $   12.00               $ 184.38   $   184.38
  8/4/2019 Luis Omar Caceres Villa         $13.00   68.57   $   12.00               $ 185.68   $   185.68
 8/11/2019 Luis Omar Caceres Villa         $13.00   68.68   $   12.00               $ 186.44   $   186.44
 8/18/2019 Luis Omar Caceres Villa         $13.00   70.35   $   12.00               $ 197.28   $   197.28
 8/25/2019 Luis Omar Caceres Villa         $13.00   67.37   $   12.00               $ 177.88   $   177.88
  9/1/2019 Luis Omar Caceres Villa         $13.00   53.33   $   12.00               $ 86.67    $    86.67


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  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

  9/8/2019 Luis Omar Caceres Villa         $13.00   64.42   $   12.00                $ 158.71   $   158.71
 9/15/2019 Luis Omar Caceres Villa         $13.00   66.60   $   12.00                $ 172.90   $   172.90
 9/22/2019 Luis Omar Caceres Villa         $13.00   69.58   $   12.00                $ 192.29   $   192.29
 9/29/2019 Luis Omar Caceres Villa         $13.00   65.62   $   12.00                $ 166.51   $   166.51
 10/6/2019 Luis Omar Caceres Villa         $13.00   67.30   $   12.00                $ 177.45   $   177.45
10/13/2019 Luis Omar Caceres Villa         $13.00   60.40   $   12.00                $ 132.60   $   132.60
10/20/2019 Luis Omar Caceres Villa         $13.00   66.17   $   12.00                $ 170.08   $   170.08
10/27/2019 Luis Omar Caceres Villa         $13.00   60.70   $   12.00                $ 134.55   $   134.55
 11/3/2019 Luis Omar Caceres Villa         $13.00   66.05   $   12.00                $ 169.33   $   169.33
11/10/2019 Luis Omar Caceres Villa         $13.00   50.50   $   12.00                $ 68.25    $    68.25
11/17/2019 Luis Omar Caceres Villa         $13.00   61.90   $   12.00                $ 142.35   $   142.35
11/24/2019 Luis Omar Caceres Villa         $13.00   59.68   $   12.00                $ 127.94   $   127.94
 12/1/2019 Luis Omar Caceres Villa         $13.00   57.80   $   12.00                $ 115.70   $   115.70
 12/8/2019 Luis Omar Caceres Villa         $13.00   50.58   $   12.00                $ 68.79    $    68.79
12/15/2019 Luis Omar Caceres Villa         $13.00   40.77   $   12.00                $   4.98   $     4.98
12/22/2019 Luis Omar Caceres Villa         $13.00   50.47   $   12.00                $ 68.03    $    68.03
12/29/2019 Luis Omar Caceres Villa         $13.00   53.82   $   12.00                $ 89.81    $    89.81
  1/5/2020 Luis Omar Caceres Villa         $13.00   53.28   $   13.00                $ 86.34    $    86.34
 1/12/2020 Luis Omar Caceres Villa         $13.00   63.75   $   13.00                $ 154.38   $   154.38
 1/19/2020 Luis Omar Caceres Villa         $13.00   66.45   $   13.00                $ 171.93   $   171.93
 1/26/2020 Luis Omar Caceres Villa         $13.00   57.00   $   13.00                $ 110.50   $   110.50
 7/30/2017 Mario Diaz                       $9.00   60.92   $   10.00   $    60.92   $ 104.58   $   165.50
  8/6/2017 Mario Diaz                       $9.00   59.25   $   10.00   $    59.25   $ 96.25    $   155.50
 8/13/2017 Mario Diaz                       $9.00   55.07   $   10.00   $    55.07   $ 75.33    $   130.40
 8/20/2017 Mario Diaz                       $9.00   57.47   $   10.00   $    57.47   $ 87.33    $   144.80
 8/27/2017 Mario Diaz                       $9.00   61.03   $   10.00   $    61.03   $ 105.17   $   166.20
  9/3/2017 Mario Diaz                       $9.00   58.30   $   10.00   $    58.30   $ 91.50    $   149.80
 9/10/2017 Mario Diaz                       $9.00   50.47   $   10.00   $    50.47   $ 52.33    $   102.80
 9/17/2017 Mario Diaz                       $9.00   62.22   $   10.00   $    62.22   $ 111.08   $   173.30
 9/24/2017 Mario Diaz                       $9.00   59.78   $   10.00   $    59.78   $ 98.92    $   158.70
 10/1/2017 Mario Diaz                       $9.00   63.53   $   10.00   $    63.53   $ 117.67   $   181.20
 10/8/2017 Mario Diaz                       $9.00   57.00   $   10.00   $    57.00   $ 85.00    $   142.00
10/15/2017 Mario Diaz                       $9.00   58.62   $   10.00   $    58.62   $ 93.08    $   151.70
10/22/2017 Mario Diaz                       $9.00   59.92   $   10.00   $    59.92   $ 99.58    $   159.50
10/29/2017 Mario Diaz                       $9.00   53.53   $   10.00   $    53.53   $ 67.67    $   121.20
 11/5/2017 Mario Diaz                       $9.00   57.27   $   10.00   $    57.27   $ 86.33    $   143.60
11/12/2017 Mario Diaz                       $9.00   59.87   $   10.00   $    59.87   $ 99.33    $   159.20
11/19/2017 Mario Diaz                       $9.00   57.32   $   10.00   $    57.32   $ 86.58    $   143.90
11/26/2017 Mario Diaz                       $9.00   47.72   $   10.00   $    47.72   $ 38.58    $    86.30
 12/3/2017 Mario Diaz                       $9.00   63.02   $   10.00   $    63.02   $ 115.08   $   178.10
12/10/2017 Mario Diaz                       $9.00   54.00   $   10.00   $    54.00   $ 70.00    $   124.00
12/17/2017 Mario Diaz                       $9.00   50.33   $   10.00   $    50.33   $ 51.67    $   102.00
 7/22/2018 Mario Diaz                       $9.00   58.93   $   11.00   $   117.87   $ 104.13   $   222.00
 7/29/2018 Mario Diaz                       $9.00   53.93   $   11.00   $   107.87   $ 76.63    $   184.50
  8/5/2018 Mario Diaz                       $9.00   59.97   $   11.00   $   119.93   $ 109.82   $   229.75
 8/12/2018 Mario Diaz                       $9.00   56.97   $   11.00   $   113.93   $ 93.32    $   207.25
 8/19/2018 Mario Diaz                       $9.00   56.37   $   11.00   $   112.73   $ 90.02    $   202.75
 8/26/2018 Mario Diaz                       $9.00   54.87   $   11.00   $   109.73   $ 81.77    $   191.50
  9/2/2018 Mario Diaz                       $9.00   58.62   $   11.00   $   117.23   $ 102.39   $   219.63
  9/9/2018 Mario Diaz                       $9.00   46.85   $   11.00   $    93.70   $ 37.68    $   131.38
 9/16/2018 Mario Diaz                       $9.00   57.10   $   11.00   $   114.20   $ 94.05    $   208.25
 9/23/2018 Mario Diaz                       $9.00   60.57   $   11.00   $   121.13   $ 113.12   $   234.25


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  Week                                                  State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
 Ending                    Name                       Minimum  Regular Half-Time Overtime Back
                                         Rate Week
  Date                                                 Wage   Rate Due     Due       Wages Due

 9/30/2018 Mario Diaz                    $9.00   57.05   $   11.00   $   114.10   $ 93.78    $   207.88
 10/7/2018 Mario Diaz                    $9.00   56.32   $   11.00   $   112.63   $ 89.74    $   202.38
10/14/2018 Mario Diaz                    $9.00   54.87   $   11.00   $   109.73   $ 81.77    $   191.50
10/21/2018 Mario Diaz                    $9.00   55.40   $   11.00   $   110.80   $ 84.70    $   195.50
10/28/2018 Mario Diaz                    $9.00   58.12   $   11.00   $   116.23   $ 99.64    $   215.88
 11/4/2018 Mario Diaz                    $9.00   56.40   $   11.00   $   112.80   $ 90.20    $   203.00
11/11/2018 Mario Diaz                    $9.00   53.07   $   11.00   $   106.13   $ 71.87    $   178.00
11/18/2018 Mario Diaz                    $9.00   54.07   $   11.00   $   108.13   $ 77.37    $   185.50
11/25/2018 Mario Diaz                    $9.00   49.33   $   11.00   $    98.67   $ 51.33    $   150.00
 12/2/2018 Mario Diaz                    $9.00   56.05   $   11.00   $   112.10   $ 88.28    $   200.38
 12/9/2018 Mario Diaz                    $9.00   55.43   $   11.00   $   110.87   $ 84.88    $   195.75
12/16/2018 Mario Diaz                    $9.00   48.33   $   11.00   $    96.67   $ 45.83    $   142.50
 2/10/2019 Mario Leonel Guzman          $12.00   62.37   $   12.00                $ 134.20   $   134.20
 2/17/2019 Mario Leonel Guzman          $12.00   60.77   $   12.00                $ 124.60   $   124.60
 2/24/2019 Mario Leonel Guzman          $12.00   52.10   $   12.00                $ 72.60    $    72.60
  3/3/2019 Mario Leonel Guzman          $12.00   62.13   $   12.00                $ 132.80   $   132.80
 3/10/2019 Mario Leonel Guzman          $12.00   62.25   $   12.00                $ 133.50   $   133.50
 3/17/2019 Mario Leonel Guzman          $12.00   57.18   $   12.00                $ 103.10   $   103.10
 3/24/2019 Mario Leonel Guzman          $12.00   58.23   $   12.00                $ 109.40   $   109.40
 3/31/2019 Mario Leonel Guzman          $12.00   58.15   $   12.00                $ 108.90   $   108.90
  4/7/2019 Mario Leonel Guzman          $12.00   57.92   $   12.00                $ 107.50   $   107.50
 4/14/2019 Mario Leonel Guzman          $12.00   48.07   $   12.00                $ 48.40    $    48.40
 4/21/2019 Mario Leonel Guzman          $12.00   61.82   $   12.00                $ 130.90   $   130.90
 4/28/2019 Mario Leonel Guzman          $12.00   58.02   $   12.00                $ 108.10   $   108.10
  5/5/2019 Mario Leonel Guzman          $12.00   61.93   $   12.00                $ 131.60   $   131.60
 5/12/2019 Mario Leonel Guzman          $12.00   60.12   $   12.00                $ 120.70   $   120.70
 5/19/2019 Mario Leonel Guzman          $12.00   60.92   $   12.00                $ 125.50   $   125.50
 5/26/2019 Mario Leonel Guzman          $12.00   61.83   $   12.00                $ 131.00   $   131.00
  6/2/2019 Mario Leonel Guzman          $12.00   49.12   $   12.00                $ 54.70    $    54.70
  6/9/2019 Mario Leonel Guzman          $12.00   60.90   $   12.00                $ 125.40   $   125.40
 6/16/2019 Mario Leonel Guzman          $12.00   61.93   $   12.00                $ 131.60   $   131.60
 6/23/2019 Mario Leonel Guzman          $12.00   50.33   $   12.00                $ 62.00    $    62.00
 6/30/2019 Mario Leonel Guzman          $12.00   50.87   $   12.00                $ 65.20    $    65.20
  7/7/2019 Mario Leonel Guzman          $12.00   49.18   $   12.00                $ 55.10    $    55.10
 7/14/2019 Mario Leonel Guzman          $12.00   56.77   $   12.00                $ 100.60   $   100.60
 7/21/2019 Mario Leonel Guzman          $12.00   59.65   $   12.00                $ 117.90   $   117.90
 7/28/2019 Mario Leonel Guzman          $12.00   48.75   $   12.00                $ 52.50    $    52.50
 8/11/2019 Mario Leonel Guzman          $12.00   58.22   $   12.00                $ 109.30   $   109.30
 8/18/2019 Mario Leonel Guzman          $12.00   58.53   $   12.00                $ 111.20   $   111.20
 8/25/2019 Mario Leonel Guzman          $12.00   47.97   $   12.00                $ 47.80    $    47.80
  9/1/2019 Mario Leonel Guzman          $12.00   58.20   $   12.00                $ 109.20   $   109.20
  9/8/2019 Mario Leonel Guzman          $12.00   48.55   $   12.00                $ 51.30    $    51.30
 9/15/2019 Mario Leonel Guzman          $12.00   50.67   $   12.00                $ 64.00    $    64.00
 9/22/2019 Mario Leonel Guzman          $12.00   58.48   $   12.00                $ 110.90   $   110.90
 9/29/2019 Mario Leonel Guzman          $12.00   59.05   $   12.00                $ 114.30   $   114.30
 10/6/2019 Mario Leonel Guzman          $12.00   48.40   $   12.00                $ 50.40    $    50.40
10/13/2019 Mario Leonel Guzman          $12.00   47.67   $   12.00                $ 46.00    $    46.00
10/20/2019 Mario Leonel Guzman          $12.00   58.13   $   12.00                $ 108.80   $   108.80
10/27/2019 Mario Leonel Guzman          $12.00   57.53   $   12.00                $ 105.20   $   105.20
 11/3/2019 Mario Leonel Guzman          $12.00   50.30   $   12.00                $ 61.80    $    61.80
11/10/2019 Mario Leonel Guzman          $12.00   54.68   $   12.00                $ 88.10    $    88.10
11/17/2019 Mario Leonel Guzman          $12.00   54.72   $   12.00                $ 88.30    $    88.30


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                                         Long Island Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
 Ending                       Name                           Minimum  Regular Half-Time Overtime Back
                                                Rate Week
  Date                                                        Wage   Rate Due     Due       Wages Due

11/24/2019 Mario Leonel Guzman                 $12.00   58.68   $   12.00               $ 112.10   $   112.10
 12/1/2019 Mario Leonel Guzman                 $12.00   48.20   $   12.00               $ 49.20    $    49.20
 12/8/2019 Mario Leonel Guzman                 $12.00   43.27   $   12.00               $ 19.60    $    19.60
12/15/2019 Mario Leonel Guzman                 $12.00   58.60   $   12.00               $ 111.60   $   111.60
12/22/2019 Mario Leonel Guzman                 $12.00   58.12   $   12.00               $ 108.70   $   108.70
  1/5/2020 Mario Leonel Guzman                 $12.00   44.92   $   13.00   $   44.92   $ 31.96    $    76.88
 1/12/2020 Mario Leonel Guzman                 $12.00   60.48   $   13.00   $   60.48   $ 133.14   $   193.63
 1/19/2020 Mario Leonel Guzman                 $12.00   48.17   $   13.00   $   48.17   $ 53.08    $   101.25
 1/26/2020 Mario Leonel Guzman                 $13.00   45.48   $   13.00               $ 35.64    $    35.64
 12/9/2018 Melvis Alex Canales - Valet         $16.50   40.20   $   11.00               $   1.65   $     1.65
12/16/2018 Melvis Alex Canales - Valet         $16.50   64.77   $   11.00               $ 204.33   $   204.33
12/23/2018 Melvis Alex Canales - Valet         $16.50   64.88   $   11.00               $ 205.29   $   205.29
 1/13/2019 Melvis Alex Canales - Valet         $16.50   65.00   $   12.00               $ 206.25   $   206.25
 1/20/2019 Melvis Alex Canales - Valet         $16.50   65.07   $   12.00               $ 206.80   $   206.80
 1/27/2019 Melvis Alex Canales - Valet         $16.50   63.72   $   12.00               $ 195.66   $   195.66
  2/3/2019 Melvis Alex Canales - Valet         $16.50   63.75   $   12.00               $ 195.94   $   195.94
 2/10/2019 Melvis Alex Canales - Valet         $16.50   61.60   $   12.00               $ 178.20   $   178.20
 2/17/2019 Melvis Alex Canales - Valet         $16.50   43.28   $   12.00               $ 27.09    $    27.09
 2/24/2019 Melvis Alex Canales - Valet         $16.50   64.40   $   12.00               $ 201.30   $   201.30
  3/3/2019 Melvis Alex Canales - Valet         $16.50   51.42   $   12.00               $ 94.19    $    94.19
 3/10/2019 Melvis Alex Canales - Valet         $16.50   41.00   $   12.00               $   8.25   $     8.25
 3/17/2019 Melvis Alex Canales - Valet         $16.50   57.93   $   12.00               $ 147.95   $   147.95
 3/31/2019 Melvis Alex Canales - Valet         $16.50   54.42   $   12.00               $ 118.94   $   118.94
11/11/2018 Michael P. Caplin Carlin            $16.50   55.00   $   11.00               $ 123.75   $   123.75
11/18/2018 Michael P. Caplin Carlin            $16.50   54.00   $   11.00               $ 115.50   $   115.50
 1/20/2019 Michel Abreu Cabrera                $12.00   59.12   $   12.00               $ 114.70   $   114.70
 1/27/2019 Michel Abreu Cabrera                $12.00   55.70   $   12.00               $ 94.20    $    94.20
  2/3/2019 Michel Abreu Cabrera                $12.00   60.10   $   12.00               $ 120.60   $   120.60
 2/10/2019 Michel Abreu Cabrera                $12.00   42.07   $   12.00               $ 12.40    $    12.40
 2/17/2019 Michel Abreu Cabrera                $12.00   44.92   $   12.00               $ 29.50    $    29.50
 2/24/2019 Michel Abreu Cabrera                $12.00   43.33   $   12.00               $ 20.00    $    20.00
 4/16/2017 Milton Canales                      $16.00   50.08   $   10.00               $ 80.67    $    80.67
 4/23/2017 Milton Canales                      $16.00   50.33   $   10.00               $ 82.67    $    82.67
 4/30/2017 Milton Canales                      $16.00   51.13   $   10.00               $ 89.07    $    89.07
  5/7/2017 Milton Canales                      $16.00   52.80   $   10.00               $ 102.40   $   102.40
 5/14/2017 Milton Canales                      $16.00   53.78   $   10.00               $ 110.27   $   110.27
 5/21/2017 Milton Canales                      $16.00   54.53   $   10.00               $ 116.27   $   116.27
 5/28/2017 Milton Canales                      $16.00   52.55   $   10.00               $ 100.40   $   100.40
  6/4/2017 Milton Canales                      $16.00   43.12   $   10.00               $ 24.93    $    24.93
 6/11/2017 Milton Canales                      $16.00   50.80   $   10.00               $ 86.40    $    86.40
 6/18/2017 Milton Canales                      $16.00   50.53   $   10.00               $ 84.27    $    84.27
 6/25/2017 Milton Canales                      $16.00   50.38   $   10.00               $ 83.07    $    83.07
  7/2/2017 Milton Canales                      $16.00   52.75   $   10.00               $ 102.00   $   102.00
  7/9/2017 Milton Canales                      $16.00   43.90   $   10.00               $ 31.20    $    31.20
 7/16/2017 Milton Canales                      $16.00   50.52   $   10.00               $ 84.13    $    84.13
 7/30/2017 Milton Canales                      $16.00   61.12   $   10.00               $ 168.93   $   168.93
  8/6/2017 Milton Canales                      $16.00   54.63   $   10.00               $ 117.07   $   117.07
 8/13/2017 Milton Canales                      $16.00   50.40   $   10.00               $ 83.20    $    83.20
 8/20/2017 Milton Canales                      $16.00   45.63   $   10.00               $ 45.07    $    45.07
 8/27/2017 Milton Canales                      $16.00   42.08   $   10.00               $ 16.67    $    16.67
  9/3/2017 Milton Canales                      $16.00   40.17   $   10.00               $   1.33   $     1.33
 9/10/2017 Milton Canales                      $16.00   48.63   $   10.00               $ 69.07    $    69.07


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  Week                                                            State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
 Ending                    Name                                 Minimum  Regular Half-Time Overtime Back
                                                   Rate Week
  Date                                                           Wage   Rate Due     Due       Wages Due

 9/17/2017 Milton Canales                         $16.00   50.50   $   10.00         $ 84.00    $      84.00
 9/24/2017 Milton Canales                         $16.00   49.82   $   10.00         $ 78.53    $      78.53
 10/1/2017 Milton Canales                         $16.00   49.13   $   10.00         $ 73.07    $      73.07
 10/8/2017 Milton Canales                         $16.00   50.53   $   10.00         $ 84.27    $      84.27
10/15/2017 Milton Canales                         $16.00   41.95   $   10.00         $ 15.60    $      15.60
10/22/2017 Milton Canales                         $16.00   42.78   $   10.00         $ 22.27    $      22.27
10/29/2017 Milton Canales                         $16.00   41.88   $   10.00         $ 15.07    $      15.07
 11/5/2017 Milton Canales                         $16.00   49.52   $   10.00         $ 76.13    $      76.13
11/12/2017 Milton Canales                         $16.00   49.67   $   10.00         $ 77.33    $      77.33
11/19/2017 Milton Canales                         $16.00   49.12   $   10.00         $ 72.93    $      72.93
11/26/2017 Milton Canales                         $16.00   41.28   $   10.00         $ 10.27    $      10.27
 12/3/2017 Milton Canales                         $16.00   52.72   $   10.00         $ 101.73   $     101.73
12/10/2017 Milton Canales                         $16.00   51.35   $   10.00         $ 90.80    $      90.80
12/17/2017 Milton Canales                         $16.00   48.93   $   10.00         $ 71.47    $      71.47
12/24/2017 Milton Canales                         $16.00   49.78   $   10.00         $ 78.27    $      78.27
12/31/2017 Milton Canales                         $16.00   42.40   $   11.00         $ 19.20    $      19.20
  1/7/2018 Milton Canales                         $16.00   43.15   $   11.00         $ 25.20    $      25.20
 1/14/2018 Milton Canales                         $16.00   49.20   $   11.00         $ 73.60    $      73.60
 1/21/2018 Milton Canales                         $16.00   50.95   $   11.00         $ 87.60    $      87.60
  2/4/2018 Milton Canales                         $16.00   53.00   $   11.00         $ 104.00   $     104.00
 2/11/2018 Milton Canales                         $16.00   43.45   $   11.00         $ 27.60    $      27.60
 9/23/2018 Milton Canales                         $14.25   52.35   $   11.00         $ 87.99    $      87.99
 9/30/2018 Milton Canales                         $14.25   48.05   $   11.00         $ 57.36    $      57.36
 10/7/2018 Milton Canales                         $14.25   48.03   $   11.00         $ 57.24    $      57.24
10/14/2018 Milton Canales                         $14.25   45.90   $   11.00         $ 42.04    $      42.04
10/28/2018 Milton Canales                         $14.25   54.10   $   11.00         $ 100.46   $     100.46
 11/4/2018 Milton Canales                         $14.25   53.63   $   11.00         $ 97.14    $      97.14
11/11/2018 Milton Canales                         $14.25   51.83   $   11.00         $ 84.31    $      84.31
11/18/2018 Milton Canales                         $14.25   45.75   $   11.00         $ 40.97    $      40.97
11/25/2018 Milton Canales                         $14.25   42.97   $   11.00         $ 21.14    $      21.14
 12/2/2018 Milton Canales                         $14.25   44.78   $   11.00         $ 34.08    $      34.08
 12/9/2018 Milton Canales                         $14.25   47.43   $   11.00         $ 52.96    $      52.96
12/16/2018 Milton Canales                         $14.25   40.12   $   11.00         $   0.83   $       0.83
12/23/2018 Milton Canales                         $14.25   47.62   $   11.00         $ 54.27    $      54.27
 1/13/2019 Milton Canales                         $14.25   49.00   $   12.00         $ 64.13    $      64.13
 1/20/2019 Milton Canales                         $14.25   48.98   $   12.00         $ 64.01    $      64.01
 1/27/2019 Milton Canales                         $14.25   47.03   $   12.00         $ 50.11    $      50.11
  2/3/2019 Milton Canales                         $14.25   47.83   $   12.00         $ 55.81    $      55.81
 2/10/2019 Milton Canales                         $14.25   47.85   $   12.00         $ 55.93    $      55.93
 2/24/2019 Milton Canales                         $14.25   48.30   $   12.00         $ 59.14    $      59.14
  3/3/2019 Milton Canales                         $14.25   48.32   $   12.00         $ 59.26    $      59.26
 3/10/2019 Milton Canales                         $14.25   49.73   $   12.00         $ 69.35    $      69.35
 3/17/2019 Milton Canales                         $14.25   47.23   $   12.00         $ 51.54    $      51.54
 3/24/2019 Milton Canales                         $14.25   48.52   $   12.00         $ 60.68    $      60.68
 3/31/2019 Milton Canales                         $14.25   43.97   $   12.00         $ 28.26    $      28.26
  4/7/2019 Milton Canales                         $14.25   47.23   $   12.00         $ 51.54    $      51.54
 4/28/2019 Milton Canales                         $14.25   47.32   $   12.00         $ 52.13    $      52.13
  5/5/2019 Milton Canales                         $14.25   47.43   $   12.00         $ 52.96    $      52.96
 5/12/2019 Milton Canales                         $14.25   47.35   $   12.00         $ 52.37    $      52.37
 5/19/2019 Milton Canales                         $14.25   48.10   $   12.00         $ 57.71    $      57.71
 5/26/2019 Milton Canales                         $14.25   40.35   $   12.00         $   2.49   $       2.49
 6/25/2017 Monica G. Vasquez - Car Wash Manager   $11.50   56.77   $   10.00         $ 96.41    $      96.41


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  Week                                                            State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
 Ending                    Name                                 Minimum  Regular Half-Time Overtime Back
                                                   Rate Week
  Date                                                           Wage   Rate Due     Due       Wages Due

  7/2/2017 Monica G. Vasquez - Car Wash Manager   $11.50   57.53   $   10.00               $ 100.82   $   100.82
  7/9/2017 Monica G. Vasquez - Car Wash Manager   $11.50   45.73   $   10.00               $ 32.97    $    32.97
 7/16/2017 Monica G. Vasquez - Car Wash Manager   $11.50   44.47   $   10.00               $ 25.68    $    25.68
 7/23/2017 Monica G. Vasquez - Car Wash Manager   $11.50   57.20   $   10.00               $ 98.90    $    98.90
 7/30/2017 Monica G. Vasquez - Car Wash Manager   $11.50   57.35   $   10.00               $ 99.76    $    99.76
  8/6/2017 Monica G. Vasquez - Car Wash Manager   $11.50   52.17   $   10.00               $ 69.96    $    69.96
 8/13/2017 Monica G. Vasquez - Car Wash Manager   $11.50   57.35   $   10.00               $ 99.76    $    99.76
 8/20/2017 Monica G. Vasquez - Car Wash Manager   $11.50   46.25   $   10.00               $ 35.94    $    35.94
 8/27/2017 Monica G. Vasquez - Car Wash Manager   $11.50   50.78   $   10.00               $ 62.00    $    62.00
  9/3/2017 Monica G. Vasquez - Car Wash Manager   $11.50   58.90   $   10.00               $ 108.68   $   108.68
 9/17/2017 Monica G. Vasquez - Car Wash Manager   $11.50   55.68   $   10.00               $ 90.18    $    90.18
 9/24/2017 Monica G. Vasquez - Car Wash Manager   $11.50   56.85   $   10.00               $ 96.89    $    96.89
 10/1/2017 Monica G. Vasquez - Car Wash Manager   $11.50   42.83   $   10.00               $ 16.29    $    16.29
 10/8/2017 Monica G. Vasquez - Car Wash Manager   $11.50   58.98   $   10.00               $ 109.15   $   109.15
10/15/2017 Monica G. Vasquez - Car Wash Manager   $11.50   48.27   $   10.00               $ 47.53    $    47.53
10/22/2017 Monica G. Vasquez - Car Wash Manager   $11.50   52.88   $   10.00               $ 74.08    $    74.08
10/29/2017 Monica G. Vasquez - Car Wash Manager   $11.50   58.87   $   10.00               $ 108.48   $   108.48
 11/5/2017 Monica G. Vasquez - Car Wash Manager   $11.50   55.67   $   10.00               $ 90.08    $    90.08
11/12/2017 Monica G. Vasquez - Car Wash Manager   $11.50   59.20   $   10.00               $ 110.40   $   110.40
11/19/2017 Monica G. Vasquez - Car Wash Manager   $11.50   40.58   $   10.00               $   3.35   $     3.35
11/26/2017 Monica G. Vasquez - Car Wash Manager   $11.50   47.88   $   10.00               $ 45.33    $    45.33
 12/3/2017 Monica G. Vasquez - Car Wash Manager   $11.50   57.65   $   10.00               $ 101.49   $   101.49
12/10/2017 Monica G. Vasquez - Car Wash Manager   $11.50   46.03   $   10.00               $ 34.69    $    34.69
12/17/2017 Monica G. Vasquez - Car Wash Manager   $11.50   43.27   $   10.00               $ 18.78    $    18.78
12/24/2017 Monica G. Vasquez - Car Wash Manager   $11.50   47.77   $   10.00               $ 44.66    $    44.66
12/31/2017 Monica G. Vasquez - Car Wash Manager   $11.50   47.38   $   11.00               $ 42.45    $    42.45
  1/7/2018 Monica G. Vasquez - Car Wash Manager   $11.50   40.12   $   11.00               $   0.67   $     0.67
 1/14/2018 Monica G. Vasquez - Car Wash Manager   $11.50   55.63   $   11.00               $ 89.89    $    89.89
 1/28/2018 Monica G. Vasquez - Car Wash Manager   $11.50   58.63   $   11.00               $ 107.14   $   107.14
 2/11/2018 Monica G. Vasquez - Car Wash Manager   $11.50   56.17   $   11.00               $ 92.96    $    92.96
  9/2/2018 Monica G. Vasquez - Car Wash Manager   $11.50   59.68   $   11.00               $ 113.18   $   113.18
  9/9/2018 Monica G. Vasquez - Car Wash Manager   $11.50   40.35   $   11.00               $   2.01   $     2.01
 9/16/2018 Monica G. Vasquez - Car Wash Manager   $11.50   60.87   $   11.00               $ 119.98   $   119.98
 9/23/2018 Monica G. Vasquez - Car Wash Manager   $11.50   54.72   $   11.00               $ 84.62    $    84.62
 9/30/2018 Monica G. Vasquez - Car Wash Manager   $11.50   60.65   $   11.00               $ 118.74   $   118.74
 10/7/2018 Monica G. Vasquez - Car Wash Manager   $11.50   60.23   $   11.00               $ 116.34   $   116.34
10/14/2018 Monica G. Vasquez - Car Wash Manager   $11.50   59.57   $   11.00               $ 112.51   $   112.51
10/21/2018 Monica G. Vasquez - Car Wash Manager   $11.50   56.43   $   11.00               $ 94.49    $    94.49
10/28/2018 Monica G. Vasquez - Car Wash Manager   $11.50   60.33   $   11.00               $ 116.92   $   116.92
 11/4/2018 Monica G. Vasquez - Car Wash Manager   $11.50   62.52   $   11.00               $ 129.47   $   129.47
11/11/2018 Monica G. Vasquez - Car Wash Manager   $11.50   61.83   $   11.00               $ 125.54   $   125.54
11/18/2018 Monica G. Vasquez - Car Wash Manager   $11.50   57.68   $   11.00               $ 101.68   $   101.68
11/25/2018 Monica G. Vasquez - Car Wash Manager   $11.50   49.00   $   11.00               $ 51.75    $    51.75
 12/2/2018 Monica G. Vasquez - Car Wash Manager   $11.50   60.28   $   11.00               $ 116.63   $   116.63
 12/9/2018 Monica G. Vasquez - Car Wash Manager   $11.50   61.62   $   11.00               $ 124.30   $   124.30
12/16/2018 Monica G. Vasquez - Car Wash Manager   $11.50   59.12   $   11.00               $ 109.92   $   109.92
12/23/2018 Monica G. Vasquez - Car Wash Manager   $11.50   60.75   $   11.00               $ 119.31   $   119.31
12/30/2018 Monica G. Vasquez - Car Wash Manager   $11.50   46.77   $   11.00               $ 38.91    $    38.91
  1/6/2019 Monica G. Vasquez - Car Wash Manager   $11.50   41.27   $   12.00   $   20.63   $   7.60   $    28.23
 1/13/2019 Monica G. Vasquez - Car Wash Manager   $11.50   62.47   $   12.00   $   31.23   $ 134.80   $   166.03
 1/27/2019 Monica G. Vasquez - Car Wash Manager   $11.50   67.50   $   12.00   $   33.75   $ 165.00   $   198.75
  2/3/2019 Monica G. Vasquez - Car Wash Manager   $11.50   59.85   $   12.00   $   29.93   $ 119.10   $   149.03


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                                                     Exhibit 5
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  Week                                                            State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
 Ending                    Name                                 Minimum  Regular Half-Time Overtime Back
                                                   Rate Week
  Date                                                           Wage   Rate Due     Due       Wages Due

 2/10/2019 Monica G. Vasquez - Car Wash Manager   $11.50   64.08   $   12.00   $    32.04   $ 144.50   $   176.54
 2/17/2019 Monica G. Vasquez - Car Wash Manager   $11.50   63.22   $   12.00   $    31.61   $ 139.30   $   170.91
 2/24/2019 Monica G. Vasquez - Car Wash Manager   $11.50   51.00   $   12.00   $    25.50   $ 66.00    $    91.50
  3/3/2019 Monica G. Vasquez - Car Wash Manager   $11.50   62.12   $   12.00   $    31.06   $ 132.70   $   163.76
 3/10/2019 Monica G. Vasquez - Car Wash Manager   $11.50   61.45   $   12.00   $    30.73   $ 128.70   $   159.43
 3/17/2019 Monica G. Vasquez - Car Wash Manager   $11.50   62.43   $   12.00   $    31.22   $ 134.60   $   165.82
 3/24/2019 Monica G. Vasquez - Car Wash Manager   $11.50   61.95   $   12.00   $    30.98   $ 131.70   $   162.68
 3/31/2019 Monica G. Vasquez - Car Wash Manager   $11.50   61.45   $   12.00   $    30.73   $ 128.70   $   159.43
  4/7/2019 Monica G. Vasquez - Car Wash Manager   $11.50   60.57   $   12.00   $    30.28   $ 123.40   $   153.68
 4/28/2019 Monica G. Vasquez - Car Wash Manager   $11.50   52.35   $   12.00   $    26.18   $ 74.10    $   100.28
  5/5/2019 Monica G. Vasquez - Car Wash Manager   $11.50   61.38   $   12.00   $    30.69   $ 128.30   $   158.99
 5/12/2019 Monica G. Vasquez - Car Wash Manager   $11.50   51.10   $   12.00   $    25.55   $ 66.60    $    92.15
 5/19/2019 Monica G. Vasquez - Car Wash Manager   $11.50   61.25   $   12.00   $    30.63   $ 127.50   $   158.13
 5/26/2019 Monica G. Vasquez - Car Wash Manager   $11.50   61.57   $   12.00   $    30.78   $ 129.40   $   160.18
  6/9/2019 Monica G. Vasquez - Car Wash Manager   $11.50   57.98   $   12.00   $    28.99   $ 107.90   $   136.89
 6/16/2019 Monica G. Vasquez - Car Wash Manager   $11.50   57.38   $   12.00   $    28.69   $ 104.30   $   132.99
 6/30/2019 Monica G. Vasquez - Car Wash Manager   $11.50   47.95   $   12.00   $    23.98   $ 47.70    $    71.68
  7/7/2019 Monica G. Vasquez - Car Wash Manager   $13.00   43.73   $   12.00                $ 24.27    $    24.27
 7/14/2019 Monica G. Vasquez - Car Wash Manager   $13.00   51.95   $   12.00                $ 77.68    $    77.68
 7/21/2019 Monica G. Vasquez - Car Wash Manager   $13.00   51.75   $   12.00                $ 76.38    $    76.38
 7/28/2019 Monica G. Vasquez - Car Wash Manager   $13.00   50.90   $   12.00                $ 70.85    $    70.85
 8/11/2019 Monica G. Vasquez - Car Wash Manager   $13.00   51.82   $   12.00                $ 76.81    $    76.81
 8/18/2019 Monica G. Vasquez - Car Wash Manager   $13.00   52.10   $   12.00                $ 78.65    $    78.65
 8/25/2019 Monica G. Vasquez - Car Wash Manager   $13.00   50.20   $   12.00                $ 66.30    $    66.30
  9/1/2019 Monica G. Vasquez - Car Wash Manager   $13.00   43.65   $   12.00                $ 23.73    $    23.73
 9/15/2019 Monica G. Vasquez - Car Wash Manager   $13.00   46.47   $   12.00                $ 42.03    $    42.03
 9/22/2019 Monica G. Vasquez - Car Wash Manager   $13.00   50.95   $   12.00                $ 71.18    $    71.18
 9/29/2019 Monica G. Vasquez - Car Wash Manager   $13.00   40.90   $   12.00                $   5.85   $     5.85
 10/6/2019 Monica G. Vasquez - Car Wash Manager   $13.00   49.62   $   12.00                $ 62.51    $    62.51
10/13/2019 Monica G. Vasquez - Car Wash Manager   $13.00   51.02   $   12.00                $ 71.61    $    71.61
10/20/2019 Monica G. Vasquez - Car Wash Manager   $13.00   50.07   $   12.00                $ 65.43    $    65.43
10/27/2019 Monica G. Vasquez - Car Wash Manager   $13.00   50.92   $   12.00                $ 70.96    $    70.96
11/10/2019 Monica G. Vasquez - Car Wash Manager   $13.00   44.98   $   12.00                $ 32.39    $    32.39
11/17/2019 Monica G. Vasquez - Car Wash Manager   $13.00   41.30   $   12.00                $   8.45   $     8.45
11/24/2019 Monica G. Vasquez - Car Wash Manager   $13.00   46.90   $   12.00                $ 44.85    $    44.85
 12/8/2019 Monica G. Vasquez - Car Wash Manager   $13.00   48.00   $   12.00                $ 52.00    $    52.00
12/15/2019 Monica G. Vasquez - Car Wash Manager   $13.00   53.45   $   12.00                $ 87.43    $    87.43
12/29/2019 Monica G. Vasquez - Car Wash Manager   $13.00   40.30   $   12.00                $   1.95   $     1.95
  1/5/2020 Monica G. Vasquez - Car Wash Manager   $13.00   41.50   $   13.00                $   9.75   $     9.75
 11/4/2018 Neri Romero                            $10.00   49.00   $   11.00   $    49.00   $ 49.50    $    98.50
11/11/2018 Neri Romero                            $10.00   50.68   $   11.00   $    50.68   $ 58.76    $   109.44
11/18/2018 Neri Romero                            $10.00   62.10   $   11.00   $    62.10   $ 121.55   $   183.65
11/25/2018 Neri Romero                            $10.00   49.75   $   11.00   $    49.75   $ 53.63    $   103.38
 12/2/2018 Neri Romero                            $10.00   62.13   $   11.00   $    62.13   $ 121.73   $   183.87
 12/9/2018 Neri Romero                            $10.00   44.47   $   11.00   $    44.47   $ 24.57    $    69.03
12/16/2018 Neri Romero                            $10.00   62.20   $   11.00   $    62.20   $ 122.10   $   184.30
12/23/2018 Neri Romero                            $10.00   51.62   $   11.00   $    51.62   $ 63.89    $   115.51
  1/6/2019 Neri Romero                            $10.00   48.15   $   12.00   $    96.30   $ 48.90    $   145.20
 1/13/2019 Neri Romero                            $10.00   40.62   $   12.00   $    81.23   $   3.70   $    84.93
 1/20/2019 Neri Romero                            $10.00   51.55   $   12.00   $   103.10   $ 69.30    $   172.40
 4/28/2019 Neri Romero                            $11.00   46.83   $   12.00   $    46.83   $ 41.00    $    87.83
  5/5/2019 Neri Romero                            $11.00   56.10   $   12.00   $    56.10   $ 96.60    $   152.70


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  Week                                                State Section 7: Section 7: Total Section 7
                                      Hourly Hours/
 Ending                  Name                       Minimum  Regular Half-Time Overtime Back
                                       Rate Week
  Date                                               Wage   Rate Due     Due       Wages Due

 5/12/2019 Neri Romero                $11.00   50.35   $   12.00   $   50.35   $ 62.10    $   112.45
 5/19/2019 Neri Romero                $11.00   56.07   $   12.00   $   56.07   $ 96.40    $   152.47
 5/26/2019 Neri Romero                $11.00   55.57   $   12.00   $   55.57   $ 93.40    $   148.97
  6/2/2019 Neri Romero                $11.00   47.77   $   12.00   $   47.77   $ 46.60    $    94.37
  6/9/2019 Neri Romero                $11.00   58.45   $   12.00   $   58.45   $ 110.70   $   169.15
 6/16/2019 Neri Romero                $11.00   57.30   $   12.00   $   57.30   $ 103.80   $   161.10
 6/23/2019 Neri Romero                $11.00   57.52   $   12.00   $   57.52   $ 105.10   $   162.62
 6/30/2019 Neri Romero                $11.00   48.28   $   12.00   $   48.28   $ 49.70    $    97.98
  7/7/2019 Neri Romero                $13.00   41.38   $   12.00               $   8.99   $     8.99
 7/14/2019 Neri Romero                $13.00   40.85   $   12.00               $   5.53   $     5.53
 7/21/2019 Neri Romero                $13.00   53.33   $   12.00               $ 86.67    $    86.67
 7/28/2019 Neri Romero                $13.00   52.75   $   12.00               $ 82.88    $    82.88
  8/4/2019 Neri Romero                $13.00   52.78   $   12.00               $ 83.09    $    83.09
 8/11/2019 Neri Romero                $13.00   53.35   $   12.00               $ 86.78    $    86.78
 8/18/2019 Neri Romero                $13.00   53.05   $   12.00               $ 84.83    $    84.83
 8/25/2019 Neri Romero                $13.00   53.90   $   12.00               $ 90.35    $    90.35
  9/1/2019 Neri Romero                $13.00   53.42   $   12.00               $ 87.21    $    87.21
  9/8/2019 Neri Romero                $13.00   43.07   $   12.00               $ 19.93    $    19.93
 9/15/2019 Neri Romero                $13.00   53.43   $   12.00               $ 87.32    $    87.32
 9/22/2019 Neri Romero                $13.00   45.80   $   12.00               $ 37.70    $    37.70
 9/29/2019 Neri Romero                $13.00   53.73   $   12.00               $ 89.27    $    89.27
10/20/2019 Neri Romero                $13.00   54.03   $   12.00               $ 91.22    $    91.22
10/27/2019 Neri Romero                $13.00   46.73   $   12.00               $ 43.77    $    43.77
11/10/2019 Neri Romero                $13.00   53.65   $   12.00               $ 88.73    $    88.73
11/17/2019 Neri Romero                $13.00   52.20   $   12.00               $ 79.30    $    79.30
11/24/2019 Neri Romero                $13.00   47.65   $   12.00               $ 49.73    $    49.73
 12/8/2019 Neri Romero                $13.00   55.47   $   12.00               $ 100.53   $   100.53
12/29/2019 Neri Romero                $13.00   40.30   $   12.00               $   1.95   $     1.95
 1/12/2020 Neri Romero                $13.00   48.67   $   13.00               $ 56.33    $    56.33
 1/26/2020 Neri Romero                $13.00   41.93   $   13.00               $ 12.57    $    12.57
  2/5/2017 Nery Eluir                 $10.00   82.82   $   10.00               $ 214.08   $   214.08
 2/12/2017 Nery Eluir                 $10.00   73.22   $   10.00               $ 166.08   $   166.08
 2/19/2017 Nery Eluir                 $10.00   82.90   $   10.00               $ 214.50   $   214.50
 2/26/2017 Nery Eluir                 $10.00   82.15   $   10.00               $ 210.75   $   210.75
  3/5/2017 Nery Eluir                 $10.00   83.40   $   10.00               $ 217.00   $   217.00
 3/12/2017 Nery Eluir                 $10.00   83.53   $   10.00               $ 217.67   $   217.67
 3/19/2017 Nery Eluir                 $10.00   70.87   $   10.00               $ 154.33   $   154.33
 3/26/2017 Nery Eluir                 $10.00   75.07   $   10.00               $ 175.33   $   175.33
  4/2/2017 Nery Eluir                 $10.00   82.38   $   10.00               $ 211.92   $   211.92
  4/9/2017 Nery Eluir                 $10.00   83.70   $   10.00               $ 218.50   $   218.50
 4/16/2017 Nery Eluir                 $10.00   83.43   $   10.00               $ 217.17   $   217.17
 4/23/2017 Nery Eluir                 $10.00   83.85   $   10.00               $ 219.25   $   219.25
 4/30/2017 Nery Eluir                 $10.00   83.70   $   10.00               $ 218.50   $   218.50
  5/7/2017 Nery Eluir                 $10.00   80.88   $   10.00               $ 204.42   $   204.42
 5/14/2017 Nery Eluir                 $10.00   80.63   $   10.00               $ 203.17   $   203.17
 5/21/2017 Nery Eluir                 $10.00   80.77   $   10.00               $ 203.83   $   203.83
 5/28/2017 Nery Eluir                 $10.00   90.03   $   10.00               $ 250.17   $   250.17
 6/25/2017 Nery Eluir                 $10.00   81.27   $   10.00               $ 206.33   $   206.33
  7/2/2017 Nery Eluir                 $10.00   81.87   $   10.00               $ 209.33   $   209.33
  7/9/2017 Nery Eluir                 $10.00   66.38   $   10.00               $ 131.92   $   131.92
 7/16/2017 Nery Eluir                 $10.00   83.13   $   10.00               $ 215.67   $   215.67
 7/23/2017 Nery Eluir                 $10.00   78.25   $   10.00               $ 191.25   $   191.25


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  Week                                                State Section 7: Section 7: Total Section 7
                                      Hourly Hours/
 Ending                 Name                        Minimum  Regular Half-Time Overtime Back
                                       Rate Week
  Date                                               Wage   Rate Due     Due       Wages Due

 7/30/2017 Nery Eluir                 $10.00   82.37   $   10.00               $ 211.83   $   211.83
  8/6/2017 Nery Eluir                 $10.00   82.02   $   10.00               $ 210.08   $   210.08
 8/13/2017 Nery Eluir                 $10.00   83.90   $   10.00               $ 219.50   $   219.50
 8/20/2017 Nery Eluir                 $10.00   82.03   $   10.00               $ 210.17   $   210.17
 8/27/2017 Nery Eluir                 $10.00   82.40   $   10.00               $ 212.00   $   212.00
  9/3/2017 Nery Eluir                 $10.00   80.95   $   10.00               $ 204.75   $   204.75
 9/10/2017 Nery Eluir                 $10.00   65.63   $   10.00               $ 128.17   $   128.17
 9/17/2017 Nery Eluir                 $10.00   66.65   $   10.00               $ 133.25   $   133.25
 9/24/2017 Nery Eluir                 $10.00   75.02   $   10.00               $ 175.08   $   175.08
 10/1/2017 Nery Eluir                 $10.00   82.23   $   10.00               $ 211.17   $   211.17
 10/8/2017 Nery Eluir                 $10.00   81.93   $   10.00               $ 209.67   $   209.67
10/15/2017 Nery Eluir                 $10.00   81.70   $   10.00               $ 208.50   $   208.50
10/22/2017 Nery Eluir                 $10.00   86.70   $   10.00               $ 233.50   $   233.50
10/29/2017 Nery Eluir                 $10.00   82.85   $   10.00               $ 214.25   $   214.25
 11/5/2017 Nery Eluir                 $10.00   81.88   $   10.00               $ 209.42   $   209.42
11/12/2017 Nery Eluir                 $10.00   75.07   $   10.00               $ 175.33   $   175.33
11/19/2017 Nery Eluir                 $10.00   82.12   $   10.00               $ 210.58   $   210.58
11/26/2017 Nery Eluir                 $10.00   65.83   $   10.00               $ 129.17   $   129.17
 12/3/2017 Nery Eluir                 $10.00   82.23   $   10.00               $ 211.17   $   211.17
12/10/2017 Nery Eluir                 $10.00   80.72   $   10.00               $ 203.58   $   203.58
12/17/2017 Nery Eluir                 $10.00   81.92   $   10.00               $ 209.58   $   209.58
12/24/2017 Nery Eluir                 $10.00   80.50   $   10.00               $ 202.50   $   202.50
12/31/2017 Nery Eluir                 $10.00   65.63   $   11.00   $   65.63   $ 140.98   $   206.62
  1/7/2018 Nery Eluir                 $10.00   47.38   $   11.00   $   47.38   $ 40.61    $    87.99
 1/14/2018 Nery Eluir                 $10.00   79.38   $   11.00   $   79.38   $ 216.61   $   295.99
 1/21/2018 Nery Eluir                 $10.00   82.40   $   11.00   $   82.40   $ 233.20   $   315.60
 2/11/2018 Nery Eluir                 $10.00   82.72   $   11.00   $   82.72   $ 234.94   $   317.66
 2/18/2018 Nery Eluir                 $10.00   71.58   $   11.00   $   71.58   $ 173.71   $   245.29
 2/25/2018 Nery Eluir                 $10.00   82.83   $   11.00   $   82.83   $ 235.58   $   318.42
  3/4/2018 Nery Eluir                 $10.00   83.92   $   11.00   $   83.92   $ 241.54   $   325.46
 3/25/2018 Nery Eluir                 $10.00   72.70   $   11.00   $   72.70   $ 179.85   $   252.55
  4/1/2018 Nery Eluir                 $10.00   81.93   $   11.00   $   81.93   $ 230.63   $   312.57
  4/8/2018 Nery Eluir                 $10.00   81.08   $   11.00   $   81.08   $ 225.96   $   307.04
 4/15/2018 Nery Eluir                 $10.00   83.18   $   11.00   $   83.18   $ 237.51   $   320.69
 4/22/2018 Nery Eluir                 $10.00   84.02   $   11.00   $   84.02   $ 242.09   $   326.11
 4/29/2018 Nery Eluir                 $10.00   83.72   $   11.00   $   83.72   $ 240.44   $   324.16
  5/6/2018 Nery Eluir                 $10.00   84.32   $   11.00   $   84.32   $ 243.74   $   328.06
 5/13/2018 Nery Eluir                 $10.00   84.05   $   11.00   $   84.05   $ 242.28   $   326.33
 5/20/2018 Nery Eluir                 $10.00   83.07   $   11.00   $   83.07   $ 236.87   $   319.93
 5/27/2018 Nery Eluir                 $10.00   83.32   $   11.00   $   83.32   $ 238.24   $   321.56
  6/3/2018 Nery Eluir                 $10.00   67.87   $   11.00   $   67.87   $ 153.27   $   221.13
 6/10/2018 Nery Eluir                 $10.00   84.67   $   11.00   $   84.67   $ 245.67   $   330.33
 6/17/2018 Nery Eluir                 $10.00   84.35   $   11.00   $   84.35   $ 243.93   $   328.28
 6/24/2018 Nery Eluir                 $10.00   83.57   $   11.00   $   83.57   $ 239.62   $   323.18
  7/1/2018 Nery Eluir                 $10.00   83.80   $   11.00   $   83.80   $ 240.90   $   324.70
  7/8/2018 Nery Eluir                 $10.00   67.73   $   11.00   $   67.73   $ 152.53   $   220.27
 7/15/2018 Nery Eluir                 $10.00   83.75   $   11.00   $   83.75   $ 240.63   $   324.38
 7/22/2018 Nery Eluir                 $10.00   76.03   $   11.00   $   76.03   $ 198.18   $   274.22
 7/29/2018 Nery Eluir                 $10.00   75.55   $   11.00   $   75.55   $ 195.53   $   271.08
  8/5/2018 Nery Eluir                 $10.00   82.83   $   11.00   $   82.83   $ 235.58   $   318.42
 8/12/2018 Nery Eluir                 $10.00   51.28   $   11.00   $   51.28   $ 62.06    $   113.34
 8/19/2018 Nery Eluir                 $10.00   74.70   $   11.00   $   74.70   $ 190.85   $   265.55


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  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                         Name                       Minimum  Regular Half-Time Overtime Back
                                              Rate Week
  Date                                                      Wage   Rate Due     Due       Wages Due

 8/26/2018 Nery Eluir                        $10.00   78.23   $   11.00   $    78.23   $ 210.28   $   288.52
  9/2/2018 Nery Eluir                        $10.00   52.87   $   11.00   $    52.87   $ 70.77    $   123.63
  9/9/2018 Nery Eluir                        $10.00   68.15   $   11.00   $    68.15   $ 154.83   $   222.98
 9/16/2018 Nery Eluir                        $10.00   77.48   $   11.00   $    77.48   $ 206.16   $   283.64
 9/23/2018 Nery Eluir                        $10.00   82.92   $   11.00   $    82.92   $ 236.04   $   318.96
 9/30/2018 Nery Eluir                        $10.00   83.07   $   11.00   $    83.07   $ 236.87   $   319.93
 10/7/2018 Nery Eluir                        $10.00   82.23   $   11.00   $    82.23   $ 232.28   $   314.52
10/14/2018 Nery Eluir                        $10.00   83.73   $   11.00   $    83.73   $ 240.53   $   324.27
10/21/2018 Nery Eluir                        $10.00   83.08   $   11.00   $    83.08   $ 236.96   $   320.04
10/28/2018 Nery Eluir                        $10.00   83.57   $   11.00   $    83.57   $ 239.62   $   323.18
 11/4/2018 Nery Eluir                        $10.00   82.35   $   11.00   $    82.35   $ 232.93   $   315.28
11/11/2018 Nery Eluir                        $10.00   83.45   $   11.00   $    83.45   $ 238.98   $   322.43
11/18/2018 Nery Eluir                        $10.00   81.43   $   11.00   $    81.43   $ 227.88   $   309.32
11/25/2018 Nery Eluir                        $10.00   67.32   $   11.00   $    67.32   $ 150.24   $   217.56
 12/2/2018 Nery Eluir                        $10.00   74.77   $   11.00   $    74.77   $ 191.22   $   265.98
 12/9/2018 Nery Eluir                        $10.00   83.22   $   11.00   $    83.22   $ 237.69   $   320.91
12/16/2018 Nery Eluir                        $10.00   82.45   $   11.00   $    82.45   $ 233.48   $   315.93
12/23/2018 Nery Eluir                        $10.00   80.52   $   11.00   $    80.52   $ 222.84   $   303.36
12/30/2018 Nery Eluir                        $10.00   50.05   $   11.00   $    50.05   $ 55.28    $   105.33
  1/6/2019 Nery Eluir                        $10.00   59.05   $   12.00   $   118.10   $ 114.30   $   232.40
 1/13/2019 Nery Eluir                        $10.00   81.48   $   12.00   $   162.97   $ 248.90   $   411.87
 1/20/2019 Nery Eluir                        $10.00   81.62   $   12.00   $   163.23   $ 249.70   $   412.93
 1/27/2019 Nery Eluir                        $10.00   58.15   $   12.00   $   116.30   $ 108.90   $   225.20
  2/3/2019 Nery Eluir                        $10.00   53.25   $   12.00   $   106.50   $ 79.50    $   186.00
 2/10/2019 Nery Eluir                        $10.00   81.73   $   12.00   $   163.47   $ 250.40   $   413.87
 2/17/2019 Nery Eluir                        $10.00   81.12   $   12.00   $   162.23   $ 246.70   $   408.93
 2/24/2019 Nery Eluir                        $10.00   81.37   $   12.00   $   162.73   $ 248.20   $   410.93
  3/3/2019 Nery Eluir                        $10.00   81.72   $   12.00   $   163.43   $ 250.30   $   413.73
 3/10/2019 Nery Eluir                        $10.00   81.75   $   12.00   $   163.50   $ 250.50   $   414.00
 3/17/2019 Nery Eluir                        $10.00   73.47   $   12.00   $   146.93   $ 200.80   $   347.73
 3/24/2019 Nery Eluir                        $10.00   82.45   $   12.00   $   164.90   $ 254.70   $   419.60
 3/31/2019 Nery Eluir                        $10.00   83.42   $   12.00   $   166.83   $ 260.50   $   427.33
  4/7/2019 Nery Eluir                        $10.00   78.63   $   12.00   $   157.27   $ 231.80   $   389.07
 4/14/2019 Nery Eluir                        $10.00   82.35   $   12.00   $   164.70   $ 254.10   $   418.80
 4/21/2019 Nery Eluir                        $10.00   83.68   $   12.00   $   167.37   $ 262.10   $   429.47
 4/28/2019 Nery Eluir                        $10.00   82.80   $   12.00   $   165.60   $ 256.80   $   422.40
  5/5/2019 Nery Eluir                        $10.00   81.90   $   12.00   $   163.80   $ 251.40   $   415.20
 5/12/2019 Nery Eluir                        $10.00   72.10   $   12.00   $   144.20   $ 192.60   $   336.80
 5/19/2019 Nery Eluir                        $10.00   72.07   $   12.00   $   144.13   $ 192.40   $   336.53
 5/26/2019 Nery Eluir                        $10.00   72.05   $   12.00   $   144.10   $ 192.30   $   336.40
  6/2/2019 Nery Eluir                        $10.00   58.78   $   12.00   $   117.57   $ 112.70   $   230.27
  6/9/2019 Nery Eluir                        $10.00   71.88   $   12.00   $   143.77   $ 191.30   $   335.07
 6/16/2019 Nery Eluir                        $10.00   60.35   $   12.00   $   120.70   $ 122.10   $   242.80
 6/23/2019 Nery Eluir                        $10.00   72.25   $   12.00   $   144.50   $ 193.50   $   338.00
 6/30/2019 Nery Eluir                        $10.00   71.88   $   12.00   $   143.77   $ 191.30   $   335.07
  7/7/2019 Nery Elvir Ramirez                $13.00   52.75   $   12.00                $ 82.88    $    82.88
 7/14/2019 Nery Elvir Ramirez                $13.00   66.12   $   12.00                $ 169.76   $   169.76
 7/21/2019 Nery Elvir Ramirez                $13.00   67.05   $   12.00                $ 175.83   $   175.83
 7/28/2019 Nery Elvir Ramirez                $13.00   46.10   $   12.00                $ 39.65    $    39.65
  8/4/2019 Nery Elvir Ramirez                $13.00   51.40   $   12.00                $ 74.10    $    74.10
 8/11/2019 Nery Elvir Ramirez                $13.00   58.22   $   12.00                $ 118.41   $   118.41
 8/18/2019 Nery Elvir Ramirez                $13.00   41.13   $   12.00                $   7.37   $     7.37


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  Week                                                       State Section 7: Section 7: Total Section 7
                                             Hourly Hours/
 Ending                         Name                       Minimum  Regular Half-Time Overtime Back
                                              Rate Week
  Date                                                      Wage   Rate Due     Due       Wages Due

 8/25/2019 Nery Elvir Ramirez                $13.00   66.52   $   12.00                $ 172.36   $   172.36
  9/1/2019 Nery Elvir Ramirez                $13.00   66.52   $   12.00                $ 172.36   $   172.36
  9/8/2019 Nery Elvir Ramirez                $13.00   54.13   $   12.00                $ 91.87    $    91.87
 9/15/2019 Nery Elvir Ramirez                $13.00   60.15   $   12.00                $ 130.98   $   130.98
 9/22/2019 Nery Elvir Ramirez                $13.00   65.78   $   12.00                $ 167.59   $   167.59
 9/29/2019 Nery Elvir Ramirez                $13.00   59.33   $   12.00                $ 125.67   $   125.67
 10/6/2019 Nery Elvir Ramirez                $13.00   66.13   $   12.00                $ 169.87   $   169.87
10/13/2019 Nery Elvir Ramirez                $13.00   65.87   $   12.00                $ 168.13   $   168.13
10/20/2019 Nery Elvir Ramirez                $13.00   66.83   $   12.00                $ 174.42   $   174.42
10/27/2019 Nery Elvir Ramirez                $13.00   65.08   $   12.00                $ 163.04   $   163.04
 11/3/2019 Nery Elvir Ramirez                $13.00   66.32   $   12.00                $ 171.06   $   171.06
11/10/2019 Nery Elvir Ramirez                $13.00   61.72   $   12.00                $ 141.16   $   141.16
11/17/2019 Nery Elvir Ramirez                $13.00   67.00   $   12.00                $ 175.50   $   175.50
11/24/2019 Nery Elvir Ramirez                $13.00   66.83   $   12.00                $ 174.42   $   174.42
 12/1/2019 Nery Elvir Ramirez                $13.00   53.33   $   12.00                $ 86.67    $    86.67
 12/8/2019 Nery Elvir Ramirez                $13.00   54.13   $   12.00                $ 91.87    $    91.87
12/15/2019 Nery Elvir Ramirez                $13.00   66.58   $   12.00                $ 172.79   $   172.79
 1/12/2020 Nery Elvir Ramirez                $13.00   48.60   $   13.00                $ 55.90    $    55.90
 1/19/2020 Nery Elvir Ramirez                $13.00   49.10   $   13.00                $ 59.15    $    59.15
 1/26/2020 Nery Elvir Ramirez                $13.00   58.78   $   13.00                $ 122.09   $   122.09
 5/13/2018 Omar L. Diaz                      $10.00   60.77   $   11.00   $    60.77   $ 114.22   $   174.98
 5/20/2018 Omar L. Diaz                      $10.00   50.83   $   11.00   $    50.83   $ 59.58    $   110.42
 5/27/2018 Omar L. Diaz                      $10.00   58.35   $   11.00   $    58.35   $ 100.93   $   159.28
  6/3/2018 Omar L. Diaz                      $10.00   40.30   $   11.00   $    40.30   $   1.65   $    41.95
 6/10/2018 Omar L. Diaz                      $10.00   51.18   $   11.00   $    51.18   $ 61.51    $   112.69
 6/17/2018 Omar L. Diaz                      $10.00   62.77   $   11.00   $    62.77   $ 125.22   $   187.98
 6/24/2018 Omar L. Diaz                      $10.00   40.45   $   11.00   $    40.45   $   2.48   $    42.93
  7/1/2018 Omar L. Diaz                      $10.00   50.72   $   11.00   $    50.72   $ 58.94    $   109.66
 2/24/2019 Omar Roman-0124                   $10.00   47.65   $   12.00   $    95.30   $ 45.90    $   141.20
  3/3/2019 Omar Roman-0124                   $10.00   50.45   $   12.00   $   100.90   $ 62.70    $   163.60
 3/10/2019 Omar Roman-0124                   $10.00   47.40   $   12.00   $    94.80   $ 44.40    $   139.20
 3/17/2019 Omar Roman-0124                   $10.00   54.85   $   12.00   $   109.70   $ 89.10    $   198.80
  2/5/2017 Orlin Maldonado                   $11.00   65.62   $   10.00                $ 140.89   $   140.89
 2/12/2017 Orlin Maldonado                   $11.00   54.37   $   10.00                $ 79.02    $    79.02
 2/19/2017 Orlin Maldonado                   $11.00   55.55   $   10.00                $ 85.53    $    85.53
 2/26/2017 Orlin Maldonado                   $11.00   65.63   $   10.00                $ 140.98   $   140.98
  3/5/2017 Orlin Maldonado                   $11.00   63.65   $   10.00                $ 130.08   $   130.08
 3/12/2017 Orlin Maldonado                   $11.00   65.57   $   10.00                $ 140.62   $   140.62
 3/19/2017 Orlin Maldonado                   $11.00   60.55   $   10.00                $ 113.03   $   113.03
  4/2/2017 Orlin Maldonado                   $11.00   65.95   $   10.00                $ 142.73   $   142.73
  4/9/2017 Orlin Maldonado                   $11.00   66.00   $   10.00                $ 143.00   $   143.00
 4/16/2017 Orlin Maldonado                   $11.00   65.82   $   10.00                $ 141.99   $   141.99
 4/23/2017 Orlin Maldonado                   $11.00   65.78   $   10.00                $ 141.81   $   141.81
 4/30/2017 Orlin Maldonado                   $11.00   65.67   $   10.00                $ 141.17   $   141.17
  5/7/2017 Orlin Maldonado                   $11.00   65.85   $   10.00                $ 142.18   $   142.18
 5/14/2017 Orlin Maldonado                   $11.00   65.75   $   10.00                $ 141.63   $   141.63
 5/21/2017 Orlin Maldonado                   $11.00   65.40   $   10.00                $ 139.70   $   139.70
 5/28/2017 Orlin Maldonado                   $11.00   66.52   $   10.00                $ 145.84   $   145.84
  6/4/2017 Orlin Maldonado                   $11.00   55.43   $   10.00                $ 84.88    $    84.88
 6/11/2017 Orlin Maldonado                   $11.00   65.63   $   10.00                $ 140.98   $   140.98
 6/18/2017 Orlin Maldonado                   $11.00   65.58   $   10.00                $ 140.71   $   140.71
 6/25/2017 Orlin Maldonado                   $11.00   55.63   $   10.00                $ 85.98    $    85.98


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  Week                                                           State Section 7: Section 7: Total Section 7
                                                 Hourly Hours/
 Ending                     Name                               Minimum  Regular Half-Time Overtime Back
                                                  Rate Week
  Date                                                          Wage   Rate Due     Due       Wages Due

  7/2/2017 Orlin Maldonado                       $11.00   65.52   $   10.00               $ 140.34   $   140.34
  7/9/2017 Orlin Maldonado                       $11.00   43.28   $   10.00               $ 18.06    $    18.06
 7/16/2017 Orlin Maldonado                       $11.00   64.98   $   10.00               $ 137.41   $   137.41
 7/23/2017 Orlin Maldonado                       $11.00   65.53   $   10.00               $ 140.43   $   140.43
 7/30/2017 Orlin Maldonado                       $11.00   66.87   $   10.00               $ 147.77   $   147.77
  8/6/2017 Orlin Maldonado                       $11.00   67.85   $   10.00               $ 153.18   $   153.18
 8/13/2017 Orlin Maldonado                       $11.00   65.27   $   10.00               $ 138.97   $   138.97
 8/20/2017 Orlin Maldonado                       $11.00   65.43   $   10.00               $ 139.88   $   139.88
 8/27/2017 Orlin Maldonado                       $11.00   64.78   $   10.00               $ 136.31   $   136.31
  9/3/2017 Orlin Maldonado                       $11.00   64.88   $   10.00               $ 136.86   $   136.86
 9/10/2017 Orlin Maldonado                       $11.00   53.97   $   10.00               $ 76.82    $    76.82
 9/24/2017 Orlin Maldonado                       $11.00   65.43   $   10.00               $ 139.88   $   139.88
 10/1/2017 Orlin Maldonado                       $11.00   65.15   $   10.00               $ 138.33   $   138.33
 10/8/2017 Orlin Maldonado                       $11.00   65.15   $   10.00               $ 138.33   $   138.33
10/15/2017 Orlin Maldonado                       $11.00   56.08   $   10.00               $ 88.46    $    88.46
10/22/2017 Orlin Maldonado                       $11.00   55.40   $   10.00               $ 84.70    $    84.70
10/29/2017 Orlin Maldonado                       $11.00   55.58   $   10.00               $ 85.71    $    85.71
 7/28/2019 Oswaldo Vladimir Jordan Lopez         $11.00   47.10   $   12.00   $   47.10   $ 42.60    $    89.70
  8/4/2019 Oswaldo Vladimir Jordan Lopez         $11.00   54.38   $   12.00   $   54.38   $ 86.30    $   140.68
 8/11/2019 Oswaldo Vladimir Jordan Lopez         $11.00   52.88   $   12.00   $   52.88   $ 77.30    $   130.18
 8/18/2019 Oswaldo Vladimir Jordan Lopez         $11.00   47.37   $   12.00   $   47.37   $ 44.20    $    91.57
 8/25/2019 Oswaldo Vladimir Jordan Lopez         $11.00   56.17   $   12.00   $   56.17   $ 97.00    $   153.17
  9/1/2019 Oswaldo Vladimir Jordan Lopez         $11.00   54.73   $   12.00   $   54.73   $ 88.40    $   143.13
  9/8/2019 Oswaldo Vladimir Jordan Lopez         $11.00   44.02   $   12.00   $   44.02   $ 24.10    $    68.12
 9/15/2019 Oswaldo Vladimir Jordan Lopez         $11.00   42.28   $   12.00   $   42.28   $ 13.70    $    55.98
 9/22/2019 Oswaldo Vladimir Jordan Lopez         $11.00   54.18   $   12.00   $   54.18   $ 85.10    $   139.28
 9/29/2019 Oswaldo Vladimir Jordan Lopez         $11.00   45.97   $   12.00   $   45.97   $ 35.80    $    81.77
 10/6/2019 Oswaldo Vladimir Jordan Lopez         $11.00   50.58   $   12.00   $   50.58   $ 63.50    $   114.08
10/13/2019 Oswaldo Vladimir Jordan Lopez         $11.00   53.32   $   12.00   $   53.32   $ 79.90    $   133.22
10/20/2019 Oswaldo Vladimir Jordan Lopez         $11.00   43.13   $   12.00   $   43.13   $ 18.80    $    61.93
 1/12/2020 Pedro Manuel Lopez Marte              $14.00   45.28   $   13.00               $ 36.98    $    36.98
 1/19/2020 Pedro Manuel Lopez Marte              $14.00   43.28   $   13.00               $ 22.98    $    22.98
 1/26/2020 Pedro Manuel Lopez Marte              $14.00   47.60   $   13.00               $ 53.20    $    53.20
 4/30/2017 Radhame Pena Rodriguez                 $9.00   60.95   $   10.00   $   60.95   $ 104.75   $   165.70
  5/7/2017 Radhame Pena Rodriguez                 $9.00   63.23   $   10.00   $   63.23   $ 116.17   $   179.40
 5/14/2017 Radhame Pena Rodriguez                 $9.00   62.75   $   10.00   $   62.75   $ 113.75   $   176.50
 5/21/2017 Radhame Pena Rodriguez                 $9.00   63.33   $   10.00   $   63.33   $ 116.67   $   180.00
 5/28/2017 Radhame Pena Rodriguez                 $9.00   62.90   $   10.00   $   62.90   $ 114.50   $   177.40
  6/4/2017 Radhame Pena Rodriguez                 $9.00   52.80   $   10.00   $   52.80   $ 64.00    $   116.80
 6/11/2017 Radhame Pena Rodriguez                 $9.00   65.98   $   10.00   $   65.98   $ 129.92   $   195.90
 6/18/2017 Radhame Pena Rodriguez                 $9.00   62.97   $   10.00   $   62.97   $ 114.83   $   177.80
 6/25/2017 Radhame Pena Rodriguez                 $9.00   67.95   $   10.00   $   67.95   $ 139.75   $   207.70
  7/2/2017 Radhame Pena Rodriguez                 $9.00   64.27   $   10.00   $   64.27   $ 121.33   $   185.60
  7/9/2017 Radhame Pena Rodriguez                 $9.00   52.62   $   10.00   $   52.62   $ 63.08    $   115.70
 7/16/2017 Radhame Pena Rodriguez                 $9.00   62.87   $   10.00   $   62.87   $ 114.33   $   177.20
 7/23/2017 Radhame Pena Rodriguez                 $9.00   64.15   $   10.00   $   64.15   $ 120.75   $   184.90
 7/30/2017 Radhame Pena Rodriguez                 $9.00   58.67   $   10.00   $   58.67   $ 93.33    $   152.00
  8/6/2017 Radhame Pena Rodriguez                 $9.00   52.12   $   10.00   $   52.12   $ 60.58    $   112.70
  2/5/2017 Radhames Garcia                       $10.00   57.63   $   10.00               $ 88.17    $    88.17
 2/12/2017 Radhames Garcia                       $10.00   52.77   $   10.00               $ 63.83    $    63.83
 2/19/2017 Radhames Garcia                       $10.00   50.77   $   10.00               $ 53.83    $    53.83
 2/26/2017 Radhames Garcia                       $10.00   58.28   $   10.00               $ 91.42    $    91.42


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                                    Long Island Computations


  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                      Name                       Minimum  Regular Half-Time Overtime Back
                                           Rate Week
  Date                                                   Wage   Rate Due     Due       Wages Due

  3/5/2017 Radhames Garcia                $10.00   58.98   $   10.00               $ 94.92    $    94.92
 3/12/2017 Radhames Garcia                $10.00   58.42   $   10.00               $ 92.08    $    92.08
 3/19/2017 Radhames Garcia                $10.00   47.48   $   10.00               $ 37.42    $    37.42
 3/26/2017 Radhames Garcia                $10.00   58.50   $   10.00               $ 92.50    $    92.50
  4/2/2017 Radhames Garcia                $10.00   59.37   $   10.00               $ 96.83    $    96.83
  4/9/2017 Radhames Garcia                $10.00   59.78   $   10.00               $ 98.92    $    98.92
 4/16/2017 Radhames Garcia                $10.00   58.93   $   10.00               $ 94.67    $    94.67
 4/23/2017 Radhames Garcia                $10.00   58.78   $   10.00               $ 93.92    $    93.92
 4/30/2017 Radhames Garcia                $10.00   59.47   $   10.00               $ 97.33    $    97.33
  5/7/2017 Radhames Garcia                $10.00   59.80   $   10.00               $ 99.00    $    99.00
 5/14/2017 Radhames Garcia                $10.00   59.23   $   10.00               $ 96.17    $    96.17
 5/21/2017 Radhames Garcia                $10.00   57.77   $   10.00               $ 88.83    $    88.83
 5/28/2017 Radhames Garcia                $10.00   59.67   $   10.00               $ 98.33    $    98.33
  6/4/2017 Radhames Garcia                $10.00   49.62   $   10.00               $ 48.08    $    48.08
 6/11/2017 Radhames Garcia                $10.00   58.55   $   10.00               $ 92.75    $    92.75
 6/18/2017 Radhames Garcia                $10.00   59.50   $   10.00               $ 97.50    $    97.50
 6/25/2017 Radhames Garcia                $10.00   49.03   $   10.00               $ 45.17    $    45.17
  7/2/2017 Radhames Garcia                $10.00   60.77   $   10.00               $ 103.83   $   103.83
  7/9/2017 Radhames Garcia                $10.00   49.03   $   10.00               $ 45.17    $    45.17
 7/16/2017 Radhames Garcia                $10.00   57.22   $   10.00               $ 86.08    $    86.08
 7/23/2017 Radhames Garcia                $10.00   59.23   $   10.00               $ 96.17    $    96.17
 7/30/2017 Radhames Garcia                $10.00   58.90   $   10.00               $ 94.50    $    94.50
  8/6/2017 Radhames Garcia                $10.00   59.95   $   10.00               $ 99.75    $    99.75
 8/13/2017 Radhames Garcia                $10.00   59.23   $   10.00               $ 96.17    $    96.17
 8/20/2017 Radhames Garcia                $10.00   51.23   $   10.00               $ 56.17    $    56.17
 8/27/2017 Radhames Garcia                $10.00   58.70   $   10.00               $ 93.50    $    93.50
  9/3/2017 Radhames Garcia                $10.00   58.65   $   10.00               $ 93.25    $    93.25
 9/10/2017 Radhames Garcia                $10.00   48.60   $   10.00               $ 43.00    $    43.00
 9/17/2017 Radhames Garcia                $10.00   59.28   $   10.00               $ 96.42    $    96.42
 9/24/2017 Radhames Garcia                $10.00   58.58   $   10.00               $ 92.92    $    92.92
 10/1/2017 Radhames Garcia                $10.00   58.32   $   10.00               $ 91.58    $    91.58
 10/8/2017 Radhames Garcia                $10.00   48.35   $   10.00               $ 41.75    $    41.75
10/15/2017 Radhames Garcia                $10.00   58.43   $   10.00               $ 92.17    $    92.17
10/22/2017 Radhames Garcia                $10.00   58.03   $   10.00               $ 90.17    $    90.17
10/29/2017 Radhames Garcia                $10.00   58.00   $   10.00               $ 90.00    $    90.00
 11/5/2017 Radhames Garcia                $10.00   58.28   $   10.00               $ 91.42    $    91.42
11/12/2017 Radhames Garcia                $10.00   58.17   $   10.00               $ 90.83    $    90.83
11/19/2017 Radhames Garcia                $10.00   50.83   $   10.00               $ 54.17    $    54.17
 12/3/2017 Radhames Garcia                $10.00   50.85   $   10.00               $ 54.25    $    54.25
12/10/2017 Radhames Garcia                $10.00   60.03   $   10.00               $ 100.17   $   100.17
12/17/2017 Radhames Garcia                $10.00   58.67   $   10.00               $ 93.33    $    93.33
12/24/2017 Radhames Garcia                $10.00   57.48   $   10.00               $ 87.42    $    87.42
12/31/2017 Radhames Garcia                $10.00   48.02   $   11.00   $   48.02   $ 44.09    $    92.11
 1/14/2018 Radhames Garcia                $10.00   57.48   $   11.00   $   57.48   $ 96.16    $   153.64
 1/21/2018 Radhames Garcia                $10.00   58.15   $   11.00   $   58.15   $ 99.83    $   157.98
 1/28/2018 Radhames Garcia                $10.00   51.72   $   11.00   $   51.72   $ 64.44    $   116.16
  2/4/2018 Radhames Garcia                $10.00   58.58   $   11.00   $   58.58   $ 102.21   $   160.79
 2/11/2018 Radhames Garcia                $10.00   56.03   $   11.00   $   56.03   $ 88.18    $   144.22
 2/18/2018 Radhames Garcia                $10.00   57.92   $   11.00   $   57.92   $ 98.54    $   156.46
 2/25/2018 Radhames Garcia                $10.00   57.25   $   11.00   $   57.25   $ 94.88    $   152.13
  3/4/2018 Radhames Garcia                $10.00   57.95   $   11.00   $   57.95   $ 98.73    $   156.68
  4/1/2018 Radhames Garcia                $10.00   59.38   $   11.00   $   59.38   $ 106.61   $   165.99


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  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                       Name                       Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

  4/8/2018 Radhames Garcia                 $10.00   58.00   $   11.00   $    58.00   $ 99.00    $   157.00
 4/15/2018 Radhames Garcia                 $10.00   58.47   $   11.00   $    58.47   $ 101.57   $   160.03
 4/22/2018 Radhames Garcia                 $10.00   59.05   $   11.00   $    59.05   $ 104.78   $   163.83
 4/29/2018 Radhames Garcia                 $10.00   51.18   $   11.00   $    51.18   $ 61.51    $   112.69
 4/21/2019 Radhames Garcia                 $10.00   62.52   $   12.00   $   125.03   $ 135.10   $   260.13
 4/28/2019 Radhames Garcia                 $10.00   64.67   $   12.00   $   129.33   $ 148.00   $   277.33
  5/5/2019 Radhames Garcia                 $10.00   64.97   $   12.00   $   129.93   $ 149.80   $   279.73
 5/12/2019 Radhames Garcia                 $10.00   66.63   $   12.00   $   133.27   $ 159.80   $   293.07
 5/19/2019 Radhames Garcia                 $10.00   64.28   $   12.00   $   128.57   $ 145.70   $   274.27
 5/26/2019 Radhames Garcia                 $10.00   64.87   $   12.00   $   129.73   $ 149.20   $   278.93
  6/2/2019 Radhames Garcia                 $10.00   53.63   $   12.00   $   107.27   $ 81.80    $   189.07
  6/9/2019 Radhames Garcia                 $10.00   63.43   $   12.00   $   126.87   $ 140.60   $   267.47
 6/16/2019 Radhames Garcia                 $10.00   56.78   $   12.00   $   113.57   $ 100.70   $   214.27
 6/23/2019 Radhames Garcia                 $10.00   64.45   $   12.00   $   128.90   $ 146.70   $   275.60
 6/30/2019 Radhames Garcia                 $10.00   64.48   $   12.00   $   128.97   $ 146.90   $   275.87
  7/7/2019 Radhames Garcia                 $13.00   50.12   $   12.00                $ 65.76    $    65.76
 7/14/2019 Radhames Garcia                 $13.00   50.22   $   12.00                $ 66.41    $    66.41
 7/21/2019 Radhames Garcia                 $13.00   57.78   $   12.00                $ 115.59   $   115.59
 7/28/2019 Radhames Garcia                 $13.00   57.90   $   12.00                $ 116.35   $   116.35
  8/4/2019 Radhames Garcia                 $13.00   59.32   $   12.00                $ 125.56   $   125.56
 8/11/2019 Radhames Garcia                 $13.00   53.65   $   12.00                $ 88.73    $    88.73
 8/18/2019 Radhames Garcia                 $13.00   57.83   $   12.00                $ 115.92   $   115.92
 8/25/2019 Radhames Garcia                 $13.00   60.58   $   12.00                $ 133.79   $   133.79
  9/1/2019 Radhames Garcia                 $13.00   59.95   $   12.00                $ 129.68   $   129.68
  9/8/2019 Radhames Garcia                 $13.00   51.30   $   12.00                $ 73.45    $    73.45
 9/15/2019 Radhames Garcia                 $13.00   60.63   $   12.00                $ 134.12   $   134.12
 9/22/2019 Radhames Garcia                 $13.00   60.62   $   12.00                $ 134.01   $   134.01
 9/29/2019 Radhames Garcia                 $13.00   60.47   $   12.00                $ 133.03   $   133.03
 10/6/2019 Radhames Garcia                 $13.00   59.03   $   12.00                $ 123.72   $   123.72
10/13/2019 Radhames Garcia                 $13.00   48.62   $   12.00                $ 56.01    $    56.01
10/20/2019 Radhames Garcia                 $13.00   58.53   $   12.00                $ 120.47   $   120.47
10/27/2019 Radhames Garcia                 $13.00   61.02   $   12.00                $ 136.61   $   136.61
 11/3/2019 Radhames Garcia                 $13.00   58.05   $   12.00                $ 117.33   $   117.33
11/10/2019 Radhames Garcia                 $13.00   55.82   $   12.00                $ 102.81   $   102.81
11/17/2019 Radhames Garcia                 $13.00   52.05   $   12.00                $ 78.33    $    78.33
11/24/2019 Radhames Garcia                 $13.00   57.43   $   12.00                $ 113.32   $   113.32
 12/1/2019 Radhames Garcia                 $13.00   48.38   $   12.00                $ 54.49    $    54.49
 12/8/2019 Radhames Garcia                 $13.00   61.23   $   12.00                $ 138.02   $   138.02
12/15/2019 Radhames Garcia                 $13.00   56.83   $   12.00                $ 109.42   $   109.42
12/29/2019 Radhames Garcia                 $13.00   43.73   $   12.00                $ 24.27    $    24.27
  1/5/2020 Radhames Garcia                 $13.00   46.83   $   13.00                $ 44.42    $    44.42
 1/12/2020 Radhames Garcia                 $13.00   48.62   $   13.00                $ 56.01    $    56.01
 1/19/2020 Radhames Garcia                 $13.00   44.10   $   13.00                $ 26.65    $    26.65
  2/5/2017 Rafael Monteroso                $11.00   48.62   $   10.00                $ 47.39    $    47.39
 2/12/2017 Rafael Monteroso                $11.00   42.48   $   10.00                $ 13.66    $    13.66
 2/19/2017 Rafael Monteroso                $11.00   51.80   $   10.00                $ 64.90    $    64.90
 2/26/2017 Rafael Monteroso                $11.00   48.30   $   10.00                $ 45.65    $    45.65
  3/5/2017 Rafael Monteroso                $11.00   50.62   $   10.00                $ 58.39    $    58.39
 3/12/2017 Rafael Monteroso                $11.00   47.05   $   10.00                $ 38.78    $    38.78
 3/26/2017 Rafael Monteroso                $11.00   55.83   $   10.00                $ 87.08    $    87.08
  4/2/2017 Rafael Monteroso                $11.00   53.92   $   10.00                $ 76.54    $    76.54
  4/9/2017 Rafael Monteroso                $11.00   57.17   $   10.00                $ 94.42    $    94.42


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                                     Long Island Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                       Name                       Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 4/16/2017 Rafael Monteroso                $11.00   57.97   $   10.00         $ 98.82    $      98.82
 4/23/2017 Rafael Monteroso                $11.00   55.55   $   10.00         $ 85.53    $      85.53
 4/30/2017 Rafael Monteroso                $11.00   56.22   $   10.00         $ 89.19    $      89.19
  5/7/2017 Rafael Monteroso                $11.00   49.47   $   10.00         $ 52.07    $      52.07
 5/14/2017 Rafael Monteroso                $11.00   46.55   $   10.00         $ 36.03    $      36.03
 5/28/2017 Rafael Monteroso                $11.00   55.73   $   10.00         $ 86.53    $      86.53
 6/11/2017 Rafael Monteroso                $11.00   45.63   $   10.00         $ 30.98    $      30.98
 6/18/2017 Rafael Monteroso                $11.00   52.90   $   10.00         $ 70.95    $      70.95
 6/25/2017 Rafael Monteroso                $11.00   52.45   $   10.00         $ 68.48    $      68.48
  7/2/2017 Rafael Monteroso                $11.00   54.68   $   10.00         $ 80.76    $      80.76
  7/9/2017 Rafael Monteroso                $11.00   42.15   $   10.00         $ 11.83    $      11.83
 7/16/2017 Rafael Monteroso                $11.00   52.07   $   10.00         $ 66.37    $      66.37
 7/30/2017 Rafael Monteroso                $11.00   51.40   $   10.00         $ 62.70    $      62.70
  8/6/2017 Rafael Monteroso                $11.00   54.67   $   10.00         $ 80.67    $      80.67
 8/13/2017 Rafael Monteroso                $11.00   51.62   $   10.00         $ 63.89    $      63.89
 8/20/2017 Rafael Monteroso                $11.00   56.05   $   10.00         $ 88.28    $      88.28
 8/27/2017 Rafael Monteroso                $11.00   53.55   $   10.00         $ 74.53    $      74.53
  9/3/2017 Rafael Monteroso                $11.00   56.40   $   10.00         $ 90.20    $      90.20
 9/10/2017 Rafael Monteroso                $11.00   44.62   $   10.00         $ 25.39    $      25.39
 9/17/2017 Rafael Monteroso                $11.00   51.57   $   10.00         $ 63.62    $      63.62
 10/1/2017 Rafael Monteroso                $11.00   52.00   $   10.00         $ 66.00    $      66.00
 10/8/2017 Rafael Monteroso                $11.00   58.00   $   10.00         $ 99.00    $      99.00
10/15/2017 Rafael Monteroso                $11.00   44.93   $   10.00         $ 27.13    $      27.13
10/22/2017 Rafael Monteroso                $11.00   40.43   $   10.00         $   2.38   $       2.38
10/29/2017 Rafael Monteroso                $11.00   50.17   $   10.00         $ 55.92    $      55.92
 11/5/2017 Rafael Monteroso                $11.00   52.75   $   10.00         $ 70.13    $      70.13
11/19/2017 Rafael Monteroso                $11.00   53.20   $   10.00         $ 72.60    $      72.60
11/26/2017 Rafael Monteroso                $11.00   40.42   $   10.00         $   2.29   $       2.29
 12/3/2017 Rafael Monteroso                $11.00   55.85   $   10.00         $ 87.18    $      87.18
12/10/2017 Rafael Monteroso                $11.00   49.05   $   10.00         $ 49.78    $      49.78
12/17/2017 Rafael Monteroso                $11.00   49.57   $   10.00         $ 52.62    $      52.62
12/31/2017 Rafael Monteroso                $11.00   42.70   $   11.00         $ 14.85    $      14.85
 1/14/2018 Rafael Monteroso                $11.00   47.12   $   11.00         $ 39.14    $      39.14
 1/28/2018 Rafael Monteroso                $11.00   42.55   $   11.00         $ 14.03    $      14.03
 2/11/2018 Rafael Monteroso                $11.00   44.28   $   11.00         $ 23.56    $      23.56
 2/25/2018 Rafael Monteroso                $11.00   45.00   $   11.00         $ 27.50    $      27.50
  3/4/2018 Rafael Monteroso                $11.00   44.72   $   11.00         $ 25.94    $      25.94
 3/25/2018 Rafael Monteroso                $11.00   45.90   $   11.00         $ 32.45    $      32.45
  4/1/2018 Rafael Monteroso                $11.00   57.13   $   11.00         $ 94.23    $      94.23
  4/8/2018 Rafael Monteroso                $11.00   56.22   $   11.00         $ 89.19    $      89.19
 4/15/2018 Rafael Monteroso                $11.00   55.32   $   11.00         $ 84.24    $      84.24
 4/22/2018 Rafael Monteroso                $11.00   51.47   $   11.00         $ 63.07    $      63.07
 4/29/2018 Rafael Monteroso                $11.00   49.25   $   11.00         $ 50.88    $      50.88
  5/6/2018 Rafael Monteroso                $11.00   50.03   $   11.00         $ 55.18    $      55.18
 5/13/2018 Rafael Monteroso                $11.00   50.67   $   11.00         $ 58.67    $      58.67
 5/20/2018 Rafael Monteroso                $11.00   57.28   $   11.00         $ 95.06    $      95.06
 5/27/2018 Rafael Monteroso                $11.00   63.95   $   11.00         $ 131.73   $     131.73
  6/3/2018 Rafael Monteroso                $11.00   50.00   $   11.00         $ 55.00    $      55.00
 6/10/2018 Rafael Monteroso                $11.00   66.62   $   11.00         $ 146.39   $     146.39
 6/17/2018 Rafael Monteroso                $11.00   65.72   $   11.00         $ 141.44   $     141.44
 6/24/2018 Rafael Monteroso                $11.00   64.03   $   11.00         $ 132.18   $     132.18
  7/1/2018 Rafael Monteroso                $11.00   53.53   $   11.00         $ 74.43    $      74.43


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  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                       Name                       Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

  7/8/2018 Rafael Monteroso                $11.00   52.50   $   11.00               $ 68.75    $    68.75
 7/15/2018 Rafael Monteroso                $11.00   64.02   $   11.00               $ 132.09   $   132.09
 7/29/2018 Rafael Monteroso                $11.00   63.22   $   11.00               $ 127.69   $   127.69
  8/5/2018 Rafael Monteroso                $11.00   62.90   $   11.00               $ 125.95   $   125.95
 8/12/2018 Rafael Monteroso                $11.00   60.75   $   11.00               $ 114.13   $   114.13
 8/19/2018 Rafael Monteroso                $11.00   55.02   $   11.00               $ 82.59    $    82.59
 8/26/2018 Rafael Monteroso                $11.00   60.35   $   11.00               $ 111.93   $   111.93
  9/2/2018 Rafael Monteroso                $11.00   58.38   $   11.00               $ 101.11   $   101.11
  9/9/2018 Rafael Monteroso                $11.00   47.23   $   11.00               $ 39.78    $    39.78
 9/16/2018 Rafael Monteroso                $11.00   56.82   $   11.00               $ 92.49    $    92.49
 9/23/2018 Rafael Monteroso                $11.00   54.55   $   11.00               $ 80.03    $    80.03
 9/30/2018 Rafael Monteroso                $11.00   56.93   $   11.00               $ 93.13    $    93.13
 10/7/2018 Rafael Monteroso                $11.00   71.42   $   11.00               $ 172.79   $   172.79
10/14/2018 Rafael Monteroso                $11.00   71.08   $   11.00               $ 170.96   $   170.96
10/21/2018 Rafael Monteroso                $11.00   71.53   $   11.00               $ 173.43   $   173.43
10/28/2018 Rafael Monteroso                $11.00   60.93   $   11.00               $ 115.13   $   115.13
 11/4/2018 Rafael Monteroso                $11.00   71.18   $   11.00               $ 171.51   $   171.51
11/11/2018 Rafael Monteroso                $11.00   41.72   $   11.00               $   9.44   $     9.44
11/18/2018 Rafael Monteroso                $11.00   51.23   $   11.00               $ 61.78    $    61.78
11/25/2018 Rafael Monteroso                $11.00   55.90   $   11.00               $ 87.45    $    87.45
 12/2/2018 Rafael Monteroso                $11.00   62.35   $   11.00               $ 122.93   $   122.93
 12/9/2018 Rafael Monteroso                $11.00   66.65   $   11.00               $ 146.58   $   146.58
12/16/2018 Rafael Monteroso                $11.00   54.07   $   11.00               $ 77.37    $    77.37
12/23/2018 Rafael Monteroso                $11.00   62.43   $   11.00               $ 123.38   $   123.38
12/30/2018 Rafael Monteroso                $11.00   48.43   $   11.00               $ 46.38    $    46.38
  1/6/2019 Rafael Monteroso                $11.00   49.45   $   12.00   $   49.45   $ 56.70    $   106.15
 1/13/2019 Rafael Monteroso                $11.00   62.47   $   12.00   $   62.47   $ 134.80   $   197.27
 1/20/2019 Rafael Monteroso                $11.00   62.80   $   12.00   $   62.80   $ 136.80   $   199.60
 1/27/2019 Rafael Monteroso                $11.00   62.75   $   12.00   $   62.75   $ 136.50   $   199.25
  2/3/2019 Rafael Monteroso                $11.00   62.02   $   12.00   $   62.02   $ 132.10   $   194.12
 2/10/2019 Rafael Monteroso                $11.00   61.80   $   12.00   $   61.80   $ 130.80   $   192.60
 2/17/2019 Rafael Monteroso                $11.00   52.47   $   12.00   $   52.47   $ 74.80    $   127.27
 2/24/2019 Rafael Monteroso                $11.00   60.82   $   12.00   $   60.82   $ 124.90   $   185.72
  3/3/2019 Rafael Monteroso                $11.00   61.17   $   12.00   $   61.17   $ 127.00   $   188.17
 3/10/2019 Rafael Monteroso                $11.00   62.40   $   12.00   $   62.40   $ 134.40   $   196.80
 3/17/2019 Rafael Monteroso                $11.00   60.38   $   12.00   $   60.38   $ 122.30   $   182.68
 3/24/2019 Rafael Monteroso                $11.00   62.12   $   12.00   $   62.12   $ 132.70   $   194.82
 3/31/2019 Rafael Monteroso                $11.00   61.07   $   12.00   $   61.07   $ 126.40   $   187.47
  4/7/2019 Rafael Monteroso                $11.00   59.82   $   12.00   $   59.82   $ 118.90   $   178.72
 4/14/2019 Rafael Monteroso                $11.00   61.30   $   12.00   $   61.30   $ 127.80   $   189.10
 4/21/2019 Rafael Monteroso                $11.00   61.48   $   12.00   $   61.48   $ 128.90   $   190.38
 4/28/2019 Rafael Monteroso                $11.00   60.97   $   12.00   $   60.97   $ 125.80   $   186.77
  5/5/2019 Rafael Monteroso                $11.00   60.52   $   12.00   $   60.52   $ 123.10   $   183.62
 5/12/2019 Rafael Monteroso                $11.00   58.52   $   12.00   $   58.52   $ 111.10   $   169.62
 5/19/2019 Rafael Monteroso                $11.00   59.95   $   12.00   $   59.95   $ 119.70   $   179.65
 5/26/2019 Rafael Monteroso                $11.00   49.95   $   12.00   $   49.95   $ 59.70    $   109.65
  6/2/2019 Rafael Monteroso                $11.00   50.05   $   12.00   $   50.05   $ 60.30    $   110.35
  6/9/2019 Rafael Monteroso                $11.00   59.37   $   12.00   $   59.37   $ 116.20   $   175.57
 6/16/2019 Rafael Monteroso                $11.00   57.85   $   12.00   $   57.85   $ 107.10   $   164.95
 6/23/2019 Rafael Monteroso                $11.00   55.27   $   12.00   $   55.27   $ 91.60    $   146.87
 6/30/2019 Rafael Monteroso                $11.00   57.25   $   12.00   $   57.25   $ 103.50   $   160.75
  7/7/2019 Rafael Monteroso                $13.00   46.72   $   12.00               $ 43.66    $    43.66


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  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                     Name                          Minimum  Regular Half-Time Overtime Back
                                             Rate Week
  Date                                                     Wage   Rate Due     Due       Wages Due

 7/14/2019 Rafael Monteroso                 $13.00   56.18   $   12.00               $ 105.19   $   105.19
 7/21/2019 Rafael Monteroso                 $13.00   50.75   $   12.00               $ 69.88    $    69.88
 7/28/2019 Rafael Monteroso                 $13.00   56.32   $   12.00               $ 106.06   $   106.06
  8/4/2019 Rafael Monteroso                 $13.00   55.17   $   12.00               $ 98.58    $    98.58
 8/11/2019 Rafael Monteroso                 $13.00   55.85   $   12.00               $ 103.03   $   103.03
 8/18/2019 Rafael Monteroso                 $13.00   55.88   $   12.00               $ 103.24   $   103.24
 8/25/2019 Rafael Monteroso                 $13.00   56.08   $   12.00               $ 104.54   $   104.54
  9/1/2019 Rafael Monteroso                 $13.00   52.35   $   12.00               $ 80.28    $    80.28
  9/8/2019 Rafael Monteroso                 $13.00   44.95   $   12.00               $ 32.18    $    32.18
 9/15/2019 Rafael Monteroso                 $13.00   54.12   $   12.00               $ 91.76    $    91.76
 9/22/2019 Rafael Monteroso                 $13.00   52.33   $   12.00               $ 80.17    $    80.17
 9/29/2019 Rafael Monteroso                 $13.00   44.70   $   12.00               $ 30.55    $    30.55
 10/6/2019 Rafael Monteroso                 $13.00   52.18   $   12.00               $ 79.19    $    79.19
10/13/2019 Rafael Monteroso                 $13.00   52.60   $   12.00               $ 81.90    $    81.90
10/20/2019 Rafael Monteroso                 $13.00   52.47   $   12.00               $ 81.03    $    81.03
10/27/2019 Rafael Monteroso                 $13.00   53.32   $   12.00               $ 86.56    $    86.56
 11/3/2019 Rafael Monteroso                 $13.00   42.22   $   12.00               $ 14.41    $    14.41
11/10/2019 Rafael Monteroso                 $13.00   52.23   $   12.00               $ 79.52    $    79.52
11/17/2019 Rafael Monteroso                 $13.00   51.28   $   12.00               $ 73.34    $    73.34
11/24/2019 Rafael Monteroso                 $13.00   55.88   $   12.00               $ 103.24   $   103.24
 12/1/2019 Rafael Monteroso                 $13.00   43.10   $   12.00               $ 20.15    $    20.15
 12/8/2019 Rafael Monteroso                 $13.00   53.83   $   12.00               $ 89.92    $    89.92
12/15/2019 Rafael Monteroso                 $13.00   53.23   $   12.00               $ 86.02    $    86.02
12/29/2019 Rafael Monteroso                 $13.00   40.97   $   12.00               $   6.28   $     6.28
  1/5/2020 Rafael Monteroso                 $13.00   41.83   $   13.00               $ 11.92    $    11.92
 1/12/2020 Rafael Monteroso                 $13.00   50.93   $   13.00               $ 71.07    $    71.07
 1/26/2020 Rafael Monteroso                 $13.00   49.67   $   13.00               $ 62.83    $    62.83
 1/28/2018 Rafael Tavarez                   $10.00   40.50   $   11.00   $   40.50   $   2.75   $    43.25
  2/4/2018 Rafael Tavarez                   $10.00   54.02   $   11.00   $   54.02   $ 77.09    $   131.11
 2/11/2018 Rafael Tavarez                   $10.00   49.78   $   11.00   $   49.78   $ 53.81    $   103.59
 2/18/2018 Rafael Tavarez                   $10.00   50.98   $   11.00   $   50.98   $ 60.41    $   111.39
 2/25/2018 Rafael Tavarez                   $10.00   51.63   $   11.00   $   51.63   $ 63.98    $   115.62
  3/4/2018 Rafael Tavarez                   $10.00   54.38   $   11.00   $   54.38   $ 79.11    $   133.49
 3/25/2018 Rafael Tavarez                   $10.00   43.90   $   11.00   $   43.90   $ 21.45    $    65.35
  4/1/2018 Rafael Tavarez                   $10.00   51.75   $   11.00   $   51.75   $ 64.63    $   116.38
  4/8/2018 Rafael Tavarez                   $10.00   54.23   $   11.00   $   54.23   $ 78.28    $   132.52
 4/15/2018 Rafael Tavarez                   $10.00   57.00   $   11.00   $   57.00   $ 93.50    $   150.50
 4/22/2018 Rafael Tavarez                   $10.00   54.02   $   11.00   $   54.02   $ 77.09    $   131.11
 4/29/2018 Rafael Tavarez                   $10.00   56.52   $   11.00   $   56.52   $ 90.84    $   147.36
  5/6/2018 Rafael Tavarez                   $10.00   42.95   $   11.00   $   42.95   $ 16.23    $    59.18
 5/13/2018 Rafael Tavarez                   $10.00   46.48   $   11.00   $   46.48   $ 35.66    $    82.14
 5/20/2018 Rafael Tavarez                   $10.00   46.30   $   11.00   $   46.30   $ 34.65    $    80.95
 5/27/2018 Rafael Tavarez                   $10.00   48.35   $   11.00   $   48.35   $ 45.93    $    94.28
  6/3/2018 Rafael Tavarez                   $10.00   44.02   $   11.00   $   44.02   $ 22.09    $    66.11
 6/24/2018 Ramiro Antonio Rodriguez         $11.00   58.72   $   11.00               $ 102.94   $   102.94
  7/1/2018 Ramiro Antonio Rodriguez         $11.00   57.73   $   11.00               $ 97.53    $    97.53
  7/8/2018 Ramiro Antonio Rodriguez         $11.00   42.03   $   11.00               $ 11.18    $    11.18
 7/15/2018 Ramiro Antonio Rodriguez         $11.00   56.50   $   11.00               $ 90.75    $    90.75
 7/22/2018 Ramiro Antonio Rodriguez         $11.00   52.12   $   11.00               $ 66.64    $    66.64
 7/29/2018 Ramiro Antonio Rodriguez         $11.00   50.80   $   11.00               $ 59.40    $    59.40
 8/19/2018 Ramiro Antonio Rodriguez         $11.00   56.88   $   11.00               $ 92.86    $    92.86
 8/26/2018 Ramiro Antonio Rodriguez         $11.00   47.85   $   11.00               $ 43.18    $    43.18


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                                               Exhibit 5
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  Week                                                      State Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                     Name                          Minimum  Regular Half-Time Overtime Back
                                             Rate Week
  Date                                                     Wage   Rate Due     Due       Wages Due

  9/2/2018 Ramiro Antonio Rodriguez         $11.00   46.80   $   11.00               $ 37.40    $    37.40
 9/16/2018 Ramiro Antonio Rodriguez         $11.00   49.62   $   11.00               $ 52.89    $    52.89
 9/23/2018 Ramiro Antonio Rodriguez         $11.00   47.75   $   11.00               $ 42.63    $    42.63
 9/30/2018 Ramiro Antonio Rodriguez         $11.00   40.37   $   11.00               $   2.02   $     2.02
 10/7/2018 Ramiro Antonio Rodriguez         $11.00   40.28   $   11.00               $   1.56   $     1.56
 8/25/2019 Ramiro Antonio Rodriguez         $11.00   53.93   $   12.00   $   53.93   $ 83.60    $   137.53
 10/6/2019 Ramiro Antonio Rodriguez         $11.00   40.30   $   12.00   $   40.30   $   1.80   $    42.10
 4/21/2019 Raul Ibarra                      $11.00   58.57   $   12.00   $   58.57   $ 111.40   $   169.97
 4/28/2019 Raul Ibarra                      $11.00   58.80   $   12.00   $   58.80   $ 112.80   $   171.60
  5/5/2019 Raul Ibarra                      $11.00   58.53   $   12.00   $   58.53   $ 111.20   $   169.73
 5/12/2019 Raul Ibarra                      $11.00   58.33   $   12.00   $   58.33   $ 110.00   $   168.33
 5/19/2019 Raul Ibarra                      $11.00   54.78   $   12.00   $   54.78   $ 88.70    $   143.48
 5/26/2019 Raul Ibarra                      $11.00   52.63   $   12.00   $   52.63   $ 75.80    $   128.43
  6/2/2019 Raul Ibarra                      $11.00   48.20   $   12.00   $   48.20   $ 49.20    $    97.40
  6/9/2019 Raul Ibarra                      $11.00   58.40   $   12.00   $   58.40   $ 110.40   $   168.80
 6/16/2019 Raul Ibarra                      $11.00   52.77   $   12.00   $   52.77   $ 76.60    $   129.37
 6/23/2019 Raul Ibarra                      $11.00   56.52   $   12.00   $   56.52   $ 99.10    $   155.62
 6/30/2019 Raul Ibarra                      $11.00   56.35   $   12.00   $   56.35   $ 98.10    $   154.45
  7/7/2019 Raul Ibarra                      $13.00   45.27   $   12.00               $ 34.23    $    34.23
 7/14/2019 Raul Ibarra                      $13.00   47.40   $   12.00               $ 48.10    $    48.10
 7/21/2019 Raul Ibarra                      $13.00   55.13   $   12.00               $ 98.37    $    98.37
 7/28/2019 Raul Ibarra                      $13.00   54.62   $   12.00               $ 95.01    $    95.01
  8/4/2019 Raul Ibarra                      $13.00   43.97   $   12.00               $ 25.78    $    25.78
 8/11/2019 Raul Ibarra                      $13.00   51.12   $   12.00               $ 72.26    $    72.26
 8/18/2019 Raul Ibarra                      $13.00   49.02   $   12.00               $ 58.61    $    58.61
 8/25/2019 Raul Ibarra                      $13.00   55.37   $   12.00               $ 99.88    $    99.88
  9/1/2019 Raul Ibarra                      $13.00   55.12   $   12.00               $ 98.26    $    98.26
  9/8/2019 Raul Ibarra                      $13.00   45.68   $   12.00               $ 36.94    $    36.94
 9/15/2019 Raul Ibarra                      $13.00   51.65   $   12.00               $ 75.72    $    75.72
 9/22/2019 Raul Ibarra                      $13.00   55.50   $   12.00               $ 100.75   $   100.75
 9/29/2019 Raul Ibarra                      $13.00   50.70   $   12.00               $ 69.55    $    69.55
 10/6/2019 Raul Ibarra                      $13.00   44.72   $   12.00               $ 30.66    $    30.66
10/13/2019 Raul Ibarra                      $13.00   55.43   $   12.00               $ 100.32   $   100.32
10/20/2019 Raul Ibarra                      $13.00   55.43   $   12.00               $ 100.32   $   100.32
10/27/2019 Raul Ibarra                      $13.00   53.85   $   12.00               $ 90.03    $    90.03
 11/3/2019 Raul Ibarra                      $13.00   53.72   $   12.00               $ 89.16    $    89.16
11/10/2019 Raul Ibarra                      $13.00   54.97   $   12.00               $ 97.28    $    97.28
11/17/2019 Raul Ibarra                      $13.00   56.12   $   12.00               $ 104.76   $   104.76
11/24/2019 Raul Ibarra                      $13.00   46.20   $   12.00               $ 40.30    $    40.30
 12/8/2019 Raul Ibarra                      $13.00   55.22   $   12.00               $ 98.91    $    98.91
12/15/2019 Raul Ibarra                      $13.00   55.53   $   12.00               $ 100.97   $   100.97
12/22/2019 Raul Ibarra                      $13.00   55.23   $   12.00               $ 99.02    $    99.02
 1/12/2020 Raul Ibarra                      $13.00   44.63   $   13.00               $ 30.12    $    30.12
 1/19/2020 Raul Ibarra                      $13.00   45.13   $   13.00               $ 33.37    $    33.37
 1/26/2020 Raul Ibarra                      $13.00   53.68   $   13.00               $ 88.94    $    88.94
 2/10/2019 Raul Sorto                       $12.00   40.67   $   12.00               $   4.00   $     4.00
  3/3/2019 Raul Sorto                       $12.00   40.78   $   12.00               $   4.70   $     4.70
 3/10/2019 Raul Sorto                       $12.00   40.57   $   12.00               $   3.40   $     3.40
 4/21/2019 Raul Sorto                       $12.00   40.67   $   12.00               $   4.00   $     4.00
  5/5/2019 Raul Sorto                       $12.00   40.57   $   12.00               $   3.40   $     3.40
 5/12/2019 Raul Sorto                       $12.00   41.17   $   12.00               $   7.00   $     7.00
 5/26/2019 Raul Sorto                       $12.00   40.92   $   12.00               $   5.50   $     5.50


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                                                  Exhibit 5
                                         Long Island Computations


  Week                                                         State Section 7: Section 7: Total Section 7
                                               Hourly Hours/
 Ending                     Name                             Minimum  Regular Half-Time Overtime Back
                                                Rate Week
  Date                                                        Wage   Rate Due     Due       Wages Due

  6/9/2019 Raul Sorto                          $12.00   40.85   $   12.00               $   5.10   $     5.10
 6/16/2019 Raul Sorto                          $12.00   40.40   $   12.00               $   2.40   $     2.40
 7/14/2019 Raul Sorto                          $12.00   40.03   $   12.00               $   0.20   $     0.20
11/10/2019 Raul Sorto                          $12.00   43.10   $   12.00               $ 18.60    $    18.60
11/24/2019 Raul Sorto                          $12.00   41.48   $   12.00               $   8.90   $     8.90
 12/8/2019 Raul Sorto                          $12.00   41.53   $   12.00               $   9.20   $     9.20
12/15/2019 Raul Sorto                          $12.00   41.07   $   12.00               $   6.40   $     6.40
12/22/2019 Raul Sorto                          $12.00   41.80   $   12.00               $ 10.80    $    10.80
 9/23/2018 Rene Javier Lopez Velasquez         $11.00   59.05   $   11.00               $ 104.78   $   104.78
 9/30/2018 Rene Javier Lopez Velasquez         $11.00   60.80   $   11.00               $ 114.40   $   114.40
 10/7/2018 Rene Javier Lopez Velasquez         $11.00   59.72   $   11.00               $ 108.44   $   108.44
10/14/2018 Rene Javier Lopez Velasquez         $11.00   59.18   $   11.00               $ 105.51   $   105.51
10/21/2018 Rene Javier Lopez Velasquez         $11.00   54.52   $   11.00               $ 79.84    $    79.84
10/28/2018 Rene Javier Lopez Velasquez         $11.00   56.02   $   11.00               $ 88.09    $    88.09
 11/4/2018 Rene Javier Lopez Velasquez         $11.00   54.77   $   11.00               $ 81.22    $    81.22
11/11/2018 Rene Javier Lopez Velasquez         $11.00   68.27   $   11.00               $ 155.47   $   155.47
11/18/2018 Rene Javier Lopez Velasquez         $11.00   74.38   $   11.00               $ 189.11   $   189.11
11/25/2018 Rene Javier Lopez Velasquez         $11.00   63.65   $   11.00               $ 130.08   $   130.08
 12/2/2018 Rene Javier Lopez Velasquez         $11.00   80.05   $   11.00               $ 220.28   $   220.28
 12/9/2018 Rene Javier Lopez Velasquez         $11.00   53.63   $   11.00               $ 74.98    $    74.98
12/16/2018 Rene Javier Lopez Velasquez         $11.00   57.92   $   11.00               $ 98.54    $    98.54
12/23/2018 Rene Javier Lopez Velasquez         $11.00   51.45   $   11.00               $ 62.98    $    62.98
12/30/2018 Rene Javier Lopez Velasquez         $11.00   47.32   $   11.00               $ 40.24    $    40.24
  1/6/2019 Rene Javier Lopez Velasquez         $11.00   49.85   $   12.00   $   49.85   $ 59.10    $   108.95
 1/13/2019 Rene Javier Lopez Velasquez         $11.00   53.47   $   12.00   $   53.47   $ 80.80    $   134.27
 1/20/2019 Rene Javier Lopez Velasquez         $11.00   55.72   $   12.00   $   55.72   $ 94.30    $   150.02
 2/10/2019 Rene Javier Lopez Velasquez         $11.00   43.75   $   12.00   $   43.75   $ 22.50    $    66.25
 2/24/2019 Rene Javier Lopez Velasquez         $11.00   46.18   $   12.00   $   46.18   $ 37.10    $    83.28
  3/3/2019 Rene Javier Lopez Velasquez         $11.00   47.07   $   12.00   $   47.07   $ 42.40    $    89.47
 3/17/2019 Rene Javier Lopez Velasquez         $11.00   47.08   $   12.00   $   47.08   $ 42.50    $    89.58
 3/24/2019 Rene Javier Lopez Velasquez         $11.00   47.62   $   12.00   $   47.62   $ 45.70    $    93.32
 3/31/2019 Rene Javier Lopez Velasquez         $11.00   47.03   $   12.00   $   47.03   $ 42.20    $    89.23
  4/7/2019 Rene Javier Lopez Velasquez         $11.00   46.22   $   12.00   $   46.22   $ 37.30    $    83.52
  5/5/2019 Rene Javier Lopez Velasquez         $11.00   46.17   $   12.00   $   46.17   $ 37.00    $    83.17
 5/19/2019 Rene Javier Lopez Velasquez         $11.00   41.32   $   12.00   $   41.32   $   7.90   $    49.22
  2/5/2017 Reny Cueto Jimenez                  $10.50   56.47   $   10.00               $ 86.45    $    86.45
 2/12/2017 Reny Cueto Jimenez                  $10.50   41.60   $   10.00               $   8.40   $     8.40
 2/19/2017 Reny Cueto Jimenez                  $10.50   55.47   $   10.00               $ 81.20    $    81.20
 2/26/2017 Reny Cueto Jimenez                  $10.50   47.83   $   10.00               $ 41.13    $    41.13
  3/5/2017 Reny Cueto Jimenez                  $10.50   56.42   $   10.00               $ 86.19    $    86.19
  4/2/2017 Reny Cueto Jimenez                  $10.50   62.50   $   10.00               $ 118.13   $   118.13
  4/9/2017 Reny Cueto Jimenez                  $10.50   58.25   $   10.00               $ 95.81    $    95.81
 4/16/2017 Reny Cueto Jimenez                  $10.50   48.07   $   10.00               $ 42.35    $    42.35
 4/23/2017 Reny Cueto Jimenez                  $10.50   56.53   $   10.00               $ 86.80    $    86.80
 4/30/2017 Reny Cueto Jimenez                  $10.50   47.00   $   10.00               $ 36.75    $    36.75
  5/7/2017 Reny Cueto Jimenez                  $10.50   55.32   $   10.00               $ 80.41    $    80.41
 5/14/2017 Reny Cueto Jimenez                  $10.50   56.60   $   10.00               $ 87.15    $    87.15
 5/21/2017 Reny Cueto Jimenez                  $10.50   51.18   $   10.00               $ 58.71    $    58.71
 5/28/2017 Reny Cueto Jimenez                  $10.50   57.85   $   10.00               $ 93.71    $    93.71
  6/4/2017 Reny Cueto Jimenez                  $10.50   47.82   $   10.00               $ 41.04    $    41.04
 6/11/2017 Reny Cueto Jimenez                  $10.50   46.62   $   10.00               $ 34.74    $    34.74
 6/18/2017 Reny Cueto Jimenez                  $10.50   63.43   $   10.00               $ 123.03   $   123.03


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  Week                                                  State Section 7: Section 7: Total Section 7
                                        Hourly Hours/
 Ending                    Name                       Minimum  Regular Half-Time Overtime Back
                                         Rate Week
  Date                                                 Wage   Rate Due     Due       Wages Due

 6/25/2017 Reny Cueto Jimenez           $10.50   55.30   $   10.00               $ 80.33    $    80.33
  2/5/2017 Ricardo Martinez              $9.50   55.97   $   10.00   $   27.98   $ 79.83    $   107.82
 2/12/2017 Ricardo Martinez              $9.50   45.83   $   10.00   $   22.92   $ 29.17    $    52.08
 2/19/2017 Ricardo Martinez              $9.50   55.45   $   10.00   $   27.73   $ 77.25    $   104.98
 2/26/2017 Ricardo Martinez              $9.50   47.22   $   10.00   $   23.61   $ 36.08    $    59.69
  3/5/2017 Ricardo Martinez              $9.50   56.50   $   10.00   $   28.25   $ 82.50    $   110.75
 3/12/2017 Ricardo Martinez              $9.50   54.50   $   10.00   $   27.25   $ 72.50    $    99.75
 3/19/2017 Ricardo Martinez              $9.50   45.00   $   10.00   $   22.50   $ 25.00    $    47.50
  4/2/2017 Ricardo Martinez              $9.50   62.17   $   10.00   $   31.08   $ 110.83   $   141.92
  4/9/2017 Ricardo Martinez              $9.50   58.12   $   10.00   $   29.06   $ 90.58    $   119.64
 4/16/2017 Ricardo Martinez              $9.50   59.10   $   10.00   $   29.55   $ 95.50    $   125.05
 4/23/2017 Ricardo Martinez              $9.50   57.65   $   10.00   $   28.83   $ 88.25    $   117.08
 4/30/2017 Ricardo Martinez              $9.50   57.85   $   10.00   $   28.93   $ 89.25    $   118.18
  5/7/2017 Ricardo Martinez              $9.50   55.68   $   10.00   $   27.84   $ 78.42    $   106.26
 5/14/2017 Ricardo Martinez              $9.50   56.68   $   10.00   $   28.34   $ 83.42    $   111.76
 5/21/2017 Ricardo Martinez              $9.50   58.88   $   10.00   $   29.44   $ 94.42    $   123.86
 5/28/2017 Ricardo Martinez              $9.50   62.28   $   10.00   $   31.14   $ 111.42   $   142.56
  6/4/2017 Ricardo Martinez              $9.50   50.72   $   10.00   $   25.36   $ 53.58    $    78.94
 6/11/2017 Ricardo Martinez              $9.50   50.45   $   10.00   $   25.23   $ 52.25    $    77.48
 6/18/2017 Ricardo Martinez              $9.50   51.12   $   10.00   $   25.56   $ 55.58    $    81.14
 6/25/2017 Ricardo Martinez              $9.50   65.42   $   10.00   $   32.71   $ 127.08   $   159.79
  7/2/2017 Ricardo Martinez              $9.50   50.85   $   10.00   $   25.43   $ 54.25    $    79.68
  7/9/2017 Ricardo Martinez              $9.50   49.22   $   10.00   $   24.61   $ 46.08    $    70.69
 7/16/2017 Ricardo Martinez              $9.50   58.82   $   10.00   $   29.41   $ 94.08    $   123.49
 7/23/2017 Ricardo Martinez              $9.50   61.40   $   10.00   $   30.70   $ 107.00   $   137.70
 7/30/2017 Ricardo Martinez              $9.50   60.90   $   10.00   $   30.45   $ 104.50   $   134.95
  8/6/2017 Ricardo Martinez              $9.50   60.03   $   10.00   $   30.02   $ 100.17   $   130.18
 8/13/2017 Ricardo Martinez              $9.50   55.15   $   10.00   $   27.58   $ 75.75    $   103.33
 8/20/2017 Ricardo Martinez              $9.50   57.27   $   10.00   $   28.63   $ 86.33    $   114.97
 8/27/2017 Ricardo Martinez              $9.50   57.95   $   10.00   $   28.98   $ 89.75    $   118.73
  9/3/2017 Ricardo Martinez              $9.50   58.32   $   10.00   $   29.16   $ 91.58    $   120.74
 9/10/2017 Ricardo Martinez              $9.50   50.58   $   10.00   $   25.29   $ 52.92    $    78.21
 9/17/2017 Ricardo Martinez              $9.50   62.97   $   10.00   $   31.48   $ 114.83   $   146.32
 9/24/2017 Ricardo Martinez              $9.50   59.82   $   10.00   $   29.91   $ 99.08    $   128.99
 10/1/2017 Ricardo Martinez              $9.50   63.55   $   10.00   $   31.78   $ 117.75   $   149.53
 10/8/2017 Ricardo Martinez              $9.50   56.92   $   10.00   $   28.46   $ 84.58    $   113.04
10/15/2017 Ricardo Martinez              $9.50   58.83   $   10.00   $   29.42   $ 94.17    $   123.58
10/22/2017 Ricardo Martinez              $9.50   52.48   $   10.00   $   26.24   $ 62.42    $    88.66
10/29/2017 Ricardo Martinez              $9.50   64.70   $   10.00   $   32.35   $ 123.50   $   155.85
 11/5/2017 Ricardo Martinez              $9.50   50.70   $   10.00   $   25.35   $ 53.50    $    78.85
11/12/2017 Ricardo Martinez              $9.50   60.27   $   10.00   $   30.13   $ 101.33   $   131.47
11/19/2017 Ricardo Martinez              $9.50   57.40   $   10.00   $   28.70   $ 87.00    $   115.70
11/26/2017 Ricardo Martinez              $9.50   47.60   $   10.00   $   23.80   $ 38.00    $    61.80
 12/3/2017 Ricardo Martinez              $9.50   63.10   $   10.00   $   31.55   $ 115.50   $   147.05
 1/14/2018 Ricardo Martinez              $9.50   56.22   $   11.00   $   84.33   $ 89.19    $   173.52
 1/21/2018 Ricardo Martinez              $9.50   53.02   $   11.00   $   79.53   $ 71.59    $   151.12
 1/28/2018 Ricardo Martinez              $9.50   52.77   $   11.00   $   79.15   $ 70.22    $   149.37
  2/4/2018 Ricardo Martinez              $9.50   53.35   $   11.00   $   80.03   $ 73.43    $   153.45
 2/11/2018 Ricardo Martinez              $9.50   54.13   $   11.00   $   81.20   $ 77.73    $   158.93
 2/18/2018 Ricardo Martinez              $9.50   56.45   $   11.00   $   84.68   $ 90.48    $   175.15
 2/25/2018 Ricardo Martinez              $9.50   56.30   $   11.00   $   84.45   $ 89.65    $   174.10
  3/4/2018 Ricardo Martinez              $9.50   55.48   $   11.00   $   83.23   $ 85.16    $   168.38


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                                                        Exhibit 5
                                               Long Island Computations


  Week                                                               State Section 7: Section 7: Total Section 7
                                                     Hourly Hours/
 Ending                      Name                                  Minimum  Regular Half-Time Overtime Back
                                                      Rate Week
  Date                                                              Wage   Rate Due     Due       Wages Due

 3/25/2018 Ricardo Martinez                           $9.50   50.72   $   11.00   $   76.08   $ 58.94    $   135.02
  4/1/2018 Ricardo Martinez                           $9.50   61.63   $   11.00   $   92.45   $ 118.98   $   211.43
  4/8/2018 Ricardo Martinez                           $9.50   62.52   $   11.00   $   93.78   $ 123.84   $   217.62
 4/15/2018 Ricardo Martinez                           $9.50   51.63   $   11.00   $   77.45   $ 63.98    $   141.43
 9/22/2019 Roberto Carlos Velasquez Martinez         $12.00   56.02   $   12.00               $ 96.10    $    96.10
 9/29/2019 Roberto Carlos Velasquez Martinez         $12.00   48.17   $   12.00               $ 49.00    $    49.00
 10/6/2019 Roberto Carlos Velasquez Martinez         $12.00   56.33   $   12.00               $ 98.00    $    98.00
10/13/2019 Roberto Carlos Velasquez Martinez         $12.00   56.77   $   12.00               $ 100.60   $   100.60
10/20/2019 Roberto Carlos Velasquez Martinez         $12.00   48.02   $   12.00               $ 48.10    $    48.10
10/27/2019 Roberto Carlos Velasquez Martinez         $12.00   56.10   $   12.00               $ 96.60    $    96.60
 11/3/2019 Roberto Carlos Velasquez Martinez         $12.00   55.80   $   12.00               $ 94.80    $    94.80
11/10/2019 Roberto Carlos Velasquez Martinez         $12.00   50.03   $   12.00               $ 60.20    $    60.20
11/17/2019 Roberto Carlos Velasquez Martinez         $12.00   55.47   $   12.00               $ 92.80    $    92.80
11/24/2019 Roberto Carlos Velasquez Martinez         $12.00   55.55   $   12.00               $ 93.30    $    93.30
 12/8/2019 Roberto Carlos Velasquez Martinez         $12.00   57.50   $   12.00               $ 105.00   $   105.00
12/15/2019 Roberto Carlos Velasquez Martinez         $12.00   55.72   $   12.00               $ 94.30    $    94.30
12/22/2019 Roberto Carlos Velasquez Martinez         $12.00   40.22   $   12.00               $   1.30   $     1.30
12/29/2019 Roberto Carlos Velasquez Martinez         $12.00   45.70   $   12.00               $ 34.20    $    34.20
  1/5/2020 Roberto Carlos Velasquez Martinez         $12.00   46.78   $   13.00   $   46.78   $ 44.09    $    90.88
 1/12/2020 Roberto Carlos Velasquez Martinez         $12.00   48.62   $   13.00   $   48.62   $ 56.01    $   104.63
 1/19/2020 Roberto Carlos Velasquez Martinez         $12.00   48.98   $   13.00   $   48.98   $ 58.39    $   107.38
 1/26/2020 Roberto Carlos Velasquez Martinez         $13.00   46.27   $   13.00               $ 40.73    $    40.73
  2/5/2017 Robinson Guerra                           $20.00   50.12   $   10.00               $ 101.17   $   101.17
 2/19/2017 Robinson Guerra                           $20.00   43.33   $   10.00               $ 33.33    $    33.33
 3/19/2017 Robinson Guerra                           $20.00   44.70   $   10.00               $ 47.00    $    47.00
 3/26/2017 Robinson Guerra                           $20.00   52.33   $   10.00               $ 123.33   $   123.33
  4/2/2017 Robinson Guerra                           $20.00   41.80   $   10.00               $ 18.00    $    18.00
  3/4/2018 Rolando Martinez                          $10.00   46.68   $   11.00   $   46.68   $ 36.76    $    83.44
  2/5/2017 Rony Sadi Flores                          $11.00   55.47   $   10.00               $ 85.07    $    85.07
 2/12/2017 Rony Sadi Flores                          $11.00   53.98   $   10.00               $ 76.91    $    76.91
 2/19/2017 Rony Sadi Flores                          $11.00   57.47   $   10.00               $ 96.07    $    96.07
 2/26/2017 Rony Sadi Flores                          $11.00   57.22   $   10.00               $ 94.69    $    94.69
  3/5/2017 Rony Sadi Flores                          $11.00   58.37   $   10.00               $ 101.02   $   101.02
 3/12/2017 Rony Sadi Flores                          $11.00   52.48   $   10.00               $ 68.66    $    68.66
 3/19/2017 Rony Sadi Flores                          $11.00   45.30   $   10.00               $ 29.15    $    29.15
 3/26/2017 Rony Sadi Flores                          $11.00   58.48   $   10.00               $ 101.66   $   101.66
  4/2/2017 Rony Sadi Flores                          $11.00   56.07   $   10.00               $ 88.37    $    88.37
  4/9/2017 Rony Sadi Flores                          $11.00   58.12   $   10.00               $ 99.64    $    99.64
 4/16/2017 Rony Sadi Flores                          $11.00   57.90   $   10.00               $ 98.45    $    98.45
 4/23/2017 Rony Sadi Flores                          $11.00   59.58   $   10.00               $ 107.71   $   107.71
 4/30/2017 Rony Sadi Flores                          $11.00   58.00   $   10.00               $ 99.00    $    99.00
  5/7/2017 Rony Sadi Flores                          $11.00   58.23   $   10.00               $ 100.28   $   100.28
 5/14/2017 Rony Sadi Flores                          $11.00   57.62   $   10.00               $ 96.89    $    96.89
 5/21/2017 Rony Sadi Flores                          $11.00   57.63   $   10.00               $ 96.98    $    96.98
 5/28/2017 Rony Sadi Flores                          $11.00   58.88   $   10.00               $ 103.86   $   103.86
  6/4/2017 Rony Sadi Flores                          $11.00   49.47   $   10.00               $ 52.07    $    52.07
 6/11/2017 Rony Sadi Flores                          $11.00   58.00   $   10.00               $ 99.00    $    99.00
 6/18/2017 Rony Sadi Flores                          $11.00   58.85   $   10.00               $ 103.68   $   103.68
 6/25/2017 Rony Sadi Flores                          $11.00   57.02   $   10.00               $ 93.59    $    93.59
  7/2/2017 Rony Sadi Flores                          $11.00   58.25   $   10.00               $ 100.38   $   100.38
  7/9/2017 Rony Sadi Flores                          $11.00   46.88   $   10.00               $ 37.86    $    37.86
 7/16/2017 Rony Sadi Flores                          $11.00   56.40   $   10.00               $ 90.20    $    90.20


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                                              Exhibit 5
                                     Long Island Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                       Name                       Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 7/23/2017 Rony Sadi Flores                $11.00   56.15   $   10.00         $ 88.83    $      88.83
 7/30/2017 Rony Sadi Flores                $11.00   56.65   $   10.00         $ 91.58    $      91.58
  8/6/2017 Rony Sadi Flores                $11.00   58.02   $   10.00         $ 99.09    $      99.09
 8/13/2017 Rony Sadi Flores                $11.00   57.62   $   10.00         $ 96.89    $      96.89
 8/20/2017 Rony Sadi Flores                $11.00   58.25   $   10.00         $ 100.38   $     100.38
 8/27/2017 Rony Sadi Flores                $11.00   56.98   $   10.00         $ 93.41    $      93.41
  9/3/2017 Rony Sadi Flores                $11.00   58.18   $   10.00         $ 100.01   $     100.01
 9/10/2017 Rony Sadi Flores                $11.00   48.90   $   10.00         $ 48.95    $      48.95
 9/24/2017 Rony Sadi Flores                $11.00   58.28   $   10.00         $ 100.56   $     100.56
 10/1/2017 Rony Sadi Flores                $11.00   58.02   $   10.00         $ 99.09    $      99.09
 10/8/2017 Rony Sadi Flores                $11.00   57.98   $   10.00         $ 98.91    $      98.91
10/15/2017 Rony Sadi Flores                $11.00   56.22   $   10.00         $ 89.19    $      89.19
10/22/2017 Rony Sadi Flores                $11.00   49.15   $   10.00         $ 50.33    $      50.33
10/29/2017 Rony Sadi Flores                $11.00   57.77   $   10.00         $ 97.72    $      97.72
 11/5/2017 Rony Sadi Flores                $11.00   57.58   $   10.00         $ 96.71    $      96.71
11/12/2017 Rony Sadi Flores                $11.00   57.63   $   10.00         $ 96.98    $      96.98
11/19/2017 Rony Sadi Flores                $11.00   57.88   $   10.00         $ 98.36    $      98.36
11/26/2017 Rony Sadi Flores                $11.00   48.38   $   10.00         $ 46.11    $      46.11
 12/3/2017 Rony Sadi Flores                $11.00   62.48   $   10.00         $ 123.66   $     123.66
12/10/2017 Rony Sadi Flores                $11.00   56.12   $   10.00         $ 88.64    $      88.64
12/17/2017 Rony Sadi Flores                $11.00   50.42   $   10.00         $ 57.29    $      57.29
12/24/2017 Rony Sadi Flores                $11.00   57.08   $   10.00         $ 93.96    $      93.96
12/31/2017 Rony Sadi Flores                $11.00   46.97   $   11.00         $ 38.32    $      38.32
 1/14/2018 Rony Sadi Flores                $11.00   53.43   $   11.00         $ 73.88    $      73.88
 1/21/2018 Rony Sadi Flores                $11.00   44.72   $   11.00         $ 25.94    $      25.94
 1/28/2018 Rony Sadi Flores                $11.00   54.73   $   11.00         $ 81.03    $      81.03
  2/4/2018 Rony Sadi Flores                $11.00   57.22   $   11.00         $ 94.69    $      94.69
 2/11/2018 Rony Sadi Flores                $11.00   46.93   $   11.00         $ 38.13    $      38.13
 2/18/2018 Rony Sadi Flores                $11.00   58.08   $   11.00         $ 99.46    $      99.46
 2/25/2018 Rony Sadi Flores                $11.00   58.05   $   11.00         $ 99.28    $      99.28
  3/4/2018 Rony Sadi Flores                $11.00   53.27   $   11.00         $ 72.97    $      72.97
 3/25/2018 Rony Sadi Flores                $11.00   53.97   $   11.00         $ 76.82    $      76.82
  4/1/2018 Rony Sadi Flores                $11.00   57.82   $   11.00         $ 97.99    $      97.99
  4/8/2018 Rony Sadi Flores                $11.00   59.82   $   11.00         $ 108.99   $     108.99
 4/15/2018 Rony Sadi Flores                $11.00   58.97   $   11.00         $ 104.32   $     104.32
 4/22/2018 Rony Sadi Flores                $11.00   51.40   $   11.00         $ 62.70    $      62.70
 4/29/2018 Rony Sadi Flores                $11.00   56.43   $   11.00         $ 90.38    $      90.38
  5/6/2018 Rony Sadi Flores                $11.00   56.27   $   11.00         $ 89.47    $      89.47
 5/13/2018 Rony Sadi Flores                $11.00   57.55   $   11.00         $ 96.53    $      96.53
 5/20/2018 Rony Sadi Flores                $11.00   48.43   $   11.00         $ 46.38    $      46.38
 5/27/2018 Rony Sadi Flores                $11.00   53.15   $   11.00         $ 72.33    $      72.33
  6/3/2018 Rony Sadi Flores                $11.00   48.00   $   11.00         $ 44.00    $      44.00
 6/10/2018 Rony Sadi Flores                $11.00   44.45   $   11.00         $ 24.48    $      24.48
 6/17/2018 Rony Sadi Flores                $11.00   60.73   $   11.00         $ 114.03   $     114.03
 6/24/2018 Rony Sadi Flores                $11.00   58.85   $   11.00         $ 103.68   $     103.68
  7/1/2018 Rony Sadi Flores                $11.00   57.70   $   11.00         $ 97.35    $      97.35
  7/8/2018 Rony Sadi Flores                $11.00   53.20   $   11.00         $ 72.60    $      72.60
 7/15/2018 Rony Sadi Flores                $11.00   56.07   $   11.00         $ 88.37    $      88.37
 7/22/2018 Rony Sadi Flores                $11.00   58.73   $   11.00         $ 103.03   $     103.03
 7/29/2018 Rony Sadi Flores                $11.00   60.00   $   11.00         $ 110.00   $     110.00
  8/5/2018 Rony Sadi Flores                $11.00   58.95   $   11.00         $ 104.23   $     104.23
 8/12/2018 Rony Sadi Flores                $11.00   49.32   $   11.00         $ 51.24    $      51.24


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  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                       Name                       Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 8/19/2018 Rony Sadi Flores                $11.00   56.97   $   11.00               $ 93.32    $    93.32
 8/26/2018 Rony Sadi Flores                $11.00   57.87   $   11.00               $ 98.27    $    98.27
  9/2/2018 Rony Sadi Flores                $11.00   57.10   $   11.00               $ 94.05    $    94.05
  9/9/2018 Rony Sadi Flores                $11.00   46.40   $   11.00               $ 35.20    $    35.20
 9/16/2018 Rony Sadi Flores                $11.00   56.60   $   11.00               $ 91.30    $    91.30
 9/23/2018 Rony Sadi Flores                $11.00   55.98   $   11.00               $ 87.91    $    87.91
 9/30/2018 Rony Sadi Flores                $11.00   56.40   $   11.00               $ 90.20    $    90.20
 10/7/2018 Rony Sadi Flores                $11.00   56.73   $   11.00               $ 92.03    $    92.03
10/14/2018 Rony Sadi Flores                $11.00   56.43   $   11.00               $ 90.38    $    90.38
10/21/2018 Rony Sadi Flores                $11.00   54.50   $   11.00               $ 79.75    $    79.75
10/28/2018 Rony Sadi Flores                $11.00   56.13   $   11.00               $ 88.73    $    88.73
 11/4/2018 Rony Sadi Flores                $11.00   50.95   $   11.00               $ 60.23    $    60.23
11/11/2018 Rony Sadi Flores                $11.00   63.67   $   11.00               $ 130.17   $   130.17
11/18/2018 Rony Sadi Flores                $11.00   59.85   $   11.00               $ 109.18   $   109.18
11/25/2018 Rony Sadi Flores                $11.00   48.70   $   11.00               $ 47.85    $    47.85
 12/2/2018 Rony Sadi Flores                $11.00   61.52   $   11.00               $ 118.34   $   118.34
 12/9/2018 Rony Sadi Flores                $11.00   61.65   $   11.00               $ 119.08   $   119.08
12/16/2018 Rony Sadi Flores                $11.00   60.13   $   11.00               $ 110.73   $   110.73
12/23/2018 Rony Sadi Flores                $11.00   61.17   $   11.00               $ 116.42   $   116.42
12/30/2018 Rony Sadi Flores                $11.00   45.75   $   11.00               $ 31.63    $    31.63
  1/6/2019 Rony Sadi Flores                $11.00   47.17   $   12.00   $   47.17   $ 43.00    $    90.17
 1/13/2019 Rony Sadi Flores                $11.00   53.67   $   12.00   $   53.67   $ 82.00    $   135.67
 1/20/2019 Rony Sadi Flores                $11.00   54.25   $   12.00   $   54.25   $ 85.50    $   139.75
 1/27/2019 Rony Sadi Flores                $11.00   62.37   $   12.00   $   62.37   $ 134.20   $   196.57
  2/3/2019 Rony Sadi Flores                $11.00   49.02   $   12.00   $   49.02   $ 54.10    $   103.12
 2/10/2019 Rony Sadi Flores                $11.00   59.50   $   12.00   $   59.50   $ 117.00   $   176.50
 2/17/2019 Rony Sadi Flores                $11.00   57.77   $   12.00   $   57.77   $ 106.60   $   164.37
 2/24/2019 Rony Sadi Flores                $11.00   61.55   $   12.00   $   61.55   $ 129.30   $   190.85
  3/3/2019 Rony Sadi Flores                $11.00   60.83   $   12.00   $   60.83   $ 125.00   $   185.83
 3/10/2019 Rony Sadi Flores                $11.00   63.40   $   12.00   $   63.40   $ 140.40   $   203.80
 3/17/2019 Rony Sadi Flores                $11.00   61.78   $   12.00   $   61.78   $ 130.70   $   192.48
 3/24/2019 Rony Sadi Flores                $11.00   42.20   $   12.00   $   42.20   $ 13.20    $    55.40
 3/31/2019 Rony Sadi Flores                $11.00   59.75   $   12.00   $   59.75   $ 118.50   $   178.25
  4/7/2019 Rony Sadi Flores                $11.00   57.85   $   12.00   $   57.85   $ 107.10   $   164.95
 4/14/2019 Rony Sadi Flores                $11.00   57.78   $   12.00   $   57.78   $ 106.70   $   164.48
 4/21/2019 Rony Sadi Flores                $11.00   58.95   $   12.00   $   58.95   $ 113.70   $   172.65
 4/28/2019 Rony Sadi Flores                $11.00   58.08   $   12.00   $   58.08   $ 108.50   $   166.58
  5/5/2019 Rony Sadi Flores                $11.00   57.72   $   12.00   $   57.72   $ 106.30   $   164.02
 5/12/2019 Rony Sadi Flores                $11.00   59.55   $   12.00   $   59.55   $ 117.30   $   176.85
 5/19/2019 Rony Sadi Flores                $11.00   57.12   $   12.00   $   57.12   $ 102.70   $   159.82
 5/26/2019 Rony Sadi Flores                $11.00   57.33   $   12.00   $   57.33   $ 104.00   $   161.33
  6/2/2019 Rony Sadi Flores                $11.00   47.63   $   12.00   $   47.63   $ 45.80    $    93.43
  6/9/2019 Rony Sadi Flores                $11.00   61.28   $   12.00   $   61.28   $ 127.70   $   188.98
 6/16/2019 Rony Sadi Flores                $11.00   58.30   $   12.00   $   58.30   $ 109.80   $   168.10
 6/23/2019 Rony Sadi Flores                $11.00   57.85   $   12.00   $   57.85   $ 107.10   $   164.95
 6/30/2019 Rony Sadi Flores                $11.00   56.52   $   12.00   $   56.52   $ 99.10    $   155.62
  7/7/2019 Rony Sadi Flores                $13.00   45.32   $   12.00               $ 34.56    $    34.56
 7/14/2019 Rony Sadi Flores                $13.00   53.87   $   12.00               $ 90.13    $    90.13
 7/21/2019 Rony Sadi Flores                $13.00   53.95   $   12.00               $ 90.68    $    90.68
 7/28/2019 Rony Sadi Flores                $13.00   52.70   $   12.00               $ 82.55    $    82.55
  8/4/2019 Rony Sadi Flores                $13.00   54.27   $   12.00               $ 92.73    $    92.73
 8/11/2019 Rony Sadi Flores                $13.00   46.60   $   12.00               $ 42.90    $    42.90


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  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                       Name                       Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 8/18/2019 Rony Sadi Flores                $13.00   54.40   $   12.00               $ 93.60    $    93.60
 8/25/2019 Rony Sadi Flores                $13.00   54.28   $   12.00               $ 92.84    $    92.84
  9/1/2019 Rony Sadi Flores                $13.00   53.53   $   12.00               $ 87.97    $    87.97
  9/8/2019 Rony Sadi Flores                $13.00   43.50   $   12.00               $ 22.75    $    22.75
 9/15/2019 Rony Sadi Flores                $13.00   52.98   $   12.00               $ 84.39    $    84.39
 9/22/2019 Rony Sadi Flores                $13.00   53.92   $   12.00               $ 90.46    $    90.46
 9/29/2019 Rony Sadi Flores                $13.00   52.72   $   12.00               $ 82.66    $    82.66
 10/6/2019 Rony Sadi Flores                $13.00   52.63   $   12.00               $ 82.12    $    82.12
10/13/2019 Rony Sadi Flores                $13.00   52.25   $   12.00               $ 79.63    $    79.63
10/20/2019 Rony Sadi Flores                $13.00   45.52   $   12.00               $ 35.86    $    35.86
10/27/2019 Rony Sadi Flores                $13.00   53.82   $   12.00               $ 89.81    $    89.81
 11/3/2019 Rony Sadi Flores                $13.00   46.13   $   12.00               $ 39.87    $    39.87
11/10/2019 Rony Sadi Flores                $13.00   51.92   $   12.00               $ 77.46    $    77.46
11/17/2019 Rony Sadi Flores                $13.00   44.95   $   12.00               $ 32.18    $    32.18
11/24/2019 Rony Sadi Flores                $13.00   51.97   $   12.00               $ 77.78    $    77.78
 12/1/2019 Rony Sadi Flores                $13.00   44.82   $   12.00               $ 31.31    $    31.31
 12/8/2019 Rony Sadi Flores                $13.00   54.30   $   12.00               $ 92.95    $    92.95
12/15/2019 Rony Sadi Flores                $13.00   55.03   $   12.00               $ 97.72    $    97.72
12/22/2019 Rony Sadi Flores                $13.00   52.58   $   12.00               $ 81.79    $    81.79
12/29/2019 Rony Sadi Flores                $13.00   43.42   $   12.00               $ 22.21    $    22.21
  1/5/2020 Rony Sadi Flores                $13.00   45.48   $   13.00               $ 35.64    $    35.64
 1/12/2020 Rony Sadi Flores                $13.00   47.13   $   13.00               $ 46.37    $    46.37
 1/19/2020 Rony Sadi Flores                $13.00   45.15   $   13.00               $ 33.48    $    33.48
 1/26/2020 Rony Sadi Flores                $13.00   53.08   $   13.00               $ 85.04    $    85.04
 1/20/2019 Samuel Amaya                    $11.00   63.25   $   12.00   $   63.25   $ 139.50   $   202.75
 1/27/2019 Samuel Amaya                    $11.00   49.05   $   12.00   $   49.05   $ 54.30    $   103.35
  2/3/2019 Samuel Amaya                    $11.00   43.97   $   12.00   $   43.97   $ 23.80    $    67.77
 2/10/2019 Samuel Amaya                    $11.00   62.83   $   12.00   $   62.83   $ 137.00   $   199.83
 2/17/2019 Samuel Amaya                    $11.00   62.73   $   12.00   $   62.73   $ 136.40   $   199.13
 2/24/2019 Samuel Amaya                    $11.00   63.87   $   12.00   $   63.87   $ 143.20   $   207.07
  3/3/2019 Samuel Amaya                    $11.00   61.43   $   12.00   $   61.43   $ 128.60   $   190.03
 3/10/2019 Samuel Amaya                    $11.00   63.43   $   12.00   $   63.43   $ 140.60   $   204.03
 3/17/2019 Samuel Amaya                    $11.00   63.07   $   12.00   $   63.07   $ 138.40   $   201.47
 3/24/2019 Samuel Amaya                    $11.00   63.02   $   12.00   $   63.02   $ 138.10   $   201.12
 3/31/2019 Samuel Amaya                    $11.00   62.60   $   12.00   $   62.60   $ 135.60   $   198.20
 1/14/2018 Samuel Balbuena                 $12.50   52.57   $   11.00               $ 78.54    $    78.54
 1/21/2018 Samuel Balbuena                 $12.50   66.28   $   11.00               $ 164.27   $   164.27
 1/28/2018 Samuel Balbuena                 $12.50   65.48   $   11.00               $ 159.27   $   159.27
  2/4/2018 Samuel Balbuena                 $12.50   65.42   $   11.00               $ 158.85   $   158.85
 2/11/2018 Samuel Balbuena                 $12.50   63.47   $   11.00               $ 146.67   $   146.67
 2/18/2018 Samuel Balbuena                 $12.50   64.97   $   11.00               $ 156.04   $   156.04
 2/25/2018 Samuel Balbuena                 $12.50   64.72   $   11.00               $ 154.48   $   154.48
  3/4/2018 Samuel Balbuena                 $12.50   64.78   $   11.00               $ 154.90   $   154.90
 3/25/2018 Samuel Balbuena                 $12.50   61.23   $   11.00               $ 132.71   $   132.71
  4/1/2018 Samuel Balbuena                 $12.50   65.18   $   11.00               $ 157.40   $   157.40
  4/8/2018 Samuel Balbuena                 $12.50   65.50   $   11.00               $ 159.38   $   159.38
 4/15/2018 Samuel Balbuena                 $12.50   65.18   $   11.00               $ 157.40   $   157.40
 4/22/2018 Samuel Balbuena                 $12.50   65.38   $   11.00               $ 158.65   $   158.65
 4/29/2018 Samuel Balbuena                 $12.50   65.27   $   11.00               $ 157.92   $   157.92
  5/6/2018 Samuel Balbuena                 $12.50   65.50   $   11.00               $ 159.38   $   159.38
 5/13/2018 Samuel Balbuena                 $12.50   65.00   $   11.00               $ 156.25   $   156.25
 5/20/2018 Samuel Balbuena                 $12.50   65.60   $   11.00               $ 160.00   $   160.00


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  Week                                                    State Section 7: Section 7: Total Section 7
                                          Hourly Hours/
 Ending                      Name                       Minimum  Regular Half-Time Overtime Back
                                           Rate Week
  Date                                                   Wage   Rate Due     Due       Wages Due

 5/27/2018 Samuel Balbuena                $12.50   64.23   $   11.00         $ 151.46   $     151.46
  6/3/2018 Samuel Balbuena                $12.50   59.12   $   11.00         $ 119.48   $     119.48
 6/10/2018 Samuel Balbuena                $12.50   64.93   $   11.00         $ 155.83   $     155.83
 6/17/2018 Samuel Balbuena                $12.50   65.50   $   11.00         $ 159.38   $     159.38
 6/24/2018 Samuel Balbuena                $12.50   66.23   $   11.00         $ 163.96   $     163.96
  7/1/2018 Samuel Balbuena                $12.50   54.00   $   11.00         $ 87.50    $      87.50
  7/8/2018 Samuel Balbuena                $12.50   59.33   $   11.00         $ 120.83   $     120.83
 7/15/2018 Samuel Balbuena                $12.50   65.38   $   11.00         $ 158.65   $     158.65
 7/22/2018 Samuel Balbuena                $12.50   65.17   $   11.00         $ 157.29   $     157.29
 7/29/2018 Samuel Balbuena                $12.50   65.60   $   11.00         $ 160.00   $     160.00
  8/5/2018 Samuel Balbuena                $12.50   54.05   $   11.00         $ 87.81    $      87.81
 8/12/2018 Samuel Balbuena                $12.50   65.47   $   11.00         $ 159.17   $     159.17
 8/19/2018 Samuel Balbuena                $12.50   64.32   $   11.00         $ 151.98   $     151.98
 8/26/2018 Samuel Balbuena                $12.50   65.43   $   11.00         $ 158.96   $     158.96
  9/2/2018 Samuel Balbuena                $12.50   64.32   $   11.00         $ 151.98   $     151.98
  9/9/2018 Samuel Balbuena                $12.50   58.43   $   11.00         $ 115.21   $     115.21
 9/16/2018 Samuel Balbuena                $12.50   64.05   $   11.00         $ 150.31   $     150.31
 9/23/2018 Samuel Balbuena                $12.50   62.33   $   11.00         $ 139.58   $     139.58
 9/30/2018 Samuel Balbuena                $12.50   63.73   $   11.00         $ 148.33   $     148.33
 10/7/2018 Samuel Balbuena                $12.50   64.35   $   11.00         $ 152.19   $     152.19
10/14/2018 Samuel Balbuena                $12.50   62.90   $   11.00         $ 143.13   $     143.13
10/21/2018 Samuel Balbuena                $12.50   63.52   $   11.00         $ 146.98   $     146.98
10/28/2018 Samuel Balbuena                $12.50   63.13   $   11.00         $ 144.58   $     144.58
 11/4/2018 Samuel Balbuena                $12.50   64.10   $   11.00         $ 150.63   $     150.63
11/11/2018 Samuel Balbuena                $12.50   64.20   $   11.00         $ 151.25   $     151.25
11/18/2018 Samuel Balbuena                $12.50   64.55   $   11.00         $ 153.44   $     153.44
11/25/2018 Samuel Balbuena                $12.50   51.87   $   11.00         $ 74.17    $      74.17
 12/2/2018 Samuel Balbuena                $12.50   63.48   $   11.00         $ 146.77   $     146.77
 12/9/2018 Samuel Balbuena                $12.50   64.10   $   11.00         $ 150.63   $     150.63
12/16/2018 Samuel Balbuena                $12.50   63.62   $   11.00         $ 147.60   $     147.60
12/23/2018 Samuel Balbuena                $12.50   53.33   $   11.00         $ 83.33    $      83.33
 1/20/2019 Samuel Balbuena                $12.50   59.97   $   12.00         $ 124.79   $     124.79
 1/27/2019 Samuel Balbuena                $12.50   59.65   $   12.00         $ 122.81   $     122.81
  2/3/2019 Samuel Balbuena                $12.50   60.20   $   12.00         $ 126.25   $     126.25
 2/10/2019 Samuel Balbuena                $12.50   61.18   $   12.00         $ 132.40   $     132.40
 2/17/2019 Samuel Balbuena                $12.50   60.13   $   12.00         $ 125.83   $     125.83
 2/24/2019 Samuel Balbuena                $12.50   59.85   $   12.00         $ 124.06   $     124.06
  3/3/2019 Samuel Balbuena                $12.50   59.82   $   12.00         $ 123.85   $     123.85
 3/10/2019 Samuel Balbuena                $12.50   60.23   $   12.00         $ 126.46   $     126.46
 3/17/2019 Samuel Balbuena                $12.50   55.88   $   12.00         $ 99.27    $      99.27
 3/24/2019 Samuel Balbuena                $12.50   60.37   $   12.00         $ 127.29   $     127.29
 3/31/2019 Samuel Balbuena                $12.50   60.40   $   12.00         $ 127.50   $     127.50
  4/7/2019 Samuel Balbuena                $12.50   57.78   $   12.00         $ 111.15   $     111.15
 4/14/2019 Samuel Balbuena                $12.50   58.00   $   12.00         $ 112.50   $     112.50
 4/21/2019 Samuel Balbuena                $12.50   59.02   $   12.00         $ 118.85   $     118.85
 4/28/2019 Samuel Balbuena                $12.50   59.73   $   12.00         $ 123.33   $     123.33
  5/5/2019 Samuel Balbuena                $12.50   59.73   $   12.00         $ 123.33   $     123.33
 5/12/2019 Samuel Balbuena                $12.50   58.03   $   12.00         $ 112.71   $     112.71
 5/19/2019 Samuel Balbuena                $12.50   60.07   $   12.00         $ 125.42   $     125.42
 5/26/2019 Samuel Balbuena                $12.50   59.15   $   12.00         $ 119.69   $     119.69
  6/2/2019 Samuel Balbuena                $12.50   55.47   $   12.00         $ 96.67    $      96.67
  6/9/2019 Samuel Balbuena                $12.50   60.35   $   12.00         $ 127.19   $     127.19


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  Week                                                            State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
 Ending                      Name                               Minimum  Regular Half-Time Overtime Back
                                                   Rate Week
  Date                                                           Wage   Rate Due     Due       Wages Due

 6/16/2019 Samuel Balbuena                        $12.50   49.78   $   12.00               $ 61.15    $    61.15
 6/23/2019 Samuel Balbuena                        $12.50   59.87   $   12.00               $ 124.17   $   124.17
 6/30/2019 Samuel Balbuena                        $12.50   61.03   $   12.00               $ 131.46   $   131.46
  7/7/2019 Samuel Balbuena                        $13.00   45.93   $   12.00               $ 38.57    $    38.57
 7/14/2019 Samuel Balbuena                        $13.00   56.50   $   12.00               $ 107.25   $   107.25
 7/21/2019 Samuel Balbuena                        $13.00   46.62   $   12.00               $ 43.01    $    43.01
 7/28/2019 Samuel Balbuena                        $13.00   54.72   $   12.00               $ 95.66    $    95.66
  8/4/2019 Samuel Balbuena                        $13.00   53.65   $   12.00               $ 88.73    $    88.73
 8/11/2019 Samuel Balbuena                        $13.00   56.00   $   12.00               $ 104.00   $   104.00
 8/18/2019 Samuel Balbuena                        $13.00   55.62   $   12.00               $ 101.51   $   101.51
  9/1/2019 Samuel Balbuena                        $13.00   57.63   $   12.00               $ 114.62   $   114.62
  9/8/2019 Samuel Balbuena                        $13.00   52.78   $   12.00               $ 83.09    $    83.09
 9/15/2019 Samuel Balbuena                        $13.00   57.13   $   12.00               $ 111.37   $   111.37
 9/22/2019 Samuel Balbuena                        $13.00   56.95   $   12.00               $ 110.18   $   110.18
 9/29/2019 Samuel Balbuena                        $13.00   56.68   $   12.00               $ 108.44   $   108.44
 10/6/2019 Samuel Balbuena                        $13.00   57.75   $   12.00               $ 115.38   $   115.38
10/13/2019 Samuel Balbuena                        $13.00   56.68   $   12.00               $ 108.44   $   108.44
10/20/2019 Samuel Balbuena                        $13.00   57.15   $   12.00               $ 111.48   $   111.48
10/27/2019 Samuel Balbuena                        $13.00   57.52   $   12.00               $ 113.86   $   113.86
 11/3/2019 Samuel Balbuena                        $13.00   57.07   $   12.00               $ 110.93   $   110.93
11/10/2019 Samuel Balbuena                        $13.00   56.98   $   12.00               $ 110.39   $   110.39
11/17/2019 Samuel Balbuena                        $13.00   57.07   $   12.00               $ 110.93   $   110.93
 12/8/2019 Samuel Balbuena                        $13.00   56.80   $   12.00               $ 109.20   $   109.20
12/15/2019 Samuel Balbuena                        $13.00   50.67   $   12.00               $ 69.33    $    69.33
10/20/2019 Samuel Bobadilla Cordova               $12.00   52.35   $   12.00               $ 74.10    $    74.10
10/27/2019 Samuel Bobadilla Cordova               $12.00   55.23   $   12.00               $ 91.40    $    91.40
  4/1/2018 Samuel Florimon Valdez - Valet         $16.50   43.10   $   11.00               $ 25.58    $    25.58
  4/8/2018 Samuel Florimon Valdez - Valet         $16.50   47.25   $   11.00               $ 59.81    $    59.81
  5/6/2018 Samuel Florimon Valdez - Valet         $16.50   43.40   $   11.00               $ 28.05    $    28.05
 5/13/2018 Samuel Florimon Valdez - Valet         $16.50   46.45   $   11.00               $ 53.21    $    53.21
 5/20/2018 Samuel Florimon Valdez - Valet         $16.50   54.30   $   11.00               $ 117.98   $   117.98
 5/27/2018 Samuel Florimon Valdez - Valet         $16.50   50.32   $   11.00               $ 85.11    $    85.11
  6/3/2018 Samuel Florimon Valdez - Valet         $16.50   46.78   $   11.00               $ 55.96    $    55.96
 2/26/2017 Stefan Ortiz                            $9.50   44.05   $   10.00   $   22.03   $ 20.25    $    42.28
 3/12/2017 Stefan Ortiz                            $9.50   44.57   $   10.00   $   22.28   $ 22.83    $    45.12
  4/2/2017 Stefan Ortiz                            $9.50   44.25   $   10.00   $   22.13   $ 21.25    $    43.38
 4/16/2017 Stefan Ortiz                            $9.50   43.83   $   10.00   $   21.92   $ 19.17    $    41.08
 4/23/2017 Stefan Ortiz                            $9.50   44.10   $   10.00   $   22.05   $ 20.50    $    42.55
 5/14/2017 Stefan Ortiz                            $9.50   44.35   $   10.00   $   22.18   $ 21.75    $    43.93
 5/28/2017 Stefan Ortiz                            $9.50   44.23   $   10.00   $   22.12   $ 21.17    $    43.28
 6/11/2017 Stefan Ortiz                            $9.50   43.92   $   10.00   $   21.96   $ 19.58    $    41.54
  7/2/2017 Stefan Ortiz                            $9.50   43.80   $   10.00   $   21.90   $ 19.00    $    40.90
 7/23/2017 Stefan Ortiz                            $9.50   43.20   $   10.00   $   21.60   $ 16.00    $    37.60
  8/6/2017 Stefan Ortiz                            $9.50   42.67   $   10.00   $   21.33   $ 13.33    $    34.67
 8/13/2017 Stefan Ortiz                            $9.50   44.42   $   10.00   $   22.21   $ 22.08    $    44.29
 8/27/2017 Stefan Ortiz                            $9.50   43.50   $   10.00   $   21.75   $ 17.50    $    39.25
 10/1/2017 Stefan Ortiz                            $9.50   42.72   $   10.00   $   21.36   $ 13.58    $    34.94
10/22/2017 Stefan Ortiz                            $9.50   43.43   $   10.00   $   21.72   $ 17.17    $    38.88
 6/24/2018 Stevens Louis Juste                    $11.00   62.85   $   11.00               $ 125.68   $   125.68
  7/1/2018 Stevens Louis Juste                    $11.00   57.82   $   11.00               $ 97.99    $    97.99
  7/8/2018 Stevens Louis Juste                    $11.00   48.23   $   11.00               $ 45.28    $    45.28
 7/15/2018 Stevens Louis Juste                    $11.00   58.30   $   11.00               $ 100.65   $   100.65


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  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                       Name                       Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 8/26/2018 Stevens Louis Juste             $11.00   45.90   $   11.00               $ 32.45    $    32.45
 9/16/2018 Stevens Louis Juste             $11.00   47.87   $   11.00               $ 43.27    $    43.27
  2/5/2017 Tomas Antonio Garcia             $9.50   50.20   $   10.00   $   25.10   $ 51.00    $    76.10
 2/12/2017 Tomas Antonio Garcia             $9.50   40.03   $   10.00   $   20.02   $   0.17   $    20.18
 3/25/2018 Victor Estrada - Valet          $16.50   48.13   $   11.00               $ 67.10    $    67.10
  4/1/2018 Victor Estrada - Valet          $16.50   48.63   $   11.00               $ 71.23    $    71.23
  4/8/2018 Victor Estrada - Valet          $16.50   46.28   $   11.00               $ 51.84    $    51.84
 4/15/2018 Victor Estrada - Valet          $16.50   45.85   $   11.00               $ 48.26    $    48.26
 4/22/2018 Victor Estrada - Valet          $16.50   55.40   $   11.00               $ 127.05   $   127.05
 4/29/2018 Victor Estrada - Valet          $16.50   45.68   $   11.00               $ 46.89    $    46.89
  5/6/2018 Victor Estrada - Valet          $16.50   46.25   $   11.00               $ 51.56    $    51.56
 5/13/2018 Victor Estrada - Valet          $16.50   45.78   $   11.00               $ 47.71    $    47.71
 5/20/2018 Victor Estrada - Valet          $16.50   43.65   $   11.00               $ 30.11    $    30.11
 5/27/2018 Victor Estrada - Valet          $16.50   45.45   $   11.00               $ 44.96    $    44.96
  6/3/2018 Victor Estrada - Valet          $16.50   46.48   $   11.00               $ 53.49    $    53.49
 6/10/2018 Victor Estrada - Valet          $16.50   49.77   $   11.00               $ 80.58    $    80.58
 6/17/2018 Victor Estrada - Valet          $16.50   45.85   $   11.00               $ 48.26    $    48.26
 6/24/2018 Victor Estrada - Valet          $16.50   45.53   $   11.00               $ 45.65    $    45.65
  7/1/2018 Victor Estrada - Valet          $16.50   47.40   $   11.00               $ 61.05    $    61.05
  7/8/2018 Victor Estrada - Valet          $16.50   48.07   $   11.00               $ 66.55    $    66.55
 7/15/2018 Victor Estrada - Valet          $16.50   44.75   $   11.00               $ 39.19    $    39.19
 7/22/2018 Victor Estrada - Valet          $16.50   45.67   $   11.00               $ 46.75    $    46.75
 7/29/2018 Victor Estrada - Valet          $16.50   56.97   $   11.00               $ 139.98   $   139.98
  8/5/2018 Victor Estrada - Valet          $16.50   53.32   $   11.00               $ 109.86   $   109.86
 8/12/2018 Victor Estrada - Valet          $16.50   54.30   $   11.00               $ 117.98   $   117.98
 8/19/2018 Victor Estrada - Valet          $16.50   51.92   $   11.00               $ 98.31    $    98.31
 8/26/2018 Victor Estrada - Valet          $16.50   53.70   $   11.00               $ 113.03   $   113.03
  9/2/2018 Victor Estrada - Valet          $16.50   44.88   $   11.00               $ 40.29    $    40.29
 9/16/2018 Victor Estrada - Valet          $16.50   52.13   $   11.00               $ 100.10   $   100.10
 9/23/2018 Victor Estrada - Valet          $16.50   45.18   $   11.00               $ 42.76    $    42.76
 9/30/2018 Victor Estrada - Valet          $16.50   52.90   $   11.00               $ 106.43   $   106.43
 10/7/2018 Victor Estrada - Valet          $16.50   55.08   $   11.00               $ 124.44   $   124.44
10/14/2018 Victor Estrada - Valet          $16.50   54.70   $   11.00               $ 121.28   $   121.28
10/21/2018 Victor Estrada - Valet          $16.50   44.37   $   11.00               $ 36.02    $    36.02
10/28/2018 Victor Estrada - Valet          $16.50   54.30   $   11.00               $ 117.98   $   117.98
 11/4/2018 Victor Estrada - Valet          $16.50   54.58   $   11.00               $ 120.31   $   120.31
11/11/2018 Victor Estrada - Valet          $16.50   52.68   $   11.00               $ 104.64   $   104.64
11/25/2018 Victor Estrada - Valet          $16.50   45.72   $   11.00               $ 47.16    $    47.16
 12/2/2018 Victor Estrada - Valet          $16.50   53.75   $   11.00               $ 113.44   $   113.44
 12/9/2018 Victor Estrada - Valet          $16.50   51.22   $   11.00               $ 92.54    $    92.54
12/16/2018 Victor Estrada - Valet          $16.50   53.68   $   11.00               $ 112.89   $   112.89
12/23/2018 Victor Estrada - Valet          $16.50   56.00   $   11.00               $ 132.00   $   132.00
12/30/2018 Victor Estrada - Valet          $16.50   44.95   $   11.00               $ 40.84    $    40.84
 1/13/2019 Victor Estrada - Valet          $16.50   55.00   $   12.00               $ 123.75   $   123.75
 1/20/2019 Victor Estrada - Valet          $16.50   40.92   $   12.00               $   7.56   $     7.56
 1/27/2019 Victor Estrada - Valet          $16.50   55.28   $   12.00               $ 126.09   $   126.09
  2/3/2019 Victor Estrada - Valet          $16.50   54.82   $   12.00               $ 122.24   $   122.24
 2/10/2019 Victor Estrada - Valet          $16.50   51.30   $   12.00               $ 93.23    $    93.23
 2/17/2019 Victor Estrada - Valet          $16.50   54.92   $   12.00               $ 123.06   $   123.06
 2/24/2019 Victor Estrada - Valet          $16.50   53.80   $   12.00               $ 113.85   $   113.85
  3/3/2019 Victor Estrada - Valet          $16.50   55.07   $   12.00               $ 124.30   $   124.30
 3/10/2019 Victor Estrada - Valet          $16.50   54.55   $   12.00               $ 120.04   $   120.04


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  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

 3/17/2019 Victor Estrada - Valet          $16.50   54.28   $   12.00         $ 117.84   $     117.84
 3/31/2019 Victor Estrada - Valet          $16.50   55.78   $   12.00         $ 130.21   $     130.21
  4/7/2019 Victor Estrada - Valet          $16.50   53.82   $   12.00         $ 113.99   $     113.99
 4/14/2019 Victor Estrada - Valet          $16.50   58.22   $   12.00         $ 150.29   $     150.29
 4/21/2019 Victor Estrada - Valet          $16.50   52.05   $   12.00         $ 99.41    $      99.41
 4/28/2019 Victor Estrada - Valet          $16.50   56.40   $   12.00         $ 135.30   $     135.30
  5/5/2019 Victor Estrada - Valet          $16.50   54.32   $   12.00         $ 118.11   $     118.11
 5/12/2019 Victor Estrada - Valet          $16.50   56.35   $   12.00         $ 134.89   $     134.89
12/17/2017 Victor Martinez Santana         $11.00   48.07   $   10.00         $ 44.37    $      44.37
12/24/2017 Victor Martinez Santana         $11.00   58.25   $   10.00         $ 100.38   $     100.38
12/31/2017 Victor Martinez Santana         $11.00   48.17   $   11.00         $ 44.92    $      44.92
 1/21/2018 Victor Martinez Santana         $11.00   58.48   $   11.00         $ 101.66   $     101.66
 1/28/2018 Victor Martinez Santana         $11.00   58.32   $   11.00         $ 100.74   $     100.74
  2/4/2018 Victor Martinez Santana         $11.00   55.95   $   11.00         $ 87.73    $      87.73
 2/11/2018 Victor Martinez Santana         $11.00   58.38   $   11.00         $ 101.11   $     101.11
 2/18/2018 Victor Martinez Santana         $11.00   58.20   $   11.00         $ 100.10   $     100.10
 2/25/2018 Victor Martinez Santana         $11.00   47.98   $   11.00         $ 43.91    $      43.91
  3/4/2018 Victor Martinez Santana         $11.00   56.58   $   11.00         $ 91.21    $      91.21
 3/25/2018 Victor Martinez Santana         $11.00   55.72   $   11.00         $ 86.44    $      86.44
  4/1/2018 Victor Martinez Santana         $11.00   56.68   $   11.00         $ 91.76    $      91.76
  4/8/2018 Victor Martinez Santana         $11.00   58.52   $   11.00         $ 101.84   $     101.84
 4/15/2018 Victor Martinez Santana         $11.00   57.85   $   11.00         $ 98.18    $      98.18
 4/22/2018 Victor Martinez Santana         $11.00   65.58   $   11.00         $ 140.71   $     140.71
 4/29/2018 Victor Martinez Santana         $11.00   58.35   $   11.00         $ 100.93   $     100.93
  5/6/2018 Victor Martinez Santana         $11.00   48.28   $   11.00         $ 45.56    $      45.56
 5/13/2018 Victor Martinez Santana         $11.00   63.68   $   11.00         $ 130.26   $     130.26
 5/20/2018 Victor Martinez Santana         $11.00   48.70   $   11.00         $ 47.85    $      47.85
 5/27/2018 Victor Martinez Santana         $11.00   64.00   $   11.00         $ 132.00   $     132.00
  6/3/2018 Victor Martinez Santana         $11.00   59.02   $   11.00         $ 104.59   $     104.59
 6/10/2018 Victor Martinez Santana         $11.00   56.12   $   11.00         $ 88.64    $      88.64
 6/17/2018 Victor Martinez Santana         $11.00   56.85   $   11.00         $ 92.68    $      92.68
 6/24/2018 Victor Martinez Santana         $11.00   65.93   $   11.00         $ 142.63   $     142.63
  7/1/2018 Victor Martinez Santana         $11.00   57.23   $   11.00         $ 94.78    $      94.78
  7/8/2018 Victor Martinez Santana         $11.00   47.72   $   11.00         $ 42.44    $      42.44
 7/15/2018 Victor Martinez Santana         $11.00   58.37   $   11.00         $ 101.02   $     101.02
 2/10/2019 Wil Alfredo Moza                $12.50   65.17   $   12.00         $ 157.29   $     157.29
 2/17/2019 Wil Alfredo Moza                $12.50   63.72   $   12.00         $ 148.23   $     148.23
 2/24/2019 Wil Alfredo Moza                $12.50   64.37   $   12.00         $ 152.29   $     152.29
  3/3/2019 Wil Alfredo Moza                $12.50   64.13   $   12.00         $ 150.83   $     150.83
 3/10/2019 Wil Alfredo Moza                $12.50   64.52   $   12.00         $ 153.23   $     153.23
 3/17/2019 Wil Alfredo Moza                $12.50   61.47   $   12.00         $ 134.17   $     134.17
 3/24/2019 Wil Alfredo Moza                $12.50   60.58   $   12.00         $ 128.65   $     128.65
 3/31/2019 Wil Alfredo Moza                $12.50   60.67   $   12.00         $ 129.17   $     129.17
  4/7/2019 Wil Alfredo Moza                $12.50   61.57   $   12.00         $ 134.79   $     134.79
 4/14/2019 Wil Alfredo Moza                $12.50   61.22   $   12.00         $ 132.60   $     132.60
 4/21/2019 Wil Alfredo Moza                $12.50   64.33   $   12.00         $ 152.08   $     152.08
 4/28/2019 Wil Alfredo Moza                $12.50   61.60   $   12.00         $ 135.00   $     135.00
  5/5/2019 Wil Alfredo Moza                $12.50   64.35   $   12.00         $ 152.19   $     152.19
 5/12/2019 Wil Alfredo Moza                $12.50   64.57   $   12.00         $ 153.54   $     153.54
 5/19/2019 Wil Alfredo Moza                $12.50   64.97   $   12.00         $ 156.04   $     156.04
  6/9/2019 Wil Alfredo Moza                $12.50   64.50   $   12.00         $ 153.13   $     153.13
 6/16/2019 Wil Alfredo Moza                $12.50   64.28   $   12.00         $ 151.77   $     151.77


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                                                         Exhibit 5
                                                Long Island Computations


  Week                                                                 State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
 Ending                      Name                                    Minimum  Regular Half-Time Overtime Back
                                                        Rate Week
  Date                                                                Wage   Rate Due     Due       Wages Due

 6/23/2019 Wil Alfredo Moza                            $12.50   61.78   $   12.00               $ 136.15   $   136.15
 6/30/2019 Wil Alfredo Moza                            $12.50   58.87   $   12.00               $ 117.92   $   117.92
  7/7/2019 Wil Alfredo Moza                            $12.50   51.07   $   12.00               $ 69.17    $    69.17
 7/14/2019 Wil Alfredo Moza                            $12.50   60.97   $   12.00               $ 131.04   $   131.04
 7/21/2019 Wil Alfredo Moza                            $12.50   52.90   $   12.00               $ 80.63    $    80.63
 7/28/2019 Wil Alfredo Moza                            $12.50   60.68   $   12.00               $ 129.27   $   129.27
  8/4/2019 Wil Alfredo Moza                            $12.50   60.52   $   12.00               $ 128.23   $   128.23
 8/11/2019 Wil Alfredo Moza                            $12.50   60.50   $   12.00               $ 128.13   $   128.13
 8/18/2019 Wil Alfredo Moza                            $12.50   60.78   $   12.00               $ 129.90   $   129.90
 8/25/2019 Wil Alfredo Moza                            $12.50   58.82   $   12.00               $ 117.60   $   117.60
  9/1/2019 Wil Alfredo Moza                            $12.50   52.95   $   12.00               $ 80.94    $    80.94
  9/8/2019 Wil Alfredo Moza                            $12.50   49.90   $   12.00               $ 61.88    $    61.88
 9/15/2019 Wil Alfredo Moza                            $12.50   60.58   $   12.00               $ 128.65   $   128.65
 9/22/2019 Wil Alfredo Moza                            $12.50   60.37   $   12.00               $ 127.29   $   127.29
 9/29/2019 Wil Alfredo Moza                            $12.50   60.67   $   12.00               $ 129.17   $   129.17
 10/6/2019 Wil Alfredo Moza                            $12.50   60.52   $   12.00               $ 128.23   $   128.23
10/13/2019 Wil Alfredo Moza                            $12.50   53.13   $   12.00               $ 82.08    $    82.08
10/20/2019 Wil Alfredo Moza                            $12.50   60.97   $   12.00               $ 131.04   $   131.04
10/27/2019 Wil Alfredo Moza                            $12.50   60.98   $   12.00               $ 131.15   $   131.15
 11/3/2019 Wil Alfredo Moza                            $12.50   61.47   $   12.00               $ 134.17   $   134.17
11/10/2019 Wil Alfredo Moza                            $12.50   61.62   $   12.00               $ 135.10   $   135.10
11/17/2019 Wil Alfredo Moza                            $12.50   61.32   $   12.00               $ 133.23   $   133.23
11/24/2019 Wil Alfredo Moza                            $12.50   54.15   $   12.00               $ 88.44    $    88.44
 12/1/2019 Wil Alfredo Moza                            $12.50   50.18   $   12.00               $ 63.65    $    63.65
 12/8/2019 Wil Alfredo Moza                            $12.50   61.02   $   12.00               $ 131.35   $   131.35
12/15/2019 Wil Alfredo Moza                            $12.50   61.55   $   12.00               $ 134.69   $   134.69
12/22/2019 Wil Alfredo Moza                            $12.50   61.38   $   12.00               $ 133.65   $   133.65
12/29/2019 Wil Alfredo Moza                            $12.50   48.95   $   12.00               $ 55.94    $    55.94
  1/5/2020 Wil Alfredo Moza                            $12.50   41.90   $   13.00   $   20.95   $ 12.35    $    33.30
 1/12/2020 Wil Alfredo Moza                            $12.50   63.12   $   13.00   $   31.56   $ 150.26   $   181.82
 1/19/2020 Wil Alfredo Moza                            $12.50   61.00   $   13.00   $   30.50   $ 136.50   $   167.00
 1/26/2020 Wil Alfredo Moza                            $13.00   59.38   $   13.00               $ 125.99   $   125.99
 8/20/2017 Wilber Alexander Nino - Detail Department   $11.00   48.72   $   10.00               $ 47.94    $    47.94
 8/27/2017 Wilber Alexander Nino - Detail Department   $11.00   53.38   $   10.00               $ 73.61    $    73.61
  9/3/2017 Wilber Alexander Nino - Detail Department   $11.00   61.53   $   10.00               $ 118.43   $   118.43
 9/10/2017 Wilber Alexander Nino - Detail Department   $11.00   48.92   $   10.00               $ 49.04    $    49.04
 9/17/2017 Wilber Alexander Nino - Detail Department   $11.00   58.73   $   10.00               $ 103.03   $   103.03
 9/24/2017 Wilber Alexander Nino - Detail Department   $11.00   59.60   $   10.00               $ 107.80   $   107.80
 10/1/2017 Wilber Alexander Nino - Detail Department   $11.00   59.67   $   10.00               $ 108.17   $   108.17
 10/8/2017 Wilber Alexander Nino - Detail Department   $11.00   59.10   $   10.00               $ 105.05   $   105.05
10/15/2017 Wilber Alexander Nino - Detail Department   $11.00   59.32   $   10.00               $ 106.24   $   106.24
10/22/2017 Wilber Alexander Nino - Detail Department   $11.00   59.68   $   10.00               $ 108.26   $   108.26
10/29/2017 Wilber Alexander Nino - Detail Department   $11.00   59.18   $   10.00               $ 105.51   $   105.51
 11/5/2017 Wilber Alexander Nino - Detail Department   $11.00   58.92   $   10.00               $ 104.04   $   104.04
11/12/2017 Wilber Alexander Nino - Detail Department   $11.00   59.98   $   10.00               $ 109.91   $   109.91
11/19/2017 Wilber Alexander Nino - Detail Department   $11.00   60.93   $   10.00               $ 115.13   $   115.13
11/26/2017 Wilber Alexander Nino - Detail Department   $11.00   46.77   $   10.00               $ 37.22    $    37.22
 12/3/2017 Wilber Alexander Nino - Detail Department   $11.00   60.03   $   10.00               $ 110.18   $   110.18
12/10/2017 Wilber Alexander Nino - Detail Department   $11.00   59.32   $   10.00               $ 106.24   $   106.24
12/17/2017 Wilber Alexander Nino - Detail Department   $11.00   58.90   $   10.00               $ 103.95   $   103.95
12/24/2017 Wilber Alexander Nino - Detail Department   $11.00   58.90   $   10.00               $ 103.95   $   103.95
12/31/2017 Wilber Alexander Nino - Detail Department   $11.00   49.05   $   11.00               $ 49.78    $    49.78


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  Week                                                                 State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
 Ending                      Name                                    Minimum  Regular Half-Time Overtime Back
                                                        Rate Week
  Date                                                                Wage   Rate Due     Due       Wages Due

  1/7/2018 Wilber Alexander Nino - Detail Department   $11.00   41.88   $   11.00               $ 10.36    $    10.36
 1/14/2018 Wilber Alexander Nino - Detail Department   $11.00   61.27   $   11.00               $ 116.97   $   116.97
 1/21/2018 Wilber Alexander Nino - Detail Department   $11.00   60.48   $   11.00               $ 112.66   $   112.66
 1/28/2018 Wilber Alexander Nino - Detail Department   $11.00   61.25   $   11.00               $ 116.88   $   116.88
  2/4/2018 Wilber Alexander Nino - Detail Department   $11.00   61.40   $   11.00               $ 117.70   $   117.70
 2/11/2018 Wilber Alexander Nino - Detail Department   $11.00   61.40   $   11.00               $ 117.70   $   117.70
 2/18/2018 Wilber Alexander Nino - Detail Department   $11.00   61.57   $   11.00               $ 118.62   $   118.62
 2/25/2018 Wilber Alexander Nino - Detail Department   $11.00   59.40   $   11.00               $ 106.70   $   106.70
  3/4/2018 Wilber Alexander Nino - Detail Department   $11.00   62.10   $   11.00               $ 121.55   $   121.55
 3/25/2018 Wilber Alexander Nino - Detail Department   $11.00   57.78   $   11.00               $ 97.81    $    97.81
  4/1/2018 Wilber Alexander Nino - Detail Department   $11.00   60.28   $   11.00               $ 111.56   $   111.56
  4/8/2018 Wilber Alexander Nino - Detail Department   $11.00   58.90   $   11.00               $ 103.95   $   103.95
 4/15/2018 Wilber Alexander Nino - Detail Department   $11.00   59.60   $   11.00               $ 107.80   $   107.80
 4/22/2018 Wilber Alexander Nino - Detail Department   $11.00   59.75   $   11.00               $ 108.63   $   108.63
 4/29/2018 Wilber Alexander Nino - Detail Department   $11.00   62.53   $   11.00               $ 123.93   $   123.93
  5/6/2018 Wilber Alexander Nino - Detail Department   $11.00   62.07   $   11.00               $ 121.37   $   121.37
 5/13/2018 Wilber Alexander Nino - Detail Department   $11.00   61.93   $   11.00               $ 120.63   $   120.63
 5/20/2018 Wilber Alexander Nino - Detail Department   $11.00   61.55   $   11.00               $ 118.53   $   118.53
 5/27/2018 Wilber Alexander Nino - Detail Department   $11.00   61.62   $   11.00               $ 118.89   $   118.89
  6/3/2018 Wilber Alexander Nino - Detail Department   $11.00   51.15   $   11.00               $ 61.33    $    61.33
 6/10/2018 Wilber Alexander Nino - Detail Department   $11.00   62.10   $   11.00               $ 121.55   $   121.55
 6/17/2018 Wilber Alexander Nino - Detail Department   $11.00   61.93   $   11.00               $ 120.63   $   120.63
 6/24/2018 Wilber Alexander Nino - Detail Department   $11.00   61.72   $   11.00               $ 119.44   $   119.44
  7/1/2018 Wilber Alexander Nino - Detail Department   $11.00   61.68   $   11.00               $ 119.26   $   119.26
  7/8/2018 Wilber Alexander Nino - Detail Department   $11.00   50.80   $   11.00               $ 59.40    $    59.40
 7/15/2018 Wilber Alexander Nino - Detail Department   $11.00   61.35   $   11.00               $ 117.43   $   117.43
 7/22/2018 Wilber Alexander Nino - Detail Department   $11.00   62.08   $   11.00               $ 121.46   $   121.46
 7/29/2018 Wilber Alexander Nino - Detail Department   $11.00   61.87   $   11.00               $ 120.27   $   120.27
  8/5/2018 Wilber Alexander Nino - Detail Department   $11.00   61.52   $   11.00               $ 118.34   $   118.34
 8/12/2018 Wilber Alexander Nino - Detail Department   $11.00   61.33   $   11.00               $ 117.33   $   117.33
 8/19/2018 Wilber Alexander Nino - Detail Department   $11.00   60.38   $   11.00               $ 112.11   $   112.11
 8/26/2018 Wilber Alexander Nino - Detail Department   $11.00   60.92   $   11.00               $ 115.04   $   115.04
  9/2/2018 Wilber Alexander Nino - Detail Department   $11.00   61.10   $   11.00               $ 116.05   $   116.05
  9/9/2018 Wilber Alexander Nino - Detail Department   $11.00   50.98   $   11.00               $ 60.41    $    60.41
 9/16/2018 Wilber Alexander Nino - Detail Department   $11.00   60.73   $   11.00               $ 114.03   $   114.03
 9/23/2018 Wilber Alexander Nino - Detail Department   $11.00   61.33   $   11.00               $ 117.33   $   117.33
 9/30/2018 Wilber Alexander Nino - Detail Department   $11.00   60.65   $   11.00               $ 113.58   $   113.58
 10/7/2018 Wilber Alexander Nino - Detail Department   $11.00   60.52   $   11.00               $ 112.84   $   112.84
10/14/2018 Wilber Alexander Nino - Detail Department   $11.00   60.60   $   11.00               $ 113.30   $   113.30
10/21/2018 Wilber Alexander Nino - Detail Department   $11.00   59.10   $   11.00               $ 105.05   $   105.05
10/28/2018 Wilber Alexander Nino - Detail Department   $11.00   48.93   $   11.00               $ 49.13    $    49.13
 11/4/2018 Wilber Alexander Nino - Detail Department   $11.00   59.15   $   11.00               $ 105.33   $   105.33
11/11/2018 Wilber Alexander Nino - Detail Department   $11.00   58.17   $   11.00               $ 99.92    $    99.92
11/18/2018 Wilber Alexander Nino - Detail Department   $11.00   48.47   $   11.00               $ 46.57    $    46.57
11/25/2018 Wilber Alexander Nino - Detail Department   $11.00   44.65   $   11.00               $ 25.58    $    25.58
 12/2/2018 Wilber Alexander Nino - Detail Department   $11.00   49.03   $   11.00               $ 49.68    $    49.68
 12/9/2018 Wilber Alexander Nino - Detail Department   $11.00   56.98   $   11.00               $ 93.41    $    93.41
12/16/2018 Wilber Alexander Nino - Detail Department   $11.00   56.33   $   11.00               $ 89.83    $    89.83
12/23/2018 Wilber Alexander Nino - Detail Department   $11.00   55.95   $   11.00               $ 87.73    $    87.73
  1/6/2019 Wilber Alexander Nino - Detail Department   $11.00   45.75   $   12.00   $   45.75   $ 34.50    $    80.25
 1/13/2019 Wilber Alexander Nino - Detail Department   $11.00   53.95   $   12.00   $   53.95   $ 83.70    $   137.65
 1/20/2019 Wilber Alexander Nino - Detail Department   $11.00   56.12   $   12.00   $   56.12   $ 96.70    $   152.82


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  Week                                                                 State Section 7: Section 7: Total Section 7
                                                       Hourly Hours/
 Ending                      Name                                    Minimum  Regular Half-Time Overtime Back
                                                        Rate Week
  Date                                                                Wage   Rate Due     Due       Wages Due

 1/27/2019 Wilber Alexander Nino - Detail Department   $11.00   55.63   $   12.00   $   55.63   $ 93.80    $   149.43
  2/3/2019 Wilber Alexander Nino - Detail Department   $11.00   57.05   $   12.00   $   57.05   $ 102.30   $   159.35
 2/10/2019 Wilber Alexander Nino - Detail Department   $11.00   56.87   $   12.00   $   56.87   $ 101.20   $   158.07
 2/17/2019 Wilber Alexander Nino - Detail Department   $11.00   56.62   $   12.00   $   56.62   $ 99.70    $   156.32
 2/24/2019 Wilber Alexander Nino - Detail Department   $11.00   56.98   $   12.00   $   56.98   $ 101.90   $   158.88
  3/3/2019 Wilber Alexander Nino - Detail Department   $11.00   57.03   $   12.00   $   57.03   $ 102.20   $   159.23
 3/10/2019 Wilber Alexander Nino - Detail Department   $11.00   47.62   $   12.00   $   47.62   $ 45.70    $    93.32
 3/17/2019 Wilber Alexander Nino - Detail Department   $11.00   56.30   $   12.00   $   56.30   $ 97.80    $   154.10
 3/24/2019 Wilber Alexander Nino - Detail Department   $11.00   48.85   $   12.00   $   48.85   $ 53.10    $   101.95
 3/31/2019 Wilber Alexander Nino - Detail Department   $11.00   47.43   $   12.00   $   47.43   $ 44.60    $    92.03
  4/7/2019 Wilber Alexander Nino - Detail Department   $11.00   54.57   $   12.00   $   54.57   $ 87.40    $   141.97
 4/14/2019 Wilber Alexander Nino - Detail Department   $11.00   57.35   $   12.00   $   57.35   $ 104.10   $   161.45
 4/21/2019 Wilber Alexander Nino - Detail Department   $11.00   58.38   $   12.00   $   58.38   $ 110.30   $   168.68
 4/28/2019 Wilber Alexander Nino - Detail Department   $11.00   48.23   $   12.00   $   48.23   $ 49.40    $    97.63
  5/5/2019 Wilber Alexander Nino - Detail Department   $11.00   58.87   $   12.00   $   58.87   $ 113.20   $   172.07
 5/12/2019 Wilber Alexander Nino - Detail Department   $11.00   57.93   $   12.00   $   57.93   $ 107.60   $   165.53
 5/19/2019 Wilber Alexander Nino - Detail Department   $11.00   56.88   $   12.00   $   56.88   $ 101.30   $   158.18
 5/26/2019 Wilber Alexander Nino - Detail Department   $11.00   59.42   $   12.00   $   59.42   $ 116.50   $   175.92
  6/2/2019 Wilber Alexander Nino - Detail Department   $11.00   49.90   $   12.00   $   49.90   $ 59.40    $   109.30
  6/9/2019 Wilber Alexander Nino - Detail Department   $11.00   59.70   $   12.00   $   59.70   $ 118.20   $   177.90
 6/16/2019 Wilber Alexander Nino - Detail Department   $11.00   59.63   $   12.00   $   59.63   $ 117.80   $   177.43
 6/23/2019 Wilber Alexander Nino - Detail Department   $11.00   59.32   $   12.00   $   59.32   $ 115.90   $   175.22
 6/30/2019 Wilber Alexander Nino - Detail Department   $11.00   48.67   $   12.00   $   48.67   $ 52.00    $   100.67
  7/7/2019 Wilber Alexander Nino - Detail Department   $12.00   45.57   $   12.00               $ 33.40    $    33.40
 7/14/2019 Wilber Alexander Nino - Detail Department   $12.00   56.80   $   12.00               $ 100.80   $   100.80
 7/21/2019 Wilber Alexander Nino - Detail Department   $12.00   55.15   $   12.00               $ 90.90    $    90.90
 7/28/2019 Wilber Alexander Nino - Detail Department   $12.00   44.90   $   12.00               $ 29.40    $    29.40
  8/4/2019 Wilber Alexander Nino - Detail Department   $12.00   53.68   $   12.00               $ 82.10    $    82.10
 8/11/2019 Wilber Alexander Nino - Detail Department   $12.00   54.75   $   12.00               $ 88.50    $    88.50
 8/18/2019 Wilber Alexander Nino - Detail Department   $12.00   56.03   $   12.00               $ 96.20    $    96.20
 8/25/2019 Wilber Alexander Nino - Detail Department   $12.00   54.45   $   12.00               $ 86.70    $    86.70
  9/1/2019 Wilber Alexander Nino - Detail Department   $12.00   46.02   $   12.00               $ 36.10    $    36.10
  9/8/2019 Wilber Alexander Nino - Detail Department   $12.00   43.95   $   12.00               $ 23.70    $    23.70
 6/11/2017 Wilber Yobanis Iraheta Sanchez              $11.00   62.58   $   10.00               $ 124.21   $   124.21
 6/18/2017 Wilber Yobanis Iraheta Sanchez              $11.00   60.17   $   10.00               $ 110.92   $   110.92
 6/25/2017 Wilber Yobanis Iraheta Sanchez              $11.00   58.93   $   10.00               $ 104.13   $   104.13
  7/2/2017 Wilber Yobanis Iraheta Sanchez              $11.00   60.18   $   10.00               $ 111.01   $   111.01
  7/9/2017 Wilber Yobanis Iraheta Sanchez              $11.00   48.18   $   10.00               $ 45.01    $    45.01
 7/16/2017 Wilber Yobanis Iraheta Sanchez              $11.00   58.58   $   10.00               $ 102.21   $   102.21
 7/23/2017 Wilber Yobanis Iraheta Sanchez              $11.00   59.77   $   10.00               $ 108.72   $   108.72
 7/30/2017 Wilber Yobanis Iraheta Sanchez              $11.00   58.95   $   10.00               $ 104.23   $   104.23
  8/6/2017 Wilber Yobanis Iraheta Sanchez              $11.00   58.60   $   10.00               $ 102.30   $   102.30
 8/13/2017 Wilber Yobanis Iraheta Sanchez              $11.00   58.88   $   10.00               $ 103.86   $   103.86
 8/20/2017 Wilber Yobanis Iraheta Sanchez              $11.00   59.40   $   10.00               $ 106.70   $   106.70
 8/27/2017 Wilber Yobanis Iraheta Sanchez              $11.00   60.27   $   10.00               $ 111.47   $   111.47
  9/3/2017 Wilber Yobanis Iraheta Sanchez              $11.00   55.30   $   10.00               $ 84.15    $    84.15
 9/10/2017 Wilber Yobanis Iraheta Sanchez              $11.00   48.88   $   10.00               $ 48.86    $    48.86
 9/17/2017 Wilber Yobanis Iraheta Sanchez              $11.00   58.95   $   10.00               $ 104.23   $   104.23
 9/24/2017 Wilber Yobanis Iraheta Sanchez              $11.00   59.55   $   10.00               $ 107.53   $   107.53
 10/1/2017 Wilber Yobanis Iraheta Sanchez              $11.00   59.62   $   10.00               $ 107.89   $   107.89
 10/8/2017 Wilber Yobanis Iraheta Sanchez              $11.00   59.53   $   10.00               $ 107.43   $   107.43
10/15/2017 Wilber Yobanis Iraheta Sanchez              $11.00   59.28   $   10.00               $ 106.06   $   106.06


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  Week                                                            State Section 7: Section 7: Total Section 7
                                                  Hourly Hours/
 Ending                      Name                               Minimum  Regular Half-Time Overtime Back
                                                   Rate Week
  Date                                                           Wage   Rate Due     Due       Wages Due

10/22/2017 Wilber Yobanis Iraheta Sanchez         $11.00    59.70   $   10.00        $ 108.35   $     108.35
10/29/2017 Wilber Yobanis Iraheta Sanchez         $11.00    59.15   $   10.00        $ 105.33   $     105.33
 11/5/2017 Wilber Yobanis Iraheta Sanchez         $11.00    58.88   $   10.00        $ 103.86   $     103.86
11/12/2017 Wilber Yobanis Iraheta Sanchez         $11.00    59.48   $   10.00        $ 107.16   $     107.16
11/19/2017 Wilber Yobanis Iraheta Sanchez         $11.00    60.93   $   10.00        $ 115.13   $     115.13
11/26/2017 Wilber Yobanis Iraheta Sanchez         $11.00    46.77   $   10.00        $ 37.22    $      37.22
 12/3/2017 Wilber Yobanis Iraheta Sanchez         $11.00    60.00   $   10.00        $ 110.00   $     110.00
12/10/2017 Wilber Yobanis Iraheta Sanchez         $11.00    59.28   $   10.00        $ 106.06   $     106.06
12/17/2017 Wilber Yobanis Iraheta Sanchez         $11.00    58.88   $   10.00        $ 103.86   $     103.86
12/24/2017 Wilber Yobanis Iraheta Sanchez         $11.00    58.87   $   10.00        $ 103.77   $     103.77
12/31/2017 Wilber Yobanis Iraheta Sanchez         $11.00    50.12   $   11.00        $ 55.64    $      55.64
  1/7/2018 Wilber Yobanis Iraheta Sanchez         $11.00    41.88   $   11.00        $ 10.36    $      10.36
 1/14/2018 Wilber Yobanis Iraheta Sanchez         $11.00    61.32   $   11.00        $ 117.24   $     117.24
 1/21/2018 Wilber Yobanis Iraheta Sanchez         $11.00    60.92   $   11.00        $ 115.04   $     115.04
 1/28/2018 Wilber Yobanis Iraheta Sanchez         $11.00    59.43   $   11.00        $ 106.88   $     106.88
  2/4/2018 Wilber Yobanis Iraheta Sanchez         $11.00    60.02   $   11.00        $ 110.09   $     110.09
 2/11/2018 Wilber Yobanis Iraheta Sanchez         $11.00    59.37   $   11.00        $ 106.52   $     106.52
 2/18/2018 Wilber Yobanis Iraheta Sanchez         $11.00    59.77   $   11.00        $ 108.72   $     108.72
 2/25/2018 Wilber Yobanis Iraheta Sanchez         $11.00    60.13   $   11.00        $ 110.73   $     110.73
  3/4/2018 Wilber Yobanis Iraheta Sanchez         $11.00    60.05   $   11.00        $ 110.28   $     110.28
 11/3/2019 Wilber Yobanis Iraheta Sanchez         $13.00    57.33   $   12.00        $ 112.67   $     112.67
11/10/2019 Wilber Yobanis Iraheta Sanchez         $13.00    56.43   $   12.00        $ 106.82   $     106.82
11/17/2019 Wilber Yobanis Iraheta Sanchez         $13.00    54.77   $   12.00        $ 95.98    $      95.98
11/24/2019 Wilber Yobanis Iraheta Sanchez         $13.00    56.30   $   12.00        $ 105.95   $     105.95
 12/1/2019 Wilber Yobanis Iraheta Sanchez         $13.00    46.20   $   12.00        $ 40.30    $      40.30
 12/8/2019 Wilber Yobanis Iraheta Sanchez         $13.00    55.50   $   12.00        $ 100.75   $     100.75
12/15/2019 Wilber Yobanis Iraheta Sanchez         $13.00    53.75   $   12.00        $ 89.38    $      89.38
12/22/2019 Wilber Yobanis Iraheta Sanchez         $13.00    55.37   $   12.00        $ 99.88    $      99.88
  1/5/2020 Wilber Yobanis Iraheta Sanchez         $13.00    45.25   $   13.00        $ 34.13    $      34.13
 1/12/2020 Wilber Yobanis Iraheta Sanchez         $13.00    56.28   $   13.00        $ 105.84   $     105.84
 1/19/2020 Wilber Yobanis Iraheta Sanchez         $13.00    55.28   $   13.00        $ 99.34    $      99.34
 1/26/2020 Wilber Yobanis Iraheta Sanchez         $13.00    47.35   $   13.00        $ 47.78    $      47.78
  2/5/2017 Wilfredo Antonio Castro                $11.00    51.27   $   10.00        $ 61.97    $      61.97
 2/12/2017 Wilfredo Antonio Castro                $11.00    47.05   $   10.00        $ 38.78    $      38.78
 2/19/2017 Wilfredo Antonio Castro                $11.00    53.20   $   10.00        $ 72.60    $      72.60
 2/26/2017 Wilfredo Antonio Castro                $11.00    52.55   $   10.00        $ 69.03    $      69.03
  3/5/2017 Wilfredo Antonio Castro                $11.00    54.80   $   10.00        $ 81.40    $      81.40
 3/12/2017 Wilfredo Antonio Castro                $11.00    41.65   $   10.00        $   9.07   $       9.07
 3/26/2017 Wilfredo Antonio Castro                $11.00    58.00   $   10.00        $ 99.00    $      99.00
  4/2/2017 Wilfredo Antonio Castro                $11.00    55.60   $   10.00        $ 85.80    $      85.80
  4/9/2017 Wilfredo Antonio Castro                $11.00    57.15   $   10.00        $ 94.33    $      94.33
 4/16/2017 Wilfredo Antonio Castro                $11.00    48.53   $   10.00        $ 46.93    $      46.93
 4/23/2017 Wilfredo Antonio Castro                $11.00    57.27   $   10.00        $ 94.97    $      94.97
 4/30/2017 Wilfredo Antonio Castro                $11.00    56.20   $   10.00        $ 89.10    $      89.10
  5/7/2017 Wilfredo Antonio Castro                $11.00    57.47   $   10.00        $ 96.07    $      96.07
 5/14/2017 Wilfredo Antonio Castro                $11.00    46.15   $   10.00        $ 33.83    $      33.83
 5/21/2017 Wilfredo Antonio Castro                $11.00    48.18   $   10.00        $ 45.01    $      45.01
 5/28/2017 Wilfredo Antonio Castro                $11.00    55.82   $   10.00        $ 86.99    $      86.99
  6/4/2017 Wilfredo Antonio Castro                $11.00    43.17   $   10.00        $ 17.42    $      17.42
 6/11/2017 Wilfredo Antonio Castro                $11.00    55.70   $   10.00        $ 86.35    $      86.35
 6/18/2017 Wilfredo Antonio Castro                $11.00    55.38   $   10.00        $ 84.61    $      84.61
 6/25/2017 Wilfredo Antonio Castro                $11.00    52.93   $   10.00        $ 71.13    $      71.13


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                                              Exhibit 5
                                     Long Island Computations


  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

  7/2/2017 Wilfredo Antonio Castro         $11.00    54.65   $   10.00        $ 80.58    $      80.58
  7/9/2017 Wilfredo Antonio Castro         $11.00    43.38   $   10.00        $ 18.61    $      18.61
 7/16/2017 Wilfredo Antonio Castro         $11.00    43.48   $   10.00        $ 19.16    $      19.16
 7/23/2017 Wilfredo Antonio Castro         $11.00    56.40   $   10.00        $ 90.20    $      90.20
 7/30/2017 Wilfredo Antonio Castro         $11.00    49.60   $   10.00        $ 52.80    $      52.80
  8/6/2017 Wilfredo Antonio Castro         $11.00    46.80   $   10.00        $ 37.40    $      37.40
 8/13/2017 Wilfredo Antonio Castro         $11.00    42.73   $   10.00        $ 15.03    $      15.03
 8/20/2017 Wilfredo Antonio Castro         $11.00    54.78   $   10.00        $ 81.31    $      81.31
 8/27/2017 Wilfredo Antonio Castro         $11.00    53.33   $   10.00        $ 73.33    $      73.33
  9/3/2017 Wilfredo Antonio Castro         $11.00    55.23   $   10.00        $ 83.78    $      83.78
 9/10/2017 Wilfredo Antonio Castro         $11.00    43.55   $   10.00        $ 19.53    $      19.53
 9/17/2017 Wilfredo Antonio Castro         $11.00    42.33   $   10.00        $ 12.83    $      12.83
 9/24/2017 Wilfredo Antonio Castro         $11.00    46.28   $   10.00        $ 34.56    $      34.56
 10/1/2017 Wilfredo Antonio Castro         $11.00    43.48   $   10.00        $ 19.16    $      19.16
 10/8/2017 Wilfredo Antonio Castro         $11.00    56.68   $   10.00        $ 91.76    $      91.76
10/15/2017 Wilfredo Antonio Castro         $11.00    44.77   $   10.00        $ 26.22    $      26.22
10/22/2017 Wilfredo Antonio Castro         $11.00    40.53   $   10.00        $   2.93   $       2.93
10/29/2017 Wilfredo Antonio Castro         $11.00    51.97   $   10.00        $ 65.82    $      65.82
 11/5/2017 Wilfredo Antonio Castro         $11.00    43.72   $   10.00        $ 20.44    $      20.44
11/19/2017 Wilfredo Antonio Castro         $11.00    45.35   $   10.00        $ 29.43    $      29.43
11/26/2017 Wilfredo Antonio Castro         $11.00    40.42   $   10.00        $   2.29   $       2.29
 12/3/2017 Wilfredo Antonio Castro         $11.00    50.67   $   10.00        $ 58.67    $      58.67
12/10/2017 Wilfredo Antonio Castro         $11.00    49.10   $   10.00        $ 50.05    $      50.05
12/17/2017 Wilfredo Antonio Castro         $11.00    40.55   $   10.00        $   3.02   $       3.02
12/24/2017 Wilfredo Antonio Castro         $11.00    45.83   $   10.00        $ 32.08    $      32.08
12/31/2017 Wilfredo Antonio Castro         $11.00    40.67   $   11.00        $   3.67   $       3.67
 1/28/2018 Wilfredo Antonio Castro         $11.00    41.10   $   11.00        $   6.05   $       6.05
  2/4/2018 Wilfredo Antonio Castro         $11.00    48.45   $   11.00        $ 46.48    $      46.48
 2/11/2018 Wilfredo Antonio Castro         $11.00    41.37   $   11.00        $   7.52   $       7.52
 3/25/2018 Wilfredo Antonio Castro         $11.00    44.37   $   11.00        $ 24.02    $      24.02
  4/1/2018 Wilfredo Antonio Castro         $11.00    56.65   $   11.00        $ 91.58    $      91.58
  4/8/2018 Wilfredo Antonio Castro         $11.00    56.18   $   11.00        $ 89.01    $      89.01
 4/15/2018 Wilfredo Antonio Castro         $11.00    44.85   $   11.00        $ 26.68    $      26.68
 4/22/2018 Wilfredo Antonio Castro         $11.00    49.60   $   11.00        $ 52.80    $      52.80
 4/29/2018 Wilfredo Antonio Castro         $11.00    42.23   $   11.00        $ 12.28    $      12.28
  5/6/2018 Wilfredo Antonio Castro         $11.00    50.98   $   11.00        $ 60.41    $      60.41
 5/13/2018 Wilfredo Antonio Castro         $11.00    43.42   $   11.00        $ 18.79    $      18.79
 5/20/2018 Wilfredo Antonio Castro         $11.00    53.43   $   11.00        $ 73.88    $      73.88
 5/27/2018 Wilfredo Antonio Castro         $11.00    53.42   $   11.00        $ 73.79    $      73.79
  6/3/2018 Wilfredo Antonio Castro         $11.00    45.70   $   11.00        $ 31.35    $      31.35
 6/10/2018 Wilfredo Antonio Castro         $11.00    66.55   $   11.00        $ 146.03   $     146.03
 6/17/2018 Wilfredo Antonio Castro         $11.00    64.13   $   11.00        $ 132.73   $     132.73
 6/24/2018 Wilfredo Antonio Castro         $11.00    55.28   $   11.00        $ 84.06    $      84.06
  7/1/2018 Wilfredo Antonio Castro         $11.00    64.10   $   11.00        $ 132.55   $     132.55
  7/8/2018 Wilfredo Antonio Castro         $11.00    49.47   $   11.00        $ 52.07    $      52.07
 7/15/2018 Wilfredo Antonio Castro         $11.00    63.73   $   11.00        $ 130.53   $     130.53
 7/22/2018 Wilfredo Antonio Castro         $11.00    46.83   $   11.00        $ 37.58    $      37.58
 7/29/2018 Wilfredo Antonio Castro         $11.00    63.13   $   11.00        $ 127.23   $     127.23
  8/5/2018 Wilfredo Antonio Castro         $11.00    52.75   $   11.00        $ 70.13    $      70.13
 8/12/2018 Wilfredo Antonio Castro         $11.00    61.68   $   11.00        $ 119.26   $     119.26
 8/19/2018 Wilfredo Antonio Castro         $11.00    55.02   $   11.00        $ 82.59    $      82.59
 8/26/2018 Wilfredo Antonio Castro         $11.00    60.38   $   11.00        $ 112.11   $     112.11


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  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

  9/2/2018 Wilfredo Antonio Castro         $11.00    48.57   $   11.00               $ 47.12    $    47.12
  9/9/2018 Wilfredo Antonio Castro         $11.00    47.23   $   11.00               $ 39.78    $    39.78
 9/16/2018 Wilfredo Antonio Castro         $11.00    56.78   $   11.00               $ 92.31    $    92.31
 9/23/2018 Wilfredo Antonio Castro         $11.00    56.67   $   11.00               $ 91.67    $    91.67
 9/30/2018 Wilfredo Antonio Castro         $11.00    56.93   $   11.00               $ 93.13    $    93.13
 10/7/2018 Wilfredo Antonio Castro         $11.00    71.40   $   11.00               $ 172.70   $   172.70
10/14/2018 Wilfredo Antonio Castro         $11.00    71.05   $   11.00               $ 170.78   $   170.78
10/21/2018 Wilfredo Antonio Castro         $11.00    71.53   $   11.00               $ 173.43   $   173.43
10/28/2018 Wilfredo Antonio Castro         $11.00    64.17   $   11.00               $ 132.92   $   132.92
 11/4/2018 Wilfredo Antonio Castro         $11.00    63.03   $   11.00               $ 126.68   $   126.68
11/11/2018 Wilfredo Antonio Castro         $11.00    41.30   $   11.00               $   7.15   $     7.15
11/18/2018 Wilfredo Antonio Castro         $11.00    51.20   $   11.00               $ 61.60    $    61.60
11/25/2018 Wilfredo Antonio Castro         $11.00    55.83   $   11.00               $ 87.08    $    87.08
 12/2/2018 Wilfredo Antonio Castro         $11.00    64.57   $   11.00               $ 135.12   $   135.12
 12/9/2018 Wilfredo Antonio Castro         $11.00    66.67   $   11.00               $ 146.67   $   146.67
12/16/2018 Wilfredo Antonio Castro         $11.00    54.05   $   11.00               $ 77.28    $    77.28
12/23/2018 Wilfredo Antonio Castro         $11.00    62.40   $   11.00               $ 123.20   $   123.20
12/30/2018 Wilfredo Antonio Castro         $11.00    48.42   $   11.00               $ 46.29    $    46.29
  1/6/2019 Wilfredo Antonio Castro         $11.00    49.45   $   12.00   $   49.45   $ 56.70    $   106.15
 1/13/2019 Wilfredo Antonio Castro         $11.00    62.48   $   12.00   $   62.48   $ 134.90   $   197.38
 1/20/2019 Wilfredo Antonio Castro         $11.00    60.82   $   12.00   $   60.82   $ 124.90   $   185.72
 1/27/2019 Wilfredo Antonio Castro         $11.00    62.77   $   12.00   $   62.77   $ 136.60   $   199.37
  2/3/2019 Wilfredo Antonio Castro         $11.00    62.03   $   12.00   $   62.03   $ 132.20   $   194.23
 2/10/2019 Wilfredo Antonio Castro         $11.00    49.60   $   12.00   $   49.60   $ 57.60    $   107.20
 2/17/2019 Wilfredo Antonio Castro         $11.00    53.38   $   12.00   $   53.38   $ 80.30    $   133.68
 2/24/2019 Wilfredo Antonio Castro         $11.00    59.82   $   12.00   $   59.82   $ 118.90   $   178.72
  3/3/2019 Wilfredo Antonio Castro         $11.00    61.18   $   12.00   $   61.18   $ 127.10   $   188.28
 3/10/2019 Wilfredo Antonio Castro         $11.00    59.97   $   12.00   $   59.97   $ 119.80   $   179.77
 3/17/2019 Wilfredo Antonio Castro         $11.00    60.35   $   12.00   $   60.35   $ 122.10   $   182.45
 3/24/2019 Wilfredo Antonio Castro         $11.00    59.98   $   12.00   $   59.98   $ 119.90   $   179.88
 3/31/2019 Wilfredo Antonio Castro         $11.00    61.10   $   12.00   $   61.10   $ 126.60   $   187.70
  4/7/2019 Wilfredo Antonio Castro         $11.00    61.08   $   12.00   $   61.08   $ 126.50   $   187.58
 4/14/2019 Wilfredo Antonio Castro         $11.00    60.68   $   12.00   $   60.68   $ 124.10   $   184.78
 4/21/2019 Wilfredo Antonio Castro         $11.00    61.50   $   12.00   $   61.50   $ 129.00   $   190.50
 4/28/2019 Wilfredo Antonio Castro         $11.00    60.97   $   12.00   $   60.97   $ 125.80   $   186.77
  5/5/2019 Wilfredo Antonio Castro         $11.00    60.52   $   12.00   $   60.52   $ 123.10   $   183.62
 5/12/2019 Wilfredo Antonio Castro         $11.00    56.57   $   12.00   $   56.57   $ 99.40    $   155.97
 5/19/2019 Wilfredo Antonio Castro         $11.00    59.93   $   12.00   $   59.93   $ 119.60   $   179.53
 5/26/2019 Wilfredo Antonio Castro         $11.00    60.18   $   12.00   $   60.18   $ 121.10   $   181.28
  6/2/2019 Wilfredo Antonio Castro         $11.00    50.08   $   12.00   $   50.08   $ 60.50    $   110.58
  6/9/2019 Wilfredo Antonio Castro         $11.00    59.32   $   12.00   $   59.32   $ 115.90   $   175.22
 6/16/2019 Wilfredo Antonio Castro         $11.00    57.75   $   12.00   $   57.75   $ 106.50   $   164.25
 6/23/2019 Wilfredo Antonio Castro         $11.00    56.12   $   12.00   $   56.12   $ 96.70    $   152.82
 6/30/2019 Wilfredo Antonio Castro         $11.00    56.35   $   12.00   $   56.35   $ 98.10    $   154.45
  7/7/2019 Wilfredo Antonio Castro         $13.00    46.75   $   12.00               $ 43.88    $    43.88
 7/14/2019 Wilfredo Antonio Castro         $13.00    52.63   $   12.00               $ 82.12    $    82.12
 7/21/2019 Wilfredo Antonio Castro         $13.00    57.07   $   12.00               $ 110.93   $   110.93
 7/28/2019 Wilfredo Antonio Castro         $13.00    56.28   $   12.00               $ 105.84   $   105.84
  8/4/2019 Wilfredo Antonio Castro         $13.00    55.13   $   12.00               $ 98.37    $    98.37
 8/11/2019 Wilfredo Antonio Castro         $13.00    55.65   $   12.00               $ 101.73   $   101.73
 8/18/2019 Wilfredo Antonio Castro         $13.00    55.87   $   12.00               $ 103.13   $   103.13
 8/25/2019 Wilfredo Antonio Castro         $13.00    56.10   $   12.00               $ 104.65   $   104.65


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  Week                                                     State Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending                      Name                        Minimum  Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                    Wage   Rate Due     Due       Wages Due

  9/1/2019 Wilfredo Antonio Castro         $13.00    53.03   $   12.00        $ 84.72    $      84.72
  9/8/2019 Wilfredo Antonio Castro         $13.00    44.17   $   12.00        $ 27.08    $      27.08
 9/15/2019 Wilfredo Antonio Castro         $13.00    52.20   $   12.00        $ 79.30    $      79.30
 9/22/2019 Wilfredo Antonio Castro         $13.00    52.32   $   12.00        $ 80.06    $      80.06
 9/29/2019 Wilfredo Antonio Castro         $13.00    43.98   $   12.00        $ 25.89    $      25.89
 10/6/2019 Wilfredo Antonio Castro         $13.00    51.58   $   12.00        $ 75.29    $      75.29
10/13/2019 Wilfredo Antonio Castro         $13.00    53.02   $   12.00        $ 84.61    $      84.61
10/20/2019 Wilfredo Antonio Castro         $13.00    51.77   $   12.00        $ 76.48    $      76.48
10/27/2019 Wilfredo Antonio Castro         $13.00    53.67   $   12.00        $ 88.83    $      88.83
 11/3/2019 Wilfredo Antonio Castro         $13.00    48.82   $   12.00        $ 57.31    $      57.31
11/10/2019 Wilfredo Antonio Castro         $13.00    50.28   $   12.00        $ 66.84    $      66.84
11/17/2019 Wilfredo Antonio Castro         $13.00    51.98   $   12.00        $ 77.89    $      77.89
11/24/2019 Wilfredo Antonio Castro         $13.00    51.27   $   12.00        $ 73.23    $      73.23
 12/1/2019 Wilfredo Antonio Castro         $13.00    43.50   $   12.00        $ 22.75    $      22.75
 12/8/2019 Wilfredo Antonio Castro         $13.00    55.20   $   12.00        $ 98.80    $      98.80
12/15/2019 Wilfredo Antonio Castro         $13.00    53.52   $   12.00        $ 87.86    $      87.86
 1/12/2020 Wilfredo Antonio Castro         $13.00    54.38   $   13.00        $ 93.49    $      93.49
 1/19/2020 Wilfredo Antonio Castro         $13.00    52.63   $   13.00        $ 82.12    $      82.12
 3/25/2018 William Tavarez - Valet         $16.50    50.23   $   11.00        $ 84.43    $      84.43
  4/1/2018 William Tavarez - Valet         $16.50    56.40   $   11.00        $ 135.30   $     135.30
  4/8/2018 William Tavarez - Valet         $16.50    45.28   $   11.00        $ 43.59    $      43.59
 4/22/2018 William Tavarez - Valet         $16.50    55.90   $   11.00        $ 131.18   $     131.18
 4/29/2018 William Tavarez - Valet         $16.50    41.42   $   11.00        $ 11.69    $      11.69
  5/6/2018 William Tavarez - Valet         $16.50    45.98   $   11.00        $ 49.36    $      49.36
 5/13/2018 William Tavarez - Valet         $16.50    44.63   $   11.00        $ 38.23    $      38.23
 5/20/2018 William Tavarez - Valet         $16.50    52.63   $   11.00        $ 104.23   $     104.23
 5/27/2018 William Tavarez - Valet         $16.50    45.78   $   11.00        $ 47.71    $      47.71
 6/10/2018 William Tavarez - Valet         $16.50    49.45   $   11.00        $ 77.96    $      77.96
 6/17/2018 William Tavarez - Valet         $16.50    45.47   $   11.00        $ 45.10    $      45.10
 6/24/2018 William Tavarez - Valet         $16.50    55.12   $   11.00        $ 124.71   $     124.71
  7/1/2018 William Tavarez - Valet         $16.50    43.73   $   11.00        $ 30.80    $      30.80
 7/15/2018 William Tavarez - Valet         $16.50    45.22   $   11.00        $ 43.04    $      43.04
 7/22/2018 William Tavarez - Valet         $16.50    45.12   $   11.00        $ 42.21    $      42.21
 7/29/2018 William Tavarez - Valet         $16.50    53.78   $   11.00        $ 113.71   $     113.71
  8/5/2018 William Tavarez - Valet         $16.50    44.17   $   11.00        $ 34.38    $      34.38
 8/12/2018 William Tavarez - Valet         $16.50    45.07   $   11.00        $ 41.80    $      41.80
 8/19/2018 William Tavarez - Valet         $16.50    44.10   $   11.00        $ 33.83    $      33.83
 8/26/2018 William Tavarez - Valet         $16.50    45.18   $   11.00        $ 42.76    $      42.76
  9/2/2018 William Tavarez - Valet         $16.50    44.42   $   11.00        $ 36.44    $      36.44
  9/9/2018 William Tavarez - Valet         $16.50    41.73   $   11.00        $ 14.30    $      14.30
 9/16/2018 William Tavarez - Valet         $16.50    42.98   $   11.00        $ 24.61    $      24.61
 9/23/2018 William Tavarez - Valet         $16.50    43.98   $   11.00        $ 32.86    $      32.86
 6/24/2018 Yaneiuris Reyes                 $11.00    61.02   $   11.00        $ 115.59   $     115.59
  7/1/2018 Yaneiuris Reyes                 $11.00    60.75   $   11.00        $ 114.13   $     114.13
  7/8/2018 Yaneiuris Reyes                 $11.00    54.75   $   11.00        $ 81.13    $      81.13
 7/15/2018 Yaneiuris Reyes                 $11.00    60.95   $   11.00        $ 115.23   $     115.23
 7/22/2018 Yaneiuris Reyes                 $11.00    51.65   $   11.00        $ 64.08    $      64.08
 7/29/2018 Yaneiuris Reyes                 $11.00    59.83   $   11.00        $ 109.08   $     109.08
  8/5/2018 Yaneiuris Reyes                 $11.00    60.57   $   11.00        $ 113.12   $     113.12
 8/12/2018 Yaneiuris Reyes                 $11.00    60.30   $   11.00        $ 111.65   $     111.65
 8/19/2018 Yaneiuris Reyes                 $11.00    60.25   $   11.00        $ 111.38   $     111.38
 8/26/2018 Yaneiuris Reyes                 $11.00    50.93   $   11.00        $ 60.13    $      60.13


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  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                     Name                       Minimum  Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                  Wage   Rate Due     Due       Wages Due

  9/2/2018 Yaneiuris Reyes               $11.00    60.35   $   11.00               $ 111.93   $   111.93
  9/9/2018 Yaneiuris Reyes               $11.00    54.95   $   11.00               $ 82.23    $    82.23
 9/16/2018 Yaneiuris Reyes               $11.00    59.45   $   11.00               $ 106.98   $   106.98
 9/23/2018 Yaneiuris Reyes               $11.00    59.83   $   11.00               $ 109.08   $   109.08
 9/30/2018 Yaneiuris Reyes               $11.00    58.22   $   11.00               $ 100.19   $   100.19
 10/7/2018 Yaneiuris Reyes               $11.00    58.07   $   11.00               $ 99.37    $    99.37
10/14/2018 Yaneiuris Reyes               $11.00    58.33   $   11.00               $ 100.83   $   100.83
11/11/2018 Yohnny Masri                  $11.00    61.45   $   11.00               $ 117.98   $   117.98
11/18/2018 Yohnny Masri                  $11.00    59.47   $   11.00               $ 107.07   $   107.07
11/25/2018 Yohnny Masri                  $11.00    41.50   $   11.00               $   8.25   $     8.25
 12/2/2018 Yohnny Masri                  $11.00    60.23   $   11.00               $ 111.28   $   111.28
 12/9/2018 Yohnny Masri                  $11.00    60.22   $   11.00               $ 111.19   $   111.19
12/16/2018 Yohnny Masri                  $11.00    61.32   $   11.00               $ 117.24   $   117.24
12/23/2018 Yohnny Masri                  $11.00    61.58   $   11.00               $ 118.71   $   118.71
12/30/2018 Yohnny Masri                  $11.00    47.22   $   11.00               $ 39.69    $    39.69
  1/6/2019 Yohnny Masri                  $11.00    51.42   $   12.00   $   51.42   $ 68.50    $   119.92
 1/13/2019 Yohnny Masri                  $11.00    64.27   $   12.00   $   64.27   $ 145.60   $   209.87
 1/20/2019 Yohnny Masri                  $11.00    66.47   $   12.00   $   66.47   $ 158.80   $   225.27
 1/27/2019 Yohnny Masri                  $11.00    65.52   $   12.00   $   65.52   $ 153.10   $   218.62
  2/3/2019 Yohnny Masri                  $11.00    64.10   $   12.00   $   64.10   $ 144.60   $   208.70
 2/10/2019 Yohnny Masri                  $11.00    53.30   $   12.00   $   53.30   $ 79.80    $   133.10
 2/17/2019 Yohnny Masri                  $11.00    64.28   $   12.00   $   64.28   $ 145.70   $   209.98
 2/24/2019 Yohnny Masri                  $11.00    63.85   $   12.00   $   63.85   $ 143.10   $   206.95
  3/3/2019 Yohnny Masri                  $11.00    65.37   $   12.00   $   65.37   $ 152.20   $   217.57
 3/10/2019 Yohnny Masri                  $11.00    65.08   $   12.00   $   65.08   $ 150.50   $   215.58
 3/17/2019 Yohnny Masri                  $11.00    61.10   $   12.00   $   61.10   $ 126.60   $   187.70
 3/24/2019 Yohnny Masri                  $11.00    54.77   $   12.00   $   54.77   $ 88.60    $   143.37
 3/31/2019 Yohnny Masri                  $11.00    65.12   $   12.00   $   65.12   $ 150.70   $   215.82
  4/7/2019 Yohnny Masri                  $11.00    64.30   $   12.00   $   64.30   $ 145.80   $   210.10
 4/14/2019 Yohnny Masri                  $11.00    55.20   $   12.00   $   55.20   $ 91.20    $   146.40
 4/21/2019 Yohnny Masri                  $11.00    65.27   $   12.00   $   65.27   $ 151.60   $   216.87
 4/28/2019 Yohnny Masri                  $11.00    43.37   $   12.00   $   43.37   $ 20.20    $    63.57
  5/5/2019 Yohnny Masri                  $11.00    65.42   $   12.00   $   65.42   $ 152.50   $   217.92
 5/12/2019 Yohnny Masri                  $11.00    65.78   $   12.00   $   65.78   $ 154.70   $   220.48
 5/19/2019 Yohnny Masri                  $11.00    60.25   $   12.00   $   60.25   $ 121.50   $   181.75
 5/26/2019 Yohnny Masri                  $11.00    64.93   $   12.00   $   64.93   $ 149.60   $   214.53
  6/2/2019 Yohnny Masri                  $11.00    58.10   $   12.00   $   58.10   $ 108.60   $   166.70
  6/9/2019 Yohnny Masri                  $11.00    63.68   $   12.00   $   63.68   $ 142.10   $   205.78
 6/16/2019 Yohnny Masri                  $11.00    52.83   $   12.00   $   52.83   $ 77.00    $   129.83
 6/23/2019 Yohnny Masri                  $11.00    63.78   $   12.00   $   63.78   $ 142.70   $   206.48
 6/30/2019 Yohnny Masri                  $11.00    64.00   $   12.00   $   64.00   $ 144.00   $   208.00
  7/7/2019 Yohnny Masri                  $12.00    56.47   $   12.00               $ 98.80    $    98.80
 7/14/2019 Yohnny Masri                  $12.00    60.28   $   12.00               $ 121.70   $   121.70
 7/21/2019 Yohnny Masri                  $12.00    61.73   $   12.00               $ 130.40   $   130.40
 7/28/2019 Yohnny Masri                  $12.00    43.78   $   12.00               $ 22.70    $    22.70
  8/4/2019 Yohnny Masri                  $12.00    59.07   $   12.00               $ 114.40   $   114.40
 8/11/2019 Yohnny Masri                  $12.00    55.50   $   12.00               $ 93.00    $    93.00
 8/18/2019 Yohnny Masri                  $12.00    58.28   $   12.00               $ 109.70   $   109.70
 6/10/2018 Ysidoro Jimenez-0373          $16.50    48.12   $   11.00               $ 66.96    $    66.96
 6/17/2018 Ysidoro Jimenez-0373          $16.50    41.90   $   11.00               $ 15.67    $    15.67
  7/1/2018 Ysidoro Jimenez-0373          $16.50    42.45   $   11.00               $ 20.21    $    20.21
 7/29/2018 Ysidoro Jimenez-0373          $16.50    48.18   $   11.00               $ 67.51    $    67.51


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  Week                                                   State Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                     Name                       Minimum  Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                  Wage   Rate Due     Due       Wages Due

 8/19/2018 Ysidoro Jimenez-0373          $16.50    41.05 $    11.00         $    8.66   $      8.66
 12/9/2018 Ysidoro Jimenez-0373          $16.50    47.75 $    11.00         $   63.94   $     63.94
12/16/2018 Ysidoro Jimenez-0373          $16.50    50.05 $    11.00         $   82.91   $     82.91




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